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                        EXHIBIT A

                      Proposed Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. No. __


         ORDER SUSTAINING DEBTORS’ ONE HUNDRED TWENTY-THIRD
    (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN FULLY OR PARTIALLY
           UNLIQUIDATED PROOFS OF CLAIM (CUSTOMER CLAIMS)

                 Upon the one hundred twenty-third omnibus objection (the “Objection”) 2 of FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for

entry of an order (this “Order”) sustaining the Objection and modifying the Fully or Partially

Unliquidated Claims set forth in Schedule 1 attached hereto, and this Court having jurisdiction to

consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February

29, 2012; and this Court being able to issue a final order consistent with Article III of the United

States Constitution; and venue of these Chapter 11 Cases and the Objection in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the

Objection and the relief requested therein has been provided in accordance with the Bankruptcy

Rules and the Local Rules, and that, except as otherwise ordered herein, no other or further

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.
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notice is necessary; and responses (if any) to the Objection having been withdrawn, resolved or

overruled on the merits; and a hearing having been held to consider the relief requested in the

Objection and upon the record of the hearing and all of the proceedings had before this Court;

and this Court having found and determined that the relief set forth in this Order is in the best

interests of the Debtors and their estates; and that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Objection is SUSTAINED as set forth herein.

               2.      Each Fully or Partially Unliquidated Claim set forth in Schedule 1

attached hereto is modified. The claims listed in the column titled “Modified Claims” identified

in Schedule 1 attached hereto shall remain on the claims register, subject to the Debtors’ further

objections on any substantive or non-substantive grounds.

               3.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.

               4.      To the extent a response is filed regarding any Fully or Partially

Unliquidated Claim, each such Fully or Partially Unliquidated Claim, and the Objection as it

pertains to such Fully or Partially Unliquidated Claim, will constitute a separate contested matter

as contemplated by Bankruptcy Rule 9014. This Order will be deemed a separate order with

respect to each Fully or Partially Unliquidated Claim. Any stay of this Order pending appeal by

any claimants whose claims are subject to this Order shall only apply to the contested matter




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which involves such claimant and shall not act to stay the applicability and/or finality of this

Order with respect to the other contested matters listed in the Objection or this Order.

               5.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               6.        Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtors may have to enforce rights of setoff against the

claimants.

               7.        Nothing in the Objection or this Order, nor any actions or payments made

by the Debtors pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

               8.        This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.




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               9.      This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.

Dated: ___________________
       Wilmington, Delaware                           The Honorable John T. Dorsey
                                                      Chief United States Bankruptcy Judge




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                       SCHEDULE 1

            Fully or Partially Unliquidated Claims
                                                 Case 22-11068-JTD                               Doc 27179-2                        Filed 10/23/24                        Page 7 of 92
                                                                                                           FTX Trading Ltd. 22-11068 (JTD)
                                                                                                 One Hundred Twenty-Third Omnibus Claims Objection
                                                                                                            Schedule 1 - Modified Claims

                                                                                                 Asserted Claims                                                                          Modified Claim
   Claim
  Number                      Name                                   Debtor                       Tickers                            Ticker Quantity                             Debtor                    Ticker Quantity
3944          Name on file                           FTX Trading Ltd.              1INCH-PERP                                                      Undetermined* FTX Trading Ltd.                                   0.000000000000000
                                                                                   ADA-PERP                                                                                                                         0.000000000000000
                                                                                   AGLD-PERP                                                                                                                       -0.000000000000227
                                                                                   ALCX-PERP                                                                                                                        0.000000000000000
                                                                                   ANC-PERP                                                                                                                         0.000000000000000
                                                                                   APE-PERP                                                                                                                         0.000000000000000
                                                                                   APT-PERP                                                                                                                         0.000000000000000
                                                                                   AR-PERP                                                                                                                          0.000000000000000
                                                                                   ASD                                                                                                                              0.099065000000000
                                                                                   ASD-PERP                                                                                                                         0.000000000000000
                                                                                   ATLAS                                                                                                                            9.986400000000000
                                                                                   ATLAS-PERP                                                                                                                       0.000000000000000
                                                                                   ATOM-PERP                                                                                                                        0.000000000000000
                                                                                   AXS-PERP                                                                                                                         0.000000000000000
                                                                                   BADGER                                                                                                                           0.004841300000000
                                                                                   BADGER-PERP                                                                                                                     -0.000000000000007
                                                                                   BAL-PERP                                                                                                                         0.000000000000000
                                                                                   BAND                                                                                                                             0.000000003548965
                                                                                   BAND-PERP                                                                                                                        0.000000000000000
                                                                                   BIT                                                                                                                              0.494760000000000
                                                                                   BIT-PERP                                                                                                                         0.000000000000000
                                                                                   BNB                                                                                                                              0.060000009395712
                                                                                   BNB-PERP                                                                                                                         0.000000000000000
                                                                                   BNT-PERP                                                                                                                         0.000000000000000
                                                                                   BRZ-PERP                                                                                                                         0.000000000000000
                                                                                   BTC                                                                                                                              0.000099813000000
                                                                                   BTT-PERP                                                                                                                         0.000000000000000
                                                                                   C98-PERP                                                                                                                         0.000000000000000
                                                                                   CEL                                                                                                                              0.089619000000000
                                                                                   CEL-PERP                                                                                                                        -0.000000000010913
                                                                                   CHR-PERP                                                                                                                         0.000000000000000
                                                                                   CHZ-PERP                                                                                                                         0.000000000000000
                                                                                   CLV-PERP                                                                                                                         0.000000000000000
                                                                                   COMP-PERP                                                                                                                        0.000000000000000
                                                                                   CRO-PERP                                                                                                                         0.000000000000000
                                                                                   CRV-PERP                                                                                                                         0.000000000000000
                                                                                   CVX                                                                                                                              0.076200000000000
                                                                                   CVX-PERP                                                                                                                         0.000000000000000
                                                                                   DAWN-PERP                                                                                                                        0.000000000000000
                                                                                   DOGE-PERP                                                                                                                        0.000000000000000
                                                                                   ETH-PERP                                                                                                                         0.000000000000000
                                                                                   ETHW-PERP                                                                                                                        0.000000000000000
                                                                                   EUR                                                                                                                              1.711834327635720
                                                                                   FIDA-PERP                                                                                                                        0.000000000000000
                                                                                   FLM-PERP                                                                                                                         0.000000000000000
                                                                                   FLOW-PERP                                                                                                                        0.000000000000000
                                                                                   FTT                                                                                                                              0.070502000000000
                                                                                   FTT-PERP                                                                                                                         0.000000000000000
                                                                                   FXS-PERP                                                                                                                         0.000000000000000
                                                                                   GLMR-PERP                                                                                                                        0.000000000000000
                                                                                   GMT-PERP                                                                                                                         0.000000000000000
                                                                                   GRT-PERP                                                                                                                         0.000000000000000
                                                                                   GST-PERP                                                                                                                        -0.000000000023646
                                                                                   HGET                                                                                                                             0.146960000000000
                                                                                   HOLY                                                                                                                             0.099881000000000
                                                                                   HOLY-PERP                                                                                                                        0.000000000000000
                                                                                   HT-PERP                                                                                                                          0.000000000000000
                                                                                   INDI                                                                                                                             0.999660000000000
                                                                                   JPY-PERP                                                                                                                         0.000000000000000
                                                                                   KAVA-PERP                                                                                                                        0.000000000000000
                                                                                   KBTT-PERP                                                                                                                        0.000000000000000
                                                                                   KIN-PERP                                                                                                                         0.000000000000000
                                                                                   KLUNC-PERP                                                                                                                       0.000000000000000
                                                                                   KSOS-PERP                                                                                                                        0.000000000000000
                                                                                   LDO                                                                                                                              1.015300810000000
                                                                                   LDO-PERP                                                                                                                         0.000000000000000
                                                                                   LINA-PERP                                                                                                                        0.000000000000000
                                                                                   LOOKS-PERP                                                                                                                       0.000000000000000
                                                                                   LRC-PERP                                                                                                                         0.000000000000000
                                                                                   LUA                                                                                                                              0.063355000000000
                                                                                   LUNA2-PERP                                                                                                                       0.000000000000000
                                                                                   LUNC-PERP                                                                                                                        0.000000000000000
                                                                                   MAPS                                                                                                                             0.998980000000000
                                                                                   MAPS-PERP                                                                                                                        0.000000000000000
                                                                                   MATH                                                                                                                             0.099983000000000
                                                                                   MEDIA-PERP                                                                                                                       0.000000000000000
                                                                                   MER-PERP                                                                                                                         0.000000000000000
                                                                                   MNGO                                                                                                                             8.288100000000000
                                                                                   MNGO-PERP                                                                                                                        0.000000000000000
                                                                                   MOB-PERP                                                                                                                         0.000000000000000
                                                                                   MTA-PERP                                                                                                                         0.000000000000000
                                                                                   MTL-PERP                                                                                                                         0.000000000000000
                                                                                   OKB-PERP                                                                                                                         0.000000000000000
                                                                                   OP-PERP                                                                                                                          0.000000000000000
                                                                                   OXY-PERP                                                                                                                         0.000000000000000
                                                                                   PERP-PERP                                                                                                                        0.000000000000000
                                                                                   POLIS-PERP                                                                                                                       0.000000000000909
                                                                                   PORT                                                                                                                             0.953544940000000
                                                                                   PRIV-PERP                                                                                                                        0.000000000000000
                                                                                   PROM-PERP                                                                                                                       -0.000000000000454
                                                                                   PUNDIX-PERP                                                                                                                      0.000000000000000
                                                                                   RAMP-PERP                                                                                                                        0.000000000000000
                                                                                   REAL                                                                                                                             0.012236510000000
                                                                                   REEF-PERP                                                                                                                        0.000000000000000
                                                                                   RNDR-PERP                                                                                                                        0.000000000000000
                                                                                   ROOK                                                                                                                             0.000997960000000
                                                                                   ROOK-PERP                                                                                                                        0.000000000000000
                                                                                   SAND-PERP                                                                                                                        0.000000000000000
                                                                                   SECO-PERP                                                                                                                        0.000000000000000
                                                                                   SNY                                                                                                                              0.987446070000000
                                                                                   SOL-PERP                                                                                                                         0.000000000000000

Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                           Case 22-11068-JTD                                        Doc 27179-2                           Filed 10/23/24                            Page 8 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                     SRN-PERP                                                                                                                                            0.000000000000000
                                                                                     STG-PERP                                                                                                                                            0.000000000000000
                                                                                     STX-PERP                                                                                                                                            0.000000000000000
                                                                                     SUN                                                                                                                                                 0.000998640000000
                                                                                     SUSHI-1230                                                                                                                                          0.000000000000000
                                                                                     SWEAT                                                                                                                                              99.572254000000000
                                                                                     SXP                                                                                                                                                 0.099677000000000
                                                                                     SXP-PERP                                                                                                                                            0.000000000000000
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TONCOIN-PERP                                                                                                                                        0.000000000000000
                                                                                     TRU                                                                                                                                                 0.582990000000000
                                                                                     TRU-PERP                                                                                                                                            0.000000000000000
                                                                                     TRX                                                                                                                                                 0.800453000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     TULIP-PERP                                                                                                                                          0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     UNISWAP-PERP                                                                                                                                        0.000000000000000
                                                                                     USD                                                          4,112.150000000000000                                                              4,122.436782024547000
                                                                                     USDT                                                                                                                                                0.000000001054654
                                                                                     USTC-PERP                                                                                                                                           0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XEM-PERP                                                                                                                                            0.000000000000000
                                                                                     XMR-PERP                                                                                                                                            0.000000000000000
                                                                                     YFII-PERP                                                                                                                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3559        Name on file                        FTX Trading Ltd.                       APE                                                                                    FTX Trading Ltd.                                             0.001535000000000
                                                                                       AXS                                                                                                                                                 0.057839000000000
                                                                                       BTC                                                                                                                                                 0.000047465000000
                                                                                       ETH                                                                                                                                                 0.000446590000000
                                                                                       ETHW                                                                                                                                                0.000025710000000
                                                                                       SOL                                                                                                                                                 0.007788300000000
                                                                                       STG                                                                                                                                                 0.028370000000000
                                                                                       TRX                                                                                                                                                 0.501470000000000
                                                                                       USD                                                           3,903.170000000000000                                                             3,903.178431121418000
                                                                                       USDT                                                                                                                                                0.000000011648583

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32962       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       AR-PERP                                                                                                                                              0.000000000000000
                                                                                       BAO-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                                                                                                                  0.010000005975000
                                                                                       BTC-20210625                                                                                                                                         0.000000000000000
                                                                                       BTC-MOVE-20200212                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200218                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200219                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200220                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200221                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200304                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200323                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200615                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200622                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200629                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200701                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200702                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-20200714                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-WK-20200717                                                                                                                                 0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BULL                                                                                                                                                 0.000900000000000
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       DENT-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       EOS-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000038750000
                                                                                       ETH-20210625                                                                                                                                         0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000002
                                                                                       EUR                                                                                                                                                  0.000000011626640
                                                                                       EXCH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  0.000000017290936
                                                                                       FTT-PERP                                                                                                                                            -0.000000000000004
                                                                                       GRT-PERP                                                                                                                                             0.000000000000000
                                                                                       HOLY-PERP                                                                                                                                            0.000000000000000
                                                                                       KIN-PERP                                                                                                                                             0.000000000000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       NPXS-PERP                                                                                                                                            0.000000000000000
                                                                                       PERP-PERP                                                                                                                                            0.000000000000000
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       SAND-PERP                                                                                                                                            0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                       SLV-20210326                                                                                                                                         0.000000000000007
                                                                                       SOL-20210625                                                                                                                                         0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            -0.000000000000412
                                                                                       SRM                                                                                                                                                  0.312335100000000
                                                                                       SRM_LOCKED                                                                                                                                           2.374062270000000
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
                                                                                       SXP-PERP                                                                                                                                             0.000000000000000
                                                                                       TRX-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                          28,444.790000000000000                                                           28,444.794743703373000
                                                                                       USDT                                                                                                                                                 0.000000001929492
                                                                                       XRP-PERP                                                                                                                                             0.000000000000000
                                                                                       ZIL-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26498       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       AGLD-PERP                                                                                                                                           0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                     APE-PERP                                                                                                                                            0.000000000000000
                                                                                     ATOM-PERP                                                                                                                                           0.000000000000028
                                                                                     AVAX-PERP                                                                                                                                         100.000000000000000
                                                                                     BNB-PERP                                                                                                                                            0.000000000000000
                                                                                     BTC-PERP                                                                                                                                            0.000000000000000
                                                                                     COMP-PERP                                                                                                                                           0.000000000000000
                                                                                     CRO-PERP                                                                                                                                       27,170.000000000000000
                                                                                     CRV-PERP                                                                                                                                            0.000000000000000
                                                                                     DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                     DOT-PERP                                                                                                                                            0.000000000000000
                                                                                     DYDX-PERP                                                                                                                                          -0.000000000000227
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     FTM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     GALA-PERP                                                                                                                                           0.000000000000000
                                                                                     GRT-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK-PERP                                                                                                                                          -0.000000000000028
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                          -0.000000000000056
                                                                                     RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000003
                                                                                     TRX                                                              0.070156000000000                                                                  0.070156000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000056
                                                                                     USD                                                          1,494.076284909630000                                                             -2,025.724215090370300
                                                                                     USDT                                                             0.000000023089947                                                                  0.000000023608994

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
79008       Name on file                        FTX Trading Ltd.                       AAVE                                                              0.000000001058330 FTX Trading Ltd.                                                0.000000001058330
                                                                                       AMC                                                               5.700000000000000                                                                 5.700000000000000
                                                                                       ATOM-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       AXS                                                               0.000000005000000                                                                 0.000000005000000
                                                                                       BADGER                                                            0.000000005000000                                                                 0.000000005000000
                                                                                       BCH                                                               0.000843165700000                                                                 0.000843165700000
                                                                                       BCH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       BNB                                                               0.000000009400000                                                                 0.000000009400000
                                                                                       BTC                                                               0.293949120000000                                                                 0.115849125240592
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       CEL                                                               0.000000005000000                                                                 0.000000005000000
                                                                                       DOT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       EGLD-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       ETC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETH                                                               0.000000009600000                                                                 0.000000009600000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       EUR                                                           3,318.173353700000000                                                             3,318.173353700000000
                                                                                       FTT                                                              12.368408363112449                                                                12.368408363112449
                                                                                       KSM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       LINK                                                             17.564115450000000                                                                17.564115450000000
                                                                                       LTC                                                              20.517132900000000                                                                20.517132900000000
                                                                                       NEAR-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       PYPL                                                              1.814729687000000                                                                 1.814729687000000
                                                                                       RUNE-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       SNX                                                              10.981878793327780                                                                10.981878793327780
                                                                                       SRM                                                               3.001969620000000                                                                 3.001969620000000
                                                                                       SRM_LOCKED                                                        0.044035650000000                                                                 0.044035650000000
                                                                                       SRM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SUN                                                             298.984000000000000                                                               298.984000000000000
                                                                                       UNI                                                               0.000000004378750                                                                 0.000000004378750
                                                                                       USD                                                               0.930000000000000                                                             3,078.546502253006000
                                                                                       USDT                                                              0.007103876109657                                                                 0.007103876109657
                                                                                       XAUT                                                              0.000092079025000                                                                 0.000092079025000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
90885       Name on file                        Quoine Pte Ltd                         BTC                                                                                    Quoine Pte Ltd                                               0.000000410000000
                                                                                       DAG                                                          20,000.000000000000000                                                           20,000.000000000000000
                                                                                       ETH                                                                                                                                                 0.000004000000000
                                                                                       ETHW                                                                                                                                                0.000004000000000
                                                                                       LCX                                                        180,100.200000000000000                                                          180,100.205587890000000
                                                                                       USD                                                                                                                                                 0.157420000000000
                                                                                       USDC                                                                                                                                              246.272787780000000
                                                                                       XRP                                                                                                                                                 0.000000010000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32804       Name on file                        FTX Trading Ltd.                       APT-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000001592178
                                                                                       ETH-PERP                                                                                                                                            0.000000000000002
                                                                                       HOT-PERP                                                                                                                                            0.000000000000000
                                                                                       LTC-PERP                                                                                                                                            0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       USD                                                           1,997.000000000000000                                                             1,997.221047140138600
                                                                                       USDT                                                                                                                                                7.745434098348403

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
6759        Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000000009230800
                                                                                       GBP                                                           8,748.460000000000000                                                                 0.000000000000000
                                                                                       LUNA2                                                                                                                                               3.630294130000000
                                                                                       LUNA2_LOCKED                                                                                                                                        8.470686304000000
                                                                                       RUNE                                                                                                                                                0.096582000000000
                                                                                       USD                                                                                                                                           11,152.689060034152000
                                                                                       USDT                                                                                                                                                0.000000007224785
                                                                                       XRP                                                          12,037.135150000000000                                                           12,037.135150000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19726       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
   Claim
  Number                      Name                                     Debtor                        Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                     BNB-PERP                                                                                                                                            0.000000000000000
                                                                                     ETH                                                                                                                                                 0.000024440000000
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     ETHW                                                                                                                                                0.006892270000000
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     GMX                                                                                                                                                 0.009050000000000
                                                                                     GST-PERP                                                                                                                                           -0.000000000001364
                                                                                     LINK-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL-1230                                                                                                                                            0.000000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000001
                                                                                     UBXT                                                                                                                                                2.000000000000000
                                                                                     USD                                                                                                                                             6,800.857721042109000
                                                                                     USDC                                                         6,800.000000000000000                                                                  0.000000000000000
                                                                                     USDT                                                                                                                                                0.000000018265240

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
77894       Name on file                        FTX Trading Ltd.                       AKRO                                                                  Undetermined* FTX Trading Ltd.                                                1.000000000000000
                                                                                       ATLAS                                                                                                                                       100,810.168928960000000
                                                                                       BAO                                                                                                                                                 1.000000000000000
                                                                                       BTT                                                                                                                                                 0.894318020000000
                                                                                       RSR                                                                                                                                                 1.000000000000000
                                                                                       SAND                                                                                                                                               32.903910080000000
                                                                                       TRX                                                                                                                                                 1.002331000000000
                                                                                       USD                                                                                                                                                 0.000000017157835

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31162       Name on file                        FTX Trading Ltd.                       BAO                                                               0.000000010000000 FTX Trading Ltd.                                                0.000000010000000
                                                                                       BICO                                                          1,107.000000000000000                                                             1,107.000000000000000
                                                                                       CEL                                                                                                                                                 0.082920000000000
                                                                                       FTT                                                                                                                                                 0.000000007561481
                                                                                       GARI                                                         10,655.838600000000000                                                           10,655.838600000000000
                                                                                       INDI                                                          4,757.000000000000000                                                             4,757.000000000000000
                                                                                       INTER                                                                                                                                               0.087400000000000
                                                                                       LUNA2                                                             0.000000020000000                                                                 0.000000021400482
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000000049934457
                                                                                       LUNC                                                              0.004660000000000                                                                 0.004660000000000
                                                                                       MNGO                                                                                                                                          13,880.000000000000000
                                                                                       PROM                                                                                                                                                0.009784000000000
                                                                                       REAL                                                          3,094.200000000000000                                                             3,094.200000000000000
                                                                                       RUNE                                                            569.497040000000000                                                               569.497040000000000
                                                                                       SPELL                                                                                                                                              93.480000000000000
                                                                                       SRM                                                               0.003924900000000                                                                 0.003924900000000
                                                                                       SRM_LOCKED                                                                                                                                          0.075583560000000
                                                                                       USD                                                               0.750000000000000                                                                 0.746689665307374
                                                                                       USDT                                                              0.010000000000000                                                                 0.009171045004595

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8186        Name on file                        FTX Trading Ltd.                       BTC                                                               0.149476740000000 FTX Trading Ltd.                                                0.149476744000000
                                                                                       ETH                                                               2.220627040000000                                                                 2.220627040000000
                                                                                       ETHW                                                                                                                                                1.921680860000000
                                                                                       EUR                                                               1.188772285000000                                                                 1.188772285000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31305       Name on file                        FTX Trading Ltd.                       AKRO                                                          8,115.000000000000000 FTX Trading Ltd.                                            8,115.000000000000000
                                                                                       ATLAS                                                           340.000000000000000                                                               340.000000000000000
                                                                                       AXS                                                               6.700000000000000                                                                 6.700000000000000
                                                                                       BNB                                                               0.016634140000000                                                                 0.016634140000000
                                                                                       BTC                                                               0.024197769000000                                                                 0.024197769000000
                                                                                       C98                                                             170.990800000000000                                                               170.990800000000000
                                                                                       CEL                                                              17.996508000000000                                                                17.996508000000000
                                                                                       DOGE                                                         15,458.544327420000000                                                           15,458.544327420000000
                                                                                       DOT                                                              43.400000000000000                                                                43.400000000000000
                                                                                       DYDX                                                              6.700000000000000                                                                 6.700000000000000
                                                                                       ETH                                                               0.376923220000000                                                                 0.376923222000000
                                                                                       ETHW                                                                                                                                                0.376923222000000
                                                                                       FTM                                                             446.970124000000000                                                               446.970124000000000
                                                                                       FTT                                                              52.394244800000000                                                                52.394244800000000
                                                                                       LINK                                                              8.600000000000000                                                                 8.600000000000000
                                                                                       LTC                                                               3.935092860000000                                                                 3.935092860000000
                                                                                       MANA                                                             29.000000000000000                                                                29.000000000000000
                                                                                       MATIC                                                           189.980600000000000                                                               189.980600000000000
                                                                                       RUNE                                                             11.100000000000000                                                                11.100000000000000
                                                                                       SGD                                                               1.143280070000000                                                                 1.143280070000000
                                                                                       SHIB                                                     4,693,617.400000000000000                                                         4,693,617.400000000000000
                                                                                       SOL                                                               3.086508200000000                                                                 3.086508200000000
                                                                                       SRM                                                             204.493325780000000                                                               204.493325780000000
                                                                                       SRM_LOCKED                                                                                                                                          2.995936880000000
                                                                                       SXP                                                              98.490591000000000                                                                98.490591000000000
                                                                                       TRU                                                             470.000000000000000                                                               470.000000000000000
                                                                                       TRX                                                           1,089.788600000000000                                                             1,089.788600000000000
                                                                                       UNI                                                              35.346934800000000                                                                35.346934800000000
                                                                                       USD                                                              60.566247310000000                                                                60.566247319300000
                                                                                       USDT                                                            167.840185990000000                                                               167.840185991615500
                                                                                       XRP                                                             574.945000000000000                                                               574.945000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
73724       Name on file                        FTX Trading Ltd.                       1INCH                                                                                  FTX Trading Ltd.                                            17.996400000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       BNB                                                               0.727100000000000                                                                 0.727173330000000
                                                                                       DOGE                                                           360.000000000000000                                                                360.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       EOS-20210625                                                                                                                                        0.000000000000000
                                                                                       ETH                                                               0.651685390000000                                                                 0.651685390000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.651685390000000
                                                                                       LINK                                                                                                                                                0.299940000000000

Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      LINK-PERP                                                                                                                                            0.000000000000000
                                                                                      LTC                                                               0.299990000000000                                                                  2.911688960000000
                                                                                      LTC-PERP                                                                                                                                             0.000000000000000
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      SHIB                                                    15,813,510.360000000000000                                                          15,813,510.363664225000000
                                                                                      SOL                                                              0.699800000000000                                                                   0.699860000000000
                                                                                      TRX                                                                                                                                                  0.000001000000000
                                                                                      USD                                                              17.450000000000000                                                                 17.455957602077177
                                                                                      XRP                                                              83.456000000000000                                                                 83.456000000000000
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
750         Name on file                        FTX Trading Ltd.                       BRZ                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       CUSDT                                                                                                                                               5.000000000000000
                                                                                       DOGE                                                                                                                                                3.000000000000000
                                                                                       ETHW                                                                                                                                                3.589180150000000
                                                                                       GRT                                                                                                                                                 2.000000000000000
                                                                                       SHIB                                                                                                                                                5.000000000000000
                                                                                       TRX                                                                                                                                                 4.000000000000000
                                                                                       USD                                                          14,190.640000000000000                                                           14,190.642780805554000
                                                                                       USDT                                                                                                                                                3.131362680000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
83897       Name on file                        FTX Trading Ltd.                        BAO                                                                                     FTX Trading Ltd.                                               1.000000000000000
                                                                                        BTC                                                                                                                                                    0.068971830000000
                                                                                        ETH                                                                                                                                                    1.466604520000000
                                                                                        ETHW                                                                                                                                                   1.465989880000000
                                                                                        EUR                                                            1,018.300000000000000                                                               1,008.222204203081200
                                                                                        SOL                                                                                                                                                    1.005842170000000
                                                                                        USD                                                                                                                                                    0.070155861097703

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
81788       Name on file                        FTX Trading Ltd.                       BAT                                                                                    West Realm Shires Services Inc.                              0.798345180000000
                                                                                       BCH                                                                                                                                                 0.011259460000000
                                                                                       BRZ                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       BTC                                                                                                                                                 0.001750450000000
                                                                                       CUSDT                                                                                                                                              30.621443020000000
                                                                                       DOGE                                                                                                                                               16.117606630000000
                                                                                       ETH                                                                                                                                                 0.004161430000000
                                                                                       ETHW                                                                                                                                                0.004161430000000
                                                                                       LINK                                                           151.000000000000000                                                                151.000673590000000
                                                                                       LTC                                                                                                                                                 0.137444870000000
                                                                                       SUSHI                                                             0.500000000000000                                                                 0.589925350000000
                                                                                       TRX                                                                                                                                                 3.000000000000000
                                                                                       UNI                                                                                                                                                 0.272604710000000
                                                                                       USD                                                              19.000000000000000                                                                19.304112444693030
                                                                                       USDT                                                                                                                                                9.940099760000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
23385       Name on file                        FTX Trading Ltd.                        CRO                                                           68,651.030101033570000 FTX Trading Ltd.                                             68,651.030101033570000
                                                                                        ETH                                                                 1.459401310000000                                                                  1.459401310000000
                                                                                        ETHW                                                                1.459401310000000                                                                  1.459401310000000
                                                                                        FTT                                                               324.763325690000000                                                                324.763325690000000
                                                                                        USD                                                            1,416.913446109776415                                                               1,466.913446109776500
                                                                                        USDT                                                                0.000000014551718                                                                  0.000000014551718
                                                                                        USTC                                                               50.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30925       Name on file                        FTX Trading Ltd.                       AVAX                                                              2.999447100000000 FTX Trading Ltd.                                                2.999447100000000
                                                                                       FTT                                                              34.995278500000000                                                                34.995278500000000
                                                                                       MATIC                                                            95.653228700000000                                                                95.653228700000000
                                                                                       PAXG                                                              0.296344270000000                                                                 0.296344272810000
                                                                                       TRX                                                               0.000001000000000                                                                 0.000001000000000
                                                                                       USD                                                            490.900000000000000                                                                490.904144778800000
                                                                                       USDT                                                              0.110000000000000                                                                 0.112534241520000
                                                                                       XAUT                                                                                                                                                0.000000008000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26884       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADABULL                                                                                                                                              0.000000009169000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                           0.000000000000000
                                                                                       ALT-PERP                                                                                                                                             0.000000000000000
                                                                                       AMPL-PERP                                                                                                                                            0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       AR-PERP                                                                                                                                             -0.000000000000001
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM                                                                                                                                                 0.000000000319810
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX                                                                                                                                                 0.000000009303010
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000017
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND-PERP                                                                                                                                            0.000000000000000
                                                                                       BIT-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB                                                                                                                                                  0.000000007231442
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BSV-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.054700000000000                                                                  0.054700008490296
                                                                                       BTC-MOVE-0316                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-WK-0318                                                                                                                                     0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                          0.000000000000000
                                                                                       BULL                                                                                                                                                 0.000000002285000
                                                                                       CELO-PERP                                                                                                                                            0.000000000000000
                                                                                       CEL-PERP                                                                                                                                             0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
   Claim
  Number                      Name                                     Debtor                        Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                     COMP-PERP                                                                                                                                           0.000000000000000
                                                                                     CREAM-PERP                                                                                                                                          0.000000000000000
                                                                                     CRO-PERP                                                                                                                                            0.000000000000000
                                                                                     DEFI-PERP                                                                                                                                           0.000000000000000
                                                                                     DENT-PERP                                                                                                                                           0.000000000000000
                                                                                     DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                     DOT-PERP                                                                                                                                            0.000000000000000
                                                                                     DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                     EGLD-PERP                                                                                                                                          -0.000000000000014
                                                                                     ENJ-PERP                                                                                                                                            0.000000000000000
                                                                                     EOS-PERP                                                                                                                                            0.000000000000000
                                                                                     ETC-PERP                                                                                                                                            0.000000000000000
                                                                                     ETH                                                                                                                                                 0.000000006228284
                                                                                     ETHBULL                                                                                                                                             0.000000003830000
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     EXCH-PERP                                                                                                                                           0.000000000000000
                                                                                     FIL-PERP                                                                                                                                            0.000000000000000
                                                                                     FLOW-PERP                                                                                                                                           0.000000000000000
                                                                                     FTM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT                                                                                                                                                27.943968661669510
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     FXS-PERP                                                                                                                                            0.000000000000000
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     GRT-PERP                                                                                                                                            0.000000000000000
                                                                                     HOT-PERP                                                                                                                                            0.000000000000000
                                                                                     HT-PERP                                                                                                                                             0.000000000000000
                                                                                     ICP-PERP                                                                                                                                            0.000000000000003
                                                                                     IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                     KAVA-PERP                                                                                                                                           0.000000000000000
                                                                                     KNC-PERP                                                                                                                                            0.000000000000000
                                                                                     KSM-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK-PERP                                                                                                                                          -0.000000000000028
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LRC-PERP                                                                                                                                            0.000000000000000
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MID-PERP                                                                                                                                            0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     MNGO-PERP                                                                                                                                           0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                     NEO-PERP                                                                                                                                            0.000000000000000
                                                                                     OKB-PERP                                                                                                                                            0.000000000000000
                                                                                     OMG-PERP                                                                                                                                           -0.000000000000028
                                                                                     ORBS-PERP                                                                                                                                           0.000000000000000
                                                                                     OXY-PERP                                                                                                                                            0.000000000000000
                                                                                     PERP-PERP                                                                                                                                           0.000000000000000
                                                                                     POLIS-PERP                                                                                                                                          0.000000000000000
                                                                                     QTUM-PERP                                                                                                                                           0.000000000000000
                                                                                     RAY                                                                                                                                               192.601885793439600
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     RSR-PERP                                                                                                                                            0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIT-PERP                                                                                                                                           0.000000000000000
                                                                                     SLP-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL                                                                                                                                                 0.000000010000000
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000022
                                                                                     SRM                                                                                                                                               284.012672910000000
                                                                                     SRM_LOCKED                                                                                                                                          5.698406470000000
                                                                                     STEP-PERP                                                                                                                                           0.000000000000000
                                                                                     STX-PERP                                                                                                                                            0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     SXP                                                             64.395635950000000                                                                 64.395635953654360
                                                                                     SXP-PERP                                                                                                                                            0.000000000000000
                                                                                     THETABULL                                                                                                                                           0.000000001421000
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TLM-PERP                                                                                                                                            0.000000000000000
                                                                                     TRU-PERP                                                                                                                                            0.000000000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                            217.630000000000000                                                                217.631143778355800
                                                                                     USDT                                                                                                                                                0.000000006398301
                                                                                     USTC                                                                                                                                                0.000000002796760
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XEM-PERP                                                                                                                                            0.000000000000000
                                                                                     XMR-PERP                                                                                                                                            0.000000000000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                            0.000000000000000
                                                                                     YFI-PERP                                                                                                                                            0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
65744       Name on file                        FTX Trading Ltd.                       AKRO                                                                  Undetermined* FTX Trading Ltd.                                                2.000000000000000
                                                                                       CHZ                                                                                                                                                 1.000000000000000
                                                                                       CRO                                                                                                                                             3,989.944517620000000
                                                                                       FTT                                                                                                                                                38.932320670000000
                                                                                       KIN                                                                                                                                                 4.000000000000000
                                                                                       RSR                                                                                                                                                 1.000000000000000
                                                                                       SOL                                                                                                                                                 6.995333030000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                                                                                                                 0.000000154585137

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26778       Name on file                        FTX Trading Ltd.                       DOT                                                           7,523.000000000000000 FTX Trading Ltd.                                            7,523.356459300000000
                                                                                       SOL                                                             376.000000000000000                                                               376.167816670000000




Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 13 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
   Claim
  Number                   Name                                 Debtor                                Tickers                                 Ticker Quantity                                 Debtor                             Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28847       Name on file                        FTX Trading Ltd.                       BNB-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                         0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               0.775111700000000                                                                 0.775111700000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.775111700000000
                                                                                       GRT-PERP                                                                                                                                            0.000000000000000
                                                                                       MANA                                                                                                                                              170.000000000000000
                                                                                       MANA-PERP                                                                                                                                           0.000000000000000
                                                                                       RUNE                                                           323.877480000000000                                                                323.877480000000000
                                                                                       SAND                                                             99.000000000000000                                                                99.000000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       STX-PERP                                                                                                                                            0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000003000000000
                                                                                       USD                                                                                                                                                 1.287233899276393
                                                                                       USDC                                                              1.290000000000000                                                                 0.000000000000000
                                                                                       USDT                                                              2.610000000000000                                                                 2.609310802424648
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27399       Name on file                        FTX Trading Ltd.                       DOT                                                              30.351967450000000 FTX Trading Ltd.                                               30.351967450000000
                                                                                       ETH                                                               2.766787833000000                                                                 2.767878330000000
                                                                                       ETHW                                                              2.767524450000000                                                                 2.767524456000000
                                                                                       XRP                                                           1,997.534244110000000                                                             1,997.534244110000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29345       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             1.000000000000000
                                                                                       BRZ
                                                                                       CHZ-20211231                                                                                                                                        0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000006760160
                                                                                       LOOKS                                                                                                                                               0.000000003169394
                                                                                       SOL                                                                                                                                                 0.000000000300000
                                                                                       TRX                                                                                                                                                 0.000045000000000
                                                                                       USD                                                                                                                                                 0.000022111652763
                                                                                       USDT                                                          9,848.820000000000000                                                             9,848.818100021397000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31130       Name on file                        FTX Trading Ltd.                       ETH                                                               2.573037300000000 FTX Trading Ltd.                                                2.573037300000000
                                                                                       ETHW                                                                                                                                                2.571956610000000
                                                                                       EUR                                                                                                                                                 0.000008621725073
                                                                                       KIN                                                                                                                                                 2.000000000000000
                                                                                       RSR                                                                                                                                                 1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
85348       Name on file                        FTX Trading Ltd.                       USD                                                           2,000.000000000000000 West Realm Shires Services Inc.                             4,000.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
29525       Name on file                        FTX Trading Ltd.                        BAT                                                                                     West Realm Shires Services Inc.                                2.000000000000000
                                                                                        BRZ                                                                                                                                                    6.286323020000000
                                                                                        CUSDT                                                                                                                                                 17.000000000000000
                                                                                        DOGE                                                                                                                                                  12.150234474183570
                                                                                        ETH                                                                                                                                                    0.000000007492351
                                                                                        ETHW                                                                                                                                                   0.302918217492351
                                                                                        LINK                                                                                                                                                   0.000000004337039
                                                                                        SHIB                                                                                                                                                  14.000000000000000
                                                                                        SOL                                                                                                                                                    0.000073362838697
                                                                                        TRX                                                                                                                                                    9.000000000000000
                                                                                        USD                                                            1,072.070000000000000                                                               1,072.065070444867000
                                                                                        USDT                                                                                                                                                   2.098993350000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
34779       Name on file                        FTX Trading Ltd.                        AVAX                                                                                    FTX Trading Ltd.                                              0.003892266474095
                                                                                        ETH                                                               1.531000000000000                                                                   1.531000000000000
                                                                                        ETHW                                                              1.531000000000000                                                                   1.531000000000000
                                                                                        USD                                                                                                                                                   0.000000018383410
                                                                                        USDT                                                                                                                                                  0.000000827739014

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80655       Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.000000007840799
                                                                                       FTT                                                              25.069292390000000                                                                25.069292390000000
                                                                                       JOE                                                                                                                                                 1.000000000000000
                                                                                       MATIC                                                         1,078.894246960000000                                                             1,078.894246960000000
                                                                                       USD                                                           2,524.763128786300747                                                             2,524.763128786301000
                                                                                       USDT                                                              0.745586777803155                                                                 0.745586777803155

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34345       Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.036110840000000
                                                                                       CUSDT                                                                                                                                               7.000000000000000
                                                                                       DOGE                                                                                                                                                2.000000000000000
                                                                                       ETH                                                                                                                                                 1.236559990000000
                                                                                       ETHW                                                                                                                                                0.941994560000000
                                                                                       SHIB                                                                                                                                                6.000000000000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                           1,015.730000000000000                                                             1,015.727018639068100

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
92250       Name on file                        FTX Trading Ltd.                       LUNA2                                                             0.590419739400000 FTX Trading Ltd.                                                 0.590419739400000
                                                                                       LUNA2_LOCKED                                                      1.000000000000000                                                                  1.377646059000000
                                                                                       LUNC                                                              2.186437201046020                                                                  2.186437201046020
                                                                                       LUNC-PERP                                                                                                                                           -0.000000000000028
                                                                                       USD                                                           1,112.720000000000000                                                             1,112.726438368733600
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                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                          2,487.460000000000000                                                              2,487.464966083936000
                                                                                      USTC                                                             76.985370000000000                                                                 76.985370000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
55836       Name on file                        FTX Trading Ltd.                       BEAR                                                                                   FTX Trading Ltd.                                           747.000000000000000
                                                                                       BTC                                                                                                                                                 0.000080020000000
                                                                                       BULL                                                                                                                                                0.000016280000000
                                                                                       LUNA2                                                                                                                                               0.002296189050000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.005357774450000
                                                                                       LUNC                                                            500.000000000000000                                                               500.000000000000000
                                                                                       SPY                                                                                                                                                 0.000362600000000
                                                                                       USD                                                          60,600.962501113470340                                                           60,600.962501113470000
                                                                                       USDT                                                                                                                                                0.006064592500000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9064        Name on file                        FTX Trading Ltd.                       ALGOBULL                                                49,158,286.000000000000000 FTX Trading Ltd.                                       49,158,286.000000000000000
                                                                                       EOSBULL                                                                                                                                   29,137,973.906544640000000
                                                                                       GRTBULL                                                                                                                                    7,000,000.000000000000000
                                                                                       LINKBULL                                                                                                                                     800,000.000000005800000
                                                                                       LTCBULL                                                    160,000.000000000000000                                                           160,000.000000005030000
                                                                                       MATICBULL                                                                                                                                    200,000.000000003730000
                                                                                       THETABULL                                                  200,000.000000000000000                                                           200,000.000000000000000
                                                                                       TRX                                                               0.940000000000000                                                                 0.945034000000000
                                                                                       USD                                                               0.000000009399319                                                                 0.000000009399319
                                                                                       USDT                                                          2,191.780000000000000                                                             2,191.788161123606000
                                                                                       XRPBULL                                                    240,000.000000000000000                                                           240,000.000000002420000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
71846       Name on file                        FTX Trading Ltd.                       ALGO-0325                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX                                                                                                                                                0.000000004621020
                                                                                       AVAX-0325                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       BTC                                                                                                                                                 1.090048495938863
                                                                                       BTC-0325                                                                                                                                            0.000000000000000
                                                                                       BTC-0624                                                                                                                                            0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CREAM-PERP                                                                                                                                          0.000000000000007
                                                                                       DOT                                                                                                                                                 0.000000007666200
                                                                                       DOT-0325                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000014938184
                                                                                       ETH-0325                                                                                                                                            0.000000000000000
                                                                                       ETH-0624                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ICX-PERP                                                                                                                                            0.000000000000000
                                                                                       LEO-PERP                                                                                                                                            0.000000000000000
                                                                                       RUNE                                                                                                                                                0.000000001879880
                                                                                       RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                       SCRT-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL                                                                                                                                                 0.000000000410860
                                                                                       SOL-0325                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       SUSHI                                                                                                                                               0.000000012741350
                                                                                       SUSHI-0325                                                                                                                                          0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       USD                                                          18,377.200000000000000                                                                 0.000019514488543
                                                                                       XRP                                                                                                                                                 0.000000006555190
                                                                                       XRP-0325                                                                                                                                            0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
15952       Name on file                        FTX Trading Ltd.                       BRZ                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       BTC                                                               0.005140000000000                                                                 0.005149310000000
                                                                                       CUSDT                                                                                                                                               6.000000000000000
                                                                                       DOGE                                                              2.000000000000000                                                                 2.000000000000000
                                                                                       ETH                                                               1.707400000000000                                                                 1.707410540000000
                                                                                       ETHW                                                                                                                                                1.707410540000000
                                                                                       LINK                                                             28.743100000000000                                                                28.743065980000000
                                                                                       MATIC                                                            58.885900000000000                                                                58.885899390000000
                                                                                       NFT                                                                                                                                                 1.000000000000000
                                                                                       (288620571445179806/CRYPTOFABULA
                                                                                       #280)
                                                                                       NFT (301607842220526150/TIM                                                                                                                         1.000000000000000
                                                                                       BROWN'S PLAYBOOK: SAN DIEGO
                                                                                       CHARGERS VS. LOS ANGELES RAIDERS -
                                                                                       SEPTEMBER 4, 1988 #73)
                                                                                       NFT (311316435899798720/TIM                                                                                                                         1.000000000000000
                                                                                       BROWN'S PLAYBOOK: NEW YORK JETS
                                                                                       VS. OAKLAND RAIDERS - DECEMBER 2,
                                                                                       2002 #51)
                                                                                       NFT (373785018431164217/MARCUS                                                                                                                      1.000000000000000
                                                                                       ALLEN'S PLAYBOOK: LOS ANGELES
                                                                                       RAIDERS VS. WASHINGTON - JANUARY
                                                                                       22, 1984 #99)
                                                                                       SOL                                                               0.640000000000000                                                                 0.641517520000000
                                                                                       TRX                                                           1,334.000000000000000                                                             1,334.301867400000000
                                                                                       USD                                                                                                                                               200.019542381808980

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
7419        Name on file                        FTX Trading Ltd.                        1INCH-PERP                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                        AAVE-PERP                                                                                                                                             0.000000000000000
                                                                                        ADA-PERP                                                                                                                                              0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                             0.000000000000000
                                                                                        ALPHA-PERP                                                                                                                                            0.000000000000000
                                                                                        ALT-PERP                                                                                                                                              0.000000000000000
                                                                                        AMPL                                                                                                                                                  0.000000000067339
                                                                                        AMPL-PERP                                                                                                                                             0.000000000000000
                                                                                        APE-PERP                                                                                                                                              0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                              Ticker Quantity
                                                                                     AR-PERP                                                                                                                                            0.000000000000000
                                                                                     ASD-PERP                                                                                                                                           0.000000000000000
                                                                                     ATOM-PERP                                                                                                                                          0.000000000000014
                                                                                     AUDIO-PERP                                                                                                                                         0.000000000000000
                                                                                     AVAX-PERP                                                                                                                                          4.500000000000000
                                                                                     BADGER-PERP                                                                                                                                        0.000000000000000
                                                                                     BAO-PERP                                                                                                                                           0.000000000000000
                                                                                     BAT-PERP                                                                                                                                           0.000000000000000
                                                                                     BCH-PERP                                                                                                                                           0.000000000000000
                                                                                     BNB-PERP                                                                                                                                           0.000000000000000
                                                                                     BSV-PERP                                                                                                                                           0.000000000000000
                                                                                     BTC-PERP                                                                                                                                           0.000000000000000
                                                                                     CHZ-PERP                                                                                                                                           0.000000000000000
                                                                                     CONV-PERP                                                                                                                                          0.000000000000000
                                                                                     DEFI-PERP                                                                                                                                          0.000000000000000
                                                                                     DENT-PERP                                                                                                                                          0.000000000000000
                                                                                     DOGE-PERP                                                                                                                                          0.000000000000000
                                                                                     DOT-PERP                                                                                                                                           0.000000000000000
                                                                                     ENJ-PERP                                                                                                                                         279.000000000000000
                                                                                     EOS-PERP                                                                                                                                           0.000000000000000
                                                                                     ETC-PERP                                                                                                                                           0.000000000000000
                                                                                     ETH-PERP                                                                                                                                           0.000000000000000
                                                                                     FIL-PERP                                                                                                                                          38.400000000000000
                                                                                     FTM-PERP                                                                                                                                           0.000000000000000
                                                                                     GALA-PERP                                                                                                                                      1,710.000000000000000
                                                                                     GRT-PERP                                                                                                                                           0.000000000000000
                                                                                     HBAR-PERP                                                                                                                                          0.000000000000000
                                                                                     HT-PERP                                                                                                                                            0.000000000000000
                                                                                     ICP-PERP                                                                                                                                          21.090000000000000
                                                                                     KAVA-PERP                                                                                                                                          0.000000000000000
                                                                                     KIN-PERP                                                                                                                                           0.000000000000000
                                                                                     KNC-PERP                                                                                                                                           0.000000000000000
                                                                                     KSM-PERP                                                                                                                                           0.000000000000000
                                                                                     LINA-PERP                                                                                                                                          0.000000000000000
                                                                                     LINK-PERP                                                                                                                                          0.000000000000035
                                                                                     LTC-PERP                                                                                                                                           0.000000000000001
                                                                                     LUNC-PERP                                                                                                                                          0.000000000000000
                                                                                     MANA-PERP                                                                                                                                        159.000000000000000
                                                                                     MATIC-PERP                                                                                                                                       246.000000000000000
                                                                                     MEDIA-PERP                                                                                                                                         0.000000000000000
                                                                                     MID-PERP                                                                                                                                           0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                          0.000000000000000
                                                                                     NEO-PERP                                                                                                                                           0.000000000000000
                                                                                     OMG-PERP                                                                                                                                           0.000000000000000
                                                                                     ONT-PERP                                                                                                                                           0.000000000000000
                                                                                     OXY-PERP                                                                                                                                       1,312.100000000000000
                                                                                     QTUM-PERP                                                                                                                                          0.000000000000000
                                                                                     RAY-PERP                                                                                                                                           0.000000000000000
                                                                                     REEF-PERP                                                                                                                                          0.000000000000000
                                                                                     REN-PERP                                                                                                                                           0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                          0.000000000000000
                                                                                     SAND-PERP                                                                                                                                          0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                 18,700,000.000000000000000
                                                                                     SHIT-PERP                                                                                                                                          0.000000000000000
                                                                                     SNX-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL-PERP                                                                                                                                           0.000000000000000
                                                                                     SRM-PERP                                                                                                                                           0.000000000000000
                                                                                     SRN-PERP                                                                                                                                           0.000000000000000
                                                                                     STX-PERP                                                                                                                                           0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                         0.000000000000000
                                                                                     SXP-PERP                                                                                                                                          -0.000000000000028
                                                                                     THETA-PERP                                                                                                                                        -0.000000000000014
                                                                                     TOMO-PERP                                                                                                                                         -0.000000000000028
                                                                                     TRU-PERP                                                                                                                                           0.000000000000000
                                                                                     TRX-PERP                                                                                                                                           0.000000000000000
                                                                                     USD                                                          1,004.067000000000000                                                                -9.697395395110533
                                                                                     USDT                                                                                                                                               0.000000009849196
                                                                                     WAVES-PERP                                                                                                                                         0.000000000000000
                                                                                     XLM-PERP                                                                                                                                           0.000000000000000
                                                                                     XRP-PERP                                                                                                                                           0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                           0.000000000000007
                                                                                     YFII-PERP                                                                                                                                          0.000000000000000
                                                                                     YFI-PERP                                                                                                                                           0.000000000000000
                                                                                     ZEC-PERP                                                                                                                                           0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                           0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
69566       Name on file                        FTX Trading Ltd.                       BTC                                                               0.035850000000000 FTX Trading Ltd.                                                0.051729350000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
54892       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                           0.000000000000000
                                                                                       APE-PERP                                                                                                                                            -0.000000000000454
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000028
                                                                                       AUDIO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX                                                                                                                                                 0.000000000554388
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BADGER-PERP                                                                                                                                          0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000006
                                                                                       CHR-PERP                                                                                                                                             0.000000000000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       CVC-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT                                                                                                                                                  0.000000010000000
                                                                                       DOT-PERP                                                                                                                                            -0.000000000000227
                                                                                       DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000003187069
                                                                                       ETH-PERP                                                                                                                                             0.000000000000010
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  0.039319625025806
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 16 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     FTT-PERP                                                                                                                                           -0.000000000001278
                                                                                     FXS-PERP                                                                                                                                            0.000000000000000
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     KIN-PERP                                                                                                                                            0.000000000000000
                                                                                     KSHIB-PERP                                                                                                                                          0.000000000000000
                                                                                     KSOS-PERP                                                                                                                                           0.000000000000000
                                                                                     LINA-PERP                                                                                                                                           0.000000000000000
                                                                                     LINK-PERP                                                                                                                                           0.000000000000000
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LRC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNA2_LOCKED                                                                                                                                       48.252227070000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000738
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MOB-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                     OMG-20211231                                                                                                                                        0.000000000000000
                                                                                     OMG-PERP                                                                                                                                            0.000000000000568
                                                                                     ONE-PERP                                                                                                                                            0.000000000000000
                                                                                     OXY-PERP                                                                                                                                            0.000000000000000
                                                                                     PERP-PERP                                                                                                                                           0.000000000000000
                                                                                     PROM-PERP                                                                                                                                           0.000000000000000
                                                                                     RNDR-PERP                                                                                                                                           0.000000000000000
                                                                                     ROOK-PERP                                                                                                                                           0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SLP-PERP                                                                                                                                            0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     SOS-PERP                                                                                                                                            0.000000000000000
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     STEP-PERP                                                                                                                                           0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     TONCOIN-PERP                                                                                                                                        0.000000000000000
                                                                                     TRX                                                                                                                                             9,001.000000000000000
                                                                                     USD                                                         20,242.240000000000000                                                             20,242.236341227734000
                                                                                     USDT                                                                                                                                                0.000005914499747
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     YFI-0325                                                                                                                                            0.000000000000000
                                                                                     ZEC-PERP                                                                                                                                            0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
96261       Name on file                        FTX Trading Ltd.                       AKRO                                                              5.000000000000000 FTX Trading Ltd.                                                5.000000000000000
                                                                                       ATLAS                                                             0.350000000000000                                                                 0.351882370000000
                                                                                       BAO                                                              61.000000000000000                                                                61.000000000000000
                                                                                       DENT                                                              4.000000000000000                                                                 4.000000000000000
                                                                                       EUR                                                           1,935.322432085923487                                                             1,935.322432085923500
                                                                                       FRONT                                                                                                                                               1.000000000000000
                                                                                       KIN                                                              53.000000000000000                                                                53.000000000000000
                                                                                       LUNA2                                                                                                                                               0.001347752390000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.003144755578000
                                                                                       LUNC                                                            293.000000000000000                                                               293.475920550000000
                                                                                       MANA                                                                                                                                                0.000072500000000
                                                                                       TRX                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       UBXT                                                              5.000000000000000                                                                 5.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1943        Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.000000005531857
                                                                                       DAI                                                                                                                                                 0.000000010000000
                                                                                       ETHW                                                                                                                                                7.029962003025674
                                                                                       SOL                                                                                                                                                 0.007213570000000
                                                                                       USD                                                          41,728.800000000000000                                                           41,728.802095031130000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
4082        Name on file                        West Realm Shires Services Inc.                                                                                               West Realm Shires Services Inc.                            118.000000000000000
                                                                                       AVAX
                                                                                       SOL                                                                                                                                                77.192730000000000
                                                                                       TRX                                                                                                                                                 0.011614000000000
                                                                                       USD                                                          47,236.000000000000000                                                             5,665.896332801714000
                                                                                       USDT                                                                                                                                          38,828.730811010000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80651       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       AAVE                                                              0.008051800000000                                                                  0.008051802994120
                                                                                       AAVE-PERP                                                                                                                                            0.000000000000017
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       AGLD-PERP                                                                                                                                           -0.000000000000227
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                           0.000000000000000
                                                                                       ALPHA-PERP                                                                                                                                           0.000000000000000
                                                                                       ALT-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       AR-PERP                                                                                                                                              0.000000000000000
                                                                                       ATLAS                                                        12,564.274387440000000                                                           12,564.274387440000000
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000113
                                                                                       AUD                                                          24,119.880000000000000                                                           24,119.877132735088000
                                                                                       AUDIO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000384
                                                                                       AXS-PERP                                                                                                                                            -0.000000000000003
                                                                                       BADGER-PERP                                                                                                                                          0.000000000000000
                                                                                       BAL-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND-PERP                                                                                                                                            0.000000000000369
                                                                                       BNB                                                               0.008194600000000                                                                  0.008194600000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BNT-PERP                                                                                                                                             0.000000000000000
                                                                                       BSV-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.000056220000000                                                                  0.000056225550000
                                                                                       BTC-MOVE-20200426                                                                                                                                    0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 17 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     CELO-PERP                                                                                                                                           0.000000000000000
                                                                                     CHR-PERP                                                                                                                                            0.000000000000000
                                                                                     CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                     COMP-PERP                                                                                                                                           0.000000000000000
                                                                                     CREAM-PERP                                                                                                                                          0.000000000000001
                                                                                     CRV-PERP                                                                                                                                            0.000000000000000
                                                                                     DEFI-PERP                                                                                                                                           0.000000000000000
                                                                                     DMG-PERP                                                                                                                                            0.000000000000014
                                                                                     DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                     DOT-PERP                                                                                                                                           -0.000000000000062
                                                                                     DRGN-PERP                                                                                                                                           0.000000000000000
                                                                                     DYDX                                                            60.200000000000000                                                                 60.200000000000000
                                                                                     DYDX-PERP                                                                                                                                          -0.000000000000056
                                                                                     ENJ                                                                                                                                                 0.775356030000000
                                                                                     ENJ-PERP                                                                                                                                            0.000000000000000
                                                                                     EOS-PERP                                                                                                                                            0.000000000000000
                                                                                     ETC-PERP                                                                                                                                            0.000000000000000
                                                                                     ETH                                                              0.715521110000000                                                                  0.715521115130850
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     ETHW                                                             2.031602020000000                                                                  2.031602024125500
                                                                                     FIL-PERP                                                                                                                                            0.000000000000000
                                                                                     FLOW-PERP                                                                                                                                           0.000000000000000
                                                                                     FTM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT                                                            150.068625620000000                                                                150.068625625030600
                                                                                     FTT-PERP                                                                                                                                           -0.000000000000092
                                                                                     FXS-PERP                                                                                                                                            0.000000000000000
                                                                                     GALA-PERP                                                                                                                                           0.000000000000000
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     GRT-PERP                                                                                                                                            0.000000000000000
                                                                                     HBAR-PERP                                                                                                                                           0.000000000000000
                                                                                     ICX-PERP                                                                                                                                            0.000000000000000
                                                                                     IMX                                                                                                                                                 0.025362710000000
                                                                                     IMX-PERP                                                                                                                                            0.000000000000000
                                                                                     IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                     KAVA-PERP                                                                                                                                           0.000000000000000
                                                                                     KNC                                                                                                                                                 0.033825000000000
                                                                                     KNC-PERP                                                                                                                                            0.000000000000255
                                                                                     KSM-PERP                                                                                                                                           -0.000000000000001
                                                                                     LINA-PERP                                                                                                                                           0.000000000000000
                                                                                     LINK                                                             0.057575220000000                                                                  0.057575220000000
                                                                                     LINK-PERP                                                                                                                                          -0.000000000000049
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LRC-PERP                                                                                                                                            0.000000000000000
                                                                                     LTC                                                                                                                                                 0.001204950000000
                                                                                     LTC-PERP                                                                                                                                           -0.000000000000001
                                                                                     LUNC-PERP                                                                                                                                          -0.000000000000085
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MID-PERP                                                                                                                                            0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000001428
                                                                                     NEO-PERP                                                                                                                                            0.000000000000000
                                                                                     OKB-PERP                                                                                                                                           -0.000000000000003
                                                                                     OMG-PERP                                                                                                                                            0.000000000000163
                                                                                     ONE-PERP                                                                                                                                            0.000000000000000
                                                                                     OXY-PERP                                                                                                                                            0.000000000000000
                                                                                     PEOPLE-PERP                                                                                                                                         0.000000000000000
                                                                                     PERP-PERP                                                                                                                                           0.000000000000000
                                                                                     POLIS                                                                                                                                               0.096142000000000
                                                                                     POLIS-PERP                                                                                                                                         -0.000000000000085
                                                                                     RAY                                                            234.160883100000000                                                                234.160883100000000
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     ROSE-PERP                                                                                                                                           0.000000000000000
                                                                                     RSR-PERP                                                                                                                                            0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                          -0.000000000000099
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIT-PERP                                                                                                                                           0.000000000000000
                                                                                     SLP-PERP                                                                                                                                            0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000000227
                                                                                     SOL                                                              0.007052940000000                                                                  0.007052940000000
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000074
                                                                                     SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                     SRM                                                              2.817191430000000                                                                  2.817191430000000
                                                                                     SRM_LOCKED                                                                                                                                         33.296035780000000
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     STEP                                                           568.600000000000000                                                                568.600000000000000
                                                                                     STEP-PERP                                                                                                                                          -0.000000000000113
                                                                                     STORJ                                                                                                                                               0.065883430000000
                                                                                     STORJ-PERP                                                                                                                                          0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     SXP                                                                                                                                                 0.002766000000000
                                                                                     SXP-PERP                                                                                                                                            0.000000000000000
                                                                                     THETA-PERP                                                                                                                                         -0.000000000000909
                                                                                     TOMO-PERP                                                                                                                                           0.000000000000000
                                                                                     TRX                                                                                                                                                 0.000784000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                           -0.000000000000031
                                                                                     UNISWAP-PERP                                                                                                                                        0.000000000000000
                                                                                     USD                                                          8,865.950000000000000                                                              8,865.950355591058000
                                                                                     USDT                                                            38.610000000000000                                                                 38.605047802218465
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XLM-PERP                                                                                                                                            0.000000000000000
                                                                                     XMR-PERP                                                                                                                                           -0.000000000000001
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                           -0.000000000000341
                                                                                     YFI-PERP                                                                                                                                            0.000000000000000
                                                                                     ZEC-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84925       Name on file                        FTX Trading Ltd.                       BTC                                                               0.000462690000000 FTX Trading Ltd.                                                0.000462690000000
                                                                                       ETH                                                               0.983000115194371                                                                 0.983000115194371
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 18 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ETHW                                                             0.653000000000000                                                                  0.653000000000000
                                                                                     USD                                                                                                                                                 2.915446046000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52644       Name on file                        FTX Trading Ltd.                       ASD                                                                                    FTX Trading Ltd.                                             0.000000005000000
                                                                                       BNB                                                                                                                                                 0.000000002500000
                                                                                       ETHW                                                              0.250000000000000                                                                 0.250000000000000
                                                                                       FTT                                                             201.660610785398229                                                               201.660610785398230
                                                                                       LUNA2                                                             2.945659215000000                                                                 2.945659215000000
                                                                                       LUNA2_LOCKED                                                                                                                                        6.873204835000000
                                                                                       LUNC                                                         20,228.000000000000000                                                           20,228.000000000000000
                                                                                       MAPS                                                          1,724.125820000000000                                                             1,724.125820000000000
                                                                                       MATIC                                                                                                                                               0.000000006452598
                                                                                       RUNE                                                            920.966446109300210                                                               920.966446109300300
                                                                                       SGD                                                               6.753589960000000                                                                 6.753589960000000
                                                                                       SOL                                                             124.464986191527786                                                               124.464986191527790
                                                                                       TRX                                                                                                                                                 0.000004000000000
                                                                                       USD                                                               1.468803107967323                                                                 1.468803107967323
                                                                                       USDT                                                                                                                                                0.000000009808666

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26672       Name on file                        FTX Trading Ltd.                       BTC                                                               0.001497340000000 FTX Trading Ltd.                                                0.001497342000000
                                                                                       DOGE                                                            694.216788470000000                                                               694.216788470000000
                                                                                       ETH                                                               2.022390950000000                                                                 2.022390950000000
                                                                                       ETHW                                                                                                                                                2.022390950000000
                                                                                       LINK                                                             86.538813930000000                                                                86.538813930000000
                                                                                       SHIB                                                       263,898.662913440000000                                                          263,898.662913440000000
                                                                                       SOL                                                           1,173.391688460000000                                                             1,173.391688466080000
                                                                                       USD                                                               6.550000000000000                                                                 6.553602749093303
                                                                                       XRP                                                           1,081.766797780000000                                                             1,081.766797780000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
81016       Name on file                        West Realm Shires Services Inc.        BRZ                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       CUSDT                                                                                                                                               7.000000000000000
                                                                                       DOGE                                                              4.000000000000000                                                                 4.000000000000000
                                                                                       ETH                                                               0.566141460000000                                                                 0.566141460000000
                                                                                       ETHW                                                              0.051903250000000                                                                 0.051903250000000
                                                                                       GRT                                                                                                                                                 1.000000000000000
                                                                                       SHIB                                                    73,224,013.933565810000000                                                        73,224,013.933565810000000
                                                                                       SOL                                                               0.009041970000000                                                                 0.009041970000000
                                                                                       TRX                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       USD                                                                                                                                                 0.015133762323064

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29962       Name on file                        FTX Trading Ltd.                       DOGE                                                         31,008.986000000000000 FTX Trading Ltd.                                          31,008.985994090000000
                                                                                       SOL                                                               0.006800000000000                                                                 0.006781400000000
                                                                                       USD                                                               1.689100000000000                                                                 1.698052700000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84789       Name on file                        FTX Trading Ltd.                       AKRO                                                                                   FTX Trading Ltd.                                             1.000000000000000
                                                                                       BTC                                                               0.014132290000000                                                                 0.014132290000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       ETH                                                               2.614353510000000                                                                 2.614353510000000
                                                                                       ETHW                                                              2.613852230000000                                                                 2.613852230000000
                                                                                       FIDA                                                                                                                                                1.034064520000000
                                                                                       KIN                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       RSR                                                                                                                                                 1.000000000000000
                                                                                       TRX                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       UBXT                                                              2.000000000000000                                                                 2.000000000000000
                                                                                       USD                                                                                                                                                 0.000029036199876
                                                                                       USDT                                                          3,796.991249416090523                                                             3,796.991249416090300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
4129        Name on file                        FTX Trading Ltd.                       KIN                                                                                    FTX Trading Ltd.                                             1.000000000000000
                                                                                       MOB                                                                                                                                                19.786324560000000
                                                                                       RUNE                                                                                                                                                1.050730960000000
                                                                                       TRX                                                                                                                                                 0.001554000000000
                                                                                       USD                                                          10,852.860000000000000                                                           10,852.866452925338000
                                                                                       USDT                                                                                                                                                0.093006602721411

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
72319       Name on file                        FTX Trading Ltd.                       BTC                                                               0.038916670000000 FTX Trading Ltd.                                                0.040692357823653
                                                                                       BTC-MOVE-0319                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0320                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0326                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0327                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0402                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0403                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0404                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0406                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0409                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0410                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0423                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0430                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0514                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0515                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0609                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0612                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-2022Q2                                                                                                                                     0.000000000000000
                                                                                       BTC-MOVE-WK-0610                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-WK-0812                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-WK-1014                                                                                                                                    0.000000000000000
                                                                                       CRV                                                                                                                                                 0.994936600000000
                                                                                       DOT                                                                                                                                                 0.099127000000000
                                                                                       EDEN                                                                                                                                               17.996760000000000
                                                                                       ETH                                                               0.240475060000000                                                                 0.229475066000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.159492580000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 19 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     FTT                                                                                                                                                 6.526258921437282
                                                                                     SLP                                                                                                                                                 9.912700000000000
                                                                                     SLRS                                                                                                                                               59.989524000000000
                                                                                     SOL                                                                                                                                                 0.009895240000000
                                                                                     SPELL                                                                                                                                              99.301600000000000
                                                                                     USD                                                           -157.060000000000000                                                               -157.574940367555000
                                                                                     WBTC                                                                                                                                                0.000000255393600
                                                                                     XRP                                                                                                                                                 0.956350000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91367       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             0.000000005082450
                                                                                       1INCH
                                                                                       AAVE                                                                                                                                                0.000000007050220
                                                                                       ATLAS                                                        25,000.125000000000000                                                           25,000.125000000000000
                                                                                       AUDIO                                                         1,500.007500000000000                                                             1,500.007500000000000
                                                                                       AURY                                                            125.000425000000000                                                               125.000425000000000
                                                                                       BAND                                                                                                                                                0.000000004443580
                                                                                       BNB                                                                                                                                                 0.000000002163320
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.524377060000000                                                                 0.524377060794510
                                                                                       CEL                                                                                                                                                 0.000000005000000
                                                                                       CRO                                                           1,000.010000000000000                                                             1,000.010000000000000
                                                                                       DOGE                                                                                                                                                0.000000000413030
                                                                                       ETH                                                               1.460510340000000                                                                 1.460510340141997
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                              0.068415120000000                                                                 0.068415121110327
                                                                                       FLOW-PERP                                                                                                                                           0.000000000000000
                                                                                       FTM                                                                                                                                                 0.000000000850220
                                                                                       FTT                                                             175.458614450000000                                                               175.458614450000000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GODS                                                            150.000750000000000                                                               150.000750000000000
                                                                                       GT                                                                                                                                                 50.000500000000000
                                                                                       IMX                                                             300.001500000000000                                                               300.001500000000000
                                                                                       KNC                                                           1,442.874865030000000                                                             1,442.874865035075600
                                                                                       LINK                                                            152.319451430000000                                                               152.319451432973580
                                                                                       LTC                                                              31.952952660000000                                                                31.952952662248090
                                                                                       OKB                                                             172.532341480000000                                                               172.532341487592500
                                                                                       OXY                                                                                                                                             9,543.930000000000000
                                                                                       RAY                                                             364.669088980000000                                                               364.669088989159100
                                                                                       RUNE                                                                                                                                                0.000000006320725
                                                                                       SLP                                                                                                                                                 1.000000000000000
                                                                                       SOL                                                              74.609266620000000                                                                74.609266620333810
                                                                                       SRM                                                             658.095296150000000                                                               658.095296150000000
                                                                                       SRM_LOCKED                                                                                                                                          6.860414850000000
                                                                                       TRX                                                               0.000869200000000                                                                 0.000869205365100
                                                                                       USD                                                          22,829.980000000000000                                                           22,829.980915827102000
                                                                                       USDT                                                                                                                                                0.000000010754885
                                                                                       YFI                                                                                                                                                 0.000000004670785

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33028       Name on file                        West Realm Shires Services Inc.        BRZ                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       CUSDT                                                             3.000000000000000                                                                 3.000000000000000
                                                                                       DOGE                                                         10,921.082240120000000                                                           10,921.082240120000000
                                                                                       ETH                                                               1.962243770000000                                                                 1.962243770000000
                                                                                       ETHW                                                              1.962243770000000                                                                 1.962243770000000
                                                                                       SHIB                                                     7,861,635.220125780000000                                                         7,861,635.220125780000000
                                                                                       TRX                                                                                                                                                 3.000000000000000
                                                                                       USD                                                                                                                                                 0.000000008388822
                                                                                       USDT                                                              1.000000000000000                                                                 1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7364        Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.002081110000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               0.074857500000000                                                                 0.074857500000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                4.076377500000000
                                                                                       FTM                                                                                                                                                 0.766501610000000
                                                                                       FTT                                                                                                                                                 0.080136500000000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       MBS                                                                                                                                                 0.475315830000000
                                                                                       SOL                                                            164.737175940000000                                                                164.737175940000000
                                                                                       USD                                                            485.161133152892400                                                                485.161133152892400
                                                                                       USDT                                                                                                                                                0.000000003649120
                                                                                       XRP                                                                                                                                                 0.087430000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31122       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       APE                                                                                                                                                  0.060137150000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000454
                                                                                       APT-PERP                                                                                                                                             0.000000000000000
                                                                                       AR-PERP                                                                                                                                             -0.000000000000170
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM                                                                                                                                                 0.026523000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX                                                                                                                                                 0.060000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAL-PERP                                                                                                                                             0.000000000000000
                                                                                       BCH-PERP                                                                                                                                             0.000000000000000
                                                                                       BIT-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB                                                                                                                                                  0.002631814101120
                                                                                       BNB-PERP                                                                                                                                             0.000000000000014
                                                                                       BSV-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.000193660000000                                                                  0.000193661511410
                                                                                       BTC-PERP                                                                                                                                             0.000000000000001
                                                                                       CEL-PERP                                                                                                                                             0.000000000029103
                                                                                       COMP                                                                                                                                                 0.000007000000000
                                                                                       CUSDT                                                                                                                                                0.336538956447251
                                                                                       DAI                                                                                                                                                  0.000000001505500
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 20 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     DAWN-PERP                                                                                                                                           0.000000000000000
                                                                                     DEFI-PERP                                                                                                                                           0.000000000000000
                                                                                     DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                     DOT-PERP                                                                                                                                           -0.000000000001364
                                                                                     DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                     ENS-PERP                                                                                                                                            0.000000000000000
                                                                                     ETC-PERP                                                                                                                                            0.000000000000000
                                                                                     ETH                                                              0.275588650000000                                                                  0.275588657988938
                                                                                     ETH-PERP                                                                                                                                           -0.000000000000298
                                                                                     ETHW                                                                                                                                                0.131510257923341
                                                                                     FLM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT                                                            150.005401780000000                                                                150.005401782597900
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     GRT-PERP                                                                                                                                            0.000000000000000
                                                                                     ICP-PERP                                                                                                                                            0.000000000000001
                                                                                     LEO-PERP                                                                                                                                            0.000000000000000
                                                                                     LOOKS                                                                                                                                               0.583301040000000
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                     MANA                                                                                                                                                1.986095000000000
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     NEAR                                                                                                                                                0.064032940000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000001818
                                                                                     ONE-PERP                                                                                                                                            0.000000000000000
                                                                                     OP-PERP                                                                                                                                             0.000000000000000
                                                                                     OXY-PERP                                                                                                                                            0.000000000000000
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL                                                                                                                                                 0.004840012800000
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000241
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     TLM-PERP                                                                                                                                            0.000000000000000
                                                                                     TRX                                                                                                                                                 0.002142000000000
                                                                                     USD                                                         81,122.730000000000000                                                             81,122.734832888770000
                                                                                     USDT                                                                                                                                               -3.222332132379558
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     XRP                                                                                                                                                 0.823084926193070
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29995       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       APT-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX-20210924                                                                                                                                       0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BAND-PERP                                                                                                                                           0.000000000000000
                                                                                       BNB                                                                                                                                                 0.008929507659046
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000033017700964
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       COMP-PERP                                                                                                                                           0.000000000000000
                                                                                       DAI                                                                                                                                                 0.000000004775900
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       EOS-PERP                                                                                                                                            0.000000000000000
                                                                                       ETC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000005388920
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                25.000000001840040
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GALA-PERP                                                                                                                                           0.000000000000000
                                                                                       GBP                                                                                                                                                 0.867543400000000
                                                                                       GLMR-PERP                                                                                                                                           0.000000000000000
                                                                                       GST-PERP                                                                                                                                            0.000000000000000
                                                                                       LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                       LRC-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       SGD                                                                                                                                                 0.000000007463233
                                                                                       SOL                                                                                                                                                 0.000000000924089
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       SRM                                                                                                                                                 0.014043000000000
                                                                                       SRM_LOCKED                                                                                                                                          0.058826210000000
                                                                                       SRM-PERP                                                                                                                                            0.000000000000000
                                                                                       STG                                                                                                                                                 0.780000010000000
                                                                                       STG-PERP                                                                                                                                            0.000000000000000
                                                                                       STORJ                                                                                                                                               0.000000001301925
                                                                                       STORJ-PERP                                                                                                                                          0.000000000000000
                                                                                       TRX                                                        124,500.000000000000000                                                          124,500.000044000000000
                                                                                       TRX-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                                                                                                                 2.768081841397030
                                                                                       USDT                                                                                                                                                0.000000014606900
                                                                                       USTC-PERP                                                                                                                                           0.000000000000000
                                                                                       WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                       XTZ-PERP                                                                                                                                            0.000000000000000
                                                                                       ZEC-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
23331       Name on file                        FTX Trading Ltd.                       BAT                                                               5.001700000000000 West Realm Shires Services Inc.                                 5.001725300000000
                                                                                       CUSDT                                                             7.000000000000000                                                                 7.000000000000000
                                                                                       DOGE                                                         46,104.024000000000000                                                           46,104.024455420000000
                                                                                       GRT                                                               4.001700000000000                                                                 4.001725300000000
                                                                                       SUSHI                                                             1.000400000000000                                                                 1.000431350000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 21 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      TRX                                                         16,321.678000000000000                                                              16,321.677876440000000
                                                                                      USD                                                                                                                                                 26.525424501586876
                                                                                      USDT                                                              4.001300000000000                                                                  4.001293972297070

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
49447       Name on file                        FTX Trading Ltd.                        BTC                                                                 0.156403100000000 FTX Trading Ltd.                                                 0.156404510000000
                                                                                        LINK                                                              124.298400000000000                                                                124.299556010000000
                                                                                        MATH                                                                                                                                                   1.000000000000000
                                                                                        OXY                                                               489.851200000000000                                                                490.048032090000000
                                                                                        USD                                                                                                                                                6,701.831381010215000
                                                                                        USDC                                                           6,701.770000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8710        Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       APT-PERP                                                                                                                                            0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BCH-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CEL-PERP                                                                                                                                            0.000000000000028
                                                                                       CHR-PERP                                                                                                                                            0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                       COIN                                                                                                                                                0.000000004000000
                                                                                       CREAM-PERP                                                                                                                                          0.000000000000000
                                                                                       CRO-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGEBULL                                                                                                                                            0.000000004550000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ENS-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.000173530000000
                                                                                       ETHW-PERP                                                                                                                                           0.000000000000000
                                                                                       EUR                                                           4,013.000000000000000                                                             4,013.000000000000000
                                                                                       FLOW-PERP                                                                                                                                           0.000000000000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                 0.022775913031609
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GRTBULL                                                                                                                                             0.000000007000000
                                                                                       HNT-PERP                                                                                                                                            0.000000000000000
                                                                                       HT-PERP                                                                                                                                             0.000000000000000
                                                                                       IMX                                                             254.800000000000000                                                               254.800000000000000
                                                                                       KSM-PERP                                                                                                                                            0.000000000000000
                                                                                       LTC-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2                                                                                                                                               0.006723239171000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.015687558060000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC                                                         2,381.099843410000000                                                             2,381.099843412482600
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       ONE-PERP                                                                                                                                            0.000000000000000
                                                                                       RSR-PERP                                                                                                                                            0.000000000000000
                                                                                       RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       STETH                                                                                                                                               0.000000005594496
                                                                                       STMX-PERP                                                                                                                                           0.000000000000000
                                                                                       SUSHIBULL                                                                                                                                       1,502.999840000000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       TONCOIN-PERP                                                                                                                                        0.000000000000000
                                                                                       UNI-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                               0.040472438138520                                                                 0.040472438138520
                                                                                       USDT                                                          5,517.650000000000000                                                             5,517.651325214364000
                                                                                       USTC                                                                                                                                                0.951707000000000
                                                                                       USTC-PERP                                                                                                                                           0.000000000000000
                                                                                       VET-PERP                                                                                                                                            0.000000000000000
                                                                                       XLM-PERP                                                                                                                                            0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000
                                                                                       YFI-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
5541        Name on file                        FTX Trading Ltd.                       DOGE                                                                                   West Realm Shires Services Inc.                        14,869.179687400000000
                                                                                       USD                                                               0.478688780000000                                                                 0.000000004786887

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
33646       Name on file                        FTX Trading Ltd.                        FTM                                                            9,863.629086350000000 FTX Trading Ltd.                                              9,863.629086355513000
                                                                                        USD                                                                                                                                                    1.431600018448313
                                                                                        USDT                                                                                                                                                   0.000000024413822

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1444        Name on file                        FTX Trading Ltd.                       ETH                                                                                    West Realm Shires Services Inc.                              4.000000000000000
                                                                                       ETHW                                                                                                                                                4.000000000000000
                                                                                       USD                                                           4,000.000000000000000                                                               860.437342320000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
79985       Name on file                        West Realm Shires Services Inc.         BAT                                                                                     West Realm Shires Services Inc.                                5.373350340000000
                                                                                        BRZ                                                                                                                                                    3.000000000000000
                                                                                        CUSDT                                                                                                                                             11,648.639733010000000
                                                                                        DOGE                                                                                                                                              17,914.436033140000000
                                                                                        ETH                                                                                                                                                    1.885752280000000
                                                                                        ETHW                                                                                                                                                   1.884943000000000
                                                                                        SHIB                                                                                                                                       183,874,201.872046740000000
                                                                                        TRX                                                                                                                                               12,841.319161230000000
                                                                                        USD                                                            7,870.740000000000000                                                               2,440.630005568006000
                                                                                        USDT                                                                                                                                                   1.108413550000000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80030       Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.000010000000000
                                                                                       ETHW                                                                                                                                                3.000000000000000
                                                                                       USD                                                          44,321.120000000000000                                                           44,321.118691250000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26462       Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.000005770000000
                                                                                       USD                                                          11,183.030000000000000                                                           11,183.030125326960000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32878       Name on file                        FTX Trading Ltd.                       BTC                                                               0.073985940000000 FTX Trading Ltd.                                                0.073985943000000
                                                                                       ETHW                                                                                                                                                0.072986130000000
                                                                                       USDT                                                                                                                                               10.965593302500000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9707        Name on file                        FTX Trading Ltd.                       AKRO                                                                                   FTX Trading Ltd.                                             1.000000000000000
                                                                                       BAO                                                                                                                                                 1.000000000000000
                                                                                       BTC                                                               0.193668070000000                                                                 0.193668070000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       DOGE                                                            383.495546268210000                                                               383.495546268210000
                                                                                       DOT                                                              12.051037257000000                                                                12.051037257000000
                                                                                       KIN                                                                                                                                                 1.000000000000000
                                                                                       KSHIB                                                                                                                                           2,647.060913455440000
                                                                                       LUNC                                                                                                                                                0.000000003920000
                                                                                       RSR                                                                                                                                                 1.000000000000000
                                                                                       SHIB                                                         37,370.742226230000000                                                           37,370.742226230000000
                                                                                       UBXT                                                                                                                                                1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29196       Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.002991165000000
                                                                                       DOGE                                                                                                                                                1.131459260000000
                                                                                       ETH                                                                                                                                                 0.027988980000000
                                                                                       ETHW                                                                                                                                                0.027988980000000
                                                                                       LINK                                                                                                                                                1.998100000000000
                                                                                       LTC                                                                                                                                                 0.199810000000000
                                                                                       SOL                                                                                                                                                 0.094490000000000
                                                                                       SUSHI                                                                                                                                               0.497625000000000
                                                                                       USD                                                           1,920.440000000000000                                                             1,920.439737343599000
                                                                                       USDT                                                                                                                                                0.001325530000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
4494        Name on file                        FTX Trading Ltd.                        1INCH-20210326                                                                          FTX Trading Ltd.                                               0.000000000000000
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        ALGO-20200626                                                                                                                                          0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        ALT-PERP                                                                                                                                               0.000000000000000
                                                                                        ATOM-1230                                                                                                                                              0.000000000000000
                                                                                        ATOM-20200626                                                                                                                                          0.000000000000000
                                                                                        ATOM-20200925                                                                                                                                          0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                             -0.000000000000909
                                                                                        BAL-20200925                                                                                                                                           0.000000000000000
                                                                                        BAL-20201225                                                                                                                                          -0.000000000000682
                                                                                        BANCOR                                                         1,784.345547000000000                                                                   0.000000000000000
                                                                                        BCH-20200925                                                                                                                                           0.000000000000000
                                                                                        BCH-PERP                                                                                                                                              -0.000000000000007
                                                                                        BNB-20200626                                                                                                                                           0.000000000000000
                                                                                        BNB-20200925                                                                                                                                           0.000000000000000
                                                                                        BNB-PERP                                                                                                                                              -0.000000000000042
                                                                                        BNT                                                                                                                                                1,784.345546872732000
                                                                                        BSV-PERP                                                                                                                                               0.000000000000006
                                                                                        BTC                                                                                                                                                    0.000000012450000
                                                                                        BTC-20200626                                                                                                                                           0.000000000000000
                                                                                        BTC-20200925                                                                                                                                           0.000000000000000
                                                                                        BTC-20201225                                                                                                                                           0.000000000000000
                                                                                        BTC-20210326                                                                                                                                           0.000000000000000
                                                                                        BTC-MOVE-WK-1028                                                                                                                                       0.000000000000000
                                                                                        BTC-MOVE-WK-1104                                                                                                                                       0.000000000000000
                                                                                        BTC-MOVE-WK-20200612                                                                                                                                   0.000000000000000
                                                                                        BTC-MOVE-WK-20200619                                                                                                                                   0.000000000000000
                                                                                        BTC-MOVE-WK-20200626                                                                                                                                   0.000000000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        BTMX-20200626                                                                                                                                          0.000000000000000
                                                                                        BTMX-20200925                                                                                                                                          0.000000000000000
                                                                                        BVOL                                                                                                                                                   0.000000008157000
                                                                                        COMP-20210326                                                                                                                                          0.000000000000000
                                                                                        DEFI-20200925                                                                                                                                          0.000000000000000
                                                                                        DEFI-20201225                                                                                                                                          0.000000000000000
                                                                                        DEFI-PERP                                                                                                                                              0.000000000000000
                                                                                        DMG-20200925                                                                                                                                          -0.000000000000909
                                                                                        DOGE-20200925                                                                                                                                          0.000000000000000
                                                                                        DOT-20200925                                                                                                                                           0.000000000000000
                                                                                        DOT-20201225                                                                                                                                           0.000000000000227
                                                                                        DRGN-20200626                                                                                                                                          0.000000000000000
                                                                                        DRGN-PERP                                                                                                                                              0.000000000000000
                                                                                        EOS-PERP                                                                                                                                               0.000000000000000
                                                                                        ETH                                                                                                                                                    0.000000008500000
                                                                                        ETH-1230                                                                                                                                               0.000000000000000
                                                                                        ETH-20200626                                                                                                                                           0.000000000000000
                                                                                        ETH-20200925                                                                                                                                           0.000000000000000
                                                                                        ETH-20201225                                                                                                                                           0.000000000000000
                                                                                        ETH-20210326                                                                                                                                          -0.000000000000002
                                                                                        ETH-PERP                                                                                                                                              -0.000000000000003
                                                                                        EXCH-20200626                                                                                                                                          0.000000000000000
                                                                                        EXCH-20201225                                                                                                                                          0.000000000000000
                                                                                        FIL-PERP                                                                                                                                               0.000000000000000
                                                                                        FLM-20201225                                                                                                                                           0.000000000000000
                                                                                        FLM-PERP                                                                                                                                               0.000000000005456
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 23 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     HT-20200925                                                                                                                                         0.000000000000227
                                                                                     LEO-20200626                                                                                                                                        0.000000000000000
                                                                                     LEO-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK-20200626                                                                                                                                       0.000000000000000
                                                                                     LINK-20200925                                                                                                                                       0.000000000000227
                                                                                     LINK-PERP                                                                                                                                           0.000000000000000
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     MATIC-20200925                                                                                                                                      0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MID-20200626                                                                                                                                        0.000000000000000
                                                                                     MID-20200925                                                                                                                                        0.000000000000000
                                                                                     MID-PERP                                                                                                                                            0.000000000000000
                                                                                     MTA-20200925                                                                                                                                        0.000000000000000
                                                                                     OKB-PERP                                                                                                                                            0.000000000000000
                                                                                     SHIT-20200925                                                                                                                                       0.000000000000000
                                                                                     SHIT-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL-20200925                                                                                                                                        0.000000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     SRM                                                            563.516757300000000                                                                135.344499390000000
                                                                                     SRM_LOCKED                                                                                                                                        428.172257860000000
                                                                                     SUSHI-20200925                                                                                                                                      0.000000000000000
                                                                                     SUSHI-20210326                                                                                                                                      0.000000000000000
                                                                                     SUSHI-20210625                                                                                                                                      0.000000000000000
                                                                                     SXP-20200925                                                                                                                                        0.000000000000000
                                                                                     SXP-20210326                                                                                                                                        0.000000000000000
                                                                                     THETA-20200925                                                                                                                                      0.000000000000000
                                                                                     THETA-20201225                                                                                                                                      0.000000000000000
                                                                                     THETA-20210326                                                                                                                                      0.000000000000454
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TOMO-20200626                                                                                                                                       0.000000000000909
                                                                                     TOMO-PERP                                                                                                                                           0.000000000000000
                                                                                     UNI-20200925                                                                                                                                        0.000000000000000
                                                                                     UNI-20201225                                                                                                                                        0.000000000000000
                                                                                     USD                                                                                                                                                 0.000000047315310
                                                                                     USDT                                                       109,984.000000000000000                                                            109,616.870294105320000
                                                                                     XTZ-20200626                                                                                                                                        0.000000000000000
                                                                                     XTZ-20200925                                                                                                                                       -0.000000000000028
                                                                                     XTZ-20201225                                                                                                                                        0.000000000000000
                                                                                     XTZ-20210625                                                                                                                                        0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                           -0.000000000000454
                                                                                     YFI                                                                                                                                                 0.000000001500000
                                                                                     YFI-20201225                                                                                                                                        0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
550         Name on file                        FTX Trading Ltd.                       USD                                                          30,000.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       XRP                                                                                                                                           88,096.730026610000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31807       Name on file                        FTX Trading Ltd.                       ADA-0325                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ADABULL                                                                                                                                             0.000000007787908
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000000000112760
                                                                                       DOGE                                                                                                                                                0.000000005247466
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       MTA-PERP                                                                                                                                            0.000000000000000
                                                                                       TLM                                                                                                                                                 0.000000004000000
                                                                                       TONCOIN                                                       2,012.000000000000000                                                             2,012.684720483663300
                                                                                       USD                                                                                                                                                 0.000000062424055

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29717       Name on file                        FTX Trading Ltd.                       AAVE                                                              0.209853000000000 FTX Trading Ltd.                                                0.209853000000000
                                                                                       AVAX                                                              6.700000000000000                                                                 6.700000000000000
                                                                                       BTC                                                               0.000099780000000                                                                 0.000099780000000
                                                                                       BTC-0325                                                                                                                                            0.000000000000000
                                                                                       BTC-0624                                                                                                                                            0.000000000000000
                                                                                       BTC-MOVE-WK-20201106                                                                                                                                0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CREAM-PERP                                                                                                                                          0.000000000000000
                                                                                       CRV                                                              34.975500000000000                                                                34.975500000000000
                                                                                       DOGE-20210625                                                                                                                                       0.000000000000000
                                                                                       DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               5.967016480000000                                                                 5.967016483383097
                                                                                       ETH-0930                                                                                                                                            0.000000000000000
                                                                                       ETH-1230                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM                                                             170.000000000000000                                                               170.000000000000000
                                                                                       FTT                                                              18.200000000000000                                                                18.200000000000000
                                                                                       HNT                                                              44.795060000000000                                                                44.795060000000000
                                                                                       LINK                                                             11.591880000000000                                                                11.591880000000000
                                                                                       LUNA2                                                                                                                                               2.146271923000000
                                                                                       LUNA2_LOCKED                                                                                                                                        5.007967821000000
                                                                                       MKR                                                               0.500000000000000                                                                 0.500000000000000
                                                                                       MTA-PERP                                                                                                                                            0.000000000000000
                                                                                       OMG-PERP                                                                                                                                            0.000000000000000
                                                                                       SHIB                                                         99,960.000000000000000                                                           99,960.000000000000000
                                                                                       SNX                                                               3.797340000000000                                                                 3.797340000000000
                                                                                       SOL                                                               4.514231810000000                                                                 4.514231817265864
                                                                                       SRM                                                                                                                                                 1.000000000000000
                                                                                       SUSHI                                                             5.496150000000000                                                                 5.496150000000000
                                                                                       UNI                                                               4.696710000000000                                                                 4.696710000000000
                                                                                       USD                                                             114.050000000000000                                                               114.050986856531600
                                                                                       USDT-0930                                                                                                                                           0.000000000000000
                                                                                       USDT-PERP                                                                                                                                           0.000000000000000
                                                                                       XRP-20211231                                                                                                                                        0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000
                                                                                       YFI                                                                                                                                                 0.001998600000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80          Name on file                        FTX EU Ltd.                            BTC                                                                                    FTX Trading Ltd.                                             0.071505370000000
                                                                                       ETH                                                                                                                                                 1.000000000000000
                                                                                       ETHW                                                                                                                                                1.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 24 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      EUR                                                                                                                                                  0.000000264095080
                                                                                      FTT                                                                                                                                                 18.522551890000000
                                                                                      LINK                                                                                                                                               517.115260410000000
                                                                                      USD                                                           7,424.000000000000000                                                                  0.944604872250453
                                                                                      USDT                                                                                                                                             2,274.382151611687300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
1683        Name on file                        FTX Trading Ltd.                        MAPS                                                                                    FTX Trading Ltd.                                           9,123.283154030000000
                                                                                        TRX                                                                                                                                                    1.000000000000000
                                                                                        USD                                                           21,366.020000000000000                                                              21,366.025871132080000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
81406       Name on file                        FTX Trading Ltd.                       ALGO-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       BADGER                                                          225.001125000000000                                                               225.001125000000000
                                                                                       BTC                                                               1.000196664014250                                                                 1.000196664014250
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE                                                             35.000000000000000                                                                35.000000000000000
                                                                                       ETH                                                              19.008728970000000                                                                19.008728970000000
                                                                                       ETHW                                                             19.008728967000000                                                                19.008728967000000
                                                                                       FTT                                                           1,199.962750500000000                                                             1,199.962750500000000
                                                                                       RAY                                                             900.437635000000000                                                               900.437635000000000
                                                                                       SOL                                                           2,000.032726000000000                                                             2,000.032726000000000
                                                                                       SRM                                                              76.358711000000000                                                                76.358711000000000
                                                                                       SRM_LOCKED                                                                                                                                        469.281289000000000
                                                                                       SUSHI                                                         1,699.921000000000000                                                             1,699.921000000000000
                                                                                       UNI                                                             500.002500000000000                                                               500.002500000000000
                                                                                       USD                                                          86,921.930798021342222                                                           86,921.930798021350000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26774       Name on file                        FTX Trading Ltd.                       EUR                                                           3,861.000000000000000 FTX Trading Ltd.                                            3,861.420076000000000
                                                                                       KIN                                                                                                                                                 2.000000000000000
                                                                                       USD                                                                                                                                                 0.000000015424929

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8997        Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.000000006880876
                                                                                       BNB                                                              12.401736640000000                                                                12.401736642191626
                                                                                       BTC                                                                                                                                                 0.000000002154051
                                                                                       ETH                                                               9.163795180000000                                                                 9.163795187227862
                                                                                       ETHW                                                                                                                                                0.000000007227862
                                                                                       EUR                                                             125.644081485072550                                                               125.644081485072550
                                                                                       LUNA2                                                                                                                                               1.446419830000000
                                                                                       LUNA2_LOCKED                                                                                                                                        3.374979603000000
                                                                                       MATIC                                                                                                                                               0.000000008300000
                                                                                       NFT (538191352048589397/FTX CRYPTO                                                                                                                  1.000000000000000
                                                                                       CUP 2022 KEY #16)                                                 1.000000000000000
                                                                                       SOL                                                             100.888704250000000                                                               100.888704256500000
                                                                                       STG                                                                                                                                             6,148.175400000000000
                                                                                       USD                                                              11.377077622975994                                                                11.377077622975994
                                                                                       USDT                                                          5,129.380000000000000                                                             5,129.382653230398000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52383       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             0.000000007265930
                                                                                       AVAX                                                              0.000000007265930
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CEL-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                            309.318396665918160                                                                309.318396665918160
                                                                                       ETH-PERP                                                                                                                                            0.000000000000113
                                                                                       ETHW                                                           308.167476479275730                                                                308.167476479275700
                                                                                       LUNA2                                                             0.008191362478000                                                                 0.008191362478000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.019113179110000
                                                                                       SOL                                                            906.534434447606680                                                                906.534434447606700
                                                                                       USD                                                                                                                                         560,649.480940826200000
                                                                                       USDC                                                       560,649.480940826416283                                                                  0.000000000000000
                                                                                       USTC                                                                                                                                                1.159526945377290

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32951       Name on file                        FTX Trading Ltd.                       DOT                                                            356.000000000000000 FTX Trading Ltd.                                               356.432265000000000
                                                                                       USD                                                                                                                                                 1.765786177500000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
45663       Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.012214990000000
                                                                                       CUSDT                                                                                                                                               2.000000000000000
                                                                                       ETH                                                                                                                                                 0.189538100000000
                                                                                       ETHW                                                                                                                                                0.189314930000000
                                                                                       LINK                                                                                                                                               14.636393280000000
                                                                                       USD                                                               0.000164133136656                                                                 0.000164133136656
                                                                                       USDT                                                                                                                                                0.000000005560662

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8964        Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       ATLAS                                                                                                                                               2.035200000000000
                                                                                       BCH-PERP                                                                                                                                            0.000000000000001
                                                                                       BTC                                                               0.066495620000000                                                                 0.066495628983156
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CRO-PERP                                                                                                                                            0.000000000000000
                                                                                       DYDX                                                                                                                                                0.096089360000000
                                                                                       DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       EUR                                                               0.312381525800704                                                                 0.312381525800704
                                                                                       MSOL                                                                                                                                                1.869508620000000
                                                                                       POLIS                                                                                                                                               0.098673000000000
                                                                                       RNDR-PERP                                                                                                                                           0.000000000000000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      STETH                                                                                                                                                0.000020946579580
                                                                                      TRX                                                                                                                                                  0.000128000000000
                                                                                      USD                                                              -0.344449802004741                                                                 -0.344449802004741
                                                                                      USDT                                                          1,226.770000000000000                                                              1,226.770000004025600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
48378       Name on file                        FTX Trading Ltd.                       BAT                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BRZ                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       BTC                                                               0.003982990000000                                                                 0.003982990000000
                                                                                       CUSDT                                                            11.000000000000000                                                                11.000000000000000
                                                                                       DOGE                                                              8.000000000000000                                                                 8.000468600000000
                                                                                       ETH                                                               0.000002160000000                                                                 0.000002160000000
                                                                                       ETHW                                                              0.508980000000000                                                                 0.508987050000000
                                                                                       GRT                                                               4.001300000000000                                                                 4.001274410000000
                                                                                       LINK                                                             11.221500000000000                                                                11.221517380000000
                                                                                       MATIC                                                            13.360800000000000                                                                13.360793950000000
                                                                                       NEAR                                                                                                                                               91.492438470000000
                                                                                       SHIB                                                             21.000000000000000                                                                21.000000000000000
                                                                                       SOL                                                               5.413700000000000                                                                 0.413708840000000
                                                                                       TRX                                                                                                                                                10.000000000000000
                                                                                       USD                                                           3,814.420000000000000                                                             3,980.272587611557000
                                                                                       USDT                                                              2.071500000000000                                                                 2.071538930000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
20418       Name on file                        FTX Trading Ltd.                        1INCH                                                                                   FTX Trading Ltd.                                               0.000000005172520
                                                                                        AAVE                                                                                                                                                   0.000000005447010
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        APE                                                                                                                                                    0.001067500000000
                                                                                        APT                                                                                                                                                    0.663280304526441
                                                                                        AR-PERP                                                                                                                                                0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000000
                                                                                        AVAX                                                                                                                                                   0.000164500000000
                                                                                        AXS                                                                                                                                                    0.012769110000000
                                                                                        BNB                                                                                                                                                    0.000004800348170
                                                                                        BNB-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC                                                                 0.014300770000000                                                                  0.014300771796547
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CAD                                                                                                                                                    0.000000010610259
                                                                                        CHZ                                                                                                                                                    0.000000007405000
                                                                                        COMP                                                                                                                                                   0.000000009443941
                                                                                        DOGE                                                                                                                                                   0.004315000000000
                                                                                        DOT                                                                 0.056163720000000                                                                  0.056163720000000
                                                                                        DOT-PERP                                                                                                                                               0.000000000000000
                                                                                        EDEN                                                                                                                                                   0.060113500000000
                                                                                        EGLD-PERP                                                                                                                                              0.000000000000000
                                                                                        ETH                                                                                                                                                   -0.000000005701315
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        FTM                                                                                                                                                    0.000000004744232
                                                                                        FTM-PERP                                                                                                                                               0.000000000000000
                                                                                        FTT                                                               150.088690320000000                                                               150.088690323563440
                                                                                        GALA-PERP                                                                                                                                              0.000000000000000
                                                                                        KNC                                                                                                                                                    0.000000001309850
                                                                                        LINK                                                                0.472561860000000                                                                  0.472561868803074
                                                                                        LINK-PERP                                                                                                                                              0.000000000000000
                                                                                        LTC                                                                                                                                                    0.000000005000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC                                                               0.408927170000000                                                                  0.408927173229126
                                                                                        MATIC-PERP                                                                                                                                             0.000000000000000
                                                                                        MSTR                                                                                                                                                   0.000391075000000
                                                                                        NEAR                                                                                                                                                   0.001093500000000
                                                                                        NEAR-PERP                                                                                                                                             -0.000000000000454
                                                                                        REN                                                                                                                                                    0.000000007277466
                                                                                        RNDR                                                                                                                                                   0.003973500000000
                                                                                        RUNE                                                                                                                                                   0.000000008325220
                                                                                        RUNE-PERP                                                                                                                                              0.000000000000000
                                                                                        SLND                                                                                                                                                   0.000000007703970
                                                                                        SOL                                                               717.360656780000000                                                               717.360656789986900
                                                                                        SOL-PERP                                                                                                                                              -0.000000000000028
                                                                                        SRM                                                                                                                                                    0.003689174465664
                                                                                        SRM_LOCKED                                                                                                                                             0.025053490000000
                                                                                        SUSHI                                                                                                                                                  0.000000006869767
                                                                                        TRX                                                                                                                                                    0.000000005840901
                                                                                        TSLA                                                                                                                                                   0.000308900000000
                                                                                        TSLA-1230                                                                                                                                              0.000000000000000
                                                                                        UNI                                                                                                                                                    0.000000001179080
                                                                                        USD                                                                                                                                                    2.110925745059323
                                                                                        USDC                                                                2.110000000000000                                                                  0.000000000000000
                                                                                        USDT                                                                0.010000000000000                                                                  0.006987033060175
                                                                                        YFI                                                                                                                                                    0.000000001340332

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3146        Name on file                        FTX Trading Ltd.                       ETH                                                                                    West Realm Shires Services Inc.                              1.226633720000000
                                                                                       ETHW                                                                                                                                                1.226633720000000
                                                                                       USD                                                           3,956.800000000000000                                                             3,956.808733717507000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
15510       Name on file                        FTX Trading Ltd.                        CUSDT                                                                                   West Realm Shires Services Inc.                               56.989917460000000
                                                                                        DOGE                                                                                                                                                   0.000874330000000
                                                                                        ETH                                                                                                                                                    0.000000030000000
                                                                                        ETHW                                                                                                                                                   1.981711040094711
                                                                                        GRT                                                                                                                                                    0.002015500000000
                                                                                        LINK                                                                                                                                                   0.000364900000000
                                                                                        SHIB                                                                                                                                                  18.000000000000000
                                                                                        SOL                                                                                                                                                    0.000147760000000
                                                                                        TRX                                                                                                                                                    2.000000000000000
                                                                                        UNI                                                                                                                                                    0.000796120000000
                                                                                        USD                                                            2,733.502576855567145                                                               2,733.502576855567000
                                                                                        USDT                                                                                                                                                   1.000091300000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 26 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
48135       Name on file                        FTX Trading Ltd.                        EUR                                                                                     FTX Trading Ltd.                                               0.000000009403246
                                                                                        USD                                                           97,814.436170000000000                                                              97,814.436170000000000
                                                                                        USDT                                                                                                                                               4,524.019071111845000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
79166       Name on file                        FTX Trading Ltd.                       AKRO                                                              4.000000000000000 FTX Trading Ltd.                                                4.000000000000000
                                                                                       BAO                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       BNB                                                               0.917140610000000                                                                 0.917140610000000
                                                                                       BOBA                                                                                                                                                1.039056580000000
                                                                                       DENT                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               0.804314800000000                                                                 0.804314800000000
                                                                                       ETHW                                                              0.803977110000000                                                                 0.803977110000000
                                                                                       EUR                                                               0.720000000000000                                                                 0.719222842713699
                                                                                       FTT                                                               1.091343910000000                                                                 1.091343910000000
                                                                                       KIN                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       MATIC                                                             1.044574600000000                                                                 1.044574600000000
                                                                                       OMG                                                                                                                                                 1.085676180000000
                                                                                       PUNDIX                                                                                                                                              0.001000000000000
                                                                                       RSR                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       SHIB                                                     1,325,978.349977360000000                                                         1,325,978.349977360000000
                                                                                       SUSHI                                                             1.085180720000000                                                                 1.085180720000000
                                                                                       TOMO                                                                                                                                                1.041526450000000
                                                                                       TRU                                                                                                                                                 1.000000000000000
                                                                                       TRX                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       UBXT                                                              2.000000000000000                                                                 2.000000000000000
                                                                                       USD                                                               0.190000000000000                                                                 0.187424533230855

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
914         Name on file                        FTX Trading Ltd.                       AUDIO                                                                                  FTX Trading Ltd.                                         4,371.645644000000000
                                                                                       AUDIO-PERP                                                                                                                                          0.000000000000000
                                                                                       AVAX                                                                                                                                                0.094600000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 1.658794118000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CRO                                                                                                                                           30,301.471060000000000
                                                                                       ETH                                                                                                                                                 8.101376070000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                               42.145621290000000
                                                                                       EUR                                                                                                                                             3,202.353167863000000
                                                                                       FTT                                                                                                                                                 0.082450000000000
                                                                                       GALA                                                                                                                                          56,369.851600000000000
                                                                                       HNT                                                                                                                                               299.946000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MANA                                                                                                                                                0.810019000000000
                                                                                       MANA-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC                                                                                                                                           5,218.203600000000000
                                                                                       NEAR                                                                                                                                              349.937000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL                                                                                                                                               279.838342200000000
                                                                                       USD                                                          70,400.000000000000000                                                           14,822.725169674680000
                                                                                       XRP                                                                                                                                                 0.082460000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
4628        Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.000000350000000
                                                                                       CUSDT                                                                                                                                               5.000000000000000
                                                                                       DOGE                                                                                                                                                7.025168320000000
                                                                                       ETH                                                                                                                                                 0.000003260000000
                                                                                       ETHW                                                                                                                                                0.357361070000000
                                                                                       SHIB                                                                                                                                                3.000000000000000
                                                                                       TRX                                                                                                                                                 4.000000000000000
                                                                                       USD                                                           1,361.770000000000000                                                             1,361.767765119906500
                                                                                       USDT                                                                                                                                                0.000000007836871

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
60529       Name on file                        FTX Trading Ltd.                        AAVE                                                               13.108891670000000 FTX Trading Ltd.                                                13.108891670000000
                                                                                        ADABULL                                                           287.021694530000000                                                                287.021694530000000
                                                                                        ATOMBULL                                                   5,171,410.734410070000000                                                           5,171,410.734410070000000
                                                                                        AVAX                                                              110.811983440000000                                                                110.811983440000000
                                                                                        BTC                                                                 0.082088520000000                                                                  0.082088520000000
                                                                                        ETH                                                                 1.210432690000000                                                                  1.210432690000000
                                                                                        ETHBULL                                                             8.310488650000000                                                                  8.310488650000000
                                                                                        ETHW                                                                                                                                                   1.210432690000000
                                                                                        EUR                                                            8,000.000000000000000                                                               8,000.000001645127000
                                                                                        FTM                                                            1,033.444853910000000                                                               1,033.444853910000000
                                                                                        MATIC                                                          1,952.723852540000000                                                               1,952.723852540000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
90693       Name on file                        FTX Trading Ltd.                       BAT                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BRZ                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       GRT                                                                                                                                                 1.000000000000000
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       TRX                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       USD                                                          21,917.520000000000000                                                           21,917.520690045036000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
46440       Name on file                        FTX Trading Ltd.                        AVAX                                                                                    FTX Trading Ltd.                                              0.099640000000000
                                                                                        BNB                                                                                                                                                   0.007850680229769
                                                                                        BRL                                                               0.998254000000000                                                                   0.000000000000000
                                                                                        BRZ                                                                                                                                                   0.998254000000000
                                                                                        BTC                                                               0.055574665540000                                                                   0.055574665540000
                                                                                        DAI                                                                                                                                                   0.009236900000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ETH                                                                                                                                                 0.006951635800000
                                                                                     ETHW                                                                                                                                                0.006951635800000
                                                                                     FTT                                                                                                                                                14.697354000000000
                                                                                     LINK                                                                                                                                                0.098920000000000
                                                                                     LUNA2                                                                                                                                               0.620841042600000
                                                                                     LUNA2_LOCKED                                                                                                                                        1.448629099000000
                                                                                     SOL                                                                                                                                                 1.595485280000000
                                                                                     SRM                                                             50.048237300000000                                                                 50.048237300000000
                                                                                     SRM_LOCKED                                                                                                                                          0.039433740000000
                                                                                     TRX                                                                                                                                                 0.000173000000000
                                                                                     USD                                                            260.008519339201945                                                                260.008519339201940
                                                                                     USDT                                                                                                                                                0.000000010349337

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27755       Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.000000004844260
                                                                                       BTC                                                                                                                                                 0.000000003733323
                                                                                       DOT                                                                                                                                                 0.000000002414440
                                                                                       ETH                                                            244.033988060000000                                                                244.033988065463920
                                                                                       ETHW                                                                                                                                                0.000000002373126
                                                                                       FTT                                                              25.364013060000000                                                                25.364013069000000
                                                                                       LINK                                                                                                                                                0.012767908820115
                                                                                       MANA                                                                                                                                                0.000000009516869
                                                                                       SAND                                                                                                                                                0.000000005235420
                                                                                       SOL                                                                                                                                                 0.000000008097485
                                                                                       USDT                                                                                                                                                0.000027707605863

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28395       Name on file                        FTX Trading Ltd.                       ALPHA                                                                                  FTX Trading Ltd.                                             1.000000000000000
                                                                                       AUDIO                                                             2.000000000000000                                                                 2.000000000000000
                                                                                       BAO                                                                                                                                                 3.000000000000000
                                                                                       CAD                                                               0.001586800000000                                                                 0.002751518686717
                                                                                       CEL                                                               1.011400000000000                                                                 1.011385150000000
                                                                                       CHZ                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       ETH                                                              10.149200000000000                                                                10.149161860000000
                                                                                       FIDA                                                                                                                                                1.000000000000000
                                                                                       GRT                                                                                                                                                 1.000000000000000
                                                                                       KIN                                                                                                                                                 6.000000000000000
                                                                                       MATH                                                                                                                                                1.000000000000000
                                                                                       MATIC                                                                                                                                               0.002178820000000
                                                                                       RSR                                                                                                                                                 2.000000000000000
                                                                                       SHIB                                                     4,820,500.000000000000000                                                         4,820,469.466241159500000
                                                                                       SXP                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       TRU                                                                                                                                                 1.000000000000000
                                                                                       TRX                                                            122.268200000000000                                                                122.268230470000000
                                                                                       UBXT                                                                                                                                                3.000000000000000
                                                                                       USD                                                                                                                                                 0.000002884145974

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
78676       Name on file                        FTX Trading Ltd.                       AR-PERP                                                                                FTX Trading Ltd.                                             -0.000000000000028
                                                                                       EDEN                                                           202.900000000000000                                                                202.900000000000000
                                                                                       ETH                                                               0.938026790000000                                                                  0.938026790827637
                                                                                       ETHW                                                                                                                                                 4.538026790827637
                                                                                       HNT                                                              60.694464650000000                                                                60.694464650090000
                                                                                       SOL                                                              59.855737440000000                                                                59.855737445350980
                                                                                       USD                                                                                                                                                  0.928059165938639

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
15269       Name on file                        West Realm Shires Services Inc.        DOGE                                                              1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       ETH                                                               1.000015720000000                                                                 1.000015720000000
                                                                                       ETHW                                                              2.000015720000000                                                                 2.000015720000000
                                                                                       USD                                                               2.000000000000000                                                             1,270.259989986763200
                                                                                       USDT                                                              0.000000002038969                                                                 0.000000002038969

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
627         Name on file                        FTX Trading Ltd.                       ALGO                                                                                   FTX Trading Ltd.                                             1.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX                                                                                                                                                0.000000008674218
                                                                                       BNT                                                                                                                                                 0.000000006466600
                                                                                       BTC                                                                                                                                                 0.000000003760000
                                                                                       CHF                                                                                                                                                 0.000000002680915
                                                                                       CTX                                                                                                                                                 0.000000006806928
                                                                                       DOT                                                                                                                                                 0.000000004000000
                                                                                       ETH                                                                                                                                                 0.000000000158442
                                                                                       ETHW                                                                                                                                                1.000034385753662
                                                                                       EUL                                                                                                                                                 1.000000000000000
                                                                                       FTT                                                                                                                                                 0.000000009055964
                                                                                       RUNE                                                                                                                                                0.000000008000000
                                                                                       SOL                                                                                                                                                 0.000000002582600
                                                                                       STMX                                                                                                                                                0.000000003570464
                                                                                       TRX                                                                                                                                                 0.000000009565348
                                                                                       USD                                                           3,872.330000000000000                                                                 0.002808632052286
                                                                                       WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                       XRP                                                                                                                                           10,410.281311562334000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7184        Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                             0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000000005668595
                                                                                       CEL                                                                                                                                                 0.093000000000000
                                                                                       CEL-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       FTT                                                             150.090000000000000                                                               150.094860000000000
                                                                                       LEO                                                               0.923700000000000                                                                 0.923700820000000
                                                                                       TRUMP                                                                                                                                               0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000453000000000
                                                                                       UNI-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                           8,891.927681693034000                                                             8,891.927681693034000
                                                                                       USDT                                                          6,223.490000000000000                                                             6,223.490688557500000
                                                                                       WBTC                                                                                                                                                0.000000006553415
                                         Case 22-11068-JTD                                         Doc 27179-2                            Filed 10/23/24                            Page 28 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2804        Name on file                        FTX Trading Ltd.                       BNB                                                                                    FTX Trading Ltd.                                             0.008500000000000
                                                                                       BTC                                                                                                                                                 0.010761833321000
                                                                                       ETH                                                                                                                                                 0.124976250000000
                                                                                       ETHW                                                                                                                                                0.124976250000000
                                                                                       EUR                                                                                                                                             1,122.169923484500000
                                                                                       TRX                                                                                                                                                10.000000000000000
                                                                                       USD                                                           1,474.170000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3878        Name on file                        FTX Trading Ltd.                       SHIB                                                                                   West Realm Shires Services Inc.                              5.000000000000000
                                                                                       USD                                                          14,905.970000000000000                                                           14,926.862682576584000
                                                                                       USDT                                                                                                                                                0.000397260000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
7674        Name on file                        FTX Trading Ltd.                        BTC                                                                 0.100000000000000 FTX Trading Ltd.                                                0.100000000000000
                                                                                        ETH                                                                 1.000000000000000                                                                 1.000000000000000
                                                                                        ETHW                                                                                                                                                  1.000000000000000
                                                                                        FTT                                                                                                                                                   0.000000008500000
                                                                                        LINK                                                                                                                                                 10.032860703300000
                                                                                        RUNE                                                                                                                                                 10.218205378080000
                                                                                        UNI                                                                20.056180731933160                                                                20.056180731933160
                                                                                        USD                                                                 0.000000008225710                                                                 0.000000008225710
                                                                                        USDT                                                              813.467461390000000                                                               813.467461390000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30730       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000000008780000
                                                                                       ETH                                                                                                                                                 0.000000005400000
                                                                                       ETHW                                                                                                                                                0.000000005400000
                                                                                       FTT                                                                                                                                                 0.099221000000000
                                                                                       SOL                                                                                                                                                 0.000000010000000
                                                                                       USD                                                                                                                                                 0.000000012026537
                                                                                       USDT                                                          1,000.000000000000000                                                             1,077.610848820547700

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
57713       Name on file                        FTX Trading Ltd.                       BRZ                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BTC                                                               0.119978630000000                                                                 0.119978630000000
                                                                                       DOGE                                                              3.000000000000000                                                                 3.000000000000000
                                                                                       ETH                                                               0.389505080000000                                                                 0.389505080000000
                                                                                       ETHW                                                              0.389505080000000                                                                 0.389505080000000
                                                                                       SHIB                                                             43.000000000000000                                                                43.000000000000000
                                                                                       TRX                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       USD                                                           1,000.886844199780007                                                             1,000.886844199780100
                                                                                       USDT                                                                                                                                               10.948786564000000
                                                                                       XRP                                                              10.948786564000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
27684       Name on file                        FTX Trading Ltd.                        1INCH                                                                                   FTX Trading Ltd.                                              0.939580000000000
                                                                                        AAVE-PERP                                                                                                                                             0.000000000000000
                                                                                        ADA-PERP                                                                                                                                              0.000000000000000
                                                                                        ALICE-PERP                                                                                                                                            0.000000000000000
                                                                                        ATLAS                                                               8.842900000000000                                                                 8.842900000000000
                                                                                        ATOM-PERP                                                                                                                                             0.000000000000003
                                                                                        AXS-PERP                                                                                                                                              0.000000000000000
                                                                                        BNB-PERP                                                                                                                                              0.000000000000000
                                                                                        BTC                                                                 0.137102049590600                                                                 0.137102049590600
                                                                                        BTC-PERP                                                                                                                                              0.000000000000000
                                                                                        CHZ-PERP                                                                                                                                              0.000000000000000
                                                                                        DOT-PERP                                                                                                                                              0.000000000000000
                                                                                        ETH-PERP                                                                                                                                              0.000000000000000
                                                                                        FIL-PERP                                                                                                                                              0.000000000000000
                                                                                        GMT-PERP                                                                                                                                              0.000000000000000
                                                                                        HBAR-PERP                                                                                                                                             0.000000000000000
                                                                                        ICX-PERP                                                                                                                                              0.000000000000000
                                                                                        LINA-PERP                                                                                                                                             0.000000000000000
                                                                                        LTC-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC-PERP                                                                                                                                            0.000000000000000
                                                                                        NEO-PERP                                                                                                                                              0.000000000000000
                                                                                        OMG-PERP                                                                                                                                              0.000000000000000
                                                                                        REN-PERP                                                                                                                                              0.000000000000000
                                                                                        ROSE-PERP                                                                                                                                             0.000000000000000
                                                                                        SNX-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL                                                                                                                                                   0.000180000000000
                                                                                        SOL-PERP                                                                                                                                              0.000000000000000
                                                                                        STMX-PERP                                                                                                                                             0.000000000000000
                                                                                        TRX                                                               999.874220000000000                                                               999.874220000000000
                                                                                        UNI-PERP                                                                                                                                              0.000000000000000
                                                                                        USD                                                                 1.640092837305000                                                                 1.640092837305023
                                                                                        USDT                                                               24.791846152000000                                                                24.791846152000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32534       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ANC-PERP                                                                                                                                            0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       APT-PERP                                                                                                                                            0.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                          0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                          0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BCH-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                              10.078157000000000                                                                10.078157000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000001
                                                                                       BTC                                                                                                                                                 0.000000009500000
                                               Case 22-11068-JTD                                                 Doc 27179-2                                  Filed 10/23/24                     Page 29 of 92
                                                                                                                   Asserted Claims                                                                           Modified Claim
   Claim
  Number                      Name                                     Debtor                                       Tickers                                      Ticker Quantity                    Debtor                      Ticker Quantity
                                                                                                  BTC-PERP                                                                                                                               0.000000000000000
                                                                                                  BTTPRE-PERP                                                                                                                            0.000000000000000
                                                                                                  CAKE-PERP                                                                                                                              0.000000000000000
                                                                                                  CEL-PERP                                                                                                                               0.000000000000000
                                                                                                  CHZ-PERP                                                                                                                               0.000000000000000
                                                                                                  DOGE-PERP                                                                                                                              0.000000000000000
                                                                                                  DOT-PERP                                                                                                                               0.000000000000000
                                                                                                  ENJ-PERP                                                                                                                               0.000000000000000
                                                                                                  EOS-PERP                                                                                                                               0.000000000000000
                                                                                                  ETC-PERP                                                                                                                               0.000000000000000
                                                                                                  ETH                                                                                                                                    0.000000005000000
                                                                                                  ETH-PERP                                                                                                                              -0.000000000000011
                                                                                                  FIL-PERP                                                                                                                               0.000000000000000
                                                                                                  FLOW-PERP                                                                                                                              0.000000000000000
                                                                                                  FTM                                                                        0.943000000000000                                           0.943000000000000
                                                                                                  FTM-PERP                                                                                                                               0.000000000000000
                                                                                                  FTT                                                                                                                                   27.446334480000000
                                                                                                  FTT-PERP                                                                                                                               0.000000000000000
                                                                                                  GALA-PERP                                                                                                                              0.000000000000000
                                                                                                  GMT-PERP                                                                                                                               0.000000000000000
                                                                                                  GST-PERP                                                                                                                               0.000000000000000
                                                                                                  HT-PERP                                                                                                                                0.000000000000000
                                                                                                  ICP-PERP                                                                                                                               0.000000000000000
                                                                                                  KIN-PERP                                                                                                                               0.000000000000000
                                                                                                  KSM-PERP                                                                                                                               0.000000000000000
                                                                                                  LEO-PERP                                                                                                                               0.000000000000000
                                                                                                  LINK-PERP                                                                                                                             -0.000000000000028
                                                                                                  LOOKS-PERP                                                                                                                             0.000000000000000
                                                                                                  LTC-PERP                                                                                                                               0.000000000000000
                                                                                                  LUNC-PERP                                                                                                                              0.000000000000000
                                                                                                  MANA-PERP                                                                                                                              0.000000000000000
                                                                                                  MASK-PERP                                                                                                                              0.000000000000000
                                                                                                  MATIC-PERP                                                                                                                             0.000000000000000
                                                                                                  MNGO                                                                                                                                   9.811900000000000
                                                                                                  NEAR-PERP                                                                                                                              0.000000000000000
                                                                                                  ONE-PERP                                                                                                                               0.000000000000000
                                                                                                  OXY-PERP                                                                                                                               0.000000000000000
                                                                                                  PERP-PERP                                                                                                                              0.000000000000000
                                                                                                  POLIS                                                                                                                                  0.064803820000000
                                                                                                  RAY-PERP                                                                                                                               0.000000000000000
                                                                                                  RON-PERP                                                                                                                               0.000000000000000
                                                                                                  ROOK-PERP                                                                                                                              0.000000000000000
                                                                                                  SAND-PERP                                                                                                                              0.000000000000000
                                                                                                  SHIB-PERP                                                                                                                              0.000000000000000
                                                                                                  SLP-PERP                                                                                                                               0.000000000000000
                                                                                                  SOL                                                                      99.981616070000000                                           99.981616075000000
                                                                                                  SOL-PERP                                                                                                                               0.000000000000000
                                                                                                  SPELL-PERP                                                                                                                             0.000000000000000
                                                                                                  SRM-PERP                                                                                                                               0.000000000000000
                                                                                                  SRN-PERP                                                                                                                               0.000000000000000
                                                                                                  STEP                                                                                                                                   0.010000000000000
                                                                                                  SUSHI-PERP                                                                                                                             0.000000000000000
                                                                                                  THETA-PERP                                                                                                                             0.000000000000000
                                                                                                  TRX                                                                   2,000.000000000000000                                        2,000.000000000000000
                                                                                                  TRX-PERP                                                                                                                               0.000000000000000
                                                                                                  UNI-PERP                                                                                                                               0.000000000000000
                                                                                                  USD                                                                  21,294.650000000000000                                       21,294.646492327043000
                                                                                                  USDT                                                                                                                                   0.000000293145875
                                                                                                  USDT-PERP                                                                                                                              0.000000000000000
                                                                                                  USTC-PERP                                                                                                                              0.000000000000000
                                                                                                  WAVES-PERP                                                                                                                             0.000000000000000
                                                                                                  XMR-PERP                                                                                                                               0.000000000000000
                                                                                                  XRP-PERP                                                                                                                               0.000000000000000
                                                                                                  YFI-PERP                                                                                                                               0.000000000000000
                                                                                                  ZEC-PERP                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
57877*      Name on file                        FTX Trading Ltd.                       BTC                                                               0.209400000000000 FTX Trading Ltd.                                                0.209400000000000
                                                                                       USD                                                                                                                                                 2.972304250000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33822       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADA-PERP
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ANC-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           -0.000000000000010
                                                                                       AXS-PERP                                                                                                                                             0.000000000002728
                                                                                       BCH-PERP                                                                                                                                             0.000000000000028
                                                                                       BOBA-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.000000006215320                                                                  0.000000006215320
                                                                                       BTC-20210625                                                                                                                                         0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            -0.000000000000006
                                                                                       BTTPRE-PERP                                                                                                                                          0.000000000000000
                                                                                       CEL-PERP                                                                                                                                            -0.000000000001818
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       CLV-PERP                                                                                                                                             0.000000000004547
                                                                                       CREAM-PERP                                                                                                                                           0.000000000000113
                                                                                       DODO-PERP                                                                                                                                            0.000000000000454
                                                                                       DOGE-20210625                                                                                                                                        0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000085
                                                                                       EDEN-20211231                                                                                                                                        0.000000000000000
                                                                                       EOS-PERP                                                                                                                                             0.000000000014551
                                                                                       ETC-PERP                                                                                                                                             0.000000000000994
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000099
                                                                                       ETHW-PERP                                                                                                                                            0.000000000000000
                                                                                       FIL-PERP                                                                                                                                             0.000000000000284
                                                                                       FLOW-PERP                                                                                                                                           -0.000000000012505
                                                                                       FTT-PERP                                                                                                                                             0.000000000000227
                                                                                       GALA-PERP                                                                                                                                     55,840.000000000000000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000

57877*: Claim is also included as a Surviving Claim in the Debtors' One Hundred Twentieth (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 30 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     GST-PERP                                                                                                                                            0.000000000020463
                                                                                     HNT-PERP                                                                                                                                            0.000000000000000
                                                                                     HUM-PERP                                                                                                                                            0.000000000000000
                                                                                     ICP-PERP                                                                                                                                            0.000000000000056
                                                                                     KLAY-PERP                                                                                                                                           0.000000000000000
                                                                                     KNC-PERP                                                                                                                                            0.000000000001136
                                                                                     LINK-PERP                                                                                                                                           0.000000000000184
                                                                                     LTC-PERP                                                                                                                                           48.780000000000100
                                                                                     LUNA2                                                           12.158987993000000                                                                 12.158987993000000
                                                                                     LUNA2_LOCKED                                                                                                                                       28.370971982000000
                                                                                     LUNA2-PERP                                                                                                                                          0.000000000000000
                                                                                     LUNC                                                             0.000000010000000                                                                  0.000000010000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000017858042
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                      2,525.000000000000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                     NEO-PERP                                                                                                                                            0.000000000000284
                                                                                     OMG-20211231                                                                                                                                        0.000000000000000
                                                                                     OMG-PERP                                                                                                                                            0.000000000000000
                                                                                     ONT-PERP                                                                                                                                            0.000000000000000
                                                                                     OP-PERP                                                                                                                                             0.000000000000000
                                                                                     ORBS-PERP                                                                                                                                           0.000000000000000
                                                                                     PERP-PERP                                                                                                                                           0.000000000000000
                                                                                     QTUM-PERP                                                                                                                                          -0.000000000000682
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     RSR-PERP                                                                                                                                      509,550.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SNX-PERP                                                                                                                                           -0.000000000000227
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     SRN-PERP                                                                                                                                            0.000000000000000
                                                                                     STORJ-PERP                                                                                                                                          0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     SXP-PERP                                                                                                                                           -0.000000000003637
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TONCOIN-PERP                                                                                                                                       -0.000000000000021
                                                                                     TRU-PERP                                                                                                                                            0.000000000000000
                                                                                     TRX                                                              0.000284020000000                                                                  0.000284020000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                         10,677.778300776870264                                                             -4,065.954649223029700
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XEM-PERP                                                                                                                                            0.000000000000000
                                                                                     XLM-PERP                                                                                                                                            0.000000000000000
                                                                                     XRP                                                             47.325626840000000                                                                 47.325626840000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                            0.000000000001818
                                                                                     YFII-PERP                                                                                                                                           0.000000000000017
                                                                                     ZEC-PERP                                                                                                                                           75.900000000000200
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                       14,057.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82499       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       AMPL-PERP                                                                                                                                            0.000000000000000
                                                                                       APE-PERP                                                                                                                                            -0.000000000017507
                                                                                       ASD                                                                                                                                                  0.000000001687606
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX                                                              0.119474105178678                                                                  0.119474105178678
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                               0.000000000953898                                                                  0.000000000953898
                                                                                       BTC                                                               0.000003347104549                                                                  0.000003347104549
                                                                                       BTC-MOVE-20210414                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-2022Q3                                                                                                                                      0.000000000000000
                                                                                       BTC-MOVE-WK-0708                                                                                                                                     0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CEL                                                               0.000000003619516                                                                  0.000000003619516
                                                                                       CEL-PERP                                                                                                                                             0.000000000000000
                                                                                       DAWN-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                       ENS-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                               0.006000002431973                                                                  0.006000002431973
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       FLM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTM                                                               0.000000006728840                                                                  0.000000006728840
                                                                                       FTT                                                              30.301060523665149                                                                30.301060523665150
                                                                                       FTT-PERP                                                                                                                                             0.000000000000014
                                                                                       GAL-PERP                                                                                                                                             0.000000000000341
                                                                                       GBP                                                          30,025.170712670477906                                                           30,025.170712670480000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000
                                                                                       GRT                                                                                                                                                  0.000000004317495
                                                                                       HBAR-PERP                                                                                                                                            0.000000000000000
                                                                                       KIN-PERP                                                                                                                                             0.000000000000000
                                                                                       LEO                                                                                                                                                  0.000000009704211
                                                                                       LEO-PERP                                                                                                                                             0.000000000000000
                                                                                       LINA-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK                                                                                                                                                 0.000000004548141
                                                                                       LTC                                                                                                                                                  0.000000009799854
                                                                                       LUNA2                                                             1.382804368000000                                                                  1.382804368000000
                                                                                       LUNA2_LOCKED                                                                                                                                         3.226543524000000
                                                                                       LUNC                                                       301,108.562382824125060                                                          301,108.562382824140000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000003
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       MEDIA                                                                                                                                                0.000000002500000
                                                                                       MEDIA-PERP                                                                                                                                           0.000000000000003
                                                                                       MER-PERP                                                                                                                                             0.000000000000000
                                                                                       MTA-PERP                                                                                                                                             0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 31 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ONE-PERP                                                                                                                                             0.000000000000000
                                                                                      OP-PERP                                                                                                                                              0.000000000000000
                                                                                      OXY-PERP                                                                                                                                            -0.000000000000085
                                                                                      POLIS-PERP                                                                                                                                           0.000000000000000
                                                                                      PROM-PERP                                                                                                                                            0.000000000000000
                                                                                      QTUM-PERP                                                                                                                                            0.000000000000000
                                                                                      RAY                                                               0.000000012190128                                                                  0.000000012190128
                                                                                      RAY-PERP                                                                                                                                             0.000000000000000
                                                                                      RUNE                                                                                                                                                 0.000000003223397
                                                                                      RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                      SLP-PERP                                                                                                                                             0.000000000000000
                                                                                      SOL                                                               1.466541682222960                                                                  1.466541682222960
                                                                                      SOL-PERP                                                                                                                                            -0.000000000000056
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      SRN-PERP                                                                                                                                             0.000000000000000
                                                                                      STEP                                                              0.000000010000000                                                                  0.000000010000000
                                                                                      STEP-PERP                                                                                                                                            0.000000000001591
                                                                                      TONCOIN-PERP                                                                                                                                         0.000000000000000
                                                                                      TRX                                                               0.000000002973037                                                                  0.000000002973037
                                                                                      TRX-PERP                                                                                                                                             0.000000000000000
                                                                                      TULIP-PERP                                                                                                                                           0.000000000000000
                                                                                      USD                                                               6.384133536606956                                                                 65.159864126661970
                                                                                      USDC                                                             53.775730590000000                                                                  0.000000000000000
                                                                                      USDT                                                              0.008366750165577                                                                  0.008366750165577
                                                                                      XTZ-PERP                                                                                                                                             0.000000000000000
                                                                                      YFI-PERP                                                                                                                                             0.000000000000000
                                                                                      ZEC-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30983       Name on file                        FTX Trading Ltd.                       ETH                                                               4.277000000000000 FTX Trading Ltd.                                                4.277000000000000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                              99.790000000000000                                                                99.790000000000000
                                                                                       TRX                                                                                                                                                 0.000225000000000
                                                                                       USD                                                                                                                                                 0.006690631900000
                                                                                       USDT                                                                                                                                                0.504854027500000
                                                                                       ZRX                                                            443.000000000000000                                                                443.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3618        Name on file                        FTX Trading Ltd.                       BRZ                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       ETH                                                                                                                                                 0.005218740000000
                                                                                       ETHW                                                                                                                                                0.005150520000000
                                                                                       SHIB                                                                                                                                                1.000000000000000
                                                                                       TRX                                                                                                                                                 0.000043000000000
                                                                                       USD                                                          10,123.440000000000000                                                           10,120.732185122271000
                                                                                       USDT                                                                                                                                                0.000000005086848

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
57254       Name on file                        FTX Trading Ltd.                        ALCX-PERP                                                                               FTX Trading Ltd.                                              -0.000000000000007
                                                                                        ANC-PERP                                                                                                                                               0.000000000000000
                                                                                        APE-PERP                                                                                                                                               0.000000000000000
                                                                                        AVAX-PERP                                                                                                                                              0.000000000000454
                                                                                        BADGER-PERP                                                                                                                                            0.000000000000000
                                                                                        BNB                                                                                                                                                    0.005934000000000
                                                                                        BTC                                                                 0.058615120429744                                                                  0.058615120429744
                                                                                        BTC-PERP                                                                                                                                               0.000000000000002
                                                                                        CRO-PERP                                                                                                                                               0.000000000000000
                                                                                        CRV-PERP                                                                                                                                               0.000000000000000
                                                                                        DYDX-PERP                                                                                                                                              0.000000000000000
                                                                                        ETH                                                                                                                                                    0.000338724410822
                                                                                        ETH-20210924                                                                                                                                           0.000000000000000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000021
                                                                                        ETHW                                                                                                                                                   0.000338726446237
                                                                                        FTM-PERP                                                                                                                                               0.000000000000000
                                                                                        FTT                                                               180.032842567796920                                                                180.032842567796930
                                                                                        FTT-PERP                                                                                                                                               0.000000000000568
                                                                                        GMT-PERP                                                                                                                                               0.000000000000000
                                                                                        GRT-PERP                                                                                                                                               0.000000000000000
                                                                                        LINK-PERP                                                                                                                                             -0.000000000002160
                                                                                        LOOKS-PERP                                                                                                                                             0.000000000000000
                                                                                        LRC-PERP                                                                                                                                               0.000000000000000
                                                                                        LUNC-PERP                                                                                                                                             -0.000000000001818
                                                                                        MANA-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC-PERP                                                                                                                                             0.000000000000000
                                                                                        MTA-PERP                                                                                                                                               0.000000000000000
                                                                                        NFT (517034996773058202/FTX EU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #164400)
                                                                                        SAND-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL                                                                15.109980000000000                                                                 15.109980000000000
                                                                                        SOL-PERP                                                                                                                                              -0.000000000000142
                                                                                        SPELL-PERP                                                                                                                                             0.000000000000000
                                                                                        SUSHI-PERP                                                                                                                                             0.000000000000000
                                                                                        TRX-PERP                                                                                                                                               0.000000000000000
                                                                                        USD                                                            1,657.340844760353645                                                               1,657.340844760299700
                                                                                        USDT                                                                                                                                                   0.000000003398710
                                                                                        USTC-PERP                                                                                                                                              0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
79571       Name on file                        FTX Trading Ltd.                       AVAX                                                              8.415500000000000 West Realm Shires Services Inc.                                 8.416390380000000
                                                                                       MATIC                                                          284.024600000000000                                                                284.053173870000000
                                                                                       SOL                                                              20.723300000000000                                                                20.725361560000000
                                                                                       USD                                                                                                                                                12.058430225810100

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
28658       Name on file                        FTX Trading Ltd.                        APE-PERP                                                                                FTX Trading Ltd.                                              -0.000000000000028
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000000
                                                                                        AXS-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 32 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      EOS-PERP                                                                                                                                             0.000000000000000
                                                                                      ETH-PERP                                                                                                                                             0.000000000000000
                                                                                      FIL-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                               0.094739300000000                                                                  0.094739300000000
                                                                                      GMT-PERP                                                                                                                                             0.000000000000000
                                                                                      ICP-PERP                                                                                                                                             0.000000000000000
                                                                                      IMX-PERP                                                                                                                                             0.000000000000000
                                                                                      KSM-PERP                                                                                                                                             0.000000000000000
                                                                                      LINK-PERP                                                                                                                                            0.000000000000000
                                                                                      LUNC-PERP                                                                                                                                           -0.000000000000003
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      RNDR                                                          1,497.080036206380912                                                              1,497.080036206381000
                                                                                      RNDR-PERP                                                                                                                                            0.000000000000014
                                                                                      RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                      SHIB                                                    15,600,000.000000000000000                                                          15,600,000.000000000000000
                                                                                      SOL                                                              0.000000001992308                                                                   0.000000001992308
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      USD                                                           1,323.633870342980171                                                              1,323.633870342986000
                                                                                      USDT                                                                                                                                                 3.840000027072793
                                                                                      WAVES-PERP                                                                                                                                           0.000000000000000
                                                                                      ZIL-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
135         Name on file                        FTX Trading Ltd.                       ALGO                                                                                   West Realm Shires Services Inc.                              0.043582800000000
                                                                                       BAT                                                                                                                                                 3.000000000000000
                                                                                       BRZ                                                                                                                                                 7.064844000000000
                                                                                       CUSDT                                                                                                                                               1.000000000000000
                                                                                       DOGE                                                                                                                                               10.016545750000000
                                                                                       ETH                                                                                                                                                 0.000076830000000
                                                                                       ETHW                                                                                                                                                9.173538780000000
                                                                                       GRT                                                                                                                                                 2.000271800000000
                                                                                       LINK                                                                                                                                                1.005122100000000
                                                                                       MATIC                                                                                                                                               0.009417030000000
                                                                                       SHIB                                                                                                                                                8.000000000000000
                                                                                       SOL                                                                                                                                                 0.001641020000000
                                                                                       TRX                                                                                                                                                17.101650980000000
                                                                                       USD                                                           3,048.480000000000000                                                             3,048.484971430391000
                                                                                       USDT                                                                                                                                              107.508690509057230

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
53970       Name on file                        FTX Trading Ltd.                        BTC                                                                 1.039686100000000 FTX Trading Ltd.                                                 1.039686104603602
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        ETH                                                                                                                                                    0.000000000802719
                                                                                        FTT                                                                                                                                                    0.004162680000000
                                                                                        LUNA2                                                                                                                                                  0.230873847000000
                                                                                        LUNA2_LOCKED                                                                                                                                           0.538705643000000
                                                                                        SOL                                                               100.065753400000000                                                                100.065753407157900
                                                                                        TRX                                                                                                                                                    0.000001000000000
                                                                                        USD                                                            4,326.300000000000000                                                               4,326.299116518737000
                                                                                        USDT                                                              250.000000000000000                                                                250.000000023004020

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
5666        Name on file                        FTX Trading Ltd.                       CUSDT                                                                                  West Realm Shires Services Inc.                              1.000000000000000
                                                                                       DOGE                                                         10,991.075990000000000                                                           10,991.075986960000000
                                                                                       SHIB                                                                                                                                                1.000000000000000
                                                                                       USD                                                                                                                                                 0.000000002195457

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
89790       Name on file                        FTX Trading Ltd.                        BTC                                                                0.291700000000000 FTX Trading Ltd.                                                  0.301725260400000
                                                                                        DOGE                                                           3,937.130000000000000                                                               3,937.130000000000000
                                                                                        ETH                                                                3.236300000000000                                                                   3.246276680000000
                                                                                        ETHW                                                               3.246300000000000                                                                   3.246276680000000
                                                                                        FTT                                                                6.598700000000000                                                                   6.598689600000000
                                                                                        LUNA2                                                              4.684300000000000                                                                   4.684310245000000
                                                                                        LUNA2_LOCKED                                                                                                                                          10.930057240000000
                                                                                        LUNC                                                       1,020,018.418000000000000                                                           1,020,018.418030040000000
                                                                                        SHIB                                                      18,174,436.676200000000000                                                         18,174,436.676160430000000
                                                                                        USD                                                                                                                                                   -0.126765517337305
                                                                                        USDT                                                          30,984.850900000000000                                                              30,991.702012621678000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
57049       Name on file                        Quoine Pte Ltd                         BTC                                                               0.504274760000000 Quoine Pte Ltd                                                  0.504274760000000
                                                                                       CHI                                                              25.000000000000000                                                                25.000000000000000
                                                                                       ENJ                                                           1,300.000000000000000                                                             1,300.000000000000000
                                                                                       ETH                                                               6.753950140000000                                                                 6.753950140000000
                                                                                       ETHW                                                              6.753950140000000                                                                 6.753950140000000
                                                                                       EUR                                                                                                                                                 3.545730000000000
                                                                                       FANZ                                                                                                                                              160.000000000000000
                                                                                       GAT                                                          16,120.000000000000000                                                           16,120.000000000000000
                                                                                       NEO                                                               8.644400000000000                                                                 8.644400000000000
                                                                                       QASH                                                                                                                                                4.993063330000000
                                                                                       XRP                                                              48.373960000000000                                                                48.373958580000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
89278       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       AAVE                                                              0.000000009393480                                                                 0.000000009393480
                                                                                       ASD-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       AVAX                                                              0.000000014367053                                                                 0.000000014367053
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       BAL                                                               0.000000005000000                                                                 0.000000005000000
                                                                                       BAND                                                              0.000000005001000                                                                 0.000000005001000
                                                                                       BNB                                                               0.000000002500000                                                                 0.000000002500000
                                                                                       BRZ                                                          85,604.451889316730000                                                           85,604.451889316730000
                                                                                       BTC                                                                                                                                                 0.219507292735709
                                                                                       CREAM                                                             0.000000002500000                                                                 0.000000002500000
                                                                                       DEFI-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       DRGN-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 33 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ETH                                                               0.000000015791770                                                                  0.000000015791770
                                                                                      ETHW                                                              2.500315747258370                                                                  2.500315747258370
                                                                                      FTM                                                               0.000000004057160                                                                  0.000000004057160
                                                                                      FTT                                                              25.919551858258320                                                                 25.919551858258320
                                                                                      GRT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      LINK                                                              0.000000000612160                                                                  0.000000000612160
                                                                                      LINK-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      LTC                                                               0.000000002449730                                                                  0.000000002449730
                                                                                      OKB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      RAY                                                               0.634214871612190                                                                  0.634214871612190
                                                                                      SNX                                                               0.000000009611550                                                                  0.000000009611550
                                                                                      SOL                                                              16.550276952418155                                                                 16.550276952418155
                                                                                      SRM                                                              61.834183390000000                                                                 61.834183390000000
                                                                                      SRM_LOCKED                                                        0.710046130000000                                                                  0.710046130000000
                                                                                      SUSHI                                                             0.000000000584394                                                                  0.000000000584394
                                                                                      THETA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                      USD                                                           4,038.360328477211600                                                              4,038.360328477211600
                                                                                      USDT                                                              0.000000009484495                                                                  0.000000009484495

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
4870        Name on file                        FTX Trading Ltd.                       ALGO                                                                                   West Realm Shires Services Inc.                            149.745978160000000
                                                                                       BRZ                                                                                                                                                 5.079529670000000
                                                                                       BTC                                                                                                                                                 0.001251840000000
                                                                                       CUSDT                                                                                                                                              23.000000000000000
                                                                                       DOGE                                                                                                                                               17.349165220000000
                                                                                       ETH                                                                                                                                                 0.029749240000000
                                                                                       ETHW                                                                                                                                                0.029379871762313
                                                                                       SHIB                                                                                                                                                2.000000000000000
                                                                                       SOL                                                                                                                                                 0.000000009557676
                                                                                       TRX                                                                                                                                                12.072330870000000
                                                                                       USD                                                           5,205.000000000000000                                                             5,205.120311978306000
                                                                                       USDT                                                                                                                                                0.000000008677607

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
77866       Name on file                        FTX Trading Ltd.                        ETHW                                                                                    West Realm Shires Services Inc.                                0.824625190000000
                                                                                        USD                                                            3,263.760000000000000                                                               3,263.762308692566400
                                                                                        USDT                                                                                                                                                   0.000000003767106

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
2229        Name on file                        FTX Trading Ltd.                        BTC                                                                 0.981698650000000 FTX Trading Ltd.                                                0.981698650000000
                                                                                        ETH                                                                                                                                                   3.000080310000000
                                                                                        ETHERIUM                                                            3.000080310000000                                                                 0.000000000000000
                                                                                        FTT                                                                                                                                                   2.999430000000000
                                                                                        MATIC                                                             249.952500000000000                                                               249.952500000000000
                                                                                        NEAR                                                              107.279613000000000                                                               107.279613000000000
                                                                                        RAY                                                               208.962000000000000                                                               208.962000000000000
                                                                                        SOL                                                               250.027295200000000                                                               250.027295200000000
                                                                                        USD                                                                                                                                                   0.220980621750000
                                                                                        USDT                                                                                                                                                  0.000000010503904

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
64810       Name on file                        FTX Trading Ltd.                       AMPL                                                                                   FTX Trading Ltd.                                              0.000000001009373
                                                                                       AXS-PERP                                                                                                                                            -0.000000000000001
                                                                                       BEAR                                                                                                                                               56.500000000000000
                                                                                       BTC                                                                                                                                                  0.000096720000000
                                                                                       BTC-20210924                                                                                                                                         0.000000000000000
                                                                                       BTC-MOVE-2021Q4                                                                                                                                      0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BTT                                                        427,858.000000000000000                                                          427,858.000000000000000
                                                                                       BULL                                                                                                                                                 0.000000006000000
                                                                                       BVOL                                                                                                                                                 0.000000005000000
                                                                                       DOGE-20210924                                                                                                                                        0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000007967576
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       ETHW                                                                                                                                                 0.000000007967576
                                                                                       FIL-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  0.109545496204272
                                                                                       HT                                                             415.573580000000000                                                                415.573580000000000
                                                                                       LUNA2                                                                                                                                                0.007560850455000
                                                                                       LUNA2_LOCKED                                                                                                                                         0.017641984390000
                                                                                       LUNC                                                                                                                                              149.329196000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                                                                                                                  0.003798000000000
                                                                                       SRM                                                                                                                                                  0.000040320000000
                                                                                       SRM_LOCKED                                                                                                                                           0.023297800000000
                                                                                       TRX                                                            792.000000000000000                                                                792.000000000000000
                                                                                       USD                                                                                                                                                  1.066503837442418
                                                                                       USDT                                                                                                                                                 0.000000006351359
                                                                                       USTC                                                                                                                                                 0.973200000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7623        Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                              0.000003610000000
                                                                                       ETH                                                                                                                                                  0.000020201286516
                                                                                       ETHW                                                                                                                                                 0.000020193148314
                                                                                       FIL-0930                                                                                                                                             0.000000000000000
                                                                                       SHIB                                                  6,450,015,258.292669000000000                                                    6,450,015,258.292669000000000
                                                                                       USD                                                              -0.000531167203161                                                                 -0.000531167203161

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
85285       Name on file                        FTX Trading Ltd.                       1INCH                                                                                  FTX Trading Ltd.                                           532.696823506360900
                                                                                       AAVE                                                              3.998578212000000                                                                 3.998578212043420
                                                                                       ALGO                                                                                                                                            7,540.277800000000000
                                                                                       ALTO                                                          7,540.277800000000000                                                                 0.000000000000000
                                                                                       ATLAS                                                                                                                                           6,929.200000000000000
                                                                                       BNT                                                              95.658000000000000                                                                95.658844729806820
                                                                                       BTC                                                               0.249975881000000                                                                 0.249975880741560
                                                                                       CHZ                                                               9.084000000000000                                                                 9.084000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 34 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ETH                                                                                                                                                  0.000894659047230
                                                                                      ETHW                                                                                                                                                 0.000889823654330
                                                                                      LINK                                                                                                                                                 0.046134283687060
                                                                                      MATIC                                                          785.459380000000000                                                                 785.459389076864000
                                                                                      SHIB                                                    29,594,080.000000000000000                                                          29,594,080.000000000000000
                                                                                      TINCH                                                          532.696825000000000                                                                   0.000000000000000
                                                                                      TRX                                                                                                                                                 39.180927240000000
                                                                                      USD                                                                                                                                              7,300.992364942637000
                                                                                      USDC                                                         7,300.000000000000000                                                                   0.000000000000000
                                                                                      XRP                                                         57,693.920000000000000                                                              57,693.922635340525000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32769       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000061878687563
                                                                                       DYDX                                                             51.356932700000000                                                                51.356932700000000
                                                                                       ETH                                                                                                                                                 0.009000005500000
                                                                                       ETHW                                                                                                                                                0.009000005500000
                                                                                       FTT                                                                                                                                                 1.428803253655989
                                                                                       GBP                                                                                                                                                 0.000000005477843
                                                                                       HEDGE                                                                                                                                               0.000000001000000
                                                                                       MATIC                                                                                                                                               9.884480000000000
                                                                                       RAY                                                                                                                                                 0.912686890000000
                                                                                       SOL                                                                                                                                                 0.005998105000000
                                                                                       SRM                                                                                                                                                 0.720121860000000
                                                                                       SRM_LOCKED                                                                                                                                          2.844486230000000
                                                                                       USD                                                           2,133.830000000000000                                                             2,133.832813298708500
                                                                                       USDT                                                                                                                                                0.000000003064544

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
57040       Name on file                        FTX Trading Ltd.                       BTC                                                               0.084242150000000 West Realm Shires Services Inc.                                 0.084242150000000
                                                                                       DOGE                                                         22,576.183778920000000                                                           22,576.183778920000000
                                                                                       GRT                                                               0.061500000000000                                                                 0.000000000000000
                                                                                       SHIB                                                              4.000000000000000                                                                 4.000000000000000
                                                                                       SOL                                                             124.974882624363000                                                               124.974882624363000
                                                                                       USD                                                                                                                                               916.180000011678400

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
69932       Name on file                        FTX Trading Ltd.                        AUDIO                                                                                   FTX Trading Ltd.                                               1.000000000000000
                                                                                        DOGE                                                                1.000000000000000                                                                  1.000000000000000
                                                                                        FTT                                                               602.040000000000000                                                                602.040734460000000
                                                                                        TRX                                                                                                                                                    0.000001000000000
                                                                                        USD                                                            5,574.000000000000000                                                               5,573.894098510000000
                                                                                        USDT                                                                                                                                                   0.000000014198844

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29455       Name on file                        FTX Trading Ltd.                       ATOM                                                                                   FTX Trading Ltd.                                             0.100000000000000
                                                                                       AVAX                                                                                                                                                0.033446000000000
                                                                                       BNB                                                                                                                                                 0.001830900000000
                                                                                       BTC                                                                                                                                                 0.000093483000000
                                                                                       CHZ                                                               6.200000000000000                                                                 6.205700000000000
                                                                                       CRO                                                               3.140000000000000                                                                 3.148600000000000
                                                                                       DOGE                                                                                                                                                0.964130000000000
                                                                                       DOT                                                                                                                                                 0.045017000000000
                                                                                       ETH                                                                                                                                                 0.000994380000000
                                                                                       ETHW                                                                                                                                                0.000330810000000
                                                                                       LINK                                                                                                                                                0.099683000000000
                                                                                       LTC                                                                                                                                                 0.005615100000000
                                                                                       LUNA2                                                                                                                                               0.000067703717290
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000157975340400
                                                                                       LUNC                                                                                                                                                0.000218100000000
                                                                                       MATIC                                                                                                                                               0.348450000000000
                                                                                       NEAR                                                                                                                                                0.035726000000000
                                                                                       SNX                                                                                                                                                 0.021454000000000
                                                                                       SOL                                                                                                                                                 0.002558800000000
                                                                                       USD                                                          41,049.790000000000000                                                           41,049.792396961540000
                                                                                       USDT                                                            766.990000000000000                                                               766.990000000000000
                                                                                       WBTC                                                                                                                                                0.000087691000000
                                                                                       XRP                                                                                                                                                 0.982290000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28741       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                              0.000000000000014
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALCX-PERP                                                                                                                                            0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       APT-PERP                                                                                                                                             0.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           -0.000000000000028
                                                                                       AVAX                                                                                                                                                 0.057010361946932
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000227
                                                                                       AXS-PERP                                                                                                                                             0.000000000000113
                                                                                       BAL-PERP                                                                                                                                             0.000000000000113
                                                                                       BNB                                                                                                                                                  0.000000008454198
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BNT-PERP                                                                                                                                             0.000000000002955
                                                                                       BOBA-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                  0.000000005000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000005
                                                                                       CEL-PERP                                                                                                                                             0.000000000000000
                                                                                       CHF                                                                                                                                                  0.919763635732848
                                                                                       CHZ                                                                                                                                                  3.252000000000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       COMP                                                                                                                                                 0.010341400000000
                                                                                       COMP-PERP                                                                                                                                            0.000000000000028
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       CVX                                                                                                                                                  0.028805890000000
                                                                                       CVX-PERP                                                                                                                                             0.000000000000000
                                                                                       DEFI-0930                                                                                                                                            0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 35 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     DOT-PERP                                                                                                                                            0.000000000000000
                                                                                     DYDX                                                                                                                                                0.011673620000000
                                                                                     DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                     EGLD-PERP                                                                                                                                           0.000000000000000
                                                                                     ENS-PERP                                                                                                                                           -0.000000000000028
                                                                                     EOS-PERP                                                                                                                                            0.000000000000909
                                                                                     ETC-PERP                                                                                                                                            0.000000000000056
                                                                                     ETH                                                                                                                                                 0.000000000955955
                                                                                     ETH-PERP                                                                                                                                            0.000000000000021
                                                                                     ETHW                                                                                                                                                0.888489090955955
                                                                                     ETHW-PERP                                                                                                                                           0.000000000000000
                                                                                     EUR                                                                                                                                                 0.000000011634987
                                                                                     FIL-PERP                                                                                                                                            0.000000000000000
                                                                                     FTM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     FXS-PERP                                                                                                                                            0.000000000000000
                                                                                     GALA-PERP                                                                                                                                           0.000000000000000
                                                                                     GBP                                                                                                                                                 0.000000009830947
                                                                                     GMT-PERP                                                                                                                                            0.000000000000000
                                                                                     GST-PERP                                                                                                                                            0.000000000000000
                                                                                     HBB                                                            106.770700600000000                                                                106.770700600000000
                                                                                     ICP-PERP                                                                                                                                           -0.000000000000056
                                                                                     IMX-PERP                                                                                                                                            0.000000000000000
                                                                                     LDO-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK-PERP                                                                                                                                          -0.000000000000781
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LRC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000372438
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MAPS-PERP                                                                                                                                           0.000000000000000
                                                                                     MASK-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MEDIA-PERP                                                                                                                                          0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     MNGO-PERP                                                                                                                                           0.000000000000000
                                                                                     MTA-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                     ONE-PERP                                                                                                                                            0.000000000000000
                                                                                     OP-PERP                                                                                                                                             0.000000000000000
                                                                                     PAXG-PERP                                                                                                                                           0.000000000000000
                                                                                     PEOPLE-PERP                                                                                                                                         0.000000000000000
                                                                                     POLIS-PERP                                                                                                                                          0.000000000000000
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     RNDR-PERP                                                                                                                                           0.000000000000000
                                                                                     ROOK-PERP                                                                                                                                           0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                          -0.000000000000170
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIT-PERP                                                                                                                                           0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000003637
                                                                                     SOL                                                                                                                                                 0.000000007035060
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000312
                                                                                     SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     STETH                                                                                                                                               0.000035213768253
                                                                                     STG                                                                                                                                                 0.861721210000000
                                                                                     STG-PERP                                                                                                                                            0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000001023
                                                                                     UNISWAP-PERP                                                                                                                                        0.000000000000000
                                                                                     USD                                                          6,131.170000000000000                                                              6,131.170832285213000
                                                                                     USDT                                                                                                                                                0.000000008324511
                                                                                     USDT-PERP                                                                                                                                           0.000000000000000
                                                                                     USTC-PERP                                                                                                                                           0.000000000000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     YFI-PERP                                                                                                                                            0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
20210       Name on file                        FTX Trading Ltd.                       AXS-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       BTC-20210924                                                                                                                                        0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CEL-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000320536784760
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                25.095231950000000
                                                                                       GBP                                                          11,106.902410820511267                                                           11,106.902410820512000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       MNGO-PERP                                                                                                                                           0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       STEP-PERP                                                                                                                                           0.000000000000000
                                                                                       USD                                                                                                                                                 0.000000005837977

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1231        Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.038538150000000
                                                                                       CUSDT                                                                                                                                               7.000000000000000
                                                                                       DOGE                                                                                                                                                5.000000000000000
                                                                                       ETH                                                                                                                                                 0.938937390000000
                                                                                       ETHW                                                                                                                                                0.938534600000000
                                                                                       GRT                                                                                                                                                 1.000191730000000
                                                                                       SHIB                                                                                                                                      21,999,744.514457760000000
                                                                                       SOL                                                                                                                                                28.028442660000000
                                                                                       TRX                                                                                                                                                 6.000000000000000
                                                                                       USD                                                           2,397.700000000000000                                                               147.598726743960130
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 36 of 92
                                                                                                        Asserted Claims                                                                                           Modified Claim
   Claim
  Number                    Name                                Debtor                                   Tickers                                 Ticker Quantity                                Debtor                                Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
80378       Name on file                        FTX Trading Ltd.                        1INCH                                                                                   FTX Trading Ltd.                                              23.990398631892240
                                                                                        AAVE-20210625                                                                                                                                          0.000000000000000
                                                                                        AAVE-PERP                                                                                                                                              0.000000000000000
                                                                                        BTC                                                                 0.166379238161990                                                                  0.166379238161990
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        DOGE-PERP                                                                                                                                              0.000000000000000
                                                                                        ETH                                                                                                                                                    0.000000002188960
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        FTT                                                                21.000000004646897                                                                 21.000000004646896
                                                                                        FTT-PERP                                                                                                                                               0.000000000000000
                                                                                        GRT-PERP                                                                                                                                               0.000000000000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC                                                                                                                                                  0.000000003581800
                                                                                        MATIC-PERP                                                                                                                                             0.000000000000000
                                                                                        MEDIA-PERP                                                                                                                                             0.000000000000000
                                                                                        RAY-PERP                                                                                                                                               0.000000000000000
                                                                                        SHIB-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL                                                                                                                                                    0.000000010000000
                                                                                        SOL-PERP                                                                                                                                               0.000000000000000
                                                                                        SRM-PERP                                                                                                                                               0.000000000000000
                                                                                        STEP                                                                                                                                                   0.000000010000000
                                                                                        STEP-PERP                                                                                                                                             -0.000000000000198
                                                                                        USD                                                            -1,028.754966287477205                                                             -1,028.754966287481700
                                                                                        ZIL-PERP                                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80213       Name on file                        FTX Trading Ltd.                       AVAX                                                           331.189000000000000 FTX Trading Ltd.                                               331.189419560000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 -0.000000008406988
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000007
                                                                                       LINK                                                           451.986000000000000                                                                451.986816260000000
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       SOL                                                            112.125000000000000                                                                112.125961570000000
                                                                                       SOL-PERP                                                                                                                                            -0.000000000000085
                                                                                       SPELL                                                      312,105.827000000000000                                                          312,105.827060370000000
                                                                                       STEP-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                                                                                                                  1.185498976535955
                                                                                       USDT                                                                                                                                                 0.000000014674135

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
66332       Name on file                        FTX Trading Ltd.                       ALGO                                                              0.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       DOGE                                                              0.000000000000000                                                                 1.000000000000000
                                                                                       GRT                                                               0.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                           2,107.350000000000000                                                             2,107.359787030000000
                                                                                       USDT                                                              0.000000000000000                                                                 0.000000007995465

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
32272       Name on file                        FTX Trading Ltd.                        BNB                                                                 0.510094600000000 FTX Trading Ltd.                                                1.101018341566475
                                                                                        ETH                                                                 0.189034080000000                                                                 0.189080790000000
                                                                                        FTT                                                                65.509606020000000                                                                 0.000000000000000
                                                                                        FTT-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL                                                                 3.836881000000000                                                                 3.836884780000000
                                                                                        TRX                                                                                                                                                   0.000007000000000
                                                                                        USD                                                               779.750000000000000                                                               614.101757001650000
                                                                                        USDT                                                                                                                                                  0.000109960000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
55177       Name on file                        FTX Trading Ltd.                       APE-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       APT                                                               0.426400000000000                                                                  0.426400000000000
                                                                                       ASD-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX                                                              0.030270000000000                                                                  0.030270000000000
                                                                                       BAND                                                              0.099420000000000                                                                  0.099420000000000
                                                                                       BOBA                                                              0.000040890000000                                                                  0.000040890000000
                                                                                       BTC                                                               0.000003910000000                                                                  0.000003910000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DASH-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ETC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETHW                                                              0.000543800000000                                                                  0.000543800000000
                                                                                       EUR                                                              94.142185160000000                                                                94.142185160000000
                                                                                       FTT                                                               0.083900000000000                                                                  0.083900000000000
                                                                                       FXS-PERP                                                         -0.000000000000909                                                                 -0.000000000000909
                                                                                       GALA                                                          1,420.000000000000000                                                             1,420.000000000000000
                                                                                       GAL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GARI                                                              0.333000000000000                                                                  0.333000000000000
                                                                                       GST-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LEO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LOOKS                                                             0.015800000000000                                                                  0.015800000000000
                                                                                       LOOKS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       LUNA2                                                             0.006756038674000                                                                  0.006756038674000
                                                                                       LUNA2_LOCKED                                                      0.015764090240000                                                                  0.015764090240000
                                                                                       LUNC                                                              0.009213500000000                                                                  0.009213500000000
                                                                                       MINA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       PUNDIX-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                       SOL                                                               0.003884000000000                                                                  0.003884000000000
                                                                                       SOL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SRN-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       STETH                                                             0.000090511962679                                                                  0.000090511962679
                                                                                       TRU-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       TRX                                                        147,300.289300000000000                                                          147,300.289300000000000
                                                                                       TRX-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       USD                                                               7.355264434478957                                                                77.355264434478960
                                                                                       USDT                                                              4.433987023965620                                                                  4.433987023965620
                                                                                       USDT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       USTC                                                              0.597100000000000                                                                  0.597100000000000
                                                                                       USTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       WAVES-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 37 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     YFI                                                              0.000500000000000                                                                  0.000500000000000
                                                                                     ZIL-PERP                                                         0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1631        Name on file                        FTX Trading Ltd.                       ADABULL                                                                                FTX Trading Ltd.                                           695.012555970000000
                                                                                       AKRO                                                                                                                                            7,968.000000000000000
                                                                                       ALGOBULL                                                                                                                              16,592,312,901.515260000000000
                                                                                       ALGOHALF                                                                                                                                            0.001990000000000
                                                                                       ALICE                                                                                                                                              60.000000000000000
                                                                                       ALTBULL                                                                                                                                           445.855362750000000
                                                                                       ASDBULL                                                                                                                                    1,332,533.826269450000000
                                                                                       ATLAS                                                                                                                                               0.000000009600000
                                                                                       ATOMBULL                                                                                                                                  11,480,155.920177380000000
                                                                                       AUDIO                                                                                                                                             800.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       BALBULL                                                                                                                                    3,485,334.636146160000000
                                                                                       BAO                                                                                                                                          896,000.000000000000000
                                                                                       BCHBULL                                                                                                                                   37,217,940.000000000000000
                                                                                       BEAR                                                                                                                                            3,000.000000000000000
                                                                                       BICO                                                                                                                                              104.000000000000000
                                                                                       BNBBULL                                                                                                                                             4.761351110000000
                                                                                       BSVBULL                                                                                                                                  732,024,102.564102500000000
                                                                                       BTC                                                                                                                                                 0.000000000932500
                                                                                       BULL                                                                                                                                               26.449329589593653
                                                                                       BULLSHIT                                                                                                                                          185.954787740000000
                                                                                       BVOL                                                                                                                                                0.040000000000000
                                                                                       COMPBULL                                                                                                                                  57,694,920.000000000000000
                                                                                       CRV                                                                                                                                               162.000000000000000
                                                                                       DEFIBULL                                                                                                                                        9,369.164886370000000
                                                                                       DOGEBULL                                                                                                                                        5,770.372591530000000
                                                                                       DOT                                                                                                                                                16.000000000000000
                                                                                       DRGNBULL                                                                                                                                          357.422193200000000
                                                                                       DYDX                                                                                                                                               46.000000000000000
                                                                                       EOSBULL                                                                                                                                   96,219,000.000000000000000
                                                                                       ETCBEAR                                                                                                                                   30,000,000.000000000000000
                                                                                       ETCBULL                                                                                                                                       30,906.515072100000000
                                                                                       ETH                                                                                                                                                 0.001472425495000
                                                                                       ETHBEAR                                                                                                                                   50,000,000.000000000000000
                                                                                       ETHBULL                                                                                                                                           248.121168802000000
                                                                                       ETHW                                                                                                                                                0.001472425495000
                                                                                       EXCHBULL                                                                                                                                            0.540693740000000
                                                                                       FTT                                                                                                                                                73.698796623000000
                                                                                       GALA                                                                                                                                                0.000000003290000
                                                                                       GODS                                                                                                                                               88.000000000000000
                                                                                       GRTBULL                                                                                                                                  144,178,283.716302840000000
                                                                                       HALF                                                                                                                                                0.000200000000000
                                                                                       HTBULL                                                                                                                                            178.642432660000000
                                                                                       HUM                                                                                                                                             1,290.000000000000000
                                                                                       IMX                                                                                                                                               160.017951672000000
                                                                                       JOE                                                                                                                                               405.000000000000000
                                                                                       KIN                                                                                                                                       10,050,000.000000000000000
                                                                                       KNCBULL                                                                                                                                      621,410.900125450000000
                                                                                       LEOBULL                                                                                                                                             0.051910440000000
                                                                                       LINA                                                                                                                                          15,950.000000000000000
                                                                                       LINKBULL                                                                                                                                   1,259,614.513585180000000
                                                                                       LTCBULL                                                                                                                                    1,557,333.396785030000000
                                                                                       MATIC                                                                                                                                              40.000000000000000
                                                                                       MATICBEAR2021                                                                                                                                     350.000000000000000
                                                                                       MATICBULL                                                                                                                                  2,360,901.295291430000000
                                                                                       MATICHALF                                                                                                                                           0.000008000000000
                                                                                       MIDBULL                                                                                                                                           158.374831260000000
                                                                                       MIDHALF                                                                                                                                             0.004360000000000
                                                                                       MKRBEAR                                                                                                                                       13,000.000000000000000
                                                                                       MKRBULL                                                                                                                                         1,814.222254920000000
                                                                                       OKBBULL                                                                                                                                            76.967876710000000
                                                                                       PAXG                                                                                                                                                0.006000000000000
                                                                                       PAXGBULL                                                                                                                                            0.005340070000000
                                                                                       PRIVBEAR                                                                                                                                           20.000000000000000
                                                                                       PRIVBULL                                                                                                                                          553.632142470000000
                                                                                       SAND                                                                                                                                                0.002000000000000
                                                                                       SOL                                                                                                                                                 0.210000000000000
                                                                                       STETH                                                                                                                                               0.060995615610740
                                                                                       SUSHIBEAR                                                                                                                                130,000,000.000000000000000
                                                                                       SUSHIBULL                                                                                                                                353,854,426.033981700000000
                                                                                       SXPBULL                                                                                                                                  782,741,258.818681400000000
                                                                                       THETABULL                                                                                                                                    116,975.429851620000000
                                                                                       THETAHALF                                                                                                                                           0.000104482680000
                                                                                       TLM                                                                                                                                             2,760.000000000000000
                                                                                       TOMO                                                                                                                                               10.000000000000000
                                                                                       TOMOBULL                                                                                                                                 556,476,000.000000000000000
                                                                                       TONCOIN                                                                                                                                           120.000000000000000
                                                                                       TRX                                                                                                                                                 0.000856000000000
                                                                                       TRXBULL                                                                                                                                         7,975.000000000000000
                                                                                       TRYBBULL                                                                                                                                            0.000011790000000
                                                                                       UNISWAPBULL                                                                                                                                     3,530.462927730000000
                                                                                       USD                                                           5,963.000000000000000                                                               116.474197892552100
                                                                                       USDT                                                                                                                                               91.400005597861050
                                                                                       USDT-0325                                                                                                                                           0.000000000000000
                                                                                       USDTBEAR                                                                                                                                            0.000110000000000
                                                                                       USDTBULL                                                                                                                                            0.001605770000000
                                                                                       VETBULL                                                                                                                                      969,957.644287320000000
                                                                                       XAUTBULL                                                                                                                                            0.002723810000000
                                                                                       XLMBULL                                                                                                                                       13,835.928755640000000
                                                                                       XRPBULL                                                                                                                                   14,367,244.780956000000000
                                                                                       XTZBULL                                                                                                                                    4,799,874.380827580000000
                                                                                       ZECBULL                                                                                                                                      442,035.896421120000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8748        Name on file                        FTX Trading Ltd.                       BTC-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ETH                                                               8.021704490000000                                                                 8.021704494556303
                                                                                       ETHW                                                                                                                                                8.049704494556304
                                                                                       EUR                                                               0.007680861568046                                                                 0.007680861568046
                                                                                       USD                                                              56.690901485233766                                                                56.690901485233766
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 38 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                                                                                                                 0.000000002871920

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1037        Name on file                        FTX Trading Ltd.                       ALICE                                                                                  FTX Trading Ltd.                                            53.993700000000000
                                                                                       BADGER                                                                                                                                              9.670000000000000
                                                                                       BNB                                                                                                                                                 0.419718520000000
                                                                                       BTC                                                                                                                                                 0.210470080000000
                                                                                       DENT                                                                                                                                        203,597.633200000000000
                                                                                       ETH                                                                                                                                                 0.095627210000000
                                                                                       MATIC                                                                                                                                              99.956480000000000
                                                                                       MTL                                                                                                                                               318.000000000000000
                                                                                       REN                                                                                                                                               569.000000000000000
                                                                                       SKL                                                                                                                                             3,657.000000000000000
                                                                                       SXP                                                                                                                                               300.800000000000000
                                                                                       USD                                                           5,417.480000000000000                                                                 0.000000000000000
                                                                                       USDT                                                                                                                                            1,167.011480910000000
                                                                                       XRP                                                                                                                                               145.790414930000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
73514       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000043140000000
                                                                                       FTM                                                                                                                                                 0.243585000000000
                                                                                       FTT                                                                                                                                                 0.000000010000000
                                                                                       RAY                                                                                                                                                 0.000000010000000
                                                                                       SOL                                                                                                                                                 0.000000004161602
                                                                                       SRM                                                                                                                                                26.323450550000000
                                                                                       SRM_LOCKED                                                                                                                                         95.045620870000000
                                                                                       TRX                                                                                                                                                 0.000051000000000
                                                                                       USD                                                          21,500.940000000000000                                                           21,500.944070237798000
                                                                                       USDT                                                                                                                                                0.000000017734985

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8203        Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       ALCX                                                                                                                                                 0.000100000000000
                                                                                       ALCX-PERP                                                                                                                                           -0.000000000000001
                                                                                       ALPHA                                                                                                                                                0.045094050000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CREAM                                                                                                                                                0.008734600000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            -0.000000000000010
                                                                                       ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                               4.990513570000000                                                                  4.990513570000000
                                                                                       ETH-PERP                                                                                                                                             0.000000000000001
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       RSR-PERP                                                                                                                                             0.000000000000000
                                                                                       RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                       SLV-20210326                                                                                                                                         0.000000000000000
                                                                                       SNX-PERP                                                                                                                                             0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       SXP-PERP                                                                                                                                             0.000000000000227
                                                                                       THETA-PERP                                                                                                                                           0.000000000000000
                                                                                       TOMO-PERP                                                                                                                                            0.000000000000000
                                                                                       UNI-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                            401.549844536665300                                                                401.549844536665300
                                                                                       USDT                                                                                                                                                 0.091876190220346
                                                                                       VET-PERP                                                                                                                                             0.000000000000000
                                                                                       XRP-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26316       Name on file                        FTX Trading Ltd.                       ATOM                                                             22.096553590000000 FTX Trading Ltd.                                               22.096553590000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.023295705810000                                                                 0.023295705810000
                                                                                       BTC-MOVE-1004                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-WK-0603                                                                                                                                    0.000000000000000
                                                                                       BTC-MOVE-WK-0923                                                                                                                                    0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CHZ                                                             330.000000000000000                                                               330.000000000000000
                                                                                       CRV-PERP                                                                                                                                            0.000000000000000
                                                                                       ETC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               1.110866382500000                                                                 1.110866382500000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.724866382500000
                                                                                       FLUX-PERP                                                                                                                                           0.000000000000000
                                                                                       FTT                                                               7.900000000000000                                                                 7.900000000000000
                                                                                       LINK                                                             11.500000000000000                                                                11.500000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       RVN-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                               4.399832800000000                                                                 4.399832800000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000001000000000
                                                                                       USD                                                                                                                                             1,973.154730391033800
                                                                                       USDT                                                          3,910.645026390000000                                                             3,910.645026390000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1111        Name on file                        FTX Trading Ltd.                       BAT                                                                                    West Realm Shires Services Inc.                      131,581.880961340000000
                                                                                       MATIC                                                                                                                                             287.709437420000000
                                                                                       USD                                                          32,895.470000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
22553       Name on file                        West Realm Shires Services Inc.         ALICE-PERP                                                                              FTX Trading Ltd.                                               0.000000000000000
                                                                                        APT                                                                                                                                                   -0.534874505987514
                                                                                        APT-PERP                                                                                                                                               0.000000000000000
                                                                                        ASD-PERP                                                                                                                                               0.000000000000000
                                                                                        AURY                                                                                                                                                   0.622593960000000
                                                                                        BLT                                                                                                                                                    0.020750000000000
                                                                                        BTC                                                                                                                                                    0.000000001690931
                                                                                        CAKE-PERP                                                                                                                                              0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 39 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      CHR-PERP                                                                                                                                             0.000000000000000
                                                                                      CHZ                                                               8.000000000000000                                                                  8.029108200000000
                                                                                      COIN                                                                                                                                                 0.000000002581250
                                                                                      ETH                                                                                                                                                 -0.000672451085679
                                                                                      ETH-PERP                                                                                                                                             0.000000000000007
                                                                                      FIDA-PERP                                                                                                                                            0.000000000000000
                                                                                      FTT                                                              50.000000000000000                                                                 50.194960000000000
                                                                                      INJ-PERP                                                                                                                                           500.000000000000000
                                                                                      KSM-PERP                                                                                                                                             0.000000000000000
                                                                                      LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                      MASK-PERP                                                                                                                                            0.000000000000000
                                                                                      MATIC                                                                                                                                               -0.015529251640404
                                                                                      NEAR                                                           240.000000000000000                                                                 240.000000000000000
                                                                                      NFT (454572318117054406/THE HILL BY                                                                                                                  1.000000000000000
                                                                                      FTX #19167)
                                                                                      SOL                                                                                                                                                  0.003981245766490
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      TRX                                                                                                                                                  0.000834000000000
                                                                                      USD                                                           4,003.000000000000000                                                                -41.197998908611660
                                                                                      USDT                                                                                                                                             4,003.587277915585700

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
26815       Name on file                        FTX Trading Ltd.                        AAVE-PERP                                                                               FTX Trading Ltd.                                               0.000000000000000
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        AMPL-PERP                                                                                                                                              0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000000
                                                                                        AVAX-PERP                                                                                                                                              0.000000000000071
                                                                                        AXS-PERP                                                                                                                                               0.000000000000000
                                                                                        BAT-PERP                                                                                                                                               0.000000000000000
                                                                                        BNB-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC                                                                0.000057000000000                                                                   0.000057703025562
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CAKE-PERP                                                                                                                                              0.000000000000000
                                                                                        CHR-PERP                                                                                                                                               0.000000000000000
                                                                                        CRO-PERP                                                                                                                                               0.000000000000000
                                                                                        CRV                                                                                                                                                    0.105328000000000
                                                                                        CRV-PERP                                                                                                                                               0.000000000000000
                                                                                        DOGE-PERP                                                                                                                                              0.000000000000000
                                                                                        EGLD-PERP                                                                                                                                              0.000000000000000
                                                                                        EOS-PERP                                                                                                                                               0.000000000000000
                                                                                        ETH                                                                                                                                                    0.000032549500000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000005
                                                                                        ETHW                                                              30.050000000000000                                                                  30.054032549500000
                                                                                        FIL-PERP                                                                                                                                               0.000000000000000
                                                                                        FTM                                                                                                                                                    0.496063000000000
                                                                                        FTM-PERP                                                                                                                                               0.000000000000000
                                                                                        FTT                                                                                                                                                    0.103701870000000
                                                                                        FTT-PERP                                                                                                                                               0.000000000000284
                                                                                        IOST-PERP                                                                                                                                              0.000000000000000
                                                                                        LEO-PERP                                                                                                                                               0.000000000000000
                                                                                        LINK                                                                                                                                                   0.045527000000000
                                                                                        LINK-PERP                                                                                                                                             -0.000000000000454
                                                                                        LOOKS-PERP                                                                                                                                             0.000000000000000
                                                                                        LRC-PERP                                                                                                                                               0.000000000000000
                                                                                        LTC                                                                                                                                                    0.006722120000000
                                                                                        LTC-PERP                                                                                                                                               0.000000000000000
                                                                                        LUNA2                                                                                                                                                  0.000448027253800
                                                                                        LUNA2_LOCKED                                                                                                                                           0.001045396926000
                                                                                        LUNC                                                                                                                                                   0.001443270000000
                                                                                        LUNC-PERP                                                                                                                                             -0.000000000000056
                                                                                        MAPS                                                                                                                                                   0.100540000000000
                                                                                        MAPS-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC-PERP                                                                                                                                             0.000000000000000
                                                                                        NEAR-PERP                                                                                                                                              0.000000000000000
                                                                                        ONE-PERP                                                                                                                                               0.000000000000000
                                                                                        RAY-PERP                                                                                                                                               0.000000000000000
                                                                                        RNDR-PERP                                                                                                                                              0.000000000000000
                                                                                        ROSE-PERP                                                                                                                                              0.000000000000000
                                                                                        SHIB                                                          90,503.800000000000000                                                              90,503.800000000000000
                                                                                        SHIB-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL                                                                                                                                                    0.002680291785784
                                                                                        SOL-PERP                                                                                                                                               0.000000000000113
                                                                                        TRX-PERP                                                                                                                                               0.000000000000000
                                                                                        USD                                                           11,449.140000000000000                                                              11,449.138641233225000
                                                                                        USDT                                                          20,889.170000000000000                                                              20,889.173479700000000
                                                                                        USDT-PERP                                                                                                                                              0.000000000000000
                                                                                        VET-PERP                                                                                                                                               0.000000000000000
                                                                                        ZRX-PERP                                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
45923       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000085223600000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000912752000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                            446.626741200000000                                                                446.626741200000000
                                                                                       HBAR-PERP                                                                                                                                           0.000000000000000
                                                                                       LUNA2-PERP                                                                                                                                          0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       OP-PERP                                                                                                                                             0.000000000000000
                                                                                       SOL                                                                                                                                                 0.004470580000000
                                                                                       USD                                                                                                                                                 0.202663453721712
                                                                                       USDT                                                                                                                                                0.000000001483239
                                                                                       XRP                                                                                                                                                 0.421000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32624       Name on file                        FTX Trading Ltd.                       AAPL-0624                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       AAPL-20210924                                                                                                                                       0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       AMC-20210625                                                                                                                                        0.000000000000000
                                                                                       AMC-20210924                                                                                                                                        0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 40 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      AMZN-0325                                                                                                                                            0.000000000000000
                                                                                      AMZN-0624                                                                                                                                            0.000000000000000
                                                                                      AMZN-0930                                                                                                                                            0.000000000000014
                                                                                      AMZNPRE-0624                                                                                                                                         0.000000000000000
                                                                                      ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                      AVAX-PERP                                                                                                                                           -0.000000000000113
                                                                                      BNB-PERP                                                                                                                                            -0.000000000000003
                                                                                      BTC-PERP                                                                                                                                             0.000000000000000
                                                                                      CEL-PERP                                                                                                                                            -0.000000000000454
                                                                                      COIN                                                                                                                                                 0.000000008269021
                                                                                      DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                      DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                      ETH                                                               6.094000010000000                                                                  6.094000012000000
                                                                                      ETH-PERP                                                                                                                                             0.000000000000028
                                                                                      FB-0325                                                                                                                                              0.000000000000000
                                                                                      FB-0624                                                                                                                                              0.000000000000000
                                                                                      FB-20210625                                                                                                                                          0.000000000000000
                                                                                      FB-20211231                                                                                                                                          0.000000000000000
                                                                                      FIDA-PERP                                                                                                                                            0.000000000000000
                                                                                      FTT                                                                                                                                                  0.044541791763103
                                                                                      FTT-PERP                                                                                                                                             0.000000000000341
                                                                                      GME                                                                                                                                                  0.000000020000000
                                                                                      GME-20210924                                                                                                                                         0.000000000000000
                                                                                      GMEPRE                                                                                                                                               0.000000004698677
                                                                                      GOOGL-0325                                                                                                                                           0.000000000000000
                                                                                      GOOGL-0624                                                                                                                                          -0.000000000000002
                                                                                      GOOGL-0930                                                                                                                                           0.000000000000019
                                                                                      GOOGL-20211231                                                                                                                                       0.000000000000000
                                                                                      GRT-PERP                                                                                                                                             0.000000000000000
                                                                                      HOOD                                                                                                                                                 0.000000000615567
                                                                                      LTC-PERP                                                                                                                                             0.000000000000000
                                                                                      LUNA2                                                                                                                                                0.013685422070000
                                                                                      LUNA2_LOCKED                                                                                                                                         0.031932651510000
                                                                                      LUNA2-PERP                                                                                                                                           0.000000000000000
                                                                                      LUNC                                                                                                                                                 0.000000007900620
                                                                                      LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                      MINA-PERP                                                                                                                                            0.000000000000000
                                                                                      NFLX-0325                                                                                                                                            0.000000000000000
                                                                                      NFLX-0624                                                                                                                                            0.000000000000000
                                                                                      NFLX-0930                                                                                                                                            0.000000000000000
                                                                                      NIO-0624                                                                                                                                             0.000000000000000
                                                                                      NVDA-0624                                                                                                                                            0.000000000000000
                                                                                      NVDA-0930                                                                                                                                           -0.000000000000023
                                                                                      POLIS-PERP                                                                                                                                           0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SPY-0624                                                                                                                                             0.000000000000007
                                                                                      SPY-0930                                                                                                                                            -0.000000000000003
                                                                                      TSLA                                                                                                                                                 0.000000020000000
                                                                                      TSLA-0325                                                                                                                                           -0.000000000000028
                                                                                      TSLA-0624                                                                                                                                            0.000000000000006
                                                                                      TSLA-0930                                                                                                                                            0.000000000000000
                                                                                      TSLA-1230                                                                                                                                            0.000000000000000
                                                                                      TSLA-20210326                                                                                                                                        0.000000000000000
                                                                                      TSLA-20210924                                                                                                                                       -0.000000000000007
                                                                                      TSLA-20211231                                                                                                                                       -0.000000000000014
                                                                                      TSLAPRE                                                                                                                                             -0.000000004411421
                                                                                      TSLAPRE-0930                                                                                                                                         0.000000000000010
                                                                                      TWTR-0624                                                                                                                                            0.000000000000056
                                                                                      TWTR-20210924                                                                                                                                        0.000000000000000
                                                                                      USD                                                                                                                                                  0.127580101302297
                                                                                      USDT                                                                                                                                                 0.000000005044875

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2020        Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.309644254000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CHZ                                                                                                                                             1,169.789400000000000
                                                                                       DOT                                                                                                                                                24.639700000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                10.591220140000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                6.229005480000000
                                                                                       EUR                                                                                                                                                 3.837855435000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MANA-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       USD                                                          15,000.000000000000000                                                                46.011167819643376
                                                                                       USDT                                                                                                                                                0.000000025921677
                                                                                       WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
871         Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.740015400000000
                                                                                       DOGE                                                                                                                                                0.071000000000000
                                                                                       ETH                                                                                                                                                 8.499014000000000
                                                                                       ETHW                                                                                                                                                8.499014000000000
                                                                                       SOL                                                                                                                                               218.508726000000000
                                                                                       USD                                                          25,342.200000000000000                                                                 3.694988184000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
55702       Name on file                        FTX Trading Ltd.                        1INCH-PERP                                                                              FTX Trading Ltd.                                               0.000000000000000
                                                                                        AAVE-PERP                                                                                                                                              0.000000000000001
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        ALICE-PERP                                                                                                                                            -0.000000000000014
                                                                                        APE-PERP                                                                                                                                               0.000000000000000
                                                                                        AR-PERP                                                                                                                                               -0.000000000000003
                                                                                        ATLAS-PERP                                                                                                                                             0.000000000000000
                                         Case 22-11068-JTD                                         Doc 27179-2                            Filed 10/23/24                            Page 41 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ATOM-PERP                                                                                                                                            0.000000000000056
                                                                                      AUDIO-PERP                                                                                                                                          -0.000000000000227
                                                                                      AVAX-PERP                                                                                                                                           -0.000000000000014
                                                                                      AXS-PERP                                                                                                                                             0.000000000000000
                                                                                      BAT-PERP                                                                                                                                             0.000000000000000
                                                                                      BCH-PERP                                                                                                                                             0.000000000000000
                                                                                      BNB-PERP                                                                                                                                             0.000000000000001
                                                                                      BTC-PERP                                                                                                                                             0.000000000000000
                                                                                      BTT-PERP                                                                                                                                             0.000000000000000
                                                                                      C98-PERP                                                                                                                                             0.000000000000000
                                                                                      CAKE-PERP                                                                                                                                            0.000000000000000
                                                                                      CELO-PERP                                                                                                                                           -0.000000000000227
                                                                                      CHR-PERP                                                                                                                                             0.000000000000000
                                                                                      CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                      CRO-PERP                                                                                                                                             0.000000000000000
                                                                                      CRV-PERP                                                                                                                                             0.000000000000000
                                                                                      DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                      DOT-PERP                                                                                                                                             0.000000000000003
                                                                                      EGLD-PERP                                                                                                                                            0.000000000000001
                                                                                      ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                      ENS-PERP                                                                                                                                            -0.000000000000053
                                                                                      ETC-PERP                                                                                                                                             0.000000000000000
                                                                                      ETH                                                                                                                                                  0.000000001742017
                                                                                      ETH-0930                                                                                                                                             0.000000000000000
                                                                                      ETH-PERP                                                                                                                                            -0.000000000000007
                                                                                      EUR                                                          5,014.740000000000000                                                               5,014.739483439102500
                                                                                      EXCH-PERP                                                                                                                                            0.000000000000000
                                                                                      FIL-PERP                                                                                                                                            -0.000000000000014
                                                                                      FLM-PERP                                                                                                                                             0.000000000010913
                                                                                      FTM-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                                                                                                                  0.000426471678354
                                                                                      FTT-PERP                                                                                                                                             0.000000000000113
                                                                                      GALA-PERP                                                                                                                                            0.000000000000000
                                                                                      GAL-PERP                                                                                                                                            -0.000000000000198
                                                                                      GMT-PERP                                                                                                                                             0.000000000000000
                                                                                      HBAR-PERP                                                                                                                                            0.000000000000000
                                                                                      HNT-PERP                                                                                                                                            -0.000000000000014
                                                                                      HOT-PERP                                                                                                                                             0.000000000000000
                                                                                      ICP-PERP                                                                                                                                             0.000000000000000
                                                                                      ICX-PERP                                                                                                                                             0.000000000000000
                                                                                      KAVA-PERP                                                                                                                                            0.000000000000163
                                                                                      KNC-PERP                                                                                                                                            -0.000000000000454
                                                                                      KSHIB-PERP                                                                                                                                           0.000000000000000
                                                                                      LINK-PERP                                                                                                                                            0.000000000000000
                                                                                      LRC-PERP                                                                                                                                             0.000000000000000
                                                                                      LUNA2                                                                                                                                                2.296189050000000
                                                                                      LUNA2_LOCKED                                                                                                                                         5.357774450000000
                                                                                      LUNC-PERP                                                                                                                                            0.000000000002955
                                                                                      MANA-PERP                                                                                                                                            0.000000000000000
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      MCB-PERP                                                                                                                                             0.000000000000028
                                                                                      NEAR-PERP                                                                                                                                           -0.000000000000284
                                                                                      NEO-PERP                                                                                                                                             0.000000000000003
                                                                                      OMG-PERP                                                                                                                                             0.000000000000127
                                                                                      ONE-PERP                                                                                                                                             0.000000000000000
                                                                                      OXY-PERP                                                                                                                                             0.000000000000000
                                                                                      PAXG                                                                                                                                                 8.000000003128000
                                                                                      QTUM-PERP                                                                                                                                           -0.000000000000012
                                                                                      RAY-PERP                                                                                                                                             0.000000000000000
                                                                                      ROSE-PERP                                                                                                                                            0.000000000000000
                                                                                      RSR-PERP                                                                                                                                             0.000000000000000
                                                                                      RUNE-PERP                                                                                                                                            0.000000000002273
                                                                                      SAND-PERP                                                                                                                                            0.000000000000000
                                                                                      SECO-PERP                                                                                                                                            0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                      SLP-PERP                                                                                                                                             0.000000000000000
                                                                                      SNX-PERP                                                                                                                                            -0.000000000000056
                                                                                      SOL-PERP                                                                                                                                             0.000000000000017
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      STEP-PERP                                                                                                                                           -0.000000000072759
                                                                                      SXP-PERP                                                                                                                                            -0.000000000000014
                                                                                      TLM-PERP                                                                                                                                             0.000000000000000
                                                                                      TOMO-PERP                                                                                                                                           -0.000000000000227
                                                                                      TRX-0930                                                                                                                                             0.000000000000000
                                                                                      TRX-PERP                                                                                                                                             0.000000000000000
                                                                                      UNI-PERP                                                                                                                                            -0.000000000000007
                                                                                      USD                                                         40,740.750000000000000                                                              26,908.886504729220000
                                                                                      USDT                                                                                                                                                 0.000000011000399
                                                                                      VET-PERP                                                                                                                                             0.000000000000000
                                                                                      WAVES-PERP                                                                                                                                           0.000000000000000
                                                                                      XAUT                                                                                                                                                 0.000000003149390
                                                                                      XTZ-PERP                                                                                                                                             0.000000000000000
                                                                                      YFII-PERP                                                                                                                                            0.000000000000000
                                                                                      YFI-PERP                                                                                                                                             0.000000000000000
                                                                                      ZIL-PERP                                                                                                                                             0.000000000000000
                                                                                      ZRX-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3603        Name on file                        FTX US Trading, Inc.                   USD                                                           9,900.000000000000000 West Realm Shires Services Inc.                             9,998.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
22594       Name on file                        FTX Trading Ltd.                        BRZ                                                                                     West Realm Shires Services Inc.                               1.000000000000000
                                                                                        CUSDT                                                                                                                                                 1.000000000000000
                                                                                        ETH                                                               1.305267420000000                                                                   1.305267420000000
                                                                                        ETHW                                                                                                                                                  1.305267419300000
                                                                                        USD                                                                                                                                                   0.020000840792702
                                                                                        USDT                                                                                                                                                  1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
264         Name on file                        FTX Trading Ltd.                        ETH                                                                                     West Realm Shires Services Inc.                               0.000005656705855
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                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ETHW                                                                                                                                                 0.000005656705855
                                                                                      USD                                                          1,001.000000000000000                                                               1,001.965391979043400
                                                                                      USDT                                                                                                                                                 0.000000007164016

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
68952       Name on file                        FTX Trading Ltd.                        CEL                                                                                     FTX Trading Ltd.                                              0.090360000000000
                                                                                        ETH                                                                                                                                                   0.000938600000000
                                                                                        ETH-PERP                                                                                                                                              0.000000000000000
                                                                                        ETHW                                                                                                                                                  0.000938600000000
                                                                                        MATIC                                                                                                                                                 0.720000000000000
                                                                                        RAY                                                               896.140000000000000                                                                 0.000000005388712
                                                                                        SOL                                                                                                                                                 374.785028000000000
                                                                                        TRX                                                                                                                                                   0.481005000000000
                                                                                        USD                                                            3,075.989200000000000                                                                  3.735551862969358
                                                                                        USDT                                                                                                                                                  0.000000056803181

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
50707       Name on file                        FTX Trading Ltd.                       ADA-20211231                                                                           FTX Trading Ltd.                                             0.000000000000000
                                                                                       BNB-0930                                                                                                                                            0.000000000000000
                                                                                       BNB-1230                                                                                                                                            0.000000000000000
                                                                                       BTC-MOVE-0107                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0108                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0109                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0110                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0111                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0112                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0113                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0114                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0115                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0116                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0117                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0118                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0119                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0120                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0121                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0122                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0123                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0124                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0127                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0128                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0129                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0130                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0131                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0201                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0202                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0203                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0204                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0205                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0206                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0207                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0208                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0209                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0210                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0211                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0212                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0213                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0214                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0215                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0216                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0217                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0218                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0219                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0220                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0221                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0222                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0223                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0224                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0225                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0226                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0227                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0228                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0301                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0302                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0303                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0304                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0305                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0306                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0307                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0308                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0309                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0310                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0312                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0313                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0314                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0315                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0316                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0317                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0318                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0319                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0322                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0323                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0324                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0325                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0326                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0327                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0328                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0329                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0330                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0331                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0401                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0402                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0403                                                                                                                                       0.000000000000000
                Case 22-11068-JTD        Doc 27179-2         Filed 10/23/24     Page 43 of 92
                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers           Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-0404                                                                          0.000000000000000
                               BTC-MOVE-0405                                                                          0.000000000000000
                               BTC-MOVE-0406                                                                          0.000000000000000
                               BTC-MOVE-0407                                                                          0.000000000000000
                               BTC-MOVE-0408                                                                          0.000000000000000
                               BTC-MOVE-0409                                                                          0.000000000000000
                               BTC-MOVE-0410                                                                          0.000000000000000
                               BTC-MOVE-0411                                                                          0.000000000000000
                               BTC-MOVE-0412                                                                          0.000000000000000
                               BTC-MOVE-0413                                                                          0.000000000000000
                               BTC-MOVE-0414                                                                          0.000000000000000
                               BTC-MOVE-0415                                                                          0.000000000000000
                               BTC-MOVE-0416                                                                          0.000000000000000
                               BTC-MOVE-0417                                                                          0.000000000000000
                               BTC-MOVE-0418                                                                          0.000000000000000
                               BTC-MOVE-0419                                                                          0.000000000000000
                               BTC-MOVE-0420                                                                          0.000000000000000
                               BTC-MOVE-0421                                                                          0.000000000000000
                               BTC-MOVE-0422                                                                          0.000000000000000
                               BTC-MOVE-0424                                                                          0.000000000000000
                               BTC-MOVE-0425                                                                          0.000000000000000
                               BTC-MOVE-0426                                                                          0.000000000000000
                               BTC-MOVE-0427                                                                          0.000000000000000
                               BTC-MOVE-0428                                                                          0.000000000000000
                               BTC-MOVE-0429                                                                          0.000000000000000
                               BTC-MOVE-0430                                                                          0.000000000000000
                               BTC-MOVE-0501                                                                          0.000000000000000
                               BTC-MOVE-0502                                                                          0.000000000000000
                               BTC-MOVE-0503                                                                          0.000000000000000
                               BTC-MOVE-0504                                                                          0.000000000000000
                               BTC-MOVE-0505                                                                          0.000000000000000
                               BTC-MOVE-0506                                                                          0.000000000000000
                               BTC-MOVE-0507                                                                          0.000000000000000
                               BTC-MOVE-0508                                                                          0.000000000000000
                               BTC-MOVE-0509                                                                          0.000000000000000
                               BTC-MOVE-0510                                                                          0.000000000000000
                               BTC-MOVE-20210526                                                                      0.000000000000000
                               BTC-MOVE-20210527                                                                      0.000000000000000
                               BTC-MOVE-20210529                                                                      0.000000000000000
                               BTC-MOVE-20210530                                                                      0.000000000000000
                               BTC-MOVE-20210601                                                                      0.000000000000000
                               BTC-MOVE-20210602                                                                      0.000000000000000
                               BTC-MOVE-20210603                                                                      0.000000000000000
                               BTC-MOVE-20210604                                                                      0.000000000000000
                               BTC-MOVE-20210605                                                                      0.000000000000000
                               BTC-MOVE-20210606                                                                      0.000000000000000
                               BTC-MOVE-20210607                                                                      0.000000000000000
                               BTC-MOVE-20210608                                                                      0.000000000000000
                               BTC-MOVE-20210609                                                                      0.000000000000000
                               BTC-MOVE-20210610                                                                      0.000000000000000
                               BTC-MOVE-20210611                                                                      0.000000000000000
                               BTC-MOVE-20210612                                                                      0.000000000000000
                               BTC-MOVE-20210613                                                                      0.000000000000000
                               BTC-MOVE-20210614                                                                      0.000000000000000
                               BTC-MOVE-20210615                                                                      0.000000000000000
                               BTC-MOVE-20210616                                                                      0.000000000000000
                               BTC-MOVE-20210618                                                                      0.000000000000000
                               BTC-MOVE-20210619                                                                      0.000000000000000
                               BTC-MOVE-20210620                                                                      0.000000000000000
                               BTC-MOVE-20210621                                                                      0.000000000000000
                               BTC-MOVE-20210622                                                                      0.000000000000000
                               BTC-MOVE-20210623                                                                      0.000000000000000
                               BTC-MOVE-20210624                                                                      0.000000000000000
                               BTC-MOVE-20210625                                                                      0.000000000000000
                               BTC-MOVE-20210626                                                                      0.000000000000000
                               BTC-MOVE-20210627                                                                      0.000000000000000
                               BTC-MOVE-20210629                                                                      0.000000000000000
                               BTC-MOVE-20210630                                                                      0.000000000000000
                               BTC-MOVE-20210701                                                                      0.000000000000000
                               BTC-MOVE-20210703                                                                      0.000000000000000
                               BTC-MOVE-20210704                                                                      0.000000000000000
                               BTC-MOVE-20210705                                                                      0.000000000000000
                               BTC-MOVE-20210706                                                                      0.000000000000000
                               BTC-MOVE-20210707                                                                      0.000000000000000
                               BTC-MOVE-20210708                                                                      0.000000000000000
                               BTC-MOVE-20210709                                                                      0.000000000000000
                               BTC-MOVE-20210710                                                                      0.000000000000000
                               BTC-MOVE-20210711                                                                      0.000000000000000
                               BTC-MOVE-20210712                                                                      0.000000000000000
                               BTC-MOVE-20210714                                                                      0.000000000000000
                               BTC-MOVE-20210715                                                                      0.000000000000000
                               BTC-MOVE-20210716                                                                      0.000000000000000
                               BTC-MOVE-20210717                                                                      0.000000000000000
                               BTC-MOVE-20210718                                                                      0.000000000000000
                               BTC-MOVE-20210721                                                                      0.000000000000000
                               BTC-MOVE-20210722                                                                      0.000000000000000
                               BTC-MOVE-20210723                                                                      0.000000000000000
                               BTC-MOVE-20210724                                                                      0.000000000000000
                               BTC-MOVE-20210725                                                                      0.000000000000000
                               BTC-MOVE-20210726                                                                      0.000000000000000
                               BTC-MOVE-20210727                                                                      0.000000000000000
                               BTC-MOVE-20210728                                                                      0.000000000000000
                               BTC-MOVE-20210730                                                                      0.000000000000000
                               BTC-MOVE-20210731                                                                      0.000000000000000
                               BTC-MOVE-20210801                                                                      0.000000000000000
                               BTC-MOVE-20210802                                                                      0.000000000000000
                               BTC-MOVE-20210803                                                                      0.000000000000000
                               BTC-MOVE-20210804                                                                      0.000000000000000
                               BTC-MOVE-20210805                                                                      0.000000000000000
                               BTC-MOVE-20210806                                                                      0.000000000000000
                               BTC-MOVE-20210807                                                                      0.000000000000000
                               BTC-MOVE-20210808                                                                      0.000000000000000
                               BTC-MOVE-20210809                                                                      0.000000000000000
                               BTC-MOVE-20210810                                                                      0.000000000000000
                               BTC-MOVE-20210811                                                                      0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 44 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                              Tickers                                   Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     BTC-MOVE-20210812                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210813                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210814                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210815                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210816                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210817                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210818                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210819                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210820                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210821                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210822                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210823                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210824                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210826                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210827                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210828                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210829                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210830                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210901                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210902                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210916                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210917                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210918                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210919                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210920                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210921                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210923                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210924                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210925                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210926                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210928                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210929                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210930                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211001                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211002                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211003                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211004                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211005                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211006                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211007                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211008                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211010                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211011                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211012                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211015                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211016                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211018                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211025                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211028                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211029                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211030                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211031                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211101                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211102                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211103                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211104                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211106                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211107                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211108                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211109                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211110                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211112                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211113                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211114                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211115                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211116                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211118                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211122                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211123                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211125                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211126                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211127                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211129                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211203                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211204                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211206                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-WK-20210709                                                                                                                                0.000000000000000
                                                                                     BTC-PERP                                                                                                                                            0.000000000000000
                                                                                     EOS-20211231                                                                                                                                        0.000000000000021
                                                                                     ETH-0325                                                                                                                                            0.000000000000000
                                                                                     ETH-0624                                                                                                                                            0.000000000000005
                                                                                     ETH-0930                                                                                                                                           -0.000000000000007
                                                                                     ETH-1230                                                                                                                                            0.000000000000000
                                                                                     ETH-20211231                                                                                                                                        0.000000000000000
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     EUR                                                                                                                                                 0.000000008215160
                                                                                     FTM                                                                                                                                                 0.000000005680000
                                                                                     FTT                                                             16.687682590000000                                                                 16.687682597313174
                                                                                     FTT-PERP                                                                                                                                           -0.000000000000004
                                                                                     MATIC                                                                                                                                               0.000000005000000
                                                                                     MBS                                                                                                                                                 3.000000000000000
                                                                                     MSTR-0325                                                                                                                                           0.000000000000000
                                                                                     TSLA-0325                                                                                                                                           0.000000000000000
                                                                                     USD                                                          1,716.930000000000000                                                              1,716.932505173157800
                                                                                     USDT                                                                                                                                                0.000000005711245
                                                                                     XRP                                                              0.000000010000000                                                                  0.000000013847548

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94964       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS                                                                                                                                                 0.000000004784619
                                                                                       AXS-PERP                                                                                                                                            0.000000000000113
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      BAL-PERP                                                                                                                                             0.000000000000000
                                                                                      BAO-PERP                                                                                                                                             0.000000000000000
                                                                                      BNB                                                                                                                                                  0.000691547217810
                                                                                      BNB-PERP                                                                                                                                             0.000000000000000
                                                                                      BTC-PERP                                                                                                                                             0.000000000000000
                                                                                      BTT-PERP                                                                                                                                             0.000000000000000
                                                                                      CLV-PERP                                                                                                                                             0.000000000000000
                                                                                      CREAM-PERP                                                                                                                                           0.000000000000056
                                                                                      DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                      ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                      FLOW-PERP                                                                                                                                            0.000000000000682
                                                                                      FTM-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                                                                                                                  0.000000010000000
                                                                                      FTT-PERP                                                                                                                                             0.000000000000000
                                                                                      GMT-PERP                                                                                                                                             0.000000000000000
                                                                                      KAVA-PERP                                                                                                                                            0.000000000000000
                                                                                      KBTT-PERP                                                                                                                                            0.000000000000000
                                                                                      KSHIB-PERP                                                                                                                                           0.000000000000000
                                                                                      LEO                                                                                                                                                  0.000000003888366
                                                                                      LEO-PERP                                                                                                                                             0.000000000000000
                                                                                      LOOKS-PERP                                                                                                                                           0.000000000000000
                                                                                      LRC-PERP                                                                                                                                             0.000000000000000
                                                                                      LUNA2                                                                                                                                                0.011943784480000
                                                                                      LUNA2_LOCKED                                                                                                                                         0.027868830440000
                                                                                      LUNC                                                                                                                                                 0.005000000000000
                                                                                      LUNC-PERP                                                                                                                                            0.000000000372438
                                                                                      MTA                                                                                                                                                  0.003420000000000
                                                                                      MTA-PERP                                                                                                                                             0.000000000000000
                                                                                      OKB                                                                                                                                                  0.000000003271985
                                                                                      QTUM-PERP                                                                                                                                            0.000000000001364
                                                                                      RAY                                                                                                                                                  0.000000002176158
                                                                                      RAY-PERP                                                                                                                                             0.000000000000000
                                                                                      REEF-PERP                                                                                                                                            0.000000000000000
                                                                                      REN-PERP                                                                                                                                             0.000000000000000
                                                                                      RSR-PERP                                                                                                                                             0.000000000000000
                                                                                      SAND-PERP                                                                                                                                            0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                      SRN-PERP                                                                                                                                             0.000000000000000
                                                                                      USD                                                           2,233.630000000000000                                                              2,233.630850961277000
                                                                                      USDT                                                                                                                                                 0.001063009136000
                                                                                      USTC                                                                                                                                                 0.000000009693890
                                                                                      USTC-PERP                                                                                                                                            0.000000000000000
                                                                                      WAVES-PERP                                                                                                                                           0.000000000000000
                                                                                      XEM-PERP                                                                                                                                             0.000000000000000
                                                                                      XMR-PERP                                                                                                                                             0.000000000000000
                                                                                      YFII-PERP                                                                                                                                            0.000000000000000
                                                                                      ZEC-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
96252       Name on file                        FTX EU Ltd.                            APT-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.053570000000000                                                                  0.053582908037783
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CAKE-PERP                                                                                                                                            0.000000000000000
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000478116004000
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000001
                                                                                       ETHW                                                                                                                                                 0.000142286440905
                                                                                       FTT                                                                                                                                                  2.919162740395451
                                                                                       FTT-PERP                                                                                                                                            -0.000000000000003
                                                                                       IOTA-PERP                                                                                                                                            0.000000000000000
                                                                                       KLAY-PERP                                                                                                                                            0.000000000000000
                                                                                       KSHIB-PERP                                                                                                                                           0.000000000000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LOOKS                                                                                                                                                1.004884584966581
                                                                                       LOOKS-PERP                                                                                                                                           0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       MANA                                                                                                                                                 0.935000000000000
                                                                                       MANA-PERP                                                                                                                                            0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       ROSE-PERP                                                                                                                                            0.000000000000000
                                                                                       SAND                                                                                                                                              700.000000002016800
                                                                                       SAND-PERP                                                                                                                                            0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                       SHIT-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                                                                                                                  0.007236122488199
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                                                                                                                  4.354904502082859
                                                                                       USDT                                                                                                                                                 0.000000005258665
                                                                                       VET-PERP                                                                                                                                             0.000000000000000
                                                                                       XRP-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
82129       Name on file                        FTX Trading Ltd.                        AAVE-PERP                                                                               FTX Trading Ltd.                                              -0.000000000000002
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CHF                                                            8,775.030000000000000                                                               8,775.030010935649000
                                                                                        DOT-PERP                                                                                                                                              -0.000000000000021
                                                                                        ETH                                                                0.041886790000000                                                                   0.041886790000000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        FTT-PERP                                                                                                                                              -0.000000000000012
                                                                                        LINK-PERP                                                                                                                                              0.000000000000007
                                                                                        LUNA2                                                              1.373726320000000                                                                   1.373726327000000
                                                                                        LUNA2_LOCKED                                                                                                                                           3.205361430000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        PERP                                                                                                                                                   0.000000008306000
                                                                                        USD                                                                0.020000000000000                                                                   0.020452615344938
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                                                                                                     Asserted Claims                                                                                          Modified Claim
   Claim
  Number                   Name                                 Debtor                                Tickers                                 Ticker Quantity                                 Debtor                             Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8220        Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       BTC                                                               0.019498930000000                                                                 0.019498930000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               2.911115980000000                                                                 2.911115980000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.072997600000000
                                                                                       LOOKS                                                                                                                                              25.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       RAY                                                              24.000000000000000                                                                24.000000000000000
                                                                                       SOL                                                               4.024002560000000                                                                 4.024002560000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       TRX                                                                                                                                                10.000000000000000
                                                                                       USD                                                           1,982.509266202222800                                                             1,982.509266202222800
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28216       Name on file                        FTX Trading Ltd.                       ETH                                                               2.027000000000000 FTX Trading Ltd.                                                2.027000000000000
                                                                                       ETHW                                                                                                                                                2.027000000000000
                                                                                       USD                                                               1.748000000000000                                                                 1.748722450000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
15990       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                             0.000000000000000
                                                                                       AAVE-PERP                                                                                                                                           0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BCH-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.005535810000000                                                                 0.005535810000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                         0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                       COMP-PERP                                                                                                                                           0.000000000000000
                                                                                       CRV-PERP                                                                                                                                            0.000000000000000
                                                                                       DASH-PERP                                                                                                                                           0.000000000000000
                                                                                       DENT-PERP                                                                                                                                           0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                       ENJ-PERP                                                                                                                                            0.000000000000000
                                                                                       ENS-PERP                                                                                                                                            0.000000000000000
                                                                                       EOS-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FIL-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       GALA-PERP                                                                                                                                           0.000000000000000
                                                                                       HOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ICP-PERP                                                                                                                                            0.000000000000000
                                                                                       IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                       KSM-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK-PERP                                                                                                                                           0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MANA-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       MKR-PERP                                                                                                                                            0.000000000000000
                                                                                       ONE-PERP                                                                                                                                            0.000000000000000
                                                                                       RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                       SKL-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       STEP-PERP                                                                                                                                           0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000001000000000
                                                                                       USD                                                           1,097.520000000000000                                                             1,097.517556897324500
                                                                                       USDT                                                                                                                                                0.485030153740547
                                                                                       XMR-PERP                                                                                                                                            0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000
                                                                                       XTZ-PERP                                                                                                                                            0.000000000000000
                                                                                       YFI-PERP                                                                                                                                            0.000000000000000
                                                                                       ZEC-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32767       Name on file                        Quoine Pte Ltd                         BTC                                                               0.011839370000000 Quoine Pte Ltd                                                  0.011839370000000
                                                                                       ETH                                                               0.595078150000000                                                                 0.595078150000000
                                                                                       ETHW                                                              0.017680460000000                                                                 0.017680460000000
                                                                                       GAT                                                              40.000000000000000                                                                40.000000000000000
                                                                                       JPY                                                                                                                                                 0.411910000000000
                                                                                       LCX                                                           4,125.214248080000000                                                             4,125.214248080000000
                                                                                       QASH                                                              2.204434130000000                                                                 2.204434130000000
                                                                                       USD                                                              39.760000000000000                                                                 0.003990000000000
                                                                                       USDC                                                                                                                                               39.759309010000000
                                                                                       WABI                                                                                                                                                6.665979600000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
93831       Name on file                        FTX Trading Ltd.                       ETH                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       ETHW                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                                                                                                                 0.188663400000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
76792       Name on file                        FTX Trading Ltd.                        DOGE                                                                                    FTX Trading Ltd.                                               0.600000000000000
                                                                                        USD                                                            2,412.715056328460000                                                               2,412.715056328460000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52345       Name on file                        FTX Trading Ltd.                       ETH                                                               0.236763000000000 West Realm Shires Services Inc.                                 0.236763000000000
                                                                                       ETHW                                                              0.236763000000000                                                                 0.236763000000000
                                                                                       LINK                                                            137.240500000000000                                                               137.240500000000000
                                                                                       MATIC                                                         2,458.180000000000000                                                             2,458.180000000000000
                                                                                       SOL                                                              42.892950000000000                                                                42.892950000000000
                                                                                       USD                                                                                                                                                 1.163243680000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
2768        Name on file                        FTX Trading Ltd.                        1INCH                                                              20.000000000000000 FTX Trading Ltd.                                                20.024030000000000
                                                                                        1INCH-PERP                                                                                                                                             0.000000000000000
                                                                                        AAVE                                                                                                                                                   0.122645800000000
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        AGLD                                                                                                                                                   0.293302000000000
                                                                                        AKRO                                                                                                                                                   0.464840000000000
                                                                                        ALCX                                                                                                                                                   0.000896640000000
                                                                                        ALICE                                                                                                                                                  0.199099000000000
                                                                                        AMPL                                                                                                                                                   0.607592590673511
                                                                                        ATLAS                                                                                                                                                  9.685500000000000
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000001
                                                                                        AUDIO                                                                                                                                                  3.979940000000000
                                                                                        AXS                                                                                                                                                    0.099932000000000
                                                                                        BAL                                                                                                                                                    0.009864000000000
                                                                                        BAND                                                                                                                                                   0.199643000000000
                                                                                        BAO                                                                                                                                                2,855.500000000000000
                                                                                        BAT                                                                                                                                                    2.973310000000000
                                                                                        BCH                                                                                                                                                    0.008355590000000
                                                                                        BNB                                                                                                                                                    0.029569900000000
                                                                                        BNB-PERP                                                                                                                                               0.000000000000001
                                                                                        BTC                                                                                                                                                    0.001077322000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CEL                                                                                                                                                    0.192979000000000
                                                                                        CHR                                                                                                                                                    3.925540000000000
                                                                                        CITY                                                                                                                                                   0.099405000000000
                                                                                        CLV                                                                                                                                                    1.382507000000000
                                                                                        COMP                                                                                                                                                   0.005728583000000
                                                                                        CONV                                                                                                                                                  18.369700000000000
                                                                                        COPE                                                                                                                                                   1.992180000000000
                                                                                        CQT                                                                                                                                                    0.965830000000000
                                                                                        CREAM                                                                                                                                                  0.039002100000000
                                                                                        CRO                                                                                                                                                   29.588600000000000
                                                                                        CRV                                                                                                                                                    1.994730000000000
                                                                                        CVC                                                                                                                                                    2.961070000000000
                                                                                        DASH-PERP                                                                                                                                              0.000000000000015
                                                                                        DENT                                                                                                                                                 192.316000000000000
                                                                                        DMG                                                                                                                                                    0.049471000000000
                                                                                        DODO                                                                                                                                                   0.783663000000000
                                                                                        DOGE                                                                                                                                                  25.882490000000000
                                                                                        DOGE-PERP                                                                                                                                              0.000000000000000
                                                                                        DOT                                                               390.000000000000000                                                                390.041238000000000
                                                                                        DOT-PERP                                                                                                                                               0.000000000000047
                                                                                        DYDX                                                                                                                                                   0.299473000000000
                                                                                        EDEN                                                                                                                                                   0.276115000000000
                                                                                        EMB                                                                                                                                                    9.998300000000000
                                                                                        ENJ                                                                                                                                                    1.994560000000000
                                                                                        ETH                                                                                                                                                    0.004792260000000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        FIDA                                                                                                                                                   6.984870000000000
                                                                                        FTM                                                                                                                                                    1.993880000000000
                                                                                        FTT                                                                                                                                                    0.290378850000000
                                                                                        FTT-PERP                                                                                                                                              -0.000000000000008
                                                                                        GALFAN                                                                                                                                                 0.096481000000000
                                                                                        GBP                                                                                                                                                    0.997790000000000
                                                                                        HNT                                                                                                                                                    0.498776000000000
                                                                                        HT                                                                                                                                                     0.465796000000000
                                                                                        HT-PERP                                                                                                                                                0.000000000000005
                                                                                        HUM                                                                                                                                                    9.954100000000000
                                                                                        HXRO                                                                                                                                                   3.871310000000000
                                                                                        IOTA-PERP                                                                                                                                              0.000000000000000
                                                                                        KIN                                                                                                                                               29,313.200000000000000
                                                                                        KNC                                                                                                                                                    1.372001000000000
                                                                                        LEO                                                                                                                                                    3.989120000000000
                                                                                        LINA                                                                                                                                                  29.527400000000000
                                                                                        LINK                                                              289.200000000000000                                                                289.205480000000000
                                                                                        LINK-PERP                                                                                                                                              0.000000000000285
                                                                                        LRC                                                                                                                                                    0.987760000000000
                                                                                        LTC                                                                                                                                                    0.046698600000000
                                                                                        LTC-PERP                                                                                                                                              30.760000000000000
                                                                                        LUA                                                                                                                                                    0.245204000000000
                                                                                        LUNC-PERP                                                                                                                                             -0.000000000232830
                                                                                        MATH                                                                                                                                                   0.176716000000000
                                                                                        MKR                                                                                                                                                    0.001997790000000
                                                                                        MOB                                                                                                                                                    0.498725000000000
                                                                                        MTA                                                                                                                                                    0.989460000000000
                                                                                        NEAR-PERP                                                                                                                                          1,361.400000000000000
                                                                                        NEO-PERP                                                                                                                                               0.000000000000000
                                                                                        OKB                                                                                                                                                    0.299048000000000
                                                                                        OMG                                                                                                                                                    1.496090000000000
                                                                                        OXY                                                                                                                                                    1.983170000000000
                                                                                        PERP                                                                                                                                                   0.190072000000000
                                                                                        ROOK                                                                                                                                                   0.000981130000000
                                                                                        RUNE                                                                                                                                                   0.099252000000000
                                                                                        SAND                                                                                                                                                   0.998640000000000
                                                                                        SHIB                                                                                                                                            199,592.000000000000000
                                                                                        SKL                                                                                                                                                    0.944410000000000
                                                                                        SLP                                                                                                                                                    8.087500000000000
                                                                                        SLRS                                                                                                                                                   1.994220000000000
                                                                                        SOL                                                                88.000000000000000                                                                 88.016161490000000
                                                                                        SOL-PERP                                                                                                                                               0.000000000000000
                                                                                        SRM                                                                                                                                                    0.998980000000000
                                                                                        STEP                                                                                                                                                   0.396974000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 48 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      STORJ                                                                                                                                                1.148371000000000
                                                                                      TLM                                                                                                                                                  3.800760000000000
                                                                                      TONCOIN                                                       1,572.600000000000000                                                              1,572.157677000000000
                                                                                      TONCOIN-PERP                                                                                                                                       557.999999999998000
                                                                                      TRX                                                                                                                                                  4.319220000000000
                                                                                      TRX-PERP                                                                                                                                             0.000000000000000
                                                                                      UNI                                                                                                                                                  0.398623000000000
                                                                                      USD                                                           8,843.600000000000000                                                              3,999.803743132786000
                                                                                      USDT                                                              3.100000000000000                                                                  3.103711930000000
                                                                                      WAVES                                                                                                                                                1.988525000000000
                                                                                      XMR-PERP                                                                                                                                             0.000000000000000
                                                                                      ZRX                                                                                                                                                  2.975010000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
68790       Name on file                        FTX Trading Ltd.                       BTC                                                               0.053948880000000 West Realm Shires Services Inc.                                 0.053948880000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               0.683328460000000                                                                 0.683328460000000
                                                                                       ETHW                                                              0.683041420000000                                                                 0.683041420000000
                                                                                                                                                                                                                                           1.000000000000000
                                                                                       NFT (312044534897250370/WARRIORS
                                                                                       75TH ANNIVERSARY CITY EDITION
                                                                                       DIAMOND #1365)
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       TRX                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                               0.175474650000000                                                                 0.175474654798831
                                                                                       USDT                                                                                                                                                1.046806520000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
73053       Name on file                        FTX Trading Ltd.                        BRZ                                                                                     West Realm Shires Services Inc.                                3.000000000000000
                                                                                        BTC                                                                0.038578860000000                                                                   0.038578860000000
                                                                                        CUSDT                                                                                                                                                  4.000000000000000
                                                                                        DOGE                                                           7,623.214300000000000                                                               7,623.214288030000000
                                                                                        ETH                                                                0.263595470000000                                                                   0.263595470000000
                                                                                        ETHW                                                                                                                                                   0.263595470000000
                                                                                        SHIB                                                                                                                                                   3.000000000000000
                                                                                        TRX                                                                                                                                                    4.000000000000000
                                                                                        USD                                                                                                                                                  651.450676852254400
                                                                                        USDT                                                               1.000000000000000                                                                   1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
81219       Name on file                        FTX Trading Ltd.                        ADA-20211231                                                                            FTX Trading Ltd.                                               0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000000
                                                                                        AVAX                                                               25.000000000000000                                                                 25.000000000000000
                                                                                        AVAX-20211231                                                                                                                                          0.000000000000000
                                                                                        AVAX-PERP                                                                                                                                              0.000000000000000
                                                                                        BNB                                                                 4.990000000000000                                                                  4.999100000000000
                                                                                        BTC                                                                 0.249929580000000                                                                  0.249929589453206
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CHZ-PERP                                                                                                                                           1,000.000000000000000
                                                                                        CRO                                                               549.910000000000000                                                                549.910000000000000
                                                                                        DEFIBULL                                                                                                                                             123.492000000000000
                                                                                        DFL                                                                                                                                                  499.910000000000000
                                                                                        DOGE                                                              632.000000000000000                                                                632.000000000000000
                                                                                        DOGE-PERP                                                                                                                                            626.000000000000000
                                                                                        ETH                                                                -0.167046500000000                                                                 -0.016965921951695
                                                                                        ETHW                                                                                                                                                  -0.016860668478986
                                                                                        EUR                                                                                                                                                    0.000000005640870
                                                                                        FTM                                                                99.980000000000000                                                                 99.982000000000000
                                                                                        FTM-PERP                                                                                                                                               0.000000000000000
                                                                                        GAL-PERP                                                                                                                                              25.000000000000000
                                                                                        GENE                                                               49.990000000000000                                                                 49.995950000000000
                                                                                        HBAR-PERP                                                                                                                                          1,000.000000000000000
                                                                                        LINK                                                               37.090000000000000                                                                 37.093322000000000
                                                                                        LUNA2                                                                                                                                                  2.666276034000000
                                                                                        LUNA2_LOCKED                                                                                                                                           6.221310747000000
                                                                                        LUNC                                                              580.587000000000000                                                            580,587.220000000000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        MANA                                                              150.980000000000000                                                                150.982000000000000
                                                                                        MATIC                                                             200.000000000000000                                                                200.000000000000000
                                                                                        OKB                                                                 1.998670000000000                                                                  1.998670000000000
                                                                                        SAND                                                              100.000000000000000                                                                100.000000000000000
                                                                                        SHIB                                                           9,998.200000000000000                                                           9,998,200.000000000000000
                                                                                        SLRS                                                           1,000.000000000000000                                                               1,000.000000000000000
                                                                                        SOL                                                               100.004000000000000                                                                100.004930320700900
                                                                                        SRM                                                               200.000000000000000                                                                200.000000000000000
                                                                                        SUSHI                                                             149.980000000000000                                                                149.982000000000000
                                                                                        THE SANDBOX (SAND)                                                100.000000000000000                                                                  0.000000000000000
                                                                                        USD                                                                 3.000000000000000                                                               -413.453734547697650
                                                                                        USDT                                                                                                                                                   3.996820819376104
                                                                                        VET-PERP                                                                                                                                           1,000.000000000000000
                                                                                        XLM-PERP                                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82640       Name on file                        FTX Trading Ltd.                       BNB                                                              12.448014500000000 FTX Trading Ltd.                                               12.448014500000000
                                                                                       BTC                                                               0.001000000000000                                                                 0.001000000000000
                                                                                       ETH                                                               0.006941670000000                                                                 0.006941670000000
                                                                                       ETHW                                                              0.006941670000000                                                                 0.006941670000000
                                                                                       SOL                                                               4.232479610000000                                                                 4.232479610000000
                                                                                       USD                                                               0.000000023300000                                                               498.885057073300000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
38665       Name on file                        FTX Trading Ltd.                       1INCH                                                                                  FTX Trading Ltd.                                           161.203227406798450
                                                                                       APE                                                                                                                                                 5.006567579340000
                                                                                       BAND                                                                                                                                                0.037323709448520
                                                                                       BIT                                                                                                                                               199.975300000000000
                                                                                       BNB                                                                                                                                                 0.007397276858250
                                                                                       BTC                                                                                                                                                 0.000000008452880
                                                                                       CRO                                                                                                                                               459.838500000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 49 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     DENT                                                                                                                                            3,499.810000000000000
                                                                                     DOGE                                                                                                                                                0.661230265354450
                                                                                     ETH                                                              1.258000000000000                                                                  1.257965378815732
                                                                                     ETHW                                                                                                                                                1.252452986529711
                                                                                     FTM                                                                                                                                               272.611923561222000
                                                                                     FTT                                                              4.999100000000000                                                                  4.999050000000000
                                                                                     GALA                                                                                                                                              299.971500000000000
                                                                                     GMT                                                                                                                                                20.462907883231930
                                                                                     GRT                                                                                                                                                 0.204129994535460
                                                                                     LINA                                                                                                                                            1,499.168750000000000
                                                                                     LINK                                                                                                                                               20.482901574025530
                                                                                     LRC                                                                                                                                               199.962000000000000
                                                                                     LUNA2                                                                                                                                               0.452908967200000
                                                                                     LUNA2_LOCKED                                                                                                                                        1.056787590000000
                                                                                     LUNC                                                                                                                                           98,591.344490156480000
                                                                                     MATIC                                                                                                                                             163.618127747766520
                                                                                     SAND                                                                                                                                              119.969600000000000
                                                                                     SHIB                                                                                                                                          499,943.000000000000000
                                                                                     SOL                                                                                                                                                 1.647694964847470
                                                                                     SRM                                                                                                                                                30.300095450000000
                                                                                     SRM_LOCKED                                                                                                                                          0.224796930000000
                                                                                     SUSHI                                                                                                                                              34.389390642541390
                                                                                     UNI                                                                                                                                                 0.095640759719210
                                                                                     USD                                                              7.418400000000000                                                                  7.418400891826597
                                                                                     USDT                                                             0.314000000000000                                                                  0.313968257687383
                                                                                     XRP                                                              0.947700000000000                                                                  0.947747616183520

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7295        Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.006292642380436
                                                                                       BNB                                                                                                                                                 0.004083650000000
                                                                                       BTC                                                               0.269404800000000                                                                 0.269404807000000
                                                                                       ETH                                                                                                                                                 0.000297900000000
                                                                                       ETHW                                                                                                                                                0.000297902834108
                                                                                       PERP                                                                                                                                                0.097568000000000
                                                                                       RAY                                                                                                                                                 0.980240000000000
                                                                                       SRM                                                                                                                                                 0.996158640000000
                                                                                       SRM_LOCKED                                                                                                                                          0.017797680000000
                                                                                       TRX                                                                                                                                                 0.188111000000000
                                                                                       USD                                                               0.293995570908250                                                                 0.293995570908250

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
581         Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       AAVE-PERP                                                                                                                                            0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       AGLD-PERP                                                                                                                                            0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                           0.000000000000000
                                                                                       ALPHA-PERP                                                                                                                                           0.000000000000000
                                                                                       ANC-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       APT-PERP                                                                                                                                             0.000000000000000
                                                                                       AR-PERP                                                                                                                                              0.000000000000000
                                                                                       ASD-PERP                                                                                                                                             0.000000000000028
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       AXS-PERP                                                                                                                                             0.000000000000028
                                                                                       BAND-PERP                                                                                                                                           -0.000000000000227
                                                                                       BAT-PERP                                                                                                                                             0.000000000000000
                                                                                       BCH-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BNT-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                                                                                                                  0.000000000170000
                                                                                       BTC-MOVE-0222                                                                                                                                        0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                          0.000000000000000
                                                                                       C98-PERP                                                                                                                                             0.000000000000000
                                                                                       CAKE-PERP                                                                                                                                            0.000000000000000
                                                                                       CELO-PERP                                                                                                                                            0.000000000000000
                                                                                       CEL-PERP                                                                                                                                             0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       COMP-PERP                                                                                                                                            0.000000000000000
                                                                                       CREAM-PERP                                                                                                                                           0.000000000000000
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       CVC-PERP                                                                                                                                             0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       DENT-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000028
                                                                                       DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                       EGLD-PERP                                                                                                                                            0.000000000000000
                                                                                       ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                       ENS-PERP                                                                                                                                             0.000000000000000
                                                                                       EOS-PERP                                                                                                                                             0.000000000000000
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000003100000
                                                                                       ETH-PERP                                                                                                                                             0.000000000000007
                                                                                       FIL-PERP                                                                                                                                             0.000000000000000
                                                                                       FLM-PERP                                                                                                                                             0.000000000000909
                                                                                       FLOW-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  5.249322226738357
                                                                                       FTT-PERP                                                                                                                                            -0.000000000000042
                                                                                       FXS-PERP                                                                                                                                             0.000000000000002
                                                                                       GALA-PERP                                                                                                                                            0.000000000000000
                                                                                       GAL-PERP                                                                                                                                             0.000000000000000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000
                                                                                       GST-PERP                                                                                                                                             0.000000000000000
                                                                                       HBAR-PERP                                                                                                                                            0.000000000000000
                                                                                       HNT-PERP                                                                                                                                             0.000000000000000
                                                                                       HOLY-PERP                                                                                                                                            0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 50 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     HOT-PERP                                                                                                                                            0.000000000000000
                                                                                     HT-PERP                                                                                                                                             0.000000000000000
                                                                                     ICP-PERP                                                                                                                                            0.000000000000000
                                                                                     ICX-PERP                                                                                                                                            0.000000000000000
                                                                                     IMX-PERP                                                                                                                                            0.000000000000000
                                                                                     IOST-PERP                                                                                                                                           0.000000000000000
                                                                                     IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                     JASMY-PERP                                                                                                                                          0.000000000000000
                                                                                     KAVA-PERP                                                                                                                                           0.000000000000000
                                                                                     KNC-PERP                                                                                                                                            0.000000000000000
                                                                                     KSHIB-PERP                                                                                                                                          0.000000000000000
                                                                                     KSM-PERP                                                                                                                                            0.000000000000000
                                                                                     LDO-PERP                                                                                                                                            0.000000000000000
                                                                                     LEO-PERP                                                                                                                                            0.000000000000000
                                                                                     LINA-PERP                                                                                                                                           0.000000000000000
                                                                                     LINK-PERP                                                                                                                                           0.000000000000000
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     LRC-PERP                                                                                                                                            0.000000000000000
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNA2                                                                                                                                               0.000000040962818
                                                                                     LUNA2_LOCKED                                                                                                                                        0.000000095579910
                                                                                     LUNA2-PERP                                                                                                                                          0.000000000000000
                                                                                     LUNC                                                                                                                                                0.008919741000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000113
                                                                                     MANA-PERP                                                                                                                                           0.000000000000000
                                                                                     MAPS-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     MTL-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                          -0.000000000000028
                                                                                     NEO-PERP                                                                                                                                            0.000000000000000
                                                                                     OMG-PERP                                                                                                                                            0.000000000000000
                                                                                     ONE-PERP                                                                                                                                            0.000000000000000
                                                                                     OP-PERP                                                                                                                                             0.000000000000000
                                                                                     PROM-PERP                                                                                                                                           0.000000000000000
                                                                                     QTUM-PERP                                                                                                                                           0.000000000000028
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     RNDR-PERP                                                                                                                                           0.000000000000000
                                                                                     ROSE-PERP                                                                                                                                           0.000000000000000
                                                                                     RSR-PERP                                                                                                                                            0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                          -0.000000000000227
                                                                                     RVN-PERP                                                                                                                                            0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                     SKL-PERP                                                                                                                                            0.000000000000000
                                                                                     SLP-PERP                                                                                                                                            0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000071
                                                                                     SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     SRN-PERP                                                                                                                                            0.000000000000000
                                                                                     STORJ-PERP                                                                                                                                          0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     SXP-PERP                                                                                                                                            0.000000000000000
                                                                                     THETA-PERP                                                                                                                                         -0.000000000000113
                                                                                     TLM-PERP                                                                                                                                            0.000000000000000
                                                                                     TOMO-PERP                                                                                                                                           0.000000000000000
                                                                                     TRU-PERP                                                                                                                                            0.000000000000000
                                                                                     TRX                                                                                                                                                 0.634630000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                         10,757.150000000000000                                                             10,923.580923653475000
                                                                                     USDT                                                                                                                                                0.471894808114225
                                                                                     USTC-PERP                                                                                                                                           0.000000000000000
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XEM-PERP                                                                                                                                            0.000000000000000
                                                                                     XLM-PERP                                                                                                                                            0.000000000000000
                                                                                     XMR-PERP                                                                                                                                            0.000000000000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                           -0.000000000000028
                                                                                     YFII-PERP                                                                                                                                           0.000000000000000
                                                                                     YFI-PERP                                                                                                                                            0.000000000000000
                                                                                     ZEC-PERP                                                                                                                                            0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
23029       Name on file                        FTX Trading Ltd.                       AKRO                                                          6,250.489828130000000 FTX Trading Ltd.                                            6,250.489828131395000
                                                                                       ANC                                                                                                                                               148.335627340000000
                                                                                       AUD                                                             689.470000000000000                                                               689.470459619800500
                                                                                       BAO                                                        201,367.416975380000000                                                           201,367.416975380000000
                                                                                       BNB                                                               0.043380920000000                                                                 0.043380920000000
                                                                                       BTC                                                               0.001147330000000                                                                 0.001147330000000
                                                                                       BTT                                                     47,019,333.078676350000000                                                        47,019,333.078676350000000
                                                                                       DENT                                                         15,062.631423150000000                                                           15,062.631423151780000
                                                                                       ETH                                                               0.016886350000000                                                                 0.016886350000000
                                                                                       ETHW                                                              3.784798290000000                                                                 3.784798290000000
                                                                                       GALA                                                          1,091.850422810000000                                                             1,091.850422810000000
                                                                                       KIN                                                      1,171,030.182733010000000                                                         1,171,030.182733012600000
                                                                                       OXY                                                                                                                                               492.333123560000000
                                                                                       REEF                                                          5,624.904218920000000                                                             5,624.904218928208000
                                                                                       SPA                                                                                                                                             3,522.353062460000000
                                                                                       TRX                                                             568.944627270000000                                                               568.944627270000000
                                                                                       UBXT                                                          4,559.530539210000000                                                             4,559.530539210000000
                                                                                       WRX                                                              88.453220740000000                                                                88.453220740000000
                                                                                       XRP                                                           8,162.861174090000000                                                             8,162.861174090000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
44965       Name on file                        FTX Trading Ltd.                       CHZ                                                                                    FTX Trading Ltd.                                             1.000000000000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       EUR                                                                                                                                                 0.023620013530027
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 51 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     UBXT                                                                                                                                                3.000000000000000
                                                                                     XRP                                                          5,862.366500000000000                                                              5,862.366537820000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
57519       Name on file                        FTX Trading Ltd.                       APT                                                              45.000000000000000 FTX Trading Ltd.                                               45.000000000000000
                                                                                       BAL                                                               0.050000000000000                                                                 0.050000000000000
                                                                                       BNB                                                               0.010000000000000                                                                 0.010000000000000
                                                                                       BTC                                                               0.497874057019312                                                                 0.497874057019312
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CREAM                                                                                                                                               0.600000000000000
                                                                                       DOGE                                                              0.998480000000000                                                                 0.998480000000000
                                                                                       ETH                                                               0.000968080000000                                                                 0.000968080000000
                                                                                       ETHW                                                              0.000980240000000                                                                 0.000980240000000
                                                                                       FTM                                                               4.999810000000000                                                                 4.999810000000000
                                                                                       KNC                                                                                                                                                 0.094680000000000
                                                                                       LINK                                                                                                                                                0.096580000000000
                                                                                       LTC                                                               0.009810000000000                                                                 0.009810000000000
                                                                                       MANA                                                             51.000000000000000                                                                51.000000000000000
                                                                                       MATIC                                                            69.987460000000000                                                                69.987460000000000
                                                                                       NEAR                                                             49.994528000000000                                                                49.994528000000000
                                                                                       TRX                                                               0.976060000000000                                                                 0.976060000000000
                                                                                       USD                                                               0.630074342000000                                                                 0.630074342050000
                                                                                       USDT                                                              5.309377859157500                                                                 5.309377859157500
                                                                                       XAUT                                                                                                                                                0.000900000000000
                                                                                       XRP                                                               3.000000000000000                                                                 3.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29680       Name on file                        West Realm Shires Services Inc.        AVAX                                                             65.516909420000000 West Realm Shires Services Inc.                                65.516909420000000
                                                                                       BRZ                                                                                                                                                 1.000000000000000
                                                                                       DOGE                                                                                                                                                3.000000000000000
                                                                                       MATIC                                                          248.979903730000000                                                                248.979903730000000
                                                                                       SHIB                                                                                                                                               20.000000000000000
                                                                                       TRX                                                                                                                                                 5.000000000000000
                                                                                       UNI                                                            108.959726420000000                                                                108.959726420000000
                                                                                       USD                                                                                                                                                 0.095818057314748

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
71094       Name on file                        FTX Trading Ltd.                       AKRO                                                                                   FTX Trading Ltd.                                             6.000000000000000
                                                                                       ALPHA                                                                                                                                               2.000000000000000
                                                                                       AUDIO                                                                                                                                               2.000000000000000
                                                                                       AVAX                                                                                                                                              104.570923380000000
                                                                                       BAO                                                                                                                                                 6.000000000000000
                                                                                       BAT                                                                                                                                                 1.000000000000000
                                                                                       BTC                                                               3.956058050000000                                                                 3.956058050000000
                                                                                       CHZ                                                                                                                                                 1.000000000000000
                                                                                       DENT                                                                                                                                                2.000000000000000
                                                                                       DOGE                                                         31,024.812600000000000                                                           31,024.812609820000000
                                                                                       DOT                                                                                                                                               131.271409060000000
                                                                                       ETHW                                                                                                                                               18.304389800000000
                                                                                       FRONT                                                                                                                                               2.000000000000000
                                                                                       KIN                                                                                                                                                 9.000000000000000
                                                                                       LUNA2                                                                                                                                               6.886471966000000
                                                                                       LUNA2_LOCKED                                                                                                                                       15.699472660000000
                                                                                       LUNC                                                                                                                                               21.690615230000000
                                                                                       MATH                                                                                                                                                1.000000000000000
                                                                                       MATIC                                                                                                                                           2,178.415778830000000
                                                                                       RSR                                                                                                                                                 5.000000000000000
                                                                                       SECO                                                                                                                                                1.008503500000000
                                                                                       SOL                                                           2,659.840000000000000                                                             2,659.845932138561700
                                                                                       SXP                                                                                                                                                 1.000000000000000
                                                                                       TRU                                                                                                                                                 1.000000000000000
                                                                                       TRX                                                                                                                                                 4.000000000000000
                                                                                       UBXT                                                                                                                                                5.000000000000000
                                                                                       USD                                                             429.730000000000000                                                               429.734783786971300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33829       Name on file                        FTX Trading Ltd.                       AAPL                                                              5.000000000000000 FTX Trading Ltd.                                                5.000000000000000
                                                                                       BTC                                                               0.161900000000000                                                                 0.161897769000000
                                                                                       ETH                                                               4.524900000000000                                                                 4.524906492000000
                                                                                       ETHW                                                                                                                                                4.524906492000000
                                                                                       FTT                                                              26.599000000000000                                                                26.599030000000000
                                                                                       GOOGL                                                                                                                                              10.539856440000000
                                                                                       GOOGL-0325                                                                                                                                          0.000000000000000
                                                                                       GOOGLPRE                                                                                                                                            0.000000002000000
                                                                                       HUM-PERP                                                                                                                                            0.000000000000000
                                                                                       PYPL                                                             13.000000000000000                                                                13.000000000000000
                                                                                       RAY                                                                                                                                             1,879.991684090000000
                                                                                       TSM                                                              15.414900000000000                                                                15.414904940000000
                                                                                       USD                                                              17.790000000000000                                                                17.792404624850000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29879       Name on file                        FTX Trading Ltd.                       ATLAS                                                                                  FTX Trading Ltd.                                             4.282336460000000
                                                                                       AURY                                                                                                                                                0.000000010000000
                                                                                       ETH                                                               0.655000000000000                                                                 0.655000000000000
                                                                                       ETHW                                                              0.655000000000000                                                                 0.655000000000000
                                                                                       FTM                                                               0.638775430000000                                                                 0.638775430000000
                                                                                       JOE                                                               0.632409190000000                                                                 0.632409190000000
                                                                                       RAY                                                               0.250361000000000                                                                 0.250361000000000
                                                                                       SUSHI                                                             0.462500000000000                                                                 0.462500000000000
                                                                                       USD                                                            221.990000000000000                                                                221.993345528669350

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
55017       Name on file                        FTX Trading Ltd.                       BTC                                                               0.122209820000000 West Realm Shires Services Inc.                                 0.122213180000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               0.255431040000000                                                                 0.255438030000000
                                                                                       ETHW                                                              0.255244640000000                                                                 0.255244640000000
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       TRX                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                            529.340000000000000                                                                529.354491790650200
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                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
69606       Name on file                        FTX Trading Ltd.                        BTC                                                                 0.070300000000000 FTX Trading Ltd.                                                0.070300000000000
                                                                                        ETH                                                                 0.732000000000000                                                                 0.732000000000000
                                                                                        ETH-PERP                                                                                                                                              0.000000000000000
                                                                                        HNT-PERP                                                                                                                                              0.000000000000000
                                                                                        LRC-PERP                                                                                                                                              0.000000000000000
                                                                                        SAND-PERP                                                                                                                                             0.000000000000000
                                                                                        SOL                                                                15.200000000000000                                                                15.200000000000000
                                                                                        SOL-PERP                                                                                                                                              0.000000000000000
                                                                                        UNI-PERP                                                                                                                                              0.000000000000000
                                                                                        USD                                                                                                                                                 627.257704638853300
                                                                                        WFLOW                                                             294.800000000000000                                                               294.800000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
41709       Name on file                        FTX Trading Ltd.                       AKRO                                                              1.000000000000000 FTX Trading Ltd.                                                1.000000000000000
                                                                                       BAO                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       BTC                                                               0.123730000000000                                                                 0.123730490000000
                                                                                       DENT                                                              2.000000000000000                                                                 2.000000000000000
                                                                                       ETH                                                               0.299481000000000                                                                 0.299481290000000
                                                                                       ETHW                                                              3.043002000000000                                                                 3.043002400000000
                                                                                       FTT                                                               0.801885000000000                                                                 0.801884690000000
                                                                                       KIN                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       RSR                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       SOL                                                               3.459886000000000                                                                 3.459886080000000
                                                                                       SWEAT                                                          183.111000000000000                                                                183.110975550000000
                                                                                       TOMO                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                            473.109700000000000                                                                473.109651755657000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82158       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       AAVE                                                                                                                                                 0.000000010986660
                                                                                       AAVE-20210625                                                                                                                                        0.000000000000000
                                                                                       AAVE-PERP                                                                                                                                            0.000000000000000
                                                                                       ADA-20210924                                                                                                                                         0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ALPHA-PERP                                                                                                                                           0.000000000000000
                                                                                       ALT-20210625                                                                                                                                         0.000000000000000
                                                                                       ALT-PERP                                                                                                                                             0.000000000000000
                                                                                       AMPL-PERP                                                                                                                                            0.000000000000000
                                                                                       ASD-PERP                                                                                                                                             0.000000000000000
                                                                                       ATOM-20210625                                                                                                                                        0.000000000000000
                                                                                       ATOM-20210924                                                                                                                                        0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX                                                                                                                                                 0.000000009760000
                                                                                       AVAX-20210924                                                                                                                                        0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND-PERP                                                                                                                                            0.000000000000000
                                                                                       BAO-PERP                                                                                                                                             0.000000000000000
                                                                                       BCH-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB                                                                                                                                                  0.000000011565091
                                                                                       BNB-20210625                                                                                                                                         0.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                                                                                                                  0.000000015044977
                                                                                       BTC-20210625                                                                                                                                         0.000000000000000
                                                                                       BTC-20210924                                                                                                                                         0.000000000000000
                                                                                       BTC-MOVE-20210620                                                                                                                                    0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                          0.000000000000000
                                                                                       BULL                                                                                                                                                 0.000000002893907
                                                                                       BULLSHIT                                                                                                                                             0.000000002948500
                                                                                       CAKE-PERP                                                                                                                                            0.000000000000000
                                                                                       CHZ-20210625                                                                                                                                         0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       COMP                                                                                                                                                 0.000000002050000
                                                                                       COMP-PERP                                                                                                                                            0.000000000000000
                                                                                       CREAM-PERP                                                                                                                                           0.000000000000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       DEFI-20210625                                                                                                                                        0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       DENT                                                                                                                                                 0.000000005788000
                                                                                       DENT-PERP                                                                                                                                            0.000000000000000
                                                                                       DMG-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE                                                                                                                                                 0.000000015489565
                                                                                       DOGE-20210625                                                                                                                                        0.000000000000000
                                                                                       DOGE-20210924                                                                                                                                        0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-20210625                                                                                                                                         0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       DRGN-20210924                                                                                                                                        0.000000000000006
                                                                                       DRGN-PERP                                                                                                                                           -0.000000000000010
                                                                                       EDEN                                                                                                                                                 0.000000001640395
                                                                                       EOS-20210625                                                                                                                                         0.000000000000000
                                                                                       EOS-20210924                                                                                                                                         0.000000000000000
                                                                                       EOS-PERP                                                                                                                                             0.000000000000000
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000019232724
                                                                                       ETH-20210625                                                                                                                                         0.000000000000000
                                                                                       ETH-20210924                                                                                                                                         0.000000000000000
                                                                                       ETHBULL                                                                                                                                              0.000000008928693
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000004
                                                                                       ETHW                                                                                                                                                 5.073011423125118
                                                                                       FIDA                                                                                                                                                 0.003929660000000
                                                                                       FIDA_LOCKED                                                                                                                                          1.501132060000000
                                                                                       FIL-20210924                                                                                                                                         0.000000000000000
                                                                                       FIL-PERP                                                                                                                                             0.000000000000000
                                                                                       FLOW-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM                                                                                                                                                  0.000000000714538
                                                                                       FTT                                                                                                                                                  0.011962464405313
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 53 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                   Tickers                               Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      FTT-PERP                                                                                                                                             0.000000000000003
                                                                                      GRT-PERP                                                                                                                                             0.000000000000000
                                                                                      HOLY-PERP                                                                                                                                            0.000000000000000
                                                                                      HOT-PERP                                                                                                                                             0.000000000000000
                                                                                      HT-PERP                                                                                                                                              0.000000000000000
                                                                                      KIN-PERP                                                                                                                                             0.000000000000000
                                                                                      KNC-PERP                                                                                                                                             0.000000000000000
                                                                                      LINK-PERP                                                                                                                                            0.000000000000000
                                                                                      LUNA2                                                                                                                                               15.419314110000000
                                                                                      LUNA2_LOCKED                                                                                                                                        35.978399580000000
                                                                                      LUNC                                                                                                                                           405,083.389515650500000
                                                                                      MATIC                                                                                                                                                0.000000009624364
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      MEDIA-PERP                                                                                                                                           0.000000000000000
                                                                                      MID-PERP                                                                                                                                             0.000000000000000
                                                                                      MKR                                                                                                                                                  0.000000009100000
                                                                                      MKR-PERP                                                                                                                                             0.000000000000000
                                                                                      OKB-PERP                                                                                                                                             0.000000000000000
                                                                                      PERP-PERP                                                                                                                                            0.000000000000000
                                                                                      RAY-PERP                                                                                                                                             0.000000000000000
                                                                                      REN-PERP                                                                                                                                             0.000000000000000
                                                                                      RSR-PERP                                                                                                                                             0.000000000000000
                                                                                      SECO                                                                                                                                                 0.000000002581131
                                                                                      SHIB                                                                                                                                                 0.000000005001565
                                                                                      SHIT-20210625                                                                                                                                        0.000000000000000
                                                                                      SHIT-PERP                                                                                                                                            0.000000000000000
                                                                                      SLRS                                                                                                                                                 0.000000003132500
                                                                                      SNX-PERP                                                                                                                                             0.000000000000000
                                                                                      SOL                                                                                                                                                  0.000000017223551
                                                                                      SOL-20210625                                                                                                                                         0.000000000000000
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SRM                                                                                                                                                  0.329173772118944
                                                                                      SRM_LOCKED                                                                                                                                         284.928290910000000
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      STEP-PERP                                                                                                                                            0.000000000000000
                                                                                      SUSHI                                                                                                                                                0.000000009638890
                                                                                      SUSHI-20210625                                                                                                                                       0.000000000000000
                                                                                      SUSHI-20210924                                                                                                                                       0.000000000000000
                                                                                      SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                      TRX-PERP                                                                                                                                             0.000000000000000
                                                                                      UNI                                                                                                                                                  0.000000002246000
                                                                                      UNI-20210625                                                                                                                                         0.000000000000045
                                                                                      UNI-PERP                                                                                                                                             0.000000000000000
                                                                                      USD                                                         16,816.000000000000000                                                              16,839.416294639253000
                                                                                      USDT                                                                                                                                                 0.000000007285987
                                                                                      USDT-PERP                                                                                                                                            0.000000000000000
                                                                                      VET-PERP                                                                                                                                             0.000000000000000
                                                                                      XEM-PERP                                                                                                                                             0.000000000000000
                                                                                      XLM-PERP                                                                                                                                             0.000000000000000
                                                                                      XMR-PERP                                                                                                                                             0.000000000000000
                                                                                      YFI                                                                                                                                                  0.000000005000000
                                                                                      YFI-20210625                                                                                                                                         0.000000000000000
                                                                                      YFII-PERP                                                                                                                                            0.000000000000000
                                                                                      YFI-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84230       Name on file                        FTX Trading Ltd.                       DOGE                                                                                   West Realm Shires Services Inc.                              2.000000000000000
                                                                                       SHIB                                                   178,000,000.000000000000000                                                       178,103,035.267935400000000
                                                                                       TRX                                                                                                                                                 2.000000000000000
                                                                                       USD                                                                                                                                                 0.000000000001162
                                                                                       USDT                                                                                                                                                1.085039160000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
61245       Name on file                        FTX Trading Ltd.                        CHF                                                            5,430.693984657531640 FTX Trading Ltd.                                              5,430.693984657531500
                                                                                        ETH                                                                                                                                                    0.000229500000000
                                                                                        ETHW                                                                                                                                                   0.000229500000000
                                                                                        USD                                                                                                                                                    0.000000001612774
                                                                                        USDT                                                                                                                                                   0.000017685621938

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
41          Name on file                        FTX Property Holdings Ltd              USD                                                          30,000.000000000000000 West Realm Shires Services Inc.                           30,000.020000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93933       Name on file                        Quoine Pte Ltd                          BCH                                                                                     Quoine Pte Ltd                                                 0.007141000000000
                                                                                        BTC                                                                                                                                                    0.000000480000000
                                                                                        CHI                                                                                                                                                   25.000000000000000
                                                                                        ETH                                                                1.295000000000000                                                                   1.295000000000000
                                                                                        ETHW                                                                                                                                                   2.743426960000000
                                                                                        FANZ                                                                                                                                                 160.000000000000000
                                                                                        QASH                                                                                                                                                 539.120074050000000
                                                                                        SGD                                                            9,328.000000000000000                                                               9,328.509420000000000
                                                                                        USD                                                                                                                                                    3.256980000000000
                                                                                        USDT                                                                                                                                                   7.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
844         Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.002342720000000
                                                                                       MATIC                                                                                                                                             309.847402020000000
                                                                                       TRX                                                                                                                                                 2.000000000000000
                                                                                       USD                                                           4,614.620000000000000                                                             4,294.890755088528000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
32734       Name on file                        FTX Trading Ltd.                        CUSDT                                                                                   West Realm Shires Services Inc.                                2.000000000000000
                                                                                        DOGE                                                          21,442.585000000000000                                                              21,442.585405740000000
                                                                                        SHIB                                                      58,269,000.000000000000000                                                         58,268,830.793759640000000
                                                                                        USD                                                                                                                                                   36.817987210000894
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 54 of 92
                                                                                                        Asserted Claims                                                                                           Modified Claim
   Claim
  Number                    Name                                Debtor                                   Tickers                                 Ticker Quantity                               Debtor                                 Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
29147       Name on file                        FTX Trading Ltd.                        CUSDT                                                                                   West Realm Shires Services Inc.                                1.000000000000000
                                                                                        TRX                                                                                                                                                    1.000000000000000
                                                                                        USD                                                                                                                                                   10.819321530000000
                                                                                        USDT                                                            2,350.820000000000000                                                              2,350.818928129361000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
8774        Name on file                        FTX Trading Ltd.                        AAVE                                                                                    FTX Trading Ltd.                                              0.009629557000000
                                                                                        ADABULL                                                                                                                                               0.000000005132000
                                                                                        BNB                                                                                                                                                   0.009629557000000
                                                                                        BTC                                                                0.026003110000000                                                                  0.026003110000000
                                                                                        BULL                                                                                                                                                  0.000000002550000
                                                                                        DOGEBULL                                                                                                                                              0.000000006208600
                                                                                        ETH                                                                0.602631730000000                                                                  0.602631738327320
                                                                                        ETHBULL                                                           20.071803610000000                                                                 20.071803615434330
                                                                                        ETHW                                                                                                                                                  0.602631738327320
                                                                                        FTT                                                                                                                                                   2.099981570000000
                                                                                        SUSHIBEAR                                                                                                                                    49,990,785.000000000000000
                                                                                        USD                                                                0.000000018431532                                                                  0.000000018431532
                                                                                        USDT                                                              87.870000000000000                                                                 87.871167598060960
                                                                                        XRPBEAR                                                                                                                                         990,500.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34824       Name on file                        FTX Trading Ltd.                       BRZ                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       BTC                                                               0.104573900000000                                                                 0.104573900000000
                                                                                       DOGE                                                                                                                                                3.000000000000000
                                                                                       SHIB                                                                                                                                               12.000000000000000
                                                                                       TRX                                                                                                                                                 2.000000000000000
                                                                                       USD                                                           1,781.630000000000000                                                             1,831.634232565197400

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
33934       Name on file                        FTX Trading Ltd.                        DOGE                                                                                    West Realm Shires Services Inc.                                4.000000000000000
                                                                                        ETHW                                                                                                                                                   1.066383020000000
                                                                                        GRT                                                                                                                                                    1.000000000000000
                                                                                        SHIB                                                                                                                                                   1.000000000000000
                                                                                        USD                                                            1,057.500000000000000                                                               1,057.500033823313500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
315         Name on file                        FTX Trading Ltd.                        ALEPH                                                                                   FTX Trading Ltd.                                           3,301.718552760000000
                                                                                        USD                                                           18,398.760000000000000                                                              18,398.760860312480000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34229       Name on file                        FTX Trading Ltd.                       ETH                                                               0.966448990000000 West Realm Shires Services Inc.                                 0.966448990000000
                                                                                       ETHW                                                                                                                                                0.966448990000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
82212       Name on file                        FTX Trading Ltd.                        AXS-PERP                                                                                FTX Trading Ltd.                                               0.000000000000000
                                                                                        CAKE-PERP                                                                                                                                              0.000000000000000
                                                                                        TRX                                                                                                                                                    0.000007000000000
                                                                                        USD                                                                                                                                                    0.704791106812389
                                                                                        USDT                                                          18,913.000000000000000                                                              18,913.584406472422000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
12278       Name on file                        FTX Trading Ltd.                       AUD                                                             392.870000000000000 FTX Trading Ltd.                                              392.870401000000000
                                                                                       BTC                                                               0.036275950000000                                                                 0.036275955000000
                                                                                       DOGE                                                          8,382.000000000000000                                                             8,382.000000000000000
                                                                                       ETH                                                               1.229323700000000                                                                 1.229323705550000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                1.229323705550000
                                                                                       FTT                                                              10.070240950000000                                                                10.070240950000000
                                                                                       USD                                                           1,415.590000000000000                                                             1,415.586573476798000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
15471       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             0.000000005336017
                                                                                       APE
                                                                                       BAO                                                                                                                                                18.380681803641203
                                                                                       BF_POINT                                                                                                                                          200.000000000000000
                                                                                       BNB                                                                                                                                                 0.000000010955263
                                                                                       BTC                                                                                                                                                 0.000315439693626
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       DOGE                                                                                                                                                0.000000002382006
                                                                                       ETH                                                               0.781615526192135                                                                 0.781615526192135
                                                                                       ETHW                                                                                                                                                0.000000006192135
                                                                                       KIN                                                                                                                                               700.339995044416800
                                                                                       SHIB                                                                                                                                          48,194.252169260000000
                                                                                       SLP                                                                                                                                               531.346667260936700
                                                                                       SOL                                                                                                                                                 0.000000007100508
                                                                                       SUSHI                                                                                                                                               0.000000003974309
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                                                                                                                 0.000186591859344
                                                                                       USDT                                                                                                                                                0.000000002965833
                                                                                       XRP                                                                                                                                                 0.000000005664707

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
385         Name on file                        FTX Trading Ltd.                       HNT                                                                                    FTX Trading Ltd.                                             0.013926469490063
                                                                                       USD                                                          29,800.000000000000000                                                           29,800.000013892000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33148       Name on file                        FTX Trading Ltd.                       AVAX                                                              3.480608320000000 West Realm Shires Services Inc.                                 3.480608320000000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      BTC                                                              0.020082980000000                                                                   0.020082980000000
                                                                                      ETH                                                              1.112745630000000                                                                   1.112745630000000
                                                                                      ETHW                                                                                                                                                 1.112745630000000
                                                                                      SOL                                                               1.516226100000000                                                                  1.516226100000000
                                                                                      USD                                                                                                                                                  0.000014675105855

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
2329        Name on file                        FTX Trading Ltd.                        BTC                                                                6.100600000000000 FTX Trading Ltd.                                                  6.100600000000000
                                                                                        DOGE                                                          21,769.000000000000000                                                              21,769.000000000000000
                                                                                        ETHW                                                                                                                                                  14.639000000000000
                                                                                        FTT                                                                                                                                                    6.700000000000000
                                                                                        USDT                                                                                                                                                   1.263418562250000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1434        Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000000006163428
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000009000000
                                                                                       ETHW                                                                                                                                                0.000000009000000
                                                                                       FTT                                                                                                                                               150.385109197919750
                                                                                       MANA                                                                                                                                                6.998642000000000
                                                                                       USD                                                            800.000000000000000                                                                884.149190842298400
                                                                                       USDT                                                                                                                                                0.000000017053764
                                                                                       VGX                                                                                                                                                 0.000000002109434

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31002       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                            -0.000000000005456
                                                                                       APT-PERP                                                                                                                                             0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            -0.000000000000113
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            -0.000000000000007
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000005000000
                                                                                       ETHMOON                                                                                                                                              0.233490000000000
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000014
                                                                                       FIL-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  0.139156020000000
                                                                                       FTT-PERP                                                                                                                                            -0.000000000000113
                                                                                       GALA-PERP                                                                                                                                            0.000000000000000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000
                                                                                       ICP-PERP                                                                                                                                            -0.000000000000113
                                                                                       LINK-PERP                                                                                                                                           -0.000000000000113
                                                                                       LOOKS-PERP                                                                                                                                           0.000000000000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       LUNA2                                                                                                                                                8.064349306000000
                                                                                       LUNA2_LOCKED                                                                                                                                       18.816815050000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000023305
                                                                                       MANA-PERP                                                                                                                                            0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       OP-PERP                                                                                                                                              0.000000000000000
                                                                                       SAND-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            -0.000000000000454
                                                                                       SPELL-PERP                                                                                                                                           0.000000000000000
                                                                                       SUN                                                                                                                                                  0.000046850000000
                                                                                       THETA-PERP                                                                                                                                           0.000000000000909
                                                                                       TRX                                                        149,238.887350000000000                                                          149,238.887350000000000
                                                                                       TRX-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                          12,428.940000000000000                                                           12,428.943412163293000
                                                                                       USDT                                                                                                                                                 0.000000007862757
                                                                                       USTC-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27427       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                            68.143470820000000
                                                                                       1INCH                                                            68.143470820000000
                                                                                       BAT                                                             288.216449160000000                                                               288.216449160000000
                                                                                       BNB                                                              10.499500000000000                                                                10.499500000817000
                                                                                       BTC                                                                                                                                                 0.000000008500000
                                                                                       C98                                                              53.298176150000000                                                                53.298176150000000
                                                                                       CHZ                                                             180.053122760000000                                                               180.053122760000000
                                                                                       CRO                                                           1,150.677594910000000                                                             1,150.677594910000000
                                                                                       DYDX                                                             58.732127230000000                                                                58.732127230000000
                                                                                       ETH                                                               0.000000010000000                                                                 0.000000010000000
                                                                                       FTT                                                               8.950887880000000                                                                 8.950887880000000
                                                                                       GMT                                                                                                                                               428.479416980000000
                                                                                       GMT STEPN                                                       428.479416980000000                                                                 0.000000000000000
                                                                                       LUNA2                                                             0.060654870000000                                                                 0.060654876390000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.141528044900000
                                                                                       LUNC                                                         13,207.727035320000000                                                           13,207.727035320000000
                                                                                       MAPS                                                            251.002944780000000                                                               251.002944780000000
                                                                                       MATIC                                                           442.818747730000000                                                               442.818747735320000
                                                                                       MER                                                               0.008739560000000                                                                 0.008739560000000
                                                                                       MTL                                                              27.369817070000000                                                                27.369817070000000
                                                                                       OXY                                                               0.006553690000000                                                                 0.006553690000000
                                                                                       PUNDIX                                                            0.000002730000000                                                                 0.000002739680000
                                                                                       RSR                                                           5,877.493229970000000                                                             5,877.493229970000000
                                                                                       SHIB                                                     3,673,390.191877870000000                                                         3,673,390.191877870000000
                                                                                       SOL                                                              28.262275300000000                                                                28.262275306960000
                                                                                       SRM                                                             206.816088030000000                                                               206.816088030000000
                                                                                       SRM_LOCKED                                                        1.939892750000000                                                                 1.939892750000000
                                                                                       TRX                                                               0.000001000000000                                                                 0.000001000000000
                                                                                       USD                                                               0.006220140000000                                                                 0.006220155691234
                                                                                       USDT                                                              0.000000010000000                                                                 0.000000014495888
                                                                                       ZRX                                                             246.851032460000000                                                               246.851032460000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 56 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
   Claim
  Number                   Name                                 Debtor                                Tickers                                 Ticker Quantity                                 Debtor                             Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32719       Name on file                        FTX Trading Ltd.                       BADGER                                                                                 FTX Trading Ltd.                                             0.000000004480500
                                                                                       BTC                                                                                                                                                 0.000000001013115
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       BULL                                                                                                                                                0.000000009045000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ETC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000004859480
                                                                                       FTT                                                                                                                                                 0.000000004508793
                                                                                       HNT                                                                                                                                                 0.000000000446805
                                                                                       LINK-PERP                                                                                                                                           0.000000000000042
                                                                                       SOL                                                                                                                                                 0.000000000704618
                                                                                       SRM                                                              26.929735490000000                                                                26.929735496471740
                                                                                       SRM_LOCKED                                                                                                                                         26.657304320000000
                                                                                       USD                                                          30,344.760000000000000                                                           30,344.764572473334000
                                                                                       USDT                                                                                                                                                0.000000003863940

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
45970       Name on file                        Quoine Pte Ltd                         AQUA                                                                                   Quoine Pte Ltd                                             101.815596400000000
                                                                                       BTC                                                               0.290000000000000                                                                 0.290000000000000
                                                                                       EUR                                                                                                                                                 0.203500000000000
                                                                                       QASH                                                                                                                                                0.136622450000000
                                                                                       USD                                                              13.134700000000000                                                                13.134700000000000
                                                                                       USDC                                                                                                                                                0.004169310000000
                                                                                       USDT                                                                                                                                                0.101345000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30270       Name on file                        FTX Trading Ltd.                       ETH                                                               2.399400000000000 FTX Trading Ltd.                                                2.400056731103223
                                                                                       ETHW                                                              2.398400000000000                                                                 2.399048721103223
                                                                                       MANA                                                                                                                                                0.000000008000000
                                                                                       SAND                                                                                                                                                0.000000002800000
                                                                                       USDT                                                                                                                                                0.000009531045022

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34340       Name on file                        FTX Trading Ltd.                       BTC-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       POLIS                                                                                                                                             100.000000000000000
                                                                                       REAL                                                                                                                                                0.099734000000000
                                                                                       TRX                                                                                                                                                 0.000057000000000
                                                                                       USD                                                                                                                                                 0.000336061335346
                                                                                       USDT                                                          6,607.000000000000000                                                             6,607.728333000647000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31891       Name on file                        FTX Trading Ltd.                       BTC                                                               0.038192360000000 FTX Trading Ltd.                                                 0.038192360000000
                                                                                       DOT-PERP                                                                                                                                            -0.000000000000001
                                                                                       ETH                                                               1.109778000000000                                                                  1.109778000000000
                                                                                       ETHW                                                              1.109778000000000                                                                  1.109778000000000
                                                                                       LRC                                                             587.882400000000000                                                               587.882400000000000
                                                                                       LUNA2                                                             0.115157780000000                                                                  0.115157784400000
                                                                                       LUNA2_LOCKED                                                                                                                                         0.268701496900000
                                                                                       LUNC                                                         25,075.850000000000000                                                           25,075.850000000000000
                                                                                       SOL                                                              15.033233840000000                                                                15.033233840000000
                                                                                       USD                                                             380.370000000000000                                                               380.365448742019500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91048       Name on file                        FTX Trading Ltd.                       AVAX                                                            102.000000000000000 West Realm Shires Services Inc.                               102.000000000000000
                                                                                       ETH                                                                                                                                                 0.000123670000000
                                                                                       ETHW                                                                                                                                                0.000123670000000
                                                                                       SOL                                                                                                                                                 0.025700000000000
                                                                                       USD                                                          30,885.000000000000000                                                           30,885.246543850000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
22990       Name on file                        FTX Trading Ltd.                        BTC                                                                 0.019972890000000 FTX Trading Ltd.                                                 0.019972890000000
                                                                                        DOGE                                                              325.985001160000000                                                                325.985001160000000
                                                                                        DOT-PERP                                                                                                                                               0.000000000000000
                                                                                        ETH                                                                 1.957128450000000                                                                  1.957128450000000
                                                                                        ETHW                                                                                                                                                   1.957128450000000
                                                                                        FTT                                                        2,499,468.000000000000000                                                                  24.994680000000000
                                                                                        LINK                                                                4.541556790000000                                                                  4.541556790000000
                                                                                        SOL                                                                 2.279055570000000                                                                  2.279055570000000
                                                                                        SUSHI                                                              10.241068820000000                                                                 10.241068820000000
                                                                                        USD                                                            4,740.810000000000000                                                               4,740.810734637560000
                                                                                        USDT                                                                                                                                                   0.000000054642583

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29221       Name on file                        FTX Trading Ltd.                       AAVE                                                              9.170000000000000 FTX Trading Ltd.                                                9.170647920000000
                                                                                       AURY                                                                                                                                                7.000000000000000
                                                                                       AVAX                                                             39.510000000000000                                                                39.510734747354130
                                                                                       ETH                                                               0.385000000000000                                                                 0.385017675000000
                                                                                       ETHW                                                              0.299000000000000                                                                 0.299010830000000
                                                                                       FTM                                                                                                                                               902.036805000000000
                                                                                       FTT                                                             212.010000000000000                                                               212.017532670000000
                                                                                       KNC                                                                                                                                               606.035233000000000
                                                                                       LINK                                                             67.100000000000000                                                                67.109082500000000
                                                                                       LTC                                                               6.190000000000000                                                                 6.190087950000000
                                                                                       MATIC                                                           535.050000000000000                                                               535.051620000000000
                                                                                       RAY                                                                                                                                               130.005000000000000
                                                                                       SOL                                                              21.040000000000000                                                                21.049245200000000
                                                                                       SRM                                                                                                                                               537.704485320000000
                                                                                       SRM_LOCKED                                                                                                                                          0.602754060000000
                                                                                       STG                                                                                                                                                31.000000000000000
                                                                                       SUSHI                                                           381.530000000000000                                                               381.532795000000000
                                                                                       SXP                                                           1,938.440000000000000                                                             1,938.446084000000000
                                                                                       TRX                                                             100.540000000000000                                                               100.540607000000000
                                                                                       UNI                                                                                                                                                91.310153000000000
                                                                                       USD                                                               2.890000000000000                                                                 2.885517632054754
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                                                                                                                 0.000000004130406
                                                                                      XRP                                                           1,258.070000000000000                                                              1,258.077335000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2037        Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000028
                                                                                       AVAX-PERP                                                                                                                                           -0.000000000000008
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BCH-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                                                                                                                  0.346266570000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            -0.000000000000056
                                                                                       EGLD-PERP                                                                                                                                           -0.000000000000005
                                                                                       ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                       EOS-PERP                                                                                                                                            -0.000000000000056
                                                                                       ETC-PERP                                                                                                                                             0.000000000000020
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       FIL-PERP                                                                                                                                            -0.000000000000086
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       GALA-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LOOKS-PERP                                                                                                                                           0.000000000000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000001
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                           -0.000000000000113
                                                                                       OKB-PERP                                                                                                                                             0.000000000000009
                                                                                       OMG-PERP                                                                                                                                             0.000000000000000
                                                                                       SAND-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                             0.000000000000036
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       THETA-PERP                                                                                                                                           0.000000000000000
                                                                                       TRX                                                                                                                                                  0.020053000000000
                                                                                       USD                                                           9,632.750000000000000                                                             4,144.549777872859500
                                                                                       USDT                                                                                                                                                 2.960922070771594
                                                                                       XRP-PERP                                                                                                                                             0.000000000000000
                                                                                       XTZ-PERP                                                                                                                                            -0.000000000000113

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91001       Name on file                        West Realm Shires Services Inc.        AVAX                                                                                   West Realm Shires Services Inc.                              0.000035610000000
                                                                                       BAT                                                                                                                                                 2.000000000000000
                                                                                       BRZ                                                                                                                                                 2.000000000000000
                                                                                       DOGE                                                                                                                                                3.000000000000000
                                                                                       ETH                                                               1.234770000000000                                                                 1.234772800000000
                                                                                       GRT                                                                                                                                                 4.031800670000000
                                                                                       LINK                                                                                                                                                0.000305230000000
                                                                                       SHIB                                                                                                                                              239.326442380000000
                                                                                       SOL                                                                                                                                                 0.000244800000000
                                                                                       TRX                                                                                                                                                12.000000000000000
                                                                                       USD                                                                                                                                                 0.000003796447934
                                                                                       USDT                                                                                                                                                0.000000009708334

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83400       Name on file                        West Realm Shires Services Inc.                                                                                               West Realm Shires Services Inc.                              0.003850000000000
                                                                                       LTC
                                                                                       USD                                                           1,013.000000000000000                                                             1,013.300781200000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80364       Name on file                        FTX Trading Ltd.                       BAT                                                               2.100000000000000 West Realm Shires Services Inc.                                 2.069804010000000
                                                                                       BRZ                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       CUSDT                                                             1.000000000000000                                                                 1.000000000000000
                                                                                       DOGE                                                          1,757.000000000000000                                                             1,757.081162150000000
                                                                                       ETH                                                               6.600000000000000                                                                 6.601031150000000
                                                                                       ETHW                                                              6.600000000000000                                                                 6.598994900000000
                                                                                       GRT                                                               1.000000000000000                                                                 1.002423410000000
                                                                                       SOL                                                             748.000000000000000                                                               747.818240090000000
                                                                                       TRX                                                               6.000000000000000                                                                 6.000000000000000
                                                                                       USD                                                                                                                                                14.487867860520850

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
70564       Name on file                        West Realm Shires Services Inc.         BRZ                                                                                     West Realm Shires Services Inc.                                1.000000000000000
                                                                                        BTC                                                                                                                                                    0.000000002000000
                                                                                        DOGE                                                                                                                                                   3.000000000000000
                                                                                        ETHW                                                                                                                                                   0.000010800000000
                                                                                        MATIC                                                                                                                                                  0.008352290000000
                                                                                        SHIB                                                                                                                                                   9.000000000000000
                                                                                        TRX                                                                                                                                                    1.000000000000000
                                                                                        USD                                                            2,000.000000000000000                                                               2,000.000010412688900

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
35551       Name on file                        FTX Trading Ltd.                       AVAX-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       BAL-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000026037280000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CAKE-PERP                                                                                                                                           0.000000000000000
                                                                                       COMP-PERP                                                                                                                                           0.000000000000000
                                                                                       DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                 0.000000004763720
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GMT-PERP                                                                                                                                            0.000000000000000
                                                                                       ICP-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MANA-PERP                                                                                                                                           0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                           0.000000000000028
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                                                                                                      Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                 Debtor                                  Tickers                                Ticker Quantity                                 Debtor                                Ticker Quantity
                                                                                      ONT-PERP                                                                                                                                               0.000000000000000
                                                                                      SAND-PERP                                                                                                                                              0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                              0.000000000000000
                                                                                      SNX-PERP                                                                                                                                               0.000000000000000
                                                                                      SOL-PERP                                                                                                                                               0.000000000000001
                                                                                      STEP-PERP                                                                                                                                              0.000000000000000
                                                                                      TRU-PERP                                                                                                                                               0.000000000000000
                                                                                      TRX                                                                                                                                                    0.000797000000000
                                                                                      UNI-PERP                                                                                                                                               0.000000000000000
                                                                                      USD                                                                                                                                                    0.000000047601672
                                                                                      USDT                                                          2,839.000000000000000                                                                2,839.570283000987300
                                                                                      WAVES-PERP                                                                                                                                             0.000000000000000
                                                                                      XRP-PERP                                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28253       Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.001711830000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                           1,040.000000000000000                                                             1,040.877186414320500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
60281       Name on file                        FTX Trading Ltd.                        BTC                                                                                     FTX Trading Ltd.                                              0.000068880000000
                                                                                        ETH                                                                                                                                                   0.000614120000000
                                                                                        ETHW                                                                                                                                                  0.000614118840541
                                                                                        LUNA2                                                                                                                                                 0.004158373941000
                                                                                        LUNA2_LOCKED                                                                                                                                          0.009702872529000
                                                                                        NEAR                                                              459.558286670000000                                                               459.558286670000000
                                                                                        SGD                                                                                                                                                   0.655569870000000
                                                                                        SOL                                                                38.245654790000000                                                                38.245654797826816
                                                                                        USD                                                                                                                                                   0.308063336412902
                                                                                        USDT                                                                                                                                                  1.523186985374315
                                                                                        USTC                                                                                                                                                  0.588637931592313

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
21832       Name on file                        FTX Trading Ltd.                       DOGE                                                                                   West Realm Shires Services Inc.                        30,016.991143240000000
                                                                                       SHIB                                                                                                                                                2.000000020000000
                                                                                       USD                                                           2,078.720000000000000                                                             2,078.722713322342000
                                                                                       USDT                                                                                                                                                0.000000007855098

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
58733       Name on file                        FTX Trading Ltd.                        APE                                                                                     FTX Trading Ltd.                                               0.040000000000000
                                                                                        APE-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC                                                                 0.249950000000000                                                                  0.249950000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        DAI                                                                                                                                                    0.021675640000000
                                                                                        DOGE                                                                                                                                                   0.319200000000000
                                                                                        DYDX                                                                                                                                                   0.025260000000000
                                                                                        ENS                                                                                                                                                    0.009398000000000
                                                                                        ETH                                                                 2.625000000000000                                                                  2.625439250000000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        ETHW                                                                                                                                                   0.141900278003060
                                                                                        FTT                                                               150.000000000000000                                                                150.000000000000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        USD                                                                                                                                                   43.990369370191590
                                                                                        USDT                                                           1,022.000000000000000                                                               1,022.815968600000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
55291       Name on file                        West Realm Shires Services Inc.        AUD                                                                                    FTX Trading Ltd.                                             0.000000009500000
                                                                                       AXS                                                                                                                                                 0.000000006431137
                                                                                       BTC                                                               3.257200000000000                                                                 3.257200005000000
                                                                                       ETH                                                                                                                                                 0.000000006460000
                                                                                       TRX                                                                                                                                             4,475.206180000000000
                                                                                       USD                                                                                                                                                 0.831866453631144
                                                                                       XRP                                                                                                                                                 0.000000008880000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
28723       Name on file                        FTX Trading Ltd.                        BTC                                                                                     FTX Trading Ltd.                                               0.000000020000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        ETHW                                                                                                                                                   1.009808100000000
                                                                                        EUR                                                                                                                                                    0.796025738047364
                                                                                        LTC                                                                                                                                                    0.007408000000000
                                                                                        PAXG                                                              0.641250000000000                                                                    0.641258485000000
                                                                                        USD                                                                                                                                                    0.007380126644807
                                                                                        USDT                                                                                                                                                  -0.100728202447415

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80610       Name on file                        FTX Trading Ltd.                       BAT                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BCH                                                               1.704500000000000                                                                 1.704946130000000
                                                                                       BRZ                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       BTC                                                               1.883700000000000                                                                 1.884116460000000
                                                                                       CUSDT                                                             2.000000000000000                                                                 2.000000000000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               0.256922398000000                                                                 0.256988230000000
                                                                                       ETHW                                                              0.256842810000000                                                                 0.256842810000000
                                                                                       GRT                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       LINK                                                             25.578900000000000                                                                25.585150360000000
                                                                                       LTC                                                               3.291800000000000                                                                 3.292561000000000
                                                                                       MATIC                                                          122.974400000000000                                                                123.004314860000000
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       TRX                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                                                                                                                 0.000116228240980
                                                                                       USDT                                                              1.008200000000000                                                                 1.008494790000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
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                                                                                                     Asserted Claims                                                                                           Modified Claim
   Claim
  Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                  Debtor                              Ticker Quantity
5548        Name on file                       FTX Trading Ltd.                       ATLAS                                                                                   FTX Trading Ltd.                                         2,410.000000000000000
                                                                                      BAL                                                               9.000000000000000                                                                  9.090000000000000
                                                                                      BTC                                                               0.153900000000000                                                                  0.153900003450000
                                                                                      DEFIBULL                                                      3,067.000000000000000                                                              3,067.509757087647400
                                                                                      ETH                                                               0.130000000000000                                                                  0.130000008500000
                                                                                      ETHW                                                                                                                                                 0.130000008500000
                                                                                      EUR                                                                                                                                                  0.000000010907217
                                                                                      FTT                                                              13.140000000000000                                                                 13.140010640000000
                                                                                      LTC                                                               4.510000000000000                                                                  4.510000000000000
                                                                                      MKR                                                               0.084000000000000                                                                  0.084000000000000
                                                                                      RUNE                                                             20.000000000000000                                                                 20.700000000000000
                                                                                      SNX                                                              22.200000000000000                                                                 22.200000000000000
                                                                                      SOL                                                                                                                                                  0.000000005000000
                                                                                      SUSHI                                                                                                                                               16.000000000000000
                                                                                      USD                                                                                                                                                  0.068088674360200
                                                                                      USDT                                                                                                                                                 0.548349143813657

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1139        Name on file                        FTX Trading Ltd.                       ADABULL                                                                                FTX Trading Ltd.                                              0.000000002250000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX-20211231                                                                                                                                       -0.000000000000113
                                                                                       AVAX-PERP                                                                                                                                           -0.000000000000056
                                                                                       BTC                                                                                                                                                  0.000000002400000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                14.450972233130424
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       ETHW                                                                                                                                                 0.000000006200000
                                                                                       GBP                                                                                                                                                  0.000435498383515
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       MANA-PERP                                                                                                                                            0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       ONE-PERP                                                                                                                                             0.000000000000000
                                                                                       SC-PERP                                                                                                                                              0.000000000000000
                                                                                       SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                       SUSHIBULL                                                                                                                                  1,000,000.000000000000000
                                                                                       USD                                                          16,596.500000000000000                                                                  0.000006143692901
                                                                                       USDT                                                                                                                                                 0.000015832967777
                                                                                       XTZ-PERP                                                                                                                                             0.000000000003637

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
301         Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.000099900000000
                                                                                       USD                                                          23,797.220000000000000                                                           23,895.070566925668000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
15751       Name on file                        West Realm Shires Services Inc.         BRZ                                                                                     West Realm Shires Services Inc.                                1.000000000000000
                                                                                        BTC                                                                                                                                                    0.009373780000000
                                                                                        DOGE                                                                                                                                                 465.521626810000000
                                                                                        LTC                                                                                                                                                    1.844855240000000
                                                                                        SHIB                                                                                                                                         15,243,400.828166690000000
                                                                                        USD                                                            2,305.131638698863351                                                               2,305.131638698863300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26708       Name on file                        FTX Trading Ltd.                       BAT                                                           8,578.235653230000000 West Realm Shires Services Inc.                             8,578.235653230000000
                                                                                       CUSDT                                                             6.000000000000000                                                                 6.000000000000000
                                                                                       DOGE                                                              3.000000000000000                                                                 3.000000000000000
                                                                                       ETH                                                               0.000047560000000                                                                 0.000047560000000
                                                                                       ETHW                                                              0.000047560000000                                                                 0.000047560000000
                                                                                       GRT                                                                                                                                                 1.000000000000000
                                                                                       SHIB                                                    34,438,357.594374170000000                                                        34,438,357.594374170000000
                                                                                       SUSHI                                                             0.000027850000000                                                                 0.000027850000000
                                                                                       TRX                                                               6.005483750000000                                                                 6.005483750000000
                                                                                       USD                                                                                                                                                 0.099420654993908
                                                                                       USDT                                                              1.060000000000000                                                                 1.064963250000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
5776        Name on file                        FTX Trading Ltd.                        ETH                                                                                     West Realm Shires Services Inc.                                0.000790680000000
                                                                                        ETHW                                                                                                                                                   3.000790680000000
                                                                                        SOL                                                                                                                                                    0.001390000000000
                                                                                        USD                                                           36,280.750000000000000                                                              36,280.745679550000000
                                                                                        USDT                                                                                                                                                   0.000000005490180

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
34313       Name on file                        FTX Trading Ltd.                        1INCH-PERP                                                                              FTX Trading Ltd.                                               0.000000000000000
                                                                                        ADABULL                                                                                                                                                0.000000005932500
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        ALICE-PERP                                                                                                                                             0.000000000000000
                                                                                        AR-PERP                                                                                                                                                0.000000000000014
                                                                                        ATLAS-PERP                                                                                                                                             0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                             -0.000000000000017
                                                                                        AURY                                                               57.000285000000000                                                                 57.000285000000000
                                                                                        AVAX-PERP                                                                                                                                              0.000000000000000
                                                                                        BTC                                                                 0.000099760000000                                                                  0.000099769411279
                                                                                        BTC-20211231                                                                                                                                           0.000000000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CEL-PERP                                                                                                                                               0.000000000000056
                                                                                        CHZ                                                           22,178.415650000000000                                                              22,178.415654818350000
                                                                                        COMP-PERP                                                                                                                                              0.000000000000000
                                                                                        CRV-PERP                                                                                                                                               0.000000000000000
                                                                                        DOGE-PERP                                                                                                                                              0.000000000000000
                                                                                        DOT                                                               510.441666000000000                                                                510.441666018250000
                                                                                        DOT-PERP                                                                                                                                               0.000000000000007
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 60 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ENJ                                                                                                                                              1,267.004275000000000
                                                                                      ENJ-PERP                                                                                                                                             0.000000000000000
                                                                                      ETH-PERP                                                                                                                                             0.000000000000000
                                                                                      FIL-PERP                                                                                                                                             0.000000000000028
                                                                                      FTM                                                           6,428.193340000000000                                                              6,428.193340034433000
                                                                                      FTM-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                            152.244656000000000                                                                 152.244656031275350
                                                                                      FTT-PERP                                                                                                                                             0.000000000000014
                                                                                      GRT-PERP                                                                                                                                             0.000000000000000
                                                                                      HBAR-PERP                                                                                                                                            0.000000000000000
                                                                                      ICP-PERP                                                                                                                                            -0.000000000000007
                                                                                      IOTA-PERP                                                                                                                                            0.000000000000000
                                                                                      KNC-PERP                                                                                                                                             0.000000000000000
                                                                                      KSM-PERP                                                                                                                                             0.000000000000000
                                                                                      LINA                                                        33,800.000000000000000                                                              33,800.000000000000000
                                                                                      LINA-PERP                                                                                                                                            0.000000000000000
                                                                                      LINK                                                                                                                                                 0.000000007871141
                                                                                      LINKBULL                                                                                                                                             0.000000001500000
                                                                                      LINK-PERP                                                                                                                                            0.000000000000010
                                                                                      LTC-PERP                                                                                                                                             0.000000000000001
                                                                                      LUNC-PERP                                                                                                                                           -0.000000000000106
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      MNGO                                                                                                                                             8,530.000000000000000
                                                                                      MNGO-PERP                                                                                                                                            0.000000000000000
                                                                                      NEAR-PERP                                                                                                                                            0.000000000000000
                                                                                      ONE-PERP                                                                                                                                             0.000000000000000
                                                                                      RAY                                                            398.001335000000000                                                                 398.001335000000000
                                                                                      RAY-PERP                                                                                                                                             0.000000000000000
                                                                                      RUNE                                                           233.400742000000000                                                                 233.400742000000000
                                                                                      RUNE-PERP                                                                                                                                            0.000000000000113
                                                                                      SOL                                                              32.362929400000000                                                                 32.362929400000000
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SRM                                                            674.000000000000000                                                                 674.000000000000000
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      STARS                                                                                                                                              272.002835000000000
                                                                                      STEP-PERP                                                                                                                                            0.000000000000056
                                                                                      SUSHI                                                          489.779752000000000                                                                 244.889876000000000
                                                                                      SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                      THETA-PERP                                                                                                                                           0.000000000000014
                                                                                      TLM                                                         12,371.031320000000000                                                              12,371.031315000000000
                                                                                      TLM-PERP                                                                                                                                             0.000000000000000
                                                                                      TULIP-PERP                                                                                                                                           0.000000000000002
                                                                                      USD                                                              54.681265460000000                                                                 54.681265468488930
                                                                                      USDT                                                                                                                                                 0.000000008170711
                                                                                      VET-PERP                                                                                                                                             0.000000000000000
                                                                                      XEM-PERP                                                                                                                                             0.000000000000000
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000
                                                                                      ZIL-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
17288       Name on file                        FTX Trading Ltd.                       AVAX-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       BOBA                                                                                                                                                0.098080000000000
                                                                                       BTC                                                               0.000001010000000                                                                 0.000001010000000
                                                                                       BULL                                                              0.000006737900000                                                                 0.000006737900000
                                                                                       CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                       EGLD-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               1.500000000000000                                                                 1.500000000000000
                                                                                       ETHW                                                              1.500000000000000                                                                 1.500000000000000
                                                                                       EUR                                                               0.000000010815732                                                                 0.000000010815732
                                                                                       LRC                                                                                                                                                 0.546660000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                               2.338029561793349                                                                 2.338029552794091
                                                                                       USDT                                                              1.490017773945566                                                                 1.490017773945566
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19676       Name on file                        FTX Trading Ltd.                       BRZ                                                                                    West Realm Shires Services Inc.                              2.000000000000000
                                                                                       CUSDT                                                                                                                                              11.000000000000000
                                                                                       DOGE                                                                                                                                            2,792.873039850000000
                                                                                       DOGEBULL                                                      2,792.000000000000000                                                                 0.000000000000000
                                                                                       GRT                                                             587.000000000000000                                                               587.566644480000000
                                                                                       LINK                                                             74.000000000000000                                                                74.610795590000000
                                                                                       SUSHI                                                           182.000000000000000                                                               182.381462980000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       UNI                                                              30.000000000000000                                                                30.575349440000000
                                                                                       USD                                                             198.750000000000000                                                               198.747697606166600
                                                                                       USDT                                                              2.000000000000000                                                                 2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
354         Name on file                        FTX Trading Ltd.                        AAVE-PERP                                                                               FTX Trading Ltd.                                               0.000000000000000
                                                                                        ADA-PERP                                                                                                                                               0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        ALICE-PERP                                                                                                                                             0.000000000000113
                                                                                        APE                                                                                                                                                    0.000000010000000
                                                                                        AR-PERP                                                                                                                                                0.000000000000042
                                                                                        ATOM-PERP                                                                                                                                             -0.000000000000255
                                                                                        AUDIO-PERP                                                                                                                                            -0.000000000001548
                                                                                        AVAX-PERP                                                                                                                                              0.000000000000014
                                                                                        AXS-PERP                                                                                                                                               0.000000000000042
                                                                                        BAT-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC                                                                                                                                                    0.000000000150000
                                                                                        BTC-PERP                                                                                                                                              -0.000000000000001
                                                                                        C98-PERP                                                                                                                                               0.000000000000000
                                                                                        CAKE-PERP                                                                                                                                             -0.000000000000031
                                                                                        CHR-PERP                                                                                                                                               0.000000000000000
                                                                                        CHZ                                                                                                                                               20,590.000000000000000
                                                                                        CHZ-PERP                                                                                                                                               0.000000000000000
                                                                                        DENT-PERP                                                                                                                                              0.000000000000000
                                                                                        DOT-PERP                                                                                                                                               0.000000000000000
                                                                                        ENJ-PERP                                                                                                                                               0.000000000000000
                                                                                        ETH                                                                                                                                                    0.500000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     ETHW                                                                                                                                              200.378000000000000
                                                                                     EUR                                                                                                                                                22.416548860000000
                                                                                     FTM-PERP                                                                                                                                            0.000000000000000
                                                                                     FTT                                                                                                                                                25.997435000000000
                                                                                     FTT-PERP                                                                                                                                           -0.000000000000067
                                                                                     GRT-PERP                                                                                                                                            0.000000000000000
                                                                                     HBAR-PERP                                                                                                                                           0.000000000000000
                                                                                     IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                     KAVA-PERP                                                                                                                                          -0.000000000000063
                                                                                     KIN-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK-PERP                                                                                                                                           0.000000000000010
                                                                                     LUNC-PERP                                                                                                                                          -0.000000000000028
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR-PERP                                                                                                                                          -0.000000000000056
                                                                                     QTUM-PERP                                                                                                                                          -0.000000000000596
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     REEF-PERP                                                                                                                                           0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                           0.000000000000170
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SLP-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL-PERP                                                                                                                                           -0.000000000000014
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     SRN-PERP                                                                                                                                            0.000000000000000
                                                                                     STEP-PERP                                                                                                                                          -0.000000000014551
                                                                                     SXP-PERP                                                                                                                                           -0.000000000000312
                                                                                     THETA-PERP                                                                                                                                          0.000000000000483
                                                                                     TLM-PERP                                                                                                                                            0.000000000000000
                                                                                     TRU-PERP                                                                                                                                            0.000000000000000
                                                                                     UNISWAP-PERP                                                                                                                                        0.000000000000000
                                                                                     USD                                                         23,000.000000000000000                                                             17,872.275446621537000
                                                                                     USDT                                                                                                                                                0.000000004027728
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     XLM-PERP                                                                                                                                            0.000000000000000
                                                                                     XMR-PERP                                                                                                                                            0.000000000000001
                                                                                     XTZ-PERP                                                                                                                                           -0.000000000000227

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80787       Name on file                        FTX Trading Ltd.                       BTC                                                               0.125210927187120 FTX Trading Ltd.                                                0.125210927187120
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       EUR                                                               1.669000000000000                                                                 1.669000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       MEDIA                                                                                                                                               0.001500000000000
                                                                                       SOL                                                               0.000000010000000                                                                 0.000000010000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       TULIP                                                                                                                                               0.008217000000000
                                                                                       USD                                                               1.789331868511404                                                                 1.789331868511404

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
70257       Name on file                        West Realm Shires Services Inc.        AUD                                                                                    West Realm Shires Services Inc.                              0.001387084081765
                                                                                       ETH                                                               0.665725500000000                                                                 0.666303110000000
                                                                                       ETHW                                                                                                                                                0.666023430000000
                                                                                       SHIB                                                                                                                                                2.000000000000000
                                                                                       USDT                                                          1,206.812000000000000                                                             1,207.859510916730600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
81177       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALGO-PERP
                                                                                       BTC                                                                                                                                                 0.013116612588783
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ENJ                                                           2,922.000000000000000                                                             2,922.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                              75.142865562316000                                                                 0.000000000000000
                                                                                       SAND                                                          2,316.000000000000000                                                             2,316.000000000000000
                                                                                       SOL                                                             221.153645100000000                                                               207.814802820000000
                                                                                       UBXT                                                         19,836.910253800000000                                                           19,836.910253800000000
                                                                                       UBXT_LOCKED                                                                                                                                       102.178024170000000
                                                                                       USD                                                          12,157.356567380000000                                                           12,182.019134437870000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
93320       Name on file                        West Realm Shires Services Inc.        BRZ                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BTC                                                               0.665231890000000                                                                 0.665231890000000
                                                                                       ETH                                                               1.456564240000000                                                                 1.456564240000000
                                                                                       ETHW                                                              1.456031000000000                                                                 1.456031000000000
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       SUSHI                                                             1.022284340000000                                                                 1.022284340000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                               0.000227791464943                                                                 0.000227791464943
                                                                                       USDT                                                              1.021948310000000                                                                 1.021948310000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
76210       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             -0.000000000000078
                                                                                       AKRO                                                                                                                                                 4.000000000000000
                                                                                       ANC-PERP                                                                                                                                             0.000000000000000
                                                                                       ARS                                                               0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM                                                              0.874009080000000                                                                  0.874009080000000
                                                                                       AUD                                                              13.193551120000000                                                                13.193551120000000
                                                                                       AURY                                                             27.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BAL-PERP                                                                                                                                            -0.000000000000568
                                                                                       BAO                                                                                                                                                27.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BRL                                                               0.000000000000000                                                                  0.000000000000000
                                                                                       BRZ                                                                                                                                                24.400337170000000
                                                                                       BTC                                                               0.023853125000000                                                                  0.023853125000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CAD                                                               6.399325130000000                                                                  6.399325130000000
                                                                                       CHF                                                               0.000000000000000                                                                  0.000000000000000
                                                                                       DENT                                                              4.000000000000000                                                                  4.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 62 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      DOT-PERP                                                                                                                                            -0.000000000000014
                                                                                      ETH-PERP                                                                                                                                             0.000000000000002
                                                                                      EUR                                                               2.075196510000000                                                                  2.075196510000000
                                                                                      FTM-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                                                                                                                  0.006244350000000
                                                                                      FXS-PERP                                                                                                                                            -0.000000000004177
                                                                                      GBP                                                               4.075923270000000                                                                  4.075923270000000
                                                                                      GHS                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      GLMR-PERP                                                                                                                                            0.000000000000000
                                                                                      HKD                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      HXRO                                                                                                                                                 1.000000000000000
                                                                                      JPY                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      KIN                                                              20.000000000000000                                                                 20.000000000000000
                                                                                      LINK-PERP                                                                                                                                           -0.000000000000113
                                                                                      MANA-PERP                                                                                                                                            0.000000000000000
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      MXN                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      NEAR-PERP                                                                                                                                            0.000000000000000
                                                                                      RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                      SGD                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      SLRS                                                                                                                                                34.158884720000000
                                                                                      SRM                                                               1.527642810000000                                                                  1.527642810000000
                                                                                      SRM_LOCKED                                                                                                                                          45.033578380000000
                                                                                      TRY                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      UBXT                                                                                                                                                 1.000000000000000
                                                                                      USD                                                            676.366145995136425                                                              13,139.277318715160000
                                                                                      USDC                                                        12,462.911172720000000                                                                   0.000000000000000
                                                                                      USDT                                                            15.981854786869150                                                                  15.981854786869150
                                                                                      USTC-PERP                                                                                                                                            0.000000000000000
                                                                                      VND                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      XOF                                                               0.000000000000000                                                                  0.000000000000000
                                                                                      ZAR                                                               0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2818        Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.000002930000000
                                                                                       NEAR                                                                                                                                                0.083510990000000
                                                                                       SOL                                                                                                                                                 0.016025000000000
                                                                                       USD                                                           2,020.360000000000000                                                             2,020.363714750000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
51025       Name on file                        FTX Trading Ltd.                        BAO                                                                0.000000000000000 FTX Trading Ltd.                                                  4.000000000000000
                                                                                        DENT                                                               0.000000000000000                                                                   1.000000000000000
                                                                                        EUR                                                            1,076.879891468140000                                                               1,076.879891468140000
                                                                                        KIN                                                                0.000000000000000                                                                   3.000000000000000
                                                                                        MATH                                                               0.000000000000000                                                                   1.000000000000000
                                                                                        PAXG                                                               0.000000000000000                                                                   0.000022420000000
                                                                                        RSR                                                                0.000000000000000                                                                   1.000000000000000
                                                                                        TRX                                                                0.000000000000000                                                                   2.000000000000000
                                                                                        USD                                                                0.000000006057951                                                                   0.000000006057951

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30085       Name on file                        FTX Trading Ltd.                       ATLAS                                                        17,770.000000000000000 FTX Trading Ltd.                                          17,770.000000000000000
                                                                                       AURY                                                            157.000000000000000                                                               157.000000000000000
                                                                                       ETHW                                                              4.518738640000000                                                                 4.518738640000000
                                                                                       EUR                                                               9.300675710000000                                                                 9.300675716957972
                                                                                       FRONT                                                         5,617.235010000000000                                                             5,617.235010000000000
                                                                                       FTT                                                             111.167691470000000                                                               111.167691470000000
                                                                                       LINA                                                                                                                                          63,020.000000000000000
                                                                                       SOL                                                              25.159506680000000                                                                25.159506680000000
                                                                                       SXP                                                           2,047.144446000000000                                                             2,047.144446000000000
                                                                                       USD                                                               5.998316860000000                                                                 5.998316869632066

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84949       Name on file                        FTX Trading Ltd.                       BRZ                                                               2.000000000000000 West Realm Shires Services Inc.                                 2.000000000000000
                                                                                       BTC                                                               1.247797850000000                                                                 1.247797850000000
                                                                                       DOGE                                                              6.000000000000000                                                                 6.000000000000000
                                                                                       ETH                                                               1.328817220000000                                                                 1.328817220000000
                                                                                       ETHW                                                              0.973779620000000                                                                 0.973779620000000
                                                                                       SHIB                                                              9.000000000000000                                                                 9.000000000000000
                                                                                       TRX                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       USD                                                           1,428.615543255161124                                                             1,428.615543255161100
                                                                                       USDT                                                                                                                                                2.056283930000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
897         Name on file                        FTX Trading Ltd.                        1INCH-PERP                                                                              FTX Trading Ltd.                                               0.000000000000000
                                                                                        ALGO-PERP                                                                                                                                              0.000000000000000
                                                                                        ALPHA-PERP                                                                                                                                             0.000000000000000
                                                                                        ATOM-PERP                                                                                                                                              0.000000000000009
                                                                                        AXS-PERP                                                                                                                                               0.000000000000000
                                                                                        BAL-PERP                                                                                                                                               0.000000000000000
                                                                                        BAT-PERP                                                                                                                                               0.000000000000000
                                                                                        BCH-PERP                                                                                                                                               0.000000000000000
                                                                                        BNB-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        CHZ-PERP                                                                                                                                               0.000000000000000
                                                                                        DASH-PERP                                                                                                                                              0.000000000000000
                                                                                        DODO-PERP                                                                                                                                              0.000000000000000
                                                                                        EGLD-PERP                                                                                                                                              0.000000000000004
                                                                                        FIL-PERP                                                                                                                                               0.000000000000000
                                                                                        FLM-PERP                                                                                                                                               0.000000000000000
                                                                                        HBAR-PERP                                                                                                                                              0.000000000000000
                                                                                        HNT-PERP                                                                                                                                              -0.000000000000005
                                                                                        ICX-PERP                                                                                                                                               0.000000000000000
                                                                                        KSM-PERP                                                                                                                                               0.000000000000000
                                                                                        LTC-PERP                                                                                                                                               0.000000000000000
                                                                                        MANA-PERP                                                                                                                                              0.000000000000000
                                                                                        NEAR-PERP                                                                                                                                              0.000000000000000
                                                                                        NEO-PERP                                                                                                                                               0.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 63 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     OMG-PERP                                                                                                                                           -0.000000000000099
                                                                                     REEF-PERP                                                                                                                                           0.000000000000000
                                                                                     REN-PERP                                                                                                                                            0.000000000000000
                                                                                     RSR-PERP                                                                                                                                            0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                     SAND-PERP                                                                                                                                           0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000007
                                                                                     SRM-PERP                                                                                                                                            0.000000000000000
                                                                                     TOMO-PERP                                                                                                                                           0.000000000000000
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                         21,400.000000000000000                                                             21,406.077542359348000
                                                                                     USDT                                                                                                                                                0.000100000000000
                                                                                     VET-PERP                                                                                                                                            0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                     XEM-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                            0.000000000000206
                                                                                     ZEC-PERP                                                                                                                                            0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                            0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
35455       Name on file                        FTX Trading Ltd.                       AAVE                                                                                   FTX Trading Ltd.                                              0.000000004495203
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                            0.000000000000000
                                                                                       ATOM                                                                                                                                                 0.093821340558371
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX                                                                                                                                                 0.000000007854569
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000028
                                                                                       BNB                                                                                                                                                  0.009100002149451
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BSV-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CELO-PERP                                                                                                                                            0.000000000000000
                                                                                       CHR-PERP                                                                                                                                             0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE                                                                                                                                                 0.000000006625945
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       ENS                                                                                                                                                  0.000000005000000
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                                                                                                                  0.088459209646412
                                                                                       FTT-PERP                                                                                                                                             0.000000000000000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000
                                                                                       KAVA-PERP                                                                                                                                            0.000000000000000
                                                                                       KSM-PERP                                                                                                                                            -0.000000000000003
                                                                                       LINK                                                                                                                                                 0.000000006335512
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LRC-PERP                                                                                                                                             0.000000000000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       MATIC                                                                                                                                               -0.224823210388509
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       NEO-PERP                                                                                                                                             0.000000000000000
                                                                                       OMG-PERP                                                                                                                                             0.000000000000000
                                                                                       ONE-PERP                                                                                                                                             0.000000000000000
                                                                                       PAXG                                                                                                                                                 0.000000006500000
                                                                                       RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                       SAND-PERP                                                                                                                                            0.000000000000000
                                                                                       SNX-PERP                                                                                                                                             0.000000000000000
                                                                                       SOL                                                                                                                                                 -0.012319519707554
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SPELL-PERP                                                                                                                                           0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       TRX                                                                                                                                                  0.000000005961060
                                                                                       USD                                                           3,699.770000000000000                                                             3,699.768880524611600
                                                                                       USDT                                                                                                                                                 0.000000003474972
                                                                                       USTC                                                                                                                                                 0.000000009135392
                                                                                       VET-PERP                                                                                                                                             0.000000000000000
                                                                                       XRP                                                                                                                                                 -0.111415152286520
                                                                                       ZEC-PERP                                                                                                                                             0.000000000000014

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
51703       Name on file                        FTX Trading Ltd.                       AAVE                                                              3.306235755000000 FTX Trading Ltd.                                                0.004972000000000
                                                                                       AAVE-PERP                                                                                                                                           0.000000000000000
                                                                                       ALGO                                                            152.044009680000000                                                                 0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       ALT-PERP                                                                                                                                            0.000000000000000
                                                                                       APE                                                               7.101752280000000                                                                 0.000000000000000
                                                                                       ATLAS                                                        21,156.446366000000000                                                                 0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX                                                             15.502135935800000                                                                 0.000000000000000
                                                                                       BNB                                                               1.571742840000000                                                                 0.000000000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.569756159809000                                                                 0.013223924476280
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                           0.000000000000000
                                                                                       DOGE                                                                                                                                            3,242.373400000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       DOT                                                              18.839289310000000                                                                 0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               5.564813125300000                                                                 0.508060000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                2.008060000000000
                                                                                       FTM                                                             136.784002940000000                                                                 0.000000000000000
                                                                                       FTT                                                             150.100938796243126                                                                47.100000000000000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GBP                                                                                                                                           16,579.051910680000000
                                                                                       HNT                                                                                                                                               200.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     HNT-PERP                                                                                                                                            0.000000000000000
                                                                                     JOE                                                            122.801752810000000                                                                  0.000000000000000
                                                                                     KNC-PERP                                                                                                                                            0.000000000000000
                                                                                     LINK                                                            50.368860600000000                                                                  0.285780000000000
                                                                                     LINK-PERP                                                                                                                                           0.000000000000000
                                                                                     LTC                                                            -14.677193000000000                                                                  0.000000000000000
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                     MATIC                                                          270.074170082000000                                                                  0.000000000000000
                                                                                     MID-PERP                                                                                                                                            0.000000000000000
                                                                                     MKR-PERP                                                                                                                                            0.000000000000000
                                                                                     NEAR                                                            35.438056100000000                                                                  0.000000000000000
                                                                                     OXY                                                                                                                                               562.605900000000000
                                                                                     RAY                                                            200.303103009000000                                                                  0.000000000000000
                                                                                     RUNE-PERP                                                                                                                                           0.000000000000000
                                                                                     SHIT-PERP                                                                                                                                           0.000000000000000
                                                                                     SNX-PERP                                                                                                                                            0.000000000000000
                                                                                     SOL                                                             15.729646364440000                                                                  0.030000000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     SRM                                                            339.604213902300000                                                                199.860000000000000
                                                                                     SUSHI                                                                                                                                               0.343100000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     SXP-PERP                                                                                                                                            0.000000000000000
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     TOMO-PERP                                                                                                                                           0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                            239.213182306740000                                                                 39.919566715698366
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                            0.000000000000000
                                                                                     YFI                                                                                                                                                 0.000975400000000
                                                                                     ZEC-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
460         Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.584994682000000
                                                                                       ETH                                                                                                                                                 0.000820000000000
                                                                                       ETHW                                                                                                                                                0.000820000000000
                                                                                       EUR                                                                                                                                                 0.000000001666911
                                                                                       USD                                                          15,875.780000000000000                                                                 0.000000008808745
                                                                                       USDT                                                                                                                                            6,571.103162590000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
77355       Name on file                        FTX Trading Ltd.                       ALGOBULL                                                                               FTX Trading Ltd.                                   44,060,218.400000000000000
                                                                                       BTC                                                                                                                                                 0.098637680000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETCBULL                                                                                                                                            29.720054800000000
                                                                                       FTT                                                                                                                                                15.896820000000000
                                                                                       THETABULL                                                                                                                                           7.349677790000000
                                                                                       USD                                                          12,000.000000000000000                                                                92.094067819797130
                                                                                       USDT                                                                                                                                          12,605.000000017817000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
95727       Name on file                        FTX Trading Ltd.                       ETH                                                               0.842000000000000 FTX Trading Ltd.                                                0.842000000000000
                                                                                       ETHW                                                                                                                                                0.842000000000000
                                                                                       EUR                                                             250.000000000000000                                                               250.000684519000000
                                                                                       USD                                                                                                                                             1,133.122698487344000
                                                                                       USDC                                                          1,133.122698480000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
472         Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.005502205200000
                                                                                       BTC-PERP                                                                                                                                            0.979300000000000
                                                                                       ETH-0930                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                           12.861000000000000
                                                                                       FTT                                                                                                                                                45.579455410000000
                                                                                       HT                                                                                                                                                 34.300000000000000
                                                                                       LTC                                                                                                                                                 0.009884770000000
                                                                                       LTC-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       TRX                                                                                                                                               633.000000000000000
                                                                                       USD                                                          33,000.000000000000000                                                               473.910265003426960
                                                                                       USDT                                                                                                                                                0.004341372000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
56468       Name on file                        FTX Trading Ltd.                       TRX                                                                                    FTX Trading Ltd.                                             0.000030000000000
                                                                                       USD                                                                                                                                                10.962615510294777
                                                                                       USDT                                                          1,000.000000000000000                                                             1,156.240681291346600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2267        Name on file                        West Realm Shires Services Inc.        BTC                                                                                    West Realm Shires Services Inc.                              0.102500000000000
                                                                                       USD                                                           5,000.420000000000000                                                             5,000.416678000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33421       Name on file                        FTX Trading Ltd.                       AGLD-PERP                                                                              FTX Trading Ltd.                                              0.000000000000909
                                                                                       ALCX                                                                                                                                                 0.000931260000000
                                                                                       AXS                                                                                                                                                  0.073216000000000
                                                                                       BNBBULL                                                                                                                                              0.000000902410000
                                                                                       BTC                                                                                                                                                  0.000017119600000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CEL-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGEBEAR2021                                                                                                                                         0.000431705000000
                                                                                       DOGEBULL                                                                                                                                             0.000000197455000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000000002900733
                                                                                       ETH-PERP                                                                                                                                             0.000000000000003
                                                                                       FTT                                                                                                                                                14.999999991991885
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           -0.000000000005911
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       SHIT-PERP                                                                                                                                            0.000000000000000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      SOL                                                                                                                                                  0.000000000542922
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      SXP                                                                                                                                                  0.032400000000000
                                                                                      SXPBULL                                                                                                                                              0.000000002140680
                                                                                      THETA-PERP                                                                                                                                           0.000000000000000
                                                                                      TOMO                                                                                                                                                 0.000000008500940
                                                                                      UNI                                                                                                                                                  0.031618500000000
                                                                                      USD                                                         11,207.250000000000000                                                              11,207.247224412658000
                                                                                      USDT                                                                                                                                                 0.000324003600462
                                                                                      USTC-PERP                                                                                                                                            0.000000000000000
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31362       Name on file                        West Realm Shires Services Inc.        SHIB                                                                                   West Realm Shires Services Inc.                              1.000000000000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                           7,782.011000000000000                                                             7,782.011022311425000
                                                                                       USDT                                                                                                                                                0.000000004594140

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30976       Name on file                        FTX Trading Ltd.                       AAVE                                                              0.729803500000000 FTX Trading Ltd.                                                0.729803500000000
                                                                                       BNB                                                               0.159968960000000                                                                 0.159968960000000
                                                                                       BTC                                                               0.036590450000000                                                                 0.036590451800000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT                                                                                                                                                11.197393200000000
                                                                                       ETH                                                               0.197960840000000                                                                 0.197960844000000
                                                                                       ETHW                                                              0.123975200000000                                                                 0.123975200000000
                                                                                       FTT                                                               4.299140000000000                                                                 4.299140000000000
                                                                                       LINK                                                              6.498700000000000                                                                 6.498700000000000
                                                                                       MATIC                                                            29.994120000000000                                                                29.994120000000000
                                                                                       POLIS                                                                                                                                              45.890971800000000
                                                                                       SAND                                                             20.995800000000000                                                                20.995800000000000
                                                                                       SOL                                                               0.729854000000000                                                                 0.729854000000000
                                                                                       USD                                                            165.290000000000000                                                                165.290000350000000
                                                                                       USDT                                                              0.330000000000000                                                                 0.328916523619200

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
261         Name on file                        FTX Trading Ltd.                       DOGE                                                                                   West Realm Shires Services Inc.                              1.000000000000000
                                                                                       ETHW                                                                                                                                                0.000054470000000
                                                                                                                                                                                                                                           1.000000000000000
                                                                                       NFT (471688412233667925/WARRIORS
                                                                                       75TH ANNIVERSARY ICON EDITION
                                                                                       DIAMOND #2256)
                                                                                       SHIB                                                                                                                                                3.000000000000000
                                                                                       USD                                                           4,235.490000000000000                                                             4,235.495135992228000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
34773       Name on file                        FTX Trading Ltd.                        APE-PERP                                                                                FTX Trading Ltd.                                               0.000000000000000
                                                                                        ATLAS                                                          1,001.694033100000000                                                               1,001.694033100000000
                                                                                        AXS                                                                 1.001712360000000                                                                  1.001712360000000
                                                                                        BNB                                                                 0.394966140000000                                                                  0.394966140000000
                                                                                        BTC                                                                 0.340663510000000                                                                  0.340663519900000
                                                                                        BTC-MOVE-0213                                                                                                                                          0.000000000000000
                                                                                        BTC-MOVE-20211114                                                                                                                                      0.000000000000000
                                                                                        BTC-PERP                                                                                                                                               0.000000000000000
                                                                                        COMP                                                                0.203242360000000                                                                  0.203242360000000
                                                                                        CRO                                                            3,000.326509450000000                                                               3,000.326509450000000
                                                                                        DOGE-PERP                                                                                                                                              0.000000000000000
                                                                                        DYDX                                                                                                                                                   1.311502980000000
                                                                                        ENS                                                                 1.118464130000000                                                                  1.118464130000000
                                                                                        ETH                                                                 1.242633360000000                                                                  1.242633366000000
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        ETHW                                                                2.143807030000000                                                                  2.143807036000000
                                                                                        EUR                                                                 1.975812170000000                                                                  1.975812178351748
                                                                                        FTT                                                                10.013784210000000                                                                 10.013784214264724
                                                                                        GMT-PERP                                                                                                                                               0.000000000000000
                                                                                        LINK                                                                5.033385630000000                                                                  5.033385630000000
                                                                                        LTC                                                                 0.400019860000000                                                                  0.400019860000000
                                                                                        LUNA2                                                               0.000002700000000                                                                  0.000002709503079
                                                                                        LUNA2_LOCKED                                                                                                                                           0.000006322173851
                                                                                        LUNC                                                                0.590000000000000                                                                  0.590000000000000
                                                                                        LUNC-PERP                                                                                                                                              0.000000000000000
                                                                                        MASK-PERP                                                                                                                                              0.000000000000000
                                                                                        MATIC                                                              50.101306080000000                                                                 50.101306080000000
                                                                                        MKR                                                                 0.025222210000000                                                                  0.025222210000000
                                                                                        OP-PERP                                                                                                                                                0.000000000000000
                                                                                        SOL                                                                 1.236301620000000                                                                  1.236301620000000
                                                                                        SRM                                                                 5.016815630000000                                                                  5.016815630000000
                                                                                        TRX                                                            1,005.645907840000000                                                               1,005.645907840000000
                                                                                        USD                                                                44.004476410000000                                                                 44.004476414945050
                                                                                        USDT                                                                                                                                                   0.000000015675126
                                                                                        USTC-PERP                                                                                                                                              0.000000000000000
                                                                                        XRP                                                               248.627491200000000                                                                248.627491200000000
                                                                                        XRP-PERP                                                                                                                                               0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
3015        Name on file                        FTX Trading Ltd.                       ALGO                                                                                   FTX Trading Ltd.                                             0.000000007893277
                                                                                       ALT-PERP                                                                                                                                            0.000000000000000
                                                                                       BCH                                                                                                                                                 0.000000001531908
                                                                                       BNB                                                                                                                                                 0.000000006542832
                                                                                       BTC                                                                                                                                                 0.000000006699387
                                                                                       DENT                                                       103,275.890100000000000                                                          103,275.890093434000000
                                                                                       ETH                                                                                                                                                 0.000000014969511
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.000682909682198
                                                                                       EUR                                                                                                                                                 0.000000003045472
                                                                                       FTT                                                                                                                                                 0.000000007790705
                                                                                       LINK                                                           498.681288600000000                                                                498.681288576852900
                                                                                       LTC                                                                                                                                                 0.000000000880000
                                         Case 22-11068-JTD                                         Doc 27179-2                            Filed 10/23/24                            Page 66 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      MATIC                                                                                                                                                0.000000001921812
                                                                                      RAY                                                              4.215753599000000                                                                   4.215753599163363
                                                                                      SOL                                                                                                                                                  0.000477084326832
                                                                                      SRM                                                          1,846.174524000000000                                                               1,846.174524043861000
                                                                                      SRM_LOCKED                                                                                                                                          13.968024550000000
                                                                                      TRX                                                                                                                                                  0.000000017652416
                                                                                      USD                                                                                                                                                  0.001789409008693
                                                                                      USDT                                                                                                                                                 0.000000006215652
                                                                                      XRP                                                          9,278.578831000000000                                                               9,278.578831085968000
                                                                                      XRPBULL                                                                                                                                              0.000000003542836

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
51697       Name on file                        FTX Trading Ltd.                       ATOM                                                                                   FTX Trading Ltd.                                             0.016094663648810
                                                                                       ETH                                                                                                                                                 0.000288864820640
                                                                                       ETHW                                                                                                                                                0.000418518818240
                                                                                       FTM                                                                                                                                                 0.839781782522090
                                                                                       KNC                                                                                                                                                 0.058999822560680
                                                                                       LUNA2                                                                                                                                               5.497581764000000
                                                                                       LUNA2_LOCKED                                                                                                                                       12.827690780000000
                                                                                       LUNC                                                                                                                                                0.003540998471990
                                                                                       MATIC                                                                                                                                               0.036972410843400
                                                                                       SOL                                                                                                                                                 0.002576530000000
                                                                                       USD                                                           4,804.770000000000000                                                             4,804.772572202281500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1035        Name on file                        FTX Trading Ltd.                       AAVE                                                                                   FTX Trading Ltd.                                             2.958836767396957
                                                                                       AKRO                                                                                                                                                1.000000000000000
                                                                                       BAO                                                                                                                                                 6.000000000000000
                                                                                       DENT                                                                                                                                                3.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000007692678
                                                                                       ETHW                                                                                                                                                2.570078117692678
                                                                                       FTT                                                                                                                                                 0.983666955505790
                                                                                       KIN                                                                                                                                                 9.000000000000000
                                                                                       LTC                                                                                                                                                 0.180225337485573
                                                                                       LUNA2                                                                                                                                               0.000005615914289
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000013103800010
                                                                                       LUNC                                                                                                                                                1.222877160000000
                                                                                       SECO                                                                                                                                                1.051011680000000
                                                                                       SXP                                                                                                                                                 1.008722740000000
                                                                                       TONCOIN                                                                                                                                             2.973255650000000
                                                                                       TRX                                                                                                                                                 4.000000000000000
                                                                                       UBXT                                                                                                                                                1.000000000000000
                                                                                       USD                                                                                    3,545.000000000000000                                        0.000000000000000
                                                                                       USDT                                                                                                                                            3,632.170895211218000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
41172       Name on file                        FTX Trading Ltd.                       ALICE-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                  0.000078279000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000001
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               4.702883420000000                                                                  4.702883420000000
                                                                                       ETHW                                                              4.702883420000000                                                                  4.702883423613394
                                                                                       EUR                                                              20.420000000000000                                                                20.421800000000000
                                                                                       MANA-PERP                                                                                                                                            0.000000000000000
                                                                                       MNGO-PERP                                                                                                                                            0.000000000000000
                                                                                       RAY                                                              72.986130000000000                                                                72.986130000000000
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
                                                                                       STORJ-PERP                                                                                                                                          -0.000000000000454
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       TRX                                                                                                                                                  0.000003000000000
                                                                                       USD                                                               1.660000000000000                                                                  1.656246134942595
                                                                                       USDT                                                         30,869.330000000000000                                                           30,869.330503780410000
                                                                                       YFI-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91978       Name on file                        FTX Trading Ltd.                       BNB-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       BTC                                                               1.233681170070390                                                                  1.233681170070390
                                                                                       BTC-PERP                                                                                                                                            -0.000000000000002
                                                                                       BULL                                                                                                                                                 0.000002697810000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       DFL                                                                                                                                         424,010.000000000000000
                                                                                       DOGE                                                              0.971710000000000                                                                  0.971710000000000
                                                                                       ETH                                                                                                                                                  0.000432750000000
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000013
                                                                                       ETHW                                                                                                                                                 0.000432750000000
                                                                                       FTT                                                           6,625.668493800000000                                                             6,625.668493800000000
                                                                                       FTT-PERP                                                                                                                                             0.000000000000000
                                                                                       GRT                                                               0.276555000000000                                                                  0.276555000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       PERP                                                                                                                                                 0.068000000000000
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       RUNE                                                                                                                                                 0.097713500000000
                                                                                       RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                       SLRS                                                                                                                                                 0.105670000000000
                                                                                       SNX                                                                                                                                                  0.089485500000000
                                                                                       SOL                                                           2,007.902347490000000                                                             2,007.902347490000000
                                                                                       SOL-PERP                                                                                                                                             0.000000000000017
                                                                                       SRM                                                             208.476855390000000                                                               208.476855390000000
                                                                                       SRM_LOCKED                                                                                                                                      2,194.690794610000000
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       UNI                                                             400.000000000000000                                                               400.000000000000000
                                                                                       USD                                                           8,902.435271232827164                                                             8,902.435271232893000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 67 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
   Claim
  Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                  Debtor                              Ticker Quantity
7771        Name on file                       FTX Trading Ltd.                       AAVE-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                      ADA-PERP                                                                                                                                             0.000000000000000
                                                                                      ALCX                                                                                                                                                 0.000000004000000
                                                                                      AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                      AXS-PERP                                                                                                                                             0.000000000000000
                                                                                      BCH-PERP                                                                                                                                            -0.000000000000002
                                                                                      BTC                                                                                                                                                  0.000000010762916
                                                                                      BTC-PERP                                                                                                                                             0.000000000000000
                                                                                      BULL                                                                                                                                                 0.000005095768000
                                                                                      DODO-PERP                                                                                                                                            0.000000000000000
                                                                                      DOGE                                                          9,282.628885940000000                                                              9,282.628885940000000
                                                                                      DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                      EOS-PERP                                                                                                                                             0.000000000000000
                                                                                      ETC-PERP                                                                                                                                             0.000000000000000
                                                                                      ETH                                                                                                                                                  0.000000006640000
                                                                                      ETHBULL                                                                                                                                              0.000000007200000
                                                                                      ETH-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                                                                                                                  0.891719509063916
                                                                                      FTT-PERP                                                                                                                                            -0.000000000000003
                                                                                      ICP-PERP                                                                                                                                             0.000000000000000
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      OMG-PERP                                                                                                                                             0.000000000000000
                                                                                      RAY                                                                                                                                                  0.120471190000000
                                                                                      SOL                                                                                                                                                  0.000000004000000
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      STEP                                                                                                                                                 0.000000002000000
                                                                                      TRX                                                                                                                                                  1.013674000000000
                                                                                      UNI                                                            128.066445600000000                                                                 128.066445600000000
                                                                                      UNI-PERP                                                                                                                                             0.000000000000000
                                                                                      USD                                                               0.609619635852277                                                                  0.609619635852277
                                                                                      USDT                                                                                                                                                 0.000000009918720
                                                                                      XEM-PERP                                                                                                                                             0.000000000000000
                                                                                      XLM-PERP                                                                                                                                             0.000000000000000
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32540       Name on file                        FTX Trading Ltd.                       BNB                                                               2.729341500000000 FTX Trading Ltd.                                                 2.729341503185950
                                                                                       BTC                                                               0.041800560000000                                                                  0.041800563964060
                                                                                       BTC-0331                                                                                                                                            -0.137200000000000
                                                                                       BTC-0930                                                                                                                                             0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.131200000000000
                                                                                       ETH-PERP                                                                                                                                             0.357000000000000
                                                                                       USD                                                                                                                                              -276.325936415719300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2098        Name on file                        FTX Trading Ltd.                       ETH                                                                                    West Realm Shires Services Inc.                              0.286969710000000
                                                                                       ETHW                                                                                                                                                0.286969710000000
                                                                                       USD                                                           1,120.000000000000000                                                             1,120.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
3219        Name on file                        FTX Trading Ltd.                        BRZ                                                                1.000000000000000 West Realm Shires Services Inc.                                   1.000000000000000
                                                                                        CUSDT                                                                                                                                                  3.000000000000000
                                                                                        CUSTD                                                              3.000000000000000                                                                   0.000000000000000
                                                                                        DOGE                                                           8,147.251987000000000                                                               8,147.251986920000000
                                                                                        GRT                                                                1.000000000000000                                                                   1.000000000000000
                                                                                        LTC                                                                1.778025140000000                                                                   1.778025140000000
                                                                                        TRX                                                            5,973.561551000000000                                                               5,973.561550770000000
                                                                                        USD                                                                                                                                                    0.000002831416361

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
94022       Name on file                        FTX Trading Ltd.                        AUD                                                            8,253.214000000000000 FTX Trading Ltd.                                              8,253.214528582070000
                                                                                        BTC                                                                                                                                                    0.000000001862737
                                                                                        ETH                                                                                                                                                    0.000000000298441
                                                                                        ETHW                                                                                                                                                   0.000000001325300
                                                                                        FTT                                                                                                                                                    2.471463330000000
                                                                                        MANA                                                                                                                                                   0.000000010000000
                                                                                        SOL                                                               11.030000000000000                                                                  11.039491540000000
                                                                                        USD                                                                                                                                                    0.006013783071985

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1936        Name on file                        FTX Trading Ltd.                       AVAX                                                                                   West Realm Shires Services Inc.                              0.013471740000000
                                                                                       BTC                                                                                                                                                 0.000019580000000
                                                                                       DOGE                                                                                                                                                0.957900420000000
                                                                                       ETH                                                                                                                                                 0.000186020000000
                                                                                       ETHW                                                                                                                                                0.000969310000000
                                                                                       MKR                                                                                                                                                 0.000985070000000
                                                                                       SHIB                                                                                                                                        343,877.908170060000000
                                                                                       SOL                                                                                                                                                 0.003129330000000
                                                                                       USD                                                           4,088.910000000000000                                                             4,088.911296700782700

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
39806       Name on file                        FTX Trading Ltd.                        ALGO                                                           6,472.000000000000000 FTX Trading Ltd.                                              6,472.344576710000000
                                                                                        BAO                                                                                                                                                    3.000000000000000
                                                                                        CAD                                                                                                                                                    0.000000005034773
                                                                                        NFT (303202547884208015/FTX AU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #223)
                                                                                        NFT (338301767758161356/FTX EU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #71909)
                                                                                        NFT (419096044805258506/FTX AU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #225)
                                                                                        NFT (479836014406663847/FTX EU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #72586)
                                                                                        NFT (540639806310404571/FTX EU -                                                                                                                       1.000000000000000
                                                                                        WE ARE HERE! #72280)
                                                                                        TRX                                                                                                                                                    1.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 68 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
4245        Name on file                        FTX Trading Ltd.                       AMZN                                                             29.900000000000000 FTX Trading Ltd.                                               29.994194162000000
                                                                                       ATOM-0325                                                                                                                                           0.000000000000000
                                                                                       ENS                                                                                                                                                 0.007424700000000
                                                                                       FTT                                                              10.600000000000000                                                                10.600000000000000
                                                                                       GAL                                                                                                                                                 0.014600000000000
                                                                                       GALA                                                                                                                                                0.056900000000000
                                                                                       LUNA2                                                                                                                                               0.000000027747148
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000000064743346
                                                                                       LUNC                                                                                                                                                0.006042000000000
                                                                                       POLIS                                                                                                                                               0.081208000000000
                                                                                       PTU                                                                                                                                                 0.028575000000000
                                                                                       STG                                                                                                                                                 0.856200000000000
                                                                                       TSLA                                                                                                                                                0.030000000000000
                                                                                       USD                                                            336.600000000000000                                                                336.692224290740300
                                                                                       USDT                                                                                                                                                0.000000010370440

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8439        Name on file                        FTX Trading Ltd.                       CHZ                                                          21,168.999704420000000 FTX Trading Ltd.                                          21,168.999704420000000
                                                                                       COMP                                                                                                                                               16.622707550000000
                                                                                       CRV                                                           1,952.141291840000000                                                             1,952.141291840000000
                                                                                       DYDX                                                                                                                                              385.169171650000000
                                                                                       GRT                                                                                                                                             7,415.881254350000000
                                                                                       LINK                                                            199.488000000000000                                                               199.488000000000000
                                                                                       SNX                                                                                                                                               615.317304730000000
                                                                                       USD                                                               0.668704613253260                                                                 0.668704613253260
                                                                                       XRP                                                          18,337.616543630000000                                                           18,337.616543636750000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82674       Name on file                        FTX Trading Ltd.                       ALPHA                                                                                  FTX Trading Ltd.                                             1.000000000000000
                                                                                       BAO                                                                                                                                                 6.000000000000000
                                                                                       BAT                                                                                                                                                 2.000000000000000
                                                                                       BNB                                                                                                                                                 3.405722530000000
                                                                                       BTC                                                               0.400000000000000                                                                 0.459654650000000
                                                                                       CHZ                                                                                                                                                 1.000000000000000
                                                                                       DENT                                                                                                                                                2.000000000000000
                                                                                       DOGE                                                                                                                                            1,699.604475170000000
                                                                                       FIDA                                                                                                                                                1.003600060000000
                                                                                       FTM                                                                                                                                               223.294339290000000
                                                                                       GBP                                                                                                                                                 0.000200153065407
                                                                                       GRT                                                                                                                                                 1.000000000000000
                                                                                       HOLY                                                                                                                                                2.104494720000000
                                                                                       HXRO                                                                                                                                                2.000000000000000
                                                                                       KIN                                                                                                                                                 9.000000000000000
                                                                                       LUNA2                                                                                                                                               2.559582312000000
                                                                                       LUNA2_LOCKED                                                                                                                                        5.771065094000000
                                                                                       LUNC                                                                                                                                                7.974405470000000
                                                                                       MANA                                                                                                                                              515.337236400000000
                                                                                       RSR                                                                                                                                                 4.000000000000000
                                                                                       SAND                                                                                                                                              324.650390680000000
                                                                                       SECO                                                                                                                                                1.054449370000000
                                                                                       SHIB                                                                                                                                       8,183,631.946856070000000
                                                                                       SXP                                                                                                                                                 2.020675700000000
                                                                                       TRU                                                                                                                                                 2.000000000000000
                                                                                       TRX                                                                                                                                                 2.000000000000000
                                                                                       UBXT                                                                                                                                                5.000000000000000
                                                                                       USD                                                                                                                                                 0.000141753402578
                                                                                       XRP                                                                                                                                             1,338.438689410000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1745        Name on file                        FTX Trading Ltd.                       AVAX                                                                                   West Realm Shires Services Inc.                              0.035600000000000
                                                                                       ETH                                                                                                                                                 0.000000009192000
                                                                                       ETHW                                                                                                                                                0.031000000000000
                                                                                       MATIC                                                                                                                                               0.022000000000000
                                                                                                                                                                                                                                           1.000000000000000
                                                                                       NFT (301480152640920285/ENTRANCE
                                                                                       VOUCHER #980)
                                                                                       SOL                                                                                                                                                 0.008620000000000
                                                                                       USD                                                          35,296.860000000000000                                                           35,296.863561650614000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
91683       Name on file                        FTX Trading Ltd.                        APE                                                                                     FTX Trading Ltd.                                               0.046173000000000
                                                                                        ENS                                                                                                                                                    0.000000006890400
                                                                                        FTT                                                                                                                                                    0.159934603763200
                                                                                        LINK                                                                                                                                                   0.000000009393511
                                                                                        NEAR                                                                                                                                               2,284.698548165830700
                                                                                        SHIB                                                   1,000,000,000.000000000000000                                                      1,000,000,000.000000000000000
                                                                                        SOL                                                                                                                                                    0.000000005176144
                                                                                        USD                                                                                                                                                    0.409785718750000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
46314       Name on file                        FTX Trading Ltd.                       AAVE                                                              0.008170798228091 FTX Trading Ltd.                                                0.008170798228091
                                                                                       AAVE-PERP                                                                                                                                           0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ANC-PERP                                                                                                                                            0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       APT-PERP                                                                                                                                            0.000000000000000
                                                                                       ASD-PERP                                                                                                                                            0.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                          0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                               0.003364805200080                                                                 0.003364805200080
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.080405345393360                                                                 0.080405345393360
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CAKE-PERP                                                                                                                                           0.000000000000000
                                         Case 22-11068-JTD                                         Doc 27179-2                            Filed 10/23/24                            Page 69 of 92
                                                                                                     Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      CREAM-PERP                                                                                                                                           0.000000000000000
                                                                                      CRO-PERP                                                                                                                                             0.000000000000000
                                                                                      DAI                                                                                                                                                  0.003250000000000
                                                                                      DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                      DOT-PERP                                                                                                                                            -0.000000000000028
                                                                                      DYDX-PERP                                                                                                                                            0.000000000000000
                                                                                      ETH                                                                                                                                                  0.000617633356458
                                                                                      ETH-PERP                                                                                                                                            -0.000000000000002
                                                                                      ETHW                                                                                                                                                 0.000617633356458
                                                                                      FTM-PERP                                                                                                                                             0.000000000000000
                                                                                      FTT                                                             45.080164006029565                                                                  45.080164006029560
                                                                                      FTT-PERP                                                                                                                                             0.000000000000007
                                                                                      LUNA2                                                                                                                                                0.016389843600000
                                                                                      LUNA2_LOCKED                                                                                                                                         0.038242968410000
                                                                                      LUNC                                                                                                                                                 0.000000008111350
                                                                                      LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                      MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                      MEDIA-PERP                                                                                                                                           0.000000000000000
                                                                                      NEAR-PERP                                                                                                                                            0.000000000000000
                                                                                      NFT (465491735591073971/FTX SWAG                                                                                                                     1.000000000000000
                                                                                      PACK #48 (REDEEMED))
                                                                                      PERP-PERP                                                                                                                                           0.000000000000000
                                                                                      RAY                                                                                                                                                 0.669982851396744
                                                                                      RAY-PERP                                                                                                                                            0.000000000000000
                                                                                      SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                      SOL                                                            600.005730339471690                                                                600.005730339471700
                                                                                      SOL-PERP                                                                                                                                            0.000000000000000
                                                                                      SRM                                                                                                                                                 0.017587940000000
                                                                                      SRM_LOCKED                                                                                                                                          0.067193500000000
                                                                                      SRM-PERP                                                                                                                                            0.000000000000000
                                                                                      STEP-PERP                                                                                                                                           0.000000000000682
                                                                                      SUSHI                                                            0.391869423163768                                                                  0.391869423163768
                                                                                      SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                      TRX                                                                                                                                                 0.001211000000000
                                                                                      UNI                                                                                                                                                 0.000000004294128
                                                                                      UNI-PERP                                                                                                                                            0.000000000000000
                                                                                      USD                                                         68,797.708150268668904                                                             80,725.207965938670000
                                                                                      USDC                                                        11,927.499815670000000                                                                  0.000000000000000
                                                                                      USDT                                                           918.407852007133713                                                                918.407852007133700
                                                                                      USTC                                                             0.651215615732837                                                                  0.651215615732837
                                                                                      USTC-PERP                                                                                                                                           0.000000000000000
                                                                                      YFI                                                                                                                                                 0.000000008125280
                                                                                      YFI-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
14896       Name on file                        FTX Trading Ltd.                       BAT                                                              60.810000000000000 West Realm Shires Services Inc.                                60.817904820000000
                                                                                       BRZ                                                               7.050000000000000                                                                 7.048654600000000
                                                                                       BTC                                                               0.013437680000000                                                                 0.013437680000000
                                                                                       CUSDT                                                            31.000000000000000                                                                31.000000000000000
                                                                                       DOGE                                                              3.000000000000000                                                                 3.000000000000000
                                                                                       ETH                                                               0.408959130000000                                                                 0.408959130000000
                                                                                       ETHW                                                                                                                                                0.000000008070120
                                                                                       GRT                                                           4,425.266000000000000                                                             4,425.266136080000000
                                                                                       MKR                                                               0.025000000000000                                                                 0.025107410000000
                                                                                       SHIB                                                             71.000000000000000                                                                71.000000000000000
                                                                                       SOL                                                               0.022400000000000                                                                 0.022438670000000
                                                                                       TRX                                                              21.230000000000000                                                                21.232830990000000
                                                                                       USD                                                          12,733.540000000000000                                                           12,733.541462432879000
                                                                                       USDT                                                                                                                                                0.000000004552100

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
8704        Name on file                        FTX Trading Ltd.                        APT                                                                                     FTX Trading Ltd.                                              0.384800000000000
                                                                                        BTC                                                                3.347440380000000                                                                  3.347440380000000
                                                                                        FTT                                                                                                                                                   0.163515907157384
                                                                                        FTT-PERP                                                                                                                                              0.000000000000000
                                                                                        NEAR-PERP                                                                                                                                             0.000000000000000
                                                                                        RON-PERP                                                                                                                                              0.000000000000000
                                                                                        SOL-PERP                                                                                                                                              0.000000000000000
                                                                                        SRM                                                                                                                                                   1.404645120000000
                                                                                        SRM_LOCKED                                                                                                                                            9.778200990000000
                                                                                        USD                                                                2.927963538622258                                                                  2.927963538622258
                                                                                        USDT                                                              39.830000000000000                                                                 39.827790006124104

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32045       Name on file                        FTX Trading Ltd.                       ATOM                                                                                   FTX Trading Ltd.                                             0.000045660000000
                                                                                       BTC                                                               0.010998910000000                                                                 0.010998915000000
                                                                                       ETH                                                               0.231833440000000                                                                 0.231833440000000
                                                                                       ETHW                                                                                                                                                0.111924210000000
                                                                                       LUNA2                                                                                                                                               0.004476264535000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.010444617250000
                                                                                       USD                                                           4,935.400000000000000                                                             4,935.399446463493000
                                                                                       USTC                                                                                                                                                0.633636880000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
50944       Name on file                        FTX Trading Ltd.                       BRZ                                                                                    FTX Trading Ltd.                                             1.024574802500000
                                                                                       BTC                                                               0.000095045000000                                                                 0.000095045000000
                                                                                       ETH                                                               1.008008442000000                                                                 1.008008442000000
                                                                                       ETHW                                                                                                                                                1.008008442000000
                                                                                       USD                                                                                                                                                 0.028746480000000
                                                                                       USDT                                                              1.705581237000000                                                                 1.705581237300000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34024       Name on file                        FTX Trading Ltd.                       DOGE                                                         42,334.000000000000000 West Realm Shires Services Inc.                           42,334.000000000000000
                                                                                       ETH                                                                                                                                                 0.000989200000000
                                                                                       ETHW                                                                                                                                                0.000989200000000
                                                                                       SOL                                                                                                                                                 0.001720000000000
                                                                                       USD                                                           8,965.790000000000000                                                             8,965.793313921050000
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                                                                                                        Asserted Claims                                                                                           Modified Claim
   Claim
  Number                    Name                                Debtor                                   Tickers                                 Ticker Quantity                               Debtor                                 Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
6502        Name on file                        FTX Trading Ltd.                        LUNA2                                                             105.000000000000000 FTX Trading Ltd.                                               105.278072800000000
                                                                                        LUNA2_LOCKED                                                                                                                                         245.648836500000000
                                                                                        LUNC                                                      22,924,522.000000000000000                                                         22,924,522.000000010000000
                                                                                        USDT                                                                                                                                                   0.000000003946495

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
501         Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                              0.000000000000000
                                                                                       ANC-PERP                                                                                                                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BSV-PERP                                                                                                                                             0.000000000000000
                                                                                       CEL-PERP                                                                                                                                            -0.000000000000113
                                                                                       CHR-PERP                                                                                                                                             0.000000000000000
                                                                                       COMP-PERP                                                                                                                                           -0.000000000000014
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       CVX-PERP                                                                                                                                             0.000000000000000
                                                                                       DEFI-PERP                                                                                                                                            0.000000000000000
                                                                                       EOS-PERP                                                                                                                                             0.000000000003183
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       FIDA-PERP                                                                                                                                            0.000000000000000
                                                                                       FLOW-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       GALA-PERP                                                                                                                                            0.000000000000000
                                                                                       GMT-PERP                                                                                                                                             0.000000000000000
                                                                                       GRT-PERP                                                                                                                                             0.000000000000000
                                                                                       ICP-PERP                                                                                                                                             0.000000000000000
                                                                                       KAVA-PERP                                                                                                                                            0.000000000000000
                                                                                       LEO-PERP                                                                                                                                             0.000000000000000
                                                                                       LOOKS-PERP                                                                                                                                           0.000000000000000
                                                                                       MKR-PERP                                                                                                                                             0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                            0.000000000000042
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       RNDR-PERP                                                                                                                                            0.000000000000000
                                                                                       RUNE-PERP                                                                                                                                           -0.000000000000071
                                                                                       SHIB-PERP                                                                                                                                            0.000000000000000
                                                                                       SHIT-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SPELL-PERP                                                                                                                                           0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       TLM-PERP                                                                                                                                             0.000000000000000
                                                                                       TRX-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                          23,788.000000000000000                                                               639.326096172169000
                                                                                       USDT                                                                                                                                          23,801.470656410000000
                                                                                       USDT-PERP                                                                                                                                            0.000000000000000
                                                                                       USTC-PERP                                                                                                                                            0.000000000000000
                                                                                       WAVES-PERP                                                                                                                                           0.000000000000000
                                                                                       XEM-PERP                                                                                                                                             0.000000000000000
                                                                                       YFI-PERP                                                                                                                                             0.000000000000000
                                                                                       ZIL-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83906       Name on file                        FTX Trading Ltd.                       CRO                                                                                    FTX Trading Ltd.                                             3.274000000000000
                                                                                       USD                                                          11,734.710436360000000                                                           11,734.710436350000000
                                                                                       USDT                                                                                                                                                0.000000011077512

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32879       Name on file                        FTX Trading Ltd.                       1INCH                                                             1.034932610000000 FTX Trading Ltd.                                                1.034932610000000
                                                                                       AKRO                                                                                                                                                5.000000000000000
                                                                                       ALPHA                                                             2.070955830000000                                                                 2.070955830000000
                                                                                       AUDIO                                                             1.046349080000000                                                                 1.046349080000000
                                                                                       BAO                                                                                                                                                 4.000000000000000
                                                                                       BAT                                                               1.013806890000000                                                                 1.013806890000000
                                                                                       BTC                                                                                                                                                 0.000000009454051
                                                                                       CAD                                                                                                                                                 0.000001527771777
                                                                                       CHZ                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       DENT                                                                                                                                                4.000000000000000
                                                                                       DOGE                                                         38,018.705306880000000                                                           38,018.705306885735000
                                                                                       ETH                                                                                                                                                 0.000000002536813
                                                                                       ETHW                                                                                                                                                0.000014073805079
                                                                                       KIN                                                                                                                                                 5.000000000000000
                                                                                       MANA                                                            366.426969380000000                                                               366.426969380000000
                                                                                       MATIC                                                             2.196294480000000                                                                 2.196294480000000
                                                                                       RSR                                                               3.000000000000000                                                                 3.000000000000000
                                                                                       RUNE                                                              2.167972610000000                                                                 2.167972610000000
                                                                                       SAND                                                            238.860300110000000                                                               238.860300119506350
                                                                                       SHIB                                                          1,270.500918660000000                                                             1,270.500918660000000
                                                                                       SXP                                                               1.033151170000000                                                                 1.033151170000000
                                                                                       TRX                                                               6.000000000000000                                                                 6.000000000000000
                                                                                       UBXT                                                                                                                                                1.000000000000000
                                                                                       USDT                                                            888.530000000000000                                                               888.528503356553400

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
47009       Name on file                        FTX Trading Ltd.                       ETH                                                                                    FTX Trading Ltd.                                             0.000326580000000
                                                                                       ETHW                                                                                                                                                0.000326580000000
                                                                                       GBP                                                                                                                                                 0.000011517910305
                                                                                       USD                                                           8,967.618270000000000                                                             8,967.618270000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
85311       Name on file                        FTX Trading Ltd.                       SHIB                                                                                   West Realm Shires Services Inc.                             10.000000000000000
                                                                                       SOL                                                                                                                                                 0.000000400000000
                                                                                       TRX                                                                                                                                                 3.000000000000000
                                                                                       USD                                                           1,865.000000000000000                                                             1,867.268007262441400

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
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                                                                                                    Asserted Claims                                                                                          Modified Claim
   Claim
  Number                   Name                               Debtor                                 Tickers                                Ticker Quantity                                 Debtor                              Ticker Quantity
822         Name on file                      FTX Trading Ltd.                       BLOOMBERG                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                     BNB                                                                                                                                                -0.000000004000000
                                                                                     BNBBULL                                                                                                                                             0.000000009000000
                                                                                     BTC                                                                                                                                                 0.000000000000490
                                                                                     CAKE-PERP                                                                                                                                           0.000000000000000
                                                                                     DOGEBULL                                                                                                                                            0.000000006500000
                                                                                     ETH                                                                                                                                                 0.884902537083999
                                                                                     ETHBULL                                                                                                                                             0.000000000800000
                                                                                     ETH-PERP                                                                                                                                            0.000000000000002
                                                                                     FTT                                                                                                                                                 0.000000000921056
                                                                                     LUNC                                                                                                                                                0.000000006000000
                                                                                     SOL                                                                                                                                                28.714060607000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     TOMOBEAR2021                                                                                                                                      220.000000000000000
                                                                                     USD                                                         12,867.740000000000000                                                             12,725.246809520786000
                                                                                     USDT                                                                                                                                                0.000000014909794
                                                                                     USDT-PERP                                                                                                                                           0.000000000000000
                                                                                     USTC                                                                                                                                                0.000000008133450
                                                                                     USTC-PERP                                                                                                                                           0.000000000000000
                                                                                     XLMBULL                                                                                                                                             0.000000005000000
                                                                                     XRP                                                                                                                                                 0.000000002500000
                                                                                     XRPBULL                                                                                                                                             0.000000005739973
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
51447       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       AAVE-PERP                                                                                                                                            0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       AMPL-PERP                                                                                                                                            0.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                      4,250.000000000000000
                                                                                       BTC                                                                                                                                                  0.200000008846560
                                                                                       BTC-0624                                                                                                                                             0.000000000000000
                                                                                       BTC-0930                                                                                                                                             0.000000000000000
                                                                                       BTC-20211231                                                                                                                                         0.000000000000000
                                                                                       BTC-MOVE-0101                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0102                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0103                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0104                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0105                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0106                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0110                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0111                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0112                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0113                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0114                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0115                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0116                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0117                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0118                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0119                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0120                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0121                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0122                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0123                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0124                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0125                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0126                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0127                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0128                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0129                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0130                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0131                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0201                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0202                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0203                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0204                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0205                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0206                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0207                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0208                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0209                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0210                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0211                                                                                                                                        0.000000000000001
                                                                                       BTC-MOVE-0212                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0213                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0214                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0215                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0216                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0217                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0218                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0219                                                                                                                                        0.000000000000001
                                                                                       BTC-MOVE-0220                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0221                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0222                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0223                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0224                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0225                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0226                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0227                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0228                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0301                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0302                                                                                                                                       -0.000000000000001
                                                                                       BTC-MOVE-0303                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0304                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0305                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0306                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0307                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0308                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0309                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0310                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0311                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0312                                                                                                                                        0.000000000000000
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                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                   Tickers        Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-0313                                                                          0.000000000000000
                               BTC-MOVE-0314                                                                          0.000000000000000
                               BTC-MOVE-0315                                                                          0.000000000000000
                               BTC-MOVE-0316                                                                          0.000000000000000
                               BTC-MOVE-0317                                                                          0.000000000000000
                               BTC-MOVE-0318                                                                          0.000000000000000
                               BTC-MOVE-0319                                                                          0.000000000000000
                               BTC-MOVE-0320                                                                          0.000000000000000
                               BTC-MOVE-0321                                                                          0.000000000000000
                               BTC-MOVE-0322                                                                          0.000000000000000
                               BTC-MOVE-0323                                                                          0.000000000000002
                               BTC-MOVE-0324                                                                          0.000000000000000
                               BTC-MOVE-0325                                                                          0.000000000000000
                               BTC-MOVE-0326                                                                          0.000000000000000
                               BTC-MOVE-0327                                                                          0.000000000000000
                               BTC-MOVE-0328                                                                          0.000000000000000
                               BTC-MOVE-0329                                                                          0.000000000000000
                               BTC-MOVE-0330                                                                          0.000000000000000
                               BTC-MOVE-0331                                                                          0.000000000000000
                               BTC-MOVE-0401                                                                          0.000000000000000
                               BTC-MOVE-0402                                                                          0.000000000000000
                               BTC-MOVE-0403                                                                          0.000000000000000
                               BTC-MOVE-0404                                                                          0.000000000000000
                               BTC-MOVE-0405                                                                          0.000000000000000
                               BTC-MOVE-0406                                                                          0.000000000000000
                               BTC-MOVE-0407                                                                          0.000000000000000
                               BTC-MOVE-0408                                                                          0.000000000000000
                               BTC-MOVE-0409                                                                          0.000000000000000
                               BTC-MOVE-0410                                                                          0.000000000000000
                               BTC-MOVE-0411                                                                          0.000000000000000
                               BTC-MOVE-0412                                                                          0.000000000000000
                               BTC-MOVE-0413                                                                          0.000000000000000
                               BTC-MOVE-0414                                                                          0.000000000000000
                               BTC-MOVE-0415                                                                          0.000000000000000
                               BTC-MOVE-0416                                                                          0.000000000000000
                               BTC-MOVE-0417                                                                          0.000000000000000
                               BTC-MOVE-0418                                                                          0.000000000000000
                               BTC-MOVE-0419                                                                          0.000000000000000
                               BTC-MOVE-0420                                                                          0.000000000000000
                               BTC-MOVE-0421                                                                          0.000000000000000
                               BTC-MOVE-0422                                                                          0.000000000000000
                               BTC-MOVE-0423                                                                          0.000000000000000
                               BTC-MOVE-0424                                                                          0.000000000000000
                               BTC-MOVE-0425                                                                          0.000000000000000
                               BTC-MOVE-0426                                                                          0.000000000000000
                               BTC-MOVE-0427                                                                          0.000000000000000
                               BTC-MOVE-0428                                                                          0.000000000000000
                               BTC-MOVE-0429                                                                          0.000000000000000
                               BTC-MOVE-0430                                                                          0.000000000000000
                               BTC-MOVE-0501                                                                          0.000000000000000
                               BTC-MOVE-0502                                                                          0.000000000000000
                               BTC-MOVE-0503                                                                          0.000000000000000
                               BTC-MOVE-0504                                                                          0.000000000000000
                               BTC-MOVE-0505                                                                          0.000000000000000
                               BTC-MOVE-0506                                                                          0.000000000000000
                               BTC-MOVE-0507                                                                          0.000000000000000
                               BTC-MOVE-0508                                                                          0.000000000000000
                               BTC-MOVE-0509                                                                          0.000000000000000
                               BTC-MOVE-0510                                                                          0.000000000000000
                               BTC-MOVE-0511                                                                          0.000000000000000
                               BTC-MOVE-0512                                                                          0.000000000000000
                               BTC-MOVE-0514                                                                          0.000000000000000
                               BTC-MOVE-0515                                                                          0.000000000000000
                               BTC-MOVE-0516                                                                          0.000000000000000
                               BTC-MOVE-0517                                                                          0.000000000000000
                               BTC-MOVE-0518                                                                          0.000000000000000
                               BTC-MOVE-0519                                                                          0.000000000000000
                               BTC-MOVE-0520                                                                          0.000000000000000
                               BTC-MOVE-0521                                                                          0.000000000000000
                               BTC-MOVE-0522                                                                          0.000000000000000
                               BTC-MOVE-0523                                                                          0.000000000000000
                               BTC-MOVE-0524                                                                          0.000000000000000
                               BTC-MOVE-0525                                                                          0.000000000000000
                               BTC-MOVE-0526                                                                          0.000000000000000
                               BTC-MOVE-0527                                                                          0.000000000000000
                               BTC-MOVE-0528                                                                          0.000000000000000
                               BTC-MOVE-0529                                                                          0.000000000000000
                               BTC-MOVE-0530                                                                          0.000000000000000
                               BTC-MOVE-0531                                                                          0.000000000000000
                               BTC-MOVE-0601                                                                          0.000000000000000
                               BTC-MOVE-0602                                                                          0.000000000000000
                               BTC-MOVE-0603                                                                          0.000000000000000
                               BTC-MOVE-0604                                                                          0.000000000000000
                               BTC-MOVE-0605                                                                          0.000000000000000
                               BTC-MOVE-0606                                                                          0.000000000000000
                               BTC-MOVE-0607                                                                          0.000000000000000
                               BTC-MOVE-0608                                                                          0.000000000000000
                               BTC-MOVE-0609                                                                          0.000000000000000
                               BTC-MOVE-0610                                                                          0.000000000000000
                               BTC-MOVE-0611                                                                          0.000000000000000
                               BTC-MOVE-0612                                                                          0.000000000000000
                               BTC-MOVE-0613                                                                          0.000000000000000
                               BTC-MOVE-0614                                                                          0.000000000000000
                               BTC-MOVE-0615                                                                          0.000000000000000
                               BTC-MOVE-0616                                                                          0.000000000000000
                               BTC-MOVE-0617                                                                          0.000000000000000
                               BTC-MOVE-0618                                                                          0.000000000000000
                               BTC-MOVE-0619                                                                          0.000000000000000
                               BTC-MOVE-0620                                                                          0.000000000000000
                               BTC-MOVE-0621                                                                          0.000000000000000
                               BTC-MOVE-0622                                                                          0.000000000000000
                               BTC-MOVE-0623                                                                          0.000000000000000
                               BTC-MOVE-0624                                                                          0.000000000000000
                               BTC-MOVE-0625                                                                          0.000000000000000
                               BTC-MOVE-0626                                                                          0.000000000000000
                Case 22-11068-JTD        Doc 27179-2         Filed 10/23/24     Page 73 of 92
                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                   Tickers        Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-0627                                                                          0.000000000000000
                               BTC-MOVE-0628                                                                          0.000000000000000
                               BTC-MOVE-0629                                                                          0.000000000000000
                               BTC-MOVE-0630                                                                          0.000000000000000
                               BTC-MOVE-0701                                                                          0.000000000000000
                               BTC-MOVE-0702                                                                          0.000000000000000
                               BTC-MOVE-0704                                                                          0.000000000000000
                               BTC-MOVE-0705                                                                          0.000000000000000
                               BTC-MOVE-0706                                                                          0.000000000000000
                               BTC-MOVE-0707                                                                          0.000000000000000
                               BTC-MOVE-0708                                                                          0.000000000000000
                               BTC-MOVE-0709                                                                          0.000000000000000
                               BTC-MOVE-0710                                                                          0.000000000000000
                               BTC-MOVE-0711                                                                          0.000000000000001
                               BTC-MOVE-0712                                                                          0.000000000000000
                               BTC-MOVE-0713                                                                          0.000000000000000
                               BTC-MOVE-0714                                                                          0.000000000000000
                               BTC-MOVE-0715                                                                          0.000000000000000
                               BTC-MOVE-0716                                                                          0.000000000000001
                               BTC-MOVE-0717                                                                          0.000000000000000
                               BTC-MOVE-0718                                                                          0.000000000000000
                               BTC-MOVE-0719                                                                          0.000000000000000
                               BTC-MOVE-0720                                                                          0.000000000000000
                               BTC-MOVE-0721                                                                          0.000000000000000
                               BTC-MOVE-0722                                                                          0.000000000000000
                               BTC-MOVE-0723                                                                          0.000000000000000
                               BTC-MOVE-0724                                                                          0.000000000000000
                               BTC-MOVE-0725                                                                          0.000000000000000
                               BTC-MOVE-0726                                                                          0.000000000000000
                               BTC-MOVE-0727                                                                          0.000000000000000
                               BTC-MOVE-0728                                                                          0.000000000000000
                               BTC-MOVE-0729                                                                          0.000000000000000
                               BTC-MOVE-0730                                                                          0.000000000000000
                               BTC-MOVE-0731                                                                          0.000000000000000
                               BTC-MOVE-0801                                                                          0.000000000000000
                               BTC-MOVE-0802                                                                          0.000000000000000
                               BTC-MOVE-0803                                                                          0.000000000000000
                               BTC-MOVE-0804                                                                          0.000000000000000
                               BTC-MOVE-0805                                                                          0.000000000000000
                               BTC-MOVE-0806                                                                          0.000000000000000
                               BTC-MOVE-0808                                                                          0.000000000000000
                               BTC-MOVE-0809                                                                          0.000000000000000
                               BTC-MOVE-0810                                                                          0.000000000000000
                               BTC-MOVE-0811                                                                          0.000000000000000
                               BTC-MOVE-0812                                                                          0.000000000000000
                               BTC-MOVE-0813                                                                          0.000000000000000
                               BTC-MOVE-0814                                                                          0.000000000000000
                               BTC-MOVE-0815                                                                          0.000000000000000
                               BTC-MOVE-0816                                                                          0.000000000000000
                               BTC-MOVE-0817                                                                          0.000000000000000
                               BTC-MOVE-0818                                                                          0.000000000000000
                               BTC-MOVE-0819                                                                          0.000000000000000
                               BTC-MOVE-0820                                                                          0.000000000000000
                               BTC-MOVE-0821                                                                          0.000000000000000
                               BTC-MOVE-0822                                                                          0.000000000000000
                               BTC-MOVE-0823                                                                          0.000000000000000
                               BTC-MOVE-0824                                                                          0.000000000000000
                               BTC-MOVE-0825                                                                          0.000000000000000
                               BTC-MOVE-0826                                                                          0.000000000000000
                               BTC-MOVE-0827                                                                          0.000000000000000
                               BTC-MOVE-0828                                                                          0.000000000000000
                               BTC-MOVE-0829                                                                          0.000000000000000
                               BTC-MOVE-0830                                                                          0.000000000000000
                               BTC-MOVE-0831                                                                          0.000000000000000
                               BTC-MOVE-0901                                                                          0.000000000000000
                               BTC-MOVE-0902                                                                          0.000000000000000
                               BTC-MOVE-0903                                                                          0.000000000000000
                               BTC-MOVE-0904                                                                          0.000000000000000
                               BTC-MOVE-0905                                                                          0.000000000000000
                               BTC-MOVE-0906                                                                          0.000000000000000
                               BTC-MOVE-0907                                                                          0.000000000000000
                               BTC-MOVE-0908                                                                          0.000000000000000
                               BTC-MOVE-0909                                                                          0.000000000000000
                               BTC-MOVE-0910                                                                          0.000000000000000
                               BTC-MOVE-0911                                                                          0.000000000000000
                               BTC-MOVE-0912                                                                          0.000000000000000
                               BTC-MOVE-0913                                                                          0.000000000000000
                               BTC-MOVE-0914                                                                          0.000000000000000
                               BTC-MOVE-0915                                                                          0.000000000000000
                               BTC-MOVE-0916                                                                          0.000000000000000
                               BTC-MOVE-0917                                                                          0.000000000000000
                               BTC-MOVE-0918                                                                          0.000000000000000
                               BTC-MOVE-0919                                                                          0.000000000000000
                               BTC-MOVE-0920                                                                          0.000000000000000
                               BTC-MOVE-0921                                                                          0.000000000000000
                               BTC-MOVE-0922                                                                          0.000000000000000
                               BTC-MOVE-0923                                                                          0.000000000000000
                               BTC-MOVE-0924                                                                          0.000000000000000
                               BTC-MOVE-0925                                                                          0.000000000000000
                               BTC-MOVE-0926                                                                          0.000000000000000
                               BTC-MOVE-0927                                                                          0.000000000000000
                               BTC-MOVE-0928                                                                          0.000000000000000
                               BTC-MOVE-0929                                                                          0.000000000000000
                               BTC-MOVE-0930                                                                          0.000000000000000
                               BTC-MOVE-1001                                                                          0.000000000000000
                               BTC-MOVE-1002                                                                          0.000000000000000
                               BTC-MOVE-1003                                                                          0.000000000000000
                               BTC-MOVE-1004                                                                          0.000000000000000
                               BTC-MOVE-1005                                                                          0.000000000000000
                               BTC-MOVE-1006                                                                          0.000000000000000
                               BTC-MOVE-1007                                                                          0.000000000000000
                               BTC-MOVE-1008                                                                          0.000000000000000
                               BTC-MOVE-1009                                                                          0.000000000000000
                               BTC-MOVE-1010                                                                          0.000000000000000
                               BTC-MOVE-1011                                                                          0.000000000000000
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                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers           Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-1012                                                                          0.000000000000000
                               BTC-MOVE-1013                                                                          0.000000000000000
                               BTC-MOVE-1014                                                                          0.000000000000000
                               BTC-MOVE-1015                                                                          0.000000000000000
                               BTC-MOVE-1016                                                                          0.000000000000000
                               BTC-MOVE-1018                                                                          0.000000000000000
                               BTC-MOVE-1019                                                                          0.000000000000000
                               BTC-MOVE-1020                                                                          0.000000000000000
                               BTC-MOVE-1021                                                                          0.000000000000000
                               BTC-MOVE-1022                                                                          0.000000000000000
                               BTC-MOVE-1023                                                                          0.000000000000000
                               BTC-MOVE-1024                                                                          0.000000000000000
                               BTC-MOVE-1025                                                                          0.000000000000000
                               BTC-MOVE-1026                                                                          0.000000000000000
                               BTC-MOVE-1027                                                                          0.000000000000000
                               BTC-MOVE-1028                                                                          0.000000000000000
                               BTC-MOVE-1029                                                                          0.000000000000000
                               BTC-MOVE-1030                                                                          0.000000000000000
                               BTC-MOVE-1102                                                                          0.000000000000000
                               BTC-MOVE-1103                                                                          0.000000000000000
                               BTC-MOVE-1104                                                                          0.000000000000000
                               BTC-MOVE-1105                                                                          0.000000000000000
                               BTC-MOVE-1108                                                                          0.000000000000000
                               BTC-MOVE-1109                                                                          0.000000000000000
                               BTC-MOVE-1110                                                                          0.000000000000000
                               BTC-MOVE-1111                                                                         -1.123100000000000
                               BTC-MOVE-1112                                                                          0.066200000000000
                               BTC-MOVE-20200508                                                                      0.000000000000000
                               BTC-MOVE-20200511                                                                      0.000000000000000
                               BTC-MOVE-20200512                                                                      0.000000000000000
                               BTC-MOVE-20200513                                                                      0.000000000000000
                               BTC-MOVE-20200515                                                                      0.000000000000000
                               BTC-MOVE-20200516                                                                      0.000000000000000
                               BTC-MOVE-20200517                                                                      0.000000000000000
                               BTC-MOVE-20200518                                                                      0.000000000000000
                               BTC-MOVE-20200519                                                                      0.000000000000000
                               BTC-MOVE-20200520                                                                      0.000000000000000
                               BTC-MOVE-20200521                                                                      0.000000000000000
                               BTC-MOVE-20200522                                                                      0.000000000000000
                               BTC-MOVE-20200523                                                                      0.000000000000000
                               BTC-MOVE-20200524                                                                      0.000000000000000
                               BTC-MOVE-20200525                                                                      0.000000000000000
                               BTC-MOVE-20200527                                                                      0.000000000000000
                               BTC-MOVE-20200528                                                                      0.000000000000000
                               BTC-MOVE-20200529                                                                      0.000000000000000
                               BTC-MOVE-20200530                                                                      0.000000000000000
                               BTC-MOVE-20200531                                                                      0.000000000000000
                               BTC-MOVE-20200601                                                                      0.000000000000000
                               BTC-MOVE-20200602                                                                      0.000000000000000
                               BTC-MOVE-20200603                                                                      0.000000000000000
                               BTC-MOVE-20200604                                                                      0.000000000000000
                               BTC-MOVE-20200605                                                                      0.000000000000000
                               BTC-MOVE-20200606                                                                      0.000000000000000
                               BTC-MOVE-20200607                                                                      0.000000000000000
                               BTC-MOVE-20200608                                                                      0.000000000000000
                               BTC-MOVE-20200610                                                                      0.000000000000000
                               BTC-MOVE-20200611                                                                      0.000000000000000
                               BTC-MOVE-20200612                                                                      0.000000000000000
                               BTC-MOVE-20200615                                                                      0.000000000000000
                               BTC-MOVE-20200616                                                                      0.000000000000000
                               BTC-MOVE-20200617                                                                      0.000000000000000
                               BTC-MOVE-20200618                                                                      0.000000000000000
                               BTC-MOVE-20200619                                                                      0.000000000000000
                               BTC-MOVE-20200620                                                                      0.000000000000000
                               BTC-MOVE-20200621                                                                      0.000000000000000
                               BTC-MOVE-20200622                                                                      0.000000000000000
                               BTC-MOVE-20200625                                                                      0.000000000000000
                               BTC-MOVE-20200628                                                                      0.000000000000000
                               BTC-MOVE-20200629                                                                      0.000000000000000
                               BTC-MOVE-20200702                                                                      0.000000000000000
                               BTC-MOVE-20200704                                                                      0.000000000000000
                               BTC-MOVE-20200706                                                                      0.000000000000000
                               BTC-MOVE-20200707                                                                      0.000000000000000
                               BTC-MOVE-20200708                                                                      0.000000000000000
                               BTC-MOVE-20200709                                                                      0.000000000000000
                               BTC-MOVE-20200710                                                                      0.000000000000000
                               BTC-MOVE-20200711                                                                      0.000000000000000
                               BTC-MOVE-20200712                                                                      0.000000000000000
                               BTC-MOVE-20200714                                                                      0.000000000000000
                               BTC-MOVE-20200715                                                                      0.000000000000000
                               BTC-MOVE-20200716                                                                      0.000000000000000
                               BTC-MOVE-20200717                                                                      0.000000000000000
                               BTC-MOVE-20200719                                                                      0.000000000000000
                               BTC-MOVE-20200720                                                                      0.000000000000000
                               BTC-MOVE-20200721                                                                      0.000000000000000
                               BTC-MOVE-20200722                                                                      0.000000000000000
                               BTC-MOVE-20200723                                                                      0.000000000000000
                               BTC-MOVE-20200724                                                                      0.000000000000000
                               BTC-MOVE-20200726                                                                      0.000000000000000
                               BTC-MOVE-20200727                                                                      0.000000000000000
                               BTC-MOVE-20200728                                                                      0.000000000000000
                               BTC-MOVE-20200729                                                                      0.000000000000000
                               BTC-MOVE-20200730                                                                      0.000000000000000
                               BTC-MOVE-20200801                                                                      0.000000000000000
                               BTC-MOVE-20200805                                                                      0.000000000000000
                               BTC-MOVE-20200806                                                                      0.000000000000000
                               BTC-MOVE-20200808                                                                      0.000000000000000
                               BTC-MOVE-20200809                                                                      0.000000000000000
                               BTC-MOVE-20200810                                                                      0.000000000000000
                               BTC-MOVE-20200811                                                                      0.000000000000000
                               BTC-MOVE-20200812                                                                      0.000000000000000
                               BTC-MOVE-20200813                                                                      0.000000000000000
                               BTC-MOVE-20200814                                                                      0.000000000000000
                               BTC-MOVE-20200816                                                                      0.000000000000000
                               BTC-MOVE-20200817                                                                      0.000000000000000
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                                            Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers            Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-20200818                                                                       0.000000000000000
                               BTC-MOVE-20200819                                                                       0.000000000000000
                               BTC-MOVE-20200820                                                                       0.000000000000000
                               BTC-MOVE-20200821                                                                       0.000000000000000
                               BTC-MOVE-20200823                                                                       0.000000000000000
                               BTC-MOVE-20200824                                                                       0.000000000000000
                               BTC-MOVE-20200825                                                                       0.000000000000000
                               BTC-MOVE-20200826                                                                       0.000000000000000
                               BTC-MOVE-20200827                                                                       0.000000000000000
                               BTC-MOVE-20200828                                                                       0.000000000000000
                               BTC-MOVE-20200829                                                                       0.000000000000000
                               BTC-MOVE-20200830                                                                       0.000000000000000
                               BTC-MOVE-20200831                                                                       0.000000000000000
                               BTC-MOVE-20200901                                                                       0.000000000000000
                               BTC-MOVE-20200902                                                                       0.000000000000000
                               BTC-MOVE-20200903                                                                       0.000000000000000
                               BTC-MOVE-20200904                                                                       0.000000000000000
                               BTC-MOVE-20200910                                                                       0.000000000000000
                               BTC-MOVE-20200911                                                                       0.000000000000000
                               BTC-MOVE-20200912                                                                       0.000000000000000
                               BTC-MOVE-20200913                                                                       0.000000000000000
                               BTC-MOVE-20200914                                                                       0.000000000000000
                               BTC-MOVE-20200915                                                                       0.000000000000000
                               BTC-MOVE-20200916                                                                       0.000000000000000
                               BTC-MOVE-20200917                                                                       0.000000000000000
                               BTC-MOVE-20200918                                                                       0.000000000000000
                               BTC-MOVE-20200919                                                                       0.000000000000000
                               BTC-MOVE-20200920                                                                       0.000000000000000
                               BTC-MOVE-20200921                                                                       0.000000000000000
                               BTC-MOVE-20200922                                                                       0.000000000000000
                               BTC-MOVE-20200923                                                                       0.000000000000000
                               BTC-MOVE-20200924                                                                       0.000000000000000
                               BTC-MOVE-20200925                                                                       0.000000000000000
                               BTC-MOVE-20200926                                                                       0.000000000000000
                               BTC-MOVE-20200927                                                                       0.000000000000000
                               BTC-MOVE-20200928                                                                       0.000000000000000
                               BTC-MOVE-20200929                                                                       0.000000000000000
                               BTC-MOVE-20200930                                                                       0.000000000000000
                               BTC-MOVE-20201001                                                                       0.000000000000000
                               BTC-MOVE-20201002                                                                       0.000000000000000
                               BTC-MOVE-20201003                                                                       0.000000000000000
                               BTC-MOVE-20201004                                                                       0.000000000000000
                               BTC-MOVE-20201005                                                                       0.000000000000000
                               BTC-MOVE-20201006                                                                       0.000000000000000
                               BTC-MOVE-20201007                                                                       0.000000000000000
                               BTC-MOVE-20201008                                                                       0.000000000000000
                               BTC-MOVE-20201010                                                                       0.000000000000000
                               BTC-MOVE-20201011                                                                       0.000000000000000
                               BTC-MOVE-20201012                                                                       0.000000000000000
                               BTC-MOVE-20201013                                                                       0.000000000000000
                               BTC-MOVE-20201014                                                                       0.000000000000000
                               BTC-MOVE-20201015                                                                       0.000000000000000
                               BTC-MOVE-20201016                                                                       0.000000000000000
                               BTC-MOVE-20201017                                                                       0.000000000000000
                               BTC-MOVE-20201018                                                                       0.000000000000000
                               BTC-MOVE-20201019                                                                       0.000000000000000
                               BTC-MOVE-20201020                                                                       0.000000000000000
                               BTC-MOVE-20201021                                                                       0.000000000000000
                               BTC-MOVE-20201022                                                                       0.000000000000000
                               BTC-MOVE-20201023                                                                       0.000000000000000
                               BTC-MOVE-20201024                                                                       0.000000000000000
                               BTC-MOVE-20201025                                                                       0.000000000000000
                               BTC-MOVE-20201026                                                                       0.000000000000000
                               BTC-MOVE-20201027                                                                       0.000000000000000
                               BTC-MOVE-20201028                                                                       0.000000000000000
                               BTC-MOVE-20201029                                                                       0.000000000000000
                               BTC-MOVE-20201030                                                                       0.000000000000000
                               BTC-MOVE-20201031                                                                       0.000000000000000
                               BTC-MOVE-20201101                                                                       0.000000000000000
                               BTC-MOVE-20201102                                                                       0.000000000000000
                               BTC-MOVE-20201103                                                                       0.000000000000000
                               BTC-MOVE-20201104                                                                       0.000000000000000
                               BTC-MOVE-20201105                                                                       0.000000000000000
                               BTC-MOVE-20201106                                                                       0.000000000000000
                               BTC-MOVE-20201107                                                                       0.000000000000000
                               BTC-MOVE-20201108                                                                       0.000000000000000
                               BTC-MOVE-20201109                                                                       0.000000000000000
                               BTC-MOVE-20201110                                                                       0.000000000000000
                               BTC-MOVE-20201111                                                                       0.000000000000000
                               BTC-MOVE-20201112                                                                       0.000000000000000
                               BTC-MOVE-20201113                                                                       0.000000000000000
                               BTC-MOVE-20201114                                                                       0.000000000000000
                               BTC-MOVE-20201115                                                                       0.000000000000000
                               BTC-MOVE-20201116                                                                       0.000000000000000
                               BTC-MOVE-20201117                                                                       0.000000000000000
                               BTC-MOVE-20201118                                                                       0.000000000000000
                               BTC-MOVE-20201119                                                                       0.000000000000000
                               BTC-MOVE-20201120                                                                       0.000000000000000
                               BTC-MOVE-20201121                                                                       0.000000000000000
                               BTC-MOVE-20201122                                                                       0.000000000000000
                               BTC-MOVE-20201123                                                                       0.000000000000000
                               BTC-MOVE-20201124                                                                       0.000000000000000
                               BTC-MOVE-20201125                                                                       0.000000000000000
                               BTC-MOVE-20201126                                                                       0.000000000000000
                               BTC-MOVE-20201127                                                                       0.000000000000000
                               BTC-MOVE-20201128                                                                       0.000000000000000
                               BTC-MOVE-20201129                                                                       0.000000000000000
                               BTC-MOVE-20201130                                                                       0.000000000000000
                               BTC-MOVE-20201201                                                                       0.000000000000000
                               BTC-MOVE-20201202                                                                       0.000000000000000
                               BTC-MOVE-20201203                                                                       0.000000000000000
                               BTC-MOVE-20201204                                                                       0.000000000000000
                               BTC-MOVE-20201205                                                                       0.000000000000000
                               BTC-MOVE-20201206                                                                       0.000000000000000
                               BTC-MOVE-20201207                                                                       0.000000000000000
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                                            Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers            Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-20201208                                                                       0.000000000000000
                               BTC-MOVE-20201209                                                                       0.000000000000000
                               BTC-MOVE-20201210                                                                       0.000000000000000
                               BTC-MOVE-20201211                                                                       0.000000000000000
                               BTC-MOVE-20201212                                                                       0.000000000000000
                               BTC-MOVE-20201213                                                                       0.000000000000000
                               BTC-MOVE-20201214                                                                       0.000000000000000
                               BTC-MOVE-20201215                                                                       0.000000000000000
                               BTC-MOVE-20201216                                                                       0.000000000000000
                               BTC-MOVE-20201217                                                                       0.000000000000000
                               BTC-MOVE-20201218                                                                       0.000000000000000
                               BTC-MOVE-20201219                                                                       0.000000000000000
                               BTC-MOVE-20201220                                                                       0.000000000000000
                               BTC-MOVE-20201221                                                                       0.000000000000000
                               BTC-MOVE-20201222                                                                       0.000000000000000
                               BTC-MOVE-20201223                                                                       0.000000000000000
                               BTC-MOVE-20201224                                                                       0.000000000000000
                               BTC-MOVE-20201225                                                                       0.000000000000000
                               BTC-MOVE-20201226                                                                       0.000000000000000
                               BTC-MOVE-20201227                                                                       0.000000000000000
                               BTC-MOVE-20201228                                                                       0.000000000000000
                               BTC-MOVE-20201229                                                                       0.000000000000000
                               BTC-MOVE-20201230                                                                       0.000000000000000
                               BTC-MOVE-20201231                                                                       0.000000000000000
                               BTC-MOVE-2020Q4                                                                         0.000000000000000
                               BTC-MOVE-20210102                                                                       0.000000000000000
                               BTC-MOVE-20210103                                                                       0.000000000000000
                               BTC-MOVE-20210104                                                                       0.000000000000000
                               BTC-MOVE-20210105                                                                       0.000000000000000
                               BTC-MOVE-20210106                                                                       0.000000000000000
                               BTC-MOVE-20210107                                                                       0.000000000000000
                               BTC-MOVE-20210108                                                                       0.000000000000000
                               BTC-MOVE-20210109                                                                       0.000000000000000
                               BTC-MOVE-20210110                                                                       0.000000000000000
                               BTC-MOVE-20210111                                                                       0.000000000000000
                               BTC-MOVE-20210112                                                                       0.000000000000000
                               BTC-MOVE-20210113                                                                       0.000000000000000
                               BTC-MOVE-20210114                                                                       0.000000000000000
                               BTC-MOVE-20210115                                                                       0.000000000000000
                               BTC-MOVE-20210116                                                                       0.000000000000000
                               BTC-MOVE-20210117                                                                       0.000000000000000
                               BTC-MOVE-20210118                                                                       0.000000000000000
                               BTC-MOVE-20210119                                                                       0.000000000000000
                               BTC-MOVE-20210120                                                                       0.000000000000000
                               BTC-MOVE-20210121                                                                       0.000000000000000
                               BTC-MOVE-20210122                                                                       0.000000000000000
                               BTC-MOVE-20210123                                                                       0.000000000000000
                               BTC-MOVE-20210124                                                                       0.000000000000000
                               BTC-MOVE-20210125                                                                       0.000000000000000
                               BTC-MOVE-20210126                                                                       0.000000000000000
                               BTC-MOVE-20210127                                                                       0.000000000000000
                               BTC-MOVE-20210128                                                                       0.000000000000000
                               BTC-MOVE-20210129                                                                       0.000000000000000
                               BTC-MOVE-20210130                                                                       0.000000000000000
                               BTC-MOVE-20210131                                                                       0.000000000000000
                               BTC-MOVE-20210201                                                                       0.000000000000000
                               BTC-MOVE-20210202                                                                       0.000000000000000
                               BTC-MOVE-20210203                                                                       0.000000000000000
                               BTC-MOVE-20210204                                                                       0.000000000000000
                               BTC-MOVE-20210205                                                                       0.000000000000000
                               BTC-MOVE-20210206                                                                       0.000000000000000
                               BTC-MOVE-20210207                                                                       0.000000000000000
                               BTC-MOVE-20210208                                                                       0.000000000000000
                               BTC-MOVE-20210209                                                                       0.000000000000000
                               BTC-MOVE-20210210                                                                       0.000000000000000
                               BTC-MOVE-20210211                                                                       0.000000000000000
                               BTC-MOVE-20210212                                                                       0.000000000000000
                               BTC-MOVE-20210213                                                                       0.000000000000000
                               BTC-MOVE-20210214                                                                       0.000000000000000
                               BTC-MOVE-20210215                                                                       0.000000000000000
                               BTC-MOVE-20210216                                                                       0.000000000000000
                               BTC-MOVE-20210217                                                                       0.000000000000000
                               BTC-MOVE-20210218                                                                       0.000000000000000
                               BTC-MOVE-20210219                                                                       0.000000000000000
                               BTC-MOVE-20210220                                                                       0.000000000000000
                               BTC-MOVE-20210221                                                                       0.000000000000000
                               BTC-MOVE-20210222                                                                       0.000000000000000
                               BTC-MOVE-20210223                                                                       0.000000000000000
                               BTC-MOVE-20210224                                                                       0.000000000000000
                               BTC-MOVE-20210225                                                                       0.000000000000000
                               BTC-MOVE-20210226                                                                       0.000000000000000
                               BTC-MOVE-20210227                                                                       0.000000000000000
                               BTC-MOVE-20210228                                                                       0.000000000000000
                               BTC-MOVE-20210301                                                                       0.000000000000000
                               BTC-MOVE-20210302                                                                       0.000000000000000
                               BTC-MOVE-20210303                                                                       0.000000000000000
                               BTC-MOVE-20210304                                                                       0.000000000000000
                               BTC-MOVE-20210305                                                                       0.000000000000000
                               BTC-MOVE-20210306                                                                       0.000000000000000
                               BTC-MOVE-20210307                                                                       0.000000000000000
                               BTC-MOVE-20210308                                                                       0.000000000000000
                               BTC-MOVE-20210309                                                                       0.000000000000000
                               BTC-MOVE-20210310                                                                       0.000000000000000
                               BTC-MOVE-20210311                                                                       0.000000000000000
                               BTC-MOVE-20210312                                                                       0.000000000000000
                               BTC-MOVE-20210313                                                                       0.000000000000000
                               BTC-MOVE-20210314                                                                       0.000000000000000
                               BTC-MOVE-20210315                                                                       0.000000000000000
                               BTC-MOVE-20210316                                                                       0.000000000000000
                               BTC-MOVE-20210317                                                                       0.000000000000000
                               BTC-MOVE-20210318                                                                       0.000000000000000
                               BTC-MOVE-20210319                                                                       0.000000000000000
                               BTC-MOVE-20210320                                                                       0.000000000000000
                               BTC-MOVE-20210321                                                                       0.000000000000000
                               BTC-MOVE-20210322                                                                       0.000000000000000
                Case 22-11068-JTD         Doc 27179-2         Filed 10/23/24     Page 77 of 92
                                            Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers            Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-20210323                                                                       0.000000000000000
                               BTC-MOVE-20210325                                                                       0.000000000000000
                               BTC-MOVE-20210326                                                                       0.000000000000000
                               BTC-MOVE-20210327                                                                       0.000000000000000
                               BTC-MOVE-20210328                                                                       0.000000000000000
                               BTC-MOVE-20210329                                                                       0.000000000000000
                               BTC-MOVE-20210330                                                                       0.000000000000000
                               BTC-MOVE-20210331                                                                       0.000000000000000
                               BTC-MOVE-20210401                                                                       0.000000000000000
                               BTC-MOVE-20210402                                                                       0.000000000000000
                               BTC-MOVE-20210403                                                                       0.000000000000000
                               BTC-MOVE-20210404                                                                       0.000000000000000
                               BTC-MOVE-20210405                                                                       0.000000000000000
                               BTC-MOVE-20210406                                                                       0.000000000000000
                               BTC-MOVE-20210407                                                                       0.000000000000000
                               BTC-MOVE-20210408                                                                       0.000000000000000
                               BTC-MOVE-20210409                                                                       0.000000000000000
                               BTC-MOVE-20210410                                                                       0.000000000000000
                               BTC-MOVE-20210411                                                                       0.000000000000000
                               BTC-MOVE-20210412                                                                       0.000000000000000
                               BTC-MOVE-20210414                                                                       0.000000000000000
                               BTC-MOVE-20210415                                                                       0.000000000000000
                               BTC-MOVE-20210416                                                                       0.000000000000000
                               BTC-MOVE-20210417                                                                       0.000000000000000
                               BTC-MOVE-20210418                                                                       0.000000000000000
                               BTC-MOVE-20210419                                                                       0.000000000000000
                               BTC-MOVE-20210420                                                                       0.000000000000000
                               BTC-MOVE-20210421                                                                       0.000000000000000
                               BTC-MOVE-20210422                                                                       0.000000000000000
                               BTC-MOVE-20210423                                                                       0.000000000000000
                               BTC-MOVE-20210424                                                                       0.000000000000000
                               BTC-MOVE-20210425                                                                       0.000000000000000
                               BTC-MOVE-20210426                                                                       0.000000000000000
                               BTC-MOVE-20210427                                                                       0.000000000000000
                               BTC-MOVE-20210428                                                                       0.000000000000000
                               BTC-MOVE-20210429                                                                       0.000000000000000
                               BTC-MOVE-20210430                                                                       0.000000000000000
                               BTC-MOVE-20210501                                                                       0.000000000000000
                               BTC-MOVE-20210502                                                                       0.000000000000000
                               BTC-MOVE-20210503                                                                       0.000000000000000
                               BTC-MOVE-20210504                                                                       0.000000000000000
                               BTC-MOVE-20210505                                                                       0.000000000000000
                               BTC-MOVE-20210506                                                                       0.000000000000000
                               BTC-MOVE-20210507                                                                       0.000000000000000
                               BTC-MOVE-20210508                                                                       0.000000000000000
                               BTC-MOVE-20210509                                                                       0.000000000000000
                               BTC-MOVE-20210510                                                                       0.000000000000000
                               BTC-MOVE-20210511                                                                       0.000000000000000
                               BTC-MOVE-20210512                                                                       0.000000000000000
                               BTC-MOVE-20210513                                                                       0.000000000000000
                               BTC-MOVE-20210514                                                                       0.000000000000000
                               BTC-MOVE-20210515                                                                       0.000000000000000
                               BTC-MOVE-20210516                                                                       0.000000000000000
                               BTC-MOVE-20210517                                                                       0.000000000000000
                               BTC-MOVE-20210522                                                                       0.000000000000000
                               BTC-MOVE-20210526                                                                       0.000000000000000
                               BTC-MOVE-20210527                                                                       0.000000000000000
                               BTC-MOVE-20210528                                                                       0.000000000000000
                               BTC-MOVE-20210529                                                                       0.000000000000000
                               BTC-MOVE-20210531                                                                       0.000000000000000
                               BTC-MOVE-20210601                                                                       0.000000000000000
                               BTC-MOVE-20210602                                                                       0.000000000000000
                               BTC-MOVE-20210603                                                                       0.000000000000000
                               BTC-MOVE-20210604                                                                       0.000000000000000
                               BTC-MOVE-20210605                                                                       0.000000000000000
                               BTC-MOVE-20210606                                                                       0.000000000000000
                               BTC-MOVE-20210607                                                                       0.000000000000000
                               BTC-MOVE-20210608                                                                       0.000000000000001
                               BTC-MOVE-20210609                                                                       0.000000000000000
                               BTC-MOVE-20210610                                                                       0.000000000000000
                               BTC-MOVE-20210611                                                                       0.000000000000000
                               BTC-MOVE-20210612                                                                       0.000000000000000
                               BTC-MOVE-20210613                                                                       0.000000000000000
                               BTC-MOVE-20210614                                                                       0.000000000000000
                               BTC-MOVE-20210615                                                                       0.000000000000000
                               BTC-MOVE-20210616                                                                       0.000000000000000
                               BTC-MOVE-20210617                                                                       0.000000000000000
                               BTC-MOVE-20210618                                                                       0.000000000000000
                               BTC-MOVE-20210619                                                                       0.000000000000000
                               BTC-MOVE-20210620                                                                       0.000000000000000
                               BTC-MOVE-20210621                                                                       0.000000000000000
                               BTC-MOVE-20210622                                                                       0.000000000000000
                               BTC-MOVE-20210623                                                                       0.000000000000000
                               BTC-MOVE-20210624                                                                       0.000000000000000
                               BTC-MOVE-20210625                                                                       0.000000000000000
                               BTC-MOVE-20210626                                                                       0.000000000000000
                               BTC-MOVE-20210627                                                                       0.000000000000000
                               BTC-MOVE-20210628                                                                       0.000000000000000
                               BTC-MOVE-20210629                                                                       0.000000000000000
                               BTC-MOVE-20210630                                                                       0.000000000000000
                               BTC-MOVE-20210701                                                                       0.000000000000000
                               BTC-MOVE-20210702                                                                       0.000000000000000
                               BTC-MOVE-20210703                                                                       0.000000000000000
                               BTC-MOVE-20210704                                                                       0.000000000000000
                               BTC-MOVE-20210705                                                                       0.000000000000000
                               BTC-MOVE-20210706                                                                       0.000000000000000
                               BTC-MOVE-20210707                                                                       0.000000000000000
                               BTC-MOVE-20210708                                                                       0.000000000000000
                               BTC-MOVE-20210709                                                                       0.000000000000000
                               BTC-MOVE-20210710                                                                       0.000000000000000
                               BTC-MOVE-20210711                                                                       0.000000000000000
                               BTC-MOVE-20210712                                                                       0.000000000000000
                               BTC-MOVE-20210713                                                                       0.000000000000000
                               BTC-MOVE-20210714                                                                       0.000000000000000
                               BTC-MOVE-20210715                                                                       0.000000000000000
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                                            Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers            Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-20210716                                                                       0.000000000000000
                               BTC-MOVE-20210717                                                                       0.000000000000000
                               BTC-MOVE-20210718                                                                       0.000000000000000
                               BTC-MOVE-20210719                                                                       0.000000000000000
                               BTC-MOVE-20210720                                                                       0.000000000000000
                               BTC-MOVE-20210721                                                                       0.000000000000000
                               BTC-MOVE-20210722                                                                       0.000000000000000
                               BTC-MOVE-20210723                                                                       0.000000000000000
                               BTC-MOVE-20210724                                                                       0.000000000000000
                               BTC-MOVE-20210725                                                                       0.000000000000000
                               BTC-MOVE-20210726                                                                       0.000000000000000
                               BTC-MOVE-20210727                                                                       0.000000000000000
                               BTC-MOVE-20210728                                                                       0.000000000000000
                               BTC-MOVE-20210729                                                                       0.000000000000000
                               BTC-MOVE-20210730                                                                       0.000000000000000
                               BTC-MOVE-20210731                                                                       0.000000000000000
                               BTC-MOVE-20210801                                                                       0.000000000000000
                               BTC-MOVE-20210802                                                                       0.000000000000000
                               BTC-MOVE-20210803                                                                       0.000000000000000
                               BTC-MOVE-20210804                                                                       0.000000000000000
                               BTC-MOVE-20210805                                                                       0.000000000000000
                               BTC-MOVE-20210806                                                                       0.000000000000000
                               BTC-MOVE-20210807                                                                       0.000000000000000
                               BTC-MOVE-20210808                                                                       0.000000000000000
                               BTC-MOVE-20210809                                                                       0.000000000000000
                               BTC-MOVE-20210810                                                                       0.000000000000000
                               BTC-MOVE-20210811                                                                       0.000000000000000
                               BTC-MOVE-20210812                                                                       0.000000000000000
                               BTC-MOVE-20210813                                                                       0.000000000000000
                               BTC-MOVE-20210814                                                                       0.000000000000000
                               BTC-MOVE-20210815                                                                       0.000000000000000
                               BTC-MOVE-20210816                                                                       0.000000000000000
                               BTC-MOVE-20210817                                                                       0.000000000000000
                               BTC-MOVE-20210818                                                                       0.000000000000000
                               BTC-MOVE-20210819                                                                       0.000000000000000
                               BTC-MOVE-20210820                                                                       0.000000000000000
                               BTC-MOVE-20210821                                                                       0.000000000000000
                               BTC-MOVE-20210822                                                                       0.000000000000000
                               BTC-MOVE-20210823                                                                       0.000000000000000
                               BTC-MOVE-20210824                                                                       0.000000000000000
                               BTC-MOVE-20210825                                                                       0.000000000000000
                               BTC-MOVE-20210826                                                                       0.000000000000000
                               BTC-MOVE-20210827                                                                       0.000000000000000
                               BTC-MOVE-20210828                                                                       0.000000000000000
                               BTC-MOVE-20210829                                                                       0.000000000000000
                               BTC-MOVE-20210830                                                                       0.000000000000000
                               BTC-MOVE-20210831                                                                       0.000000000000000
                               BTC-MOVE-20210901                                                                       0.000000000000000
                               BTC-MOVE-20210902                                                                       0.000000000000000
                               BTC-MOVE-20210903                                                                       0.000000000000000
                               BTC-MOVE-20210904                                                                       0.000000000000000
                               BTC-MOVE-20210905                                                                       0.000000000000000
                               BTC-MOVE-20210906                                                                       0.000000000000000
                               BTC-MOVE-20210908                                                                       0.000000000000000
                               BTC-MOVE-20210910                                                                       0.000000000000000
                               BTC-MOVE-20210912                                                                       0.000000000000000
                               BTC-MOVE-20210913                                                                       0.000000000000000
                               BTC-MOVE-20210914                                                                       0.000000000000000
                               BTC-MOVE-20210915                                                                       0.000000000000000
                               BTC-MOVE-20210916                                                                       0.000000000000000
                               BTC-MOVE-20210917                                                                       0.000000000000000
                               BTC-MOVE-20210919                                                                       0.000000000000000
                               BTC-MOVE-20210921                                                                       0.000000000000000
                               BTC-MOVE-20210922                                                                       0.000000000000000
                               BTC-MOVE-20210923                                                                       0.000000000000000
                               BTC-MOVE-20210924                                                                       0.000000000000000
                               BTC-MOVE-20210925                                                                       0.000000000000000
                               BTC-MOVE-20210926                                                                       0.000000000000000
                               BTC-MOVE-20210927                                                                      -0.000000000000001
                               BTC-MOVE-20210928                                                                       0.000000000000000
                               BTC-MOVE-20210929                                                                       0.000000000000000
                               BTC-MOVE-20210930                                                                       0.000000000000000
                               BTC-MOVE-20211001                                                                       0.000000000000000
                               BTC-MOVE-20211002                                                                       0.000000000000000
                               BTC-MOVE-20211003                                                                       0.000000000000000
                               BTC-MOVE-20211004                                                                       0.000000000000000
                               BTC-MOVE-20211005                                                                       0.000000000000000
                               BTC-MOVE-20211006                                                                       0.000000000000000
                               BTC-MOVE-20211007                                                                       0.000000000000000
                               BTC-MOVE-20211008                                                                       0.000000000000000
                               BTC-MOVE-20211009                                                                       0.000000000000000
                               BTC-MOVE-20211010                                                                       0.000000000000000
                               BTC-MOVE-20211011                                                                       0.000000000000000
                               BTC-MOVE-20211012                                                                       0.000000000000000
                               BTC-MOVE-20211013                                                                       0.000000000000000
                               BTC-MOVE-20211014                                                                       0.000000000000000
                               BTC-MOVE-20211015                                                                       0.000000000000000
                               BTC-MOVE-20211016                                                                       0.000000000000000
                               BTC-MOVE-20211017                                                                       0.000000000000000
                               BTC-MOVE-20211018                                                                       0.000000000000000
                               BTC-MOVE-20211019                                                                       0.000000000000000
                               BTC-MOVE-20211020                                                                       0.000000000000000
                               BTC-MOVE-20211021                                                                       0.000000000000000
                               BTC-MOVE-20211022                                                                       0.000000000000000
                               BTC-MOVE-20211023                                                                       0.000000000000000
                               BTC-MOVE-20211024                                                                       0.000000000000000
                               BTC-MOVE-20211025                                                                       0.000000000000000
                               BTC-MOVE-20211026                                                                       0.000000000000000
                               BTC-MOVE-20211027                                                                       0.000000000000000
                               BTC-MOVE-20211028                                                                       0.000000000000000
                               BTC-MOVE-20211029                                                                       0.000000000000000
                               BTC-MOVE-20211030                                                                       0.000000000000000
                               BTC-MOVE-20211031                                                                       0.000000000000000
                               BTC-MOVE-20211101                                                                       0.000000000000000
                               BTC-MOVE-20211102                                                                       0.000000000000000
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                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers           Ticker Quantity      Debtor                    Ticker Quantity
                               BTC-MOVE-20211103                                                                      0.000000000000000
                               BTC-MOVE-20211104                                                                      0.000000000000000
                               BTC-MOVE-20211105                                                                      0.000000000000000
                               BTC-MOVE-20211106                                                                      0.000000000000000
                               BTC-MOVE-20211107                                                                      0.000000000000000
                               BTC-MOVE-20211108                                                                      0.000000000000000
                               BTC-MOVE-20211109                                                                      0.000000000000000
                               BTC-MOVE-20211110                                                                      0.000000000000000
                               BTC-MOVE-20211111                                                                      0.000000000000000
                               BTC-MOVE-20211112                                                                      0.000000000000000
                               BTC-MOVE-20211113                                                                      0.000000000000000
                               BTC-MOVE-20211114                                                                      0.000000000000000
                               BTC-MOVE-20211115                                                                      0.000000000000000
                               BTC-MOVE-20211116                                                                      0.000000000000000
                               BTC-MOVE-20211117                                                                      0.000000000000000
                               BTC-MOVE-20211118                                                                      0.000000000000000
                               BTC-MOVE-20211119                                                                      0.000000000000000
                               BTC-MOVE-20211120                                                                      0.000000000000000
                               BTC-MOVE-20211121                                                                      0.000000000000000
                               BTC-MOVE-20211122                                                                      0.000000000000000
                               BTC-MOVE-20211123                                                                      0.000000000000000
                               BTC-MOVE-20211124                                                                      0.000000000000000
                               BTC-MOVE-20211125                                                                      0.000000000000000
                               BTC-MOVE-20211127                                                                      0.000000000000000
                               BTC-MOVE-20211128                                                                      0.000000000000000
                               BTC-MOVE-20211129                                                                      0.000000000000000
                               BTC-MOVE-20211130                                                                      0.000000000000000
                               BTC-MOVE-20211201                                                                      0.000000000000000
                               BTC-MOVE-20211202                                                                      0.000000000000000
                               BTC-MOVE-20211203                                                                      0.000000000000000
                               BTC-MOVE-20211204                                                                      0.000000000000000
                               BTC-MOVE-20211205                                                                      0.000000000000000
                               BTC-MOVE-20211206                                                                      0.000000000000000
                               BTC-MOVE-20211207                                                                      0.000000000000000
                               BTC-MOVE-20211208                                                                      0.000000000000000
                               BTC-MOVE-20211209                                                                      0.000000000000000
                               BTC-MOVE-20211210                                                                      0.000000000000000
                               BTC-MOVE-20211211                                                                      0.000000000000000
                               BTC-MOVE-20211212                                                                      0.000000000000000
                               BTC-MOVE-20211213                                                                      0.000000000000000
                               BTC-MOVE-20211214                                                                      0.000000000000000
                               BTC-MOVE-20211215                                                                      0.000000000000000
                               BTC-MOVE-20211216                                                                      0.000000000000000
                               BTC-MOVE-20211217                                                                      0.000000000000000
                               BTC-MOVE-20211218                                                                      0.000000000000000
                               BTC-MOVE-20211219                                                                      0.000000000000000
                               BTC-MOVE-20211220                                                                      0.000000000000000
                               BTC-MOVE-20211221                                                                      0.000000000000000
                               BTC-MOVE-20211222                                                                      0.000000000000001
                               BTC-MOVE-20211223                                                                      0.000000000000000
                               BTC-MOVE-20211224                                                                      0.000000000000000
                               BTC-MOVE-20211225                                                                      0.000000000000001
                               BTC-MOVE-20211226                                                                      0.000000000000000
                               BTC-MOVE-20211227                                                                      0.000000000000000
                               BTC-MOVE-20211228                                                                      0.000000000000000
                               BTC-MOVE-20211229                                                                      0.000000000000000
                               BTC-MOVE-20211230                                                                      0.000000000000000
                               BTC-MOVE-20211231                                                                      0.000000000000000
                               BTC-MOVE-2022Q3                                                                        0.000000000000000
                               BTC-MOVE-2022Q4                                                                        0.052500000000000
                               BTC-MOVE-WK-0107                                                                       0.000000000000000
                               BTC-MOVE-WK-0121                                                                       0.000000000000000
                               BTC-MOVE-WK-0128                                                                       0.000000000000000
                               BTC-MOVE-WK-0204                                                                       0.000000000000000
                               BTC-MOVE-WK-0211                                                                       0.000000000000000
                               BTC-MOVE-WK-0218                                                                       0.000000000000000
                               BTC-MOVE-WK-0225                                                                       0.000000000000000
                               BTC-MOVE-WK-0304                                                                       0.000000000000000
                               BTC-MOVE-WK-0311                                                                       0.000000000000000
                               BTC-MOVE-WK-0318                                                                       0.000000000000000
                               BTC-MOVE-WK-0325                                                                       0.000000000000000
                               BTC-MOVE-WK-0401                                                                       0.000000000000000
                               BTC-MOVE-WK-0408                                                                       0.000000000000000
                               BTC-MOVE-WK-0415                                                                       0.000000000000000
                               BTC-MOVE-WK-0422                                                                       0.000000000000000
                               BTC-MOVE-WK-0429                                                                       0.000000000000000
                               BTC-MOVE-WK-0506                                                                       0.000000000000000
                               BTC-MOVE-WK-0513                                                                       0.000000000000000
                               BTC-MOVE-WK-0520                                                                       0.000000000000000
                               BTC-MOVE-WK-0527                                                                       0.000000000000000
                               BTC-MOVE-WK-0603                                                                       0.000000000000000
                               BTC-MOVE-WK-0610                                                                       0.000000000000000
                               BTC-MOVE-WK-0617                                                                       0.000000000000000
                               BTC-MOVE-WK-0624                                                                       0.000000000000000
                               BTC-MOVE-WK-0701                                                                       0.000000000000000
                               BTC-MOVE-WK-0708                                                                       0.000000000000000
                               BTC-MOVE-WK-0715                                                                       0.000000000000000
                               BTC-MOVE-WK-0722                                                                       0.000000000000000
                               BTC-MOVE-WK-0729                                                                       0.000000000000000
                               BTC-MOVE-WK-0805                                                                       0.000000000000000
                               BTC-MOVE-WK-0812                                                                       0.000000000000000
                               BTC-MOVE-WK-0819                                                                       0.000000000000000
                               BTC-MOVE-WK-0826                                                                       0.000000000000000
                               BTC-MOVE-WK-0902                                                                       0.000000000000000
                               BTC-MOVE-WK-0909                                                                       0.000000000000000
                               BTC-MOVE-WK-0916                                                                       0.000000000000000
                               BTC-MOVE-WK-0923                                                                       0.000000000000000
                               BTC-MOVE-WK-0930                                                                       0.000000000000000
                               BTC-MOVE-WK-1007                                                                       0.000000000000000
                               BTC-MOVE-WK-1014                                                                       0.000000000000000
                               BTC-MOVE-WK-1021                                                                       0.000000000000000
                               BTC-MOVE-WK-1028                                                                       0.000000000000000
                               BTC-MOVE-WK-1104                                                                       0.000000000000000
                               BTC-MOVE-WK-1118                                                                      -0.001599999999999
                               BTC-MOVE-WK-20200619                                                                   0.000000000000000
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                                           Asserted Claims                                  Modified Claim
 Claim
Number   Name         Debtor                Tickers           Ticker Quantity      Debtor                     Ticker Quantity
                               BTC-MOVE-WK-20200626                                                                    0.000000000000000
                               BTC-MOVE-WK-20200703                                                                    0.000000000000000
                               BTC-MOVE-WK-20200710                                                                    0.000000000000000
                               BTC-MOVE-WK-20200717                                                                    0.000000000000000
                               BTC-MOVE-WK-20200724                                                                    0.000000000000000
                               BTC-MOVE-WK-20200731                                                                    0.000000000000000
                               BTC-MOVE-WK-20200807                                                                    0.000000000000000
                               BTC-MOVE-WK-20200821                                                                    0.000000000000000
                               BTC-MOVE-WK-20200828                                                                    0.000000000000000
                               BTC-MOVE-WK-20200918                                                                    0.000000000000000
                               BTC-MOVE-WK-20200925                                                                    0.000000000000000
                               BTC-MOVE-WK-20201002                                                                    0.000000000000000
                               BTC-MOVE-WK-20201009                                                                    0.000000000000000
                               BTC-MOVE-WK-20201030                                                                    0.000000000000000
                               BTC-MOVE-WK-20201106                                                                    0.000000000000000
                               BTC-MOVE-WK-20201127                                                                    0.000000000000000
                               BTC-MOVE-WK-20201204                                                                    0.000000000000000
                               BTC-MOVE-WK-20201211                                                                    0.000000000000000
                               BTC-MOVE-WK-20201218                                                                    0.000000000000000
                               BTC-MOVE-WK-20201225                                                                    0.000000000000000
                               BTC-MOVE-WK-20210101                                                                    0.000000000000000
                               BTC-MOVE-WK-20210122                                                                    0.000000000000000
                               BTC-MOVE-WK-20210129                                                                    0.000000000000000
                               BTC-MOVE-WK-20210205                                                                    0.000000000000000
                               BTC-MOVE-WK-20210212                                                                    0.000000000000000
                               BTC-MOVE-WK-20210219                                                                    0.000000000000000
                               BTC-MOVE-WK-20210305                                                                    0.000000000000000
                               BTC-MOVE-WK-20210319                                                                    0.000000000000000
                               BTC-MOVE-WK-20210402                                                                    0.000000000000000
                               BTC-MOVE-WK-20210416                                                                    0.000000000000000
                               BTC-MOVE-WK-20210423                                                                    0.000000000000000
                               BTC-MOVE-WK-20210430                                                                    0.000000000000000
                               BTC-MOVE-WK-20210507                                                                    0.000000000000000
                               BTC-MOVE-WK-20210521                                                                    0.000000000000000
                               BTC-MOVE-WK-20210528                                                                    0.000000000000000
                               BTC-MOVE-WK-20210604                                                                    0.000000000000000
                               BTC-MOVE-WK-20210611                                                                    0.000000000000000
                               BTC-MOVE-WK-20210618                                                                    0.000000000000000
                               BTC-MOVE-WK-20210702                                                                    0.000000000000000
                               BTC-MOVE-WK-20210709                                                                    0.000000000000000
                               BTC-MOVE-WK-20210716                                                                    0.000000000000000
                               BTC-MOVE-WK-20210723                                                                    0.000000000000000
                               BTC-MOVE-WK-20210730                                                                    0.000000000000000
                               BTC-MOVE-WK-20210806                                                                    0.000000000000000
                               BTC-MOVE-WK-20210813                                                                    0.000000000000000
                               BTC-MOVE-WK-20210820                                                                    0.000000000000000
                               BTC-MOVE-WK-20210827                                                                    0.000000000000000
                               BTC-MOVE-WK-20210903                                                                    0.000000000000000
                               BTC-MOVE-WK-20210910                                                                    0.000000000000000
                               BTC-MOVE-WK-20210924                                                                    0.000000000000000
                               BTC-MOVE-WK-20211001                                                                    0.000000000000000
                               BTC-MOVE-WK-20211008                                                                    0.000000000000000
                               BTC-MOVE-WK-20211015                                                                    0.000000000000000
                               BTC-MOVE-WK-20211022                                                                    0.000000000000000
                               BTC-MOVE-WK-20211029                                                                    0.000000000000000
                               BTC-MOVE-WK-20211105                                                                    0.000000000000000
                               BTC-MOVE-WK-20211112                                                                    0.000000000000000
                               BTC-MOVE-WK-20211119                                                                    0.000000000000000
                               BTC-MOVE-WK-20211126                                                                    0.000000000000000
                               BTC-MOVE-WK-20211203                                                                    0.000000000000000
                               BTC-MOVE-WK-20211210                                                                    0.000000000000000
                               BTC-MOVE-WK-20211217                                                                    0.000000000000000
                               BTC-MOVE-WK-20211224                                                                    0.000000000000000
                               BTC-MOVE-WK-20211231                                                                    0.000000000000000
                               BTC-PERP                                                                                0.000000000000000
                               BTTPRE-PERP                                                                             0.000000000000000
                               C98-PERP                                                                                0.000000000000000
                               CEL                                                                                    -0.968873847280307
                               CEL-0624                                                                                0.000000000000085
                               CEL-0930                                                                               -0.000000000000287
                               CHR-PERP                                                                                0.000000000000000
                               CLV-PERP                                                                                0.000000000000000
                               CONV-PERP                                                                               0.000000000000000
                               DENT-PERP                                                                               0.000000000000000
                               DOGE-PERP                                                                               0.000000000000000
                               EOS-20211231                                                                            0.000000000000000
                               EOSBULL                                                                       163,700,009.305000000000000
                               EOS-PERP                                                                                0.000000000000909
                               ETH-0930                                                                                0.000000000000000
                               ETHW                                                                                   11.000000000000000
                               ETHW-PERP                                                                               0.000000000000000
                               FIL-PERP                                                                                0.000000000000000
                               FLM-PERP                                                                                0.000000000000000
                               FTM-PERP                                                                                0.000000000000000
                               FTT                                                                                    35.000025000000000
                               FTT-PERP                                                                                1.000000000000000
                               GRT-PERP                                                                                0.000000000000000
                               HOLY-PERP                                                                               0.000000000000000
                               ICX-PERP                                                                                0.000000000000000
                               KAVA-PERP                                                                               0.000000000000000
                               LEND-PERP                                                                               0.000000000000000
                               LINA-PERP                                                                               0.000000000000000
                               LINK-PERP                                                                               0.000000000000000
                               LRC-PERP                                                                                0.000000000000000
                               LUNA2-PERP                                                                              0.000000000000000
                               LUNC-PERP                                                                               0.000000000000000
                               MAPS-PERP                                                                               0.000000000000000
                               MNGO-PERP                                                                               0.000000000000000
                               MTA-PERP                                                                                0.000000000000000
                               NEAR-PERP                                                                               0.000000000000000
                               NFC-SB-2021                                                                             0.000000000000227
                               RAY-PERP                                                                                0.000000000000000
                               SECO-PERP                                                                               0.000000000000000
                               SKL-PERP                                                                                0.000000000000000
                               SLP-PERP                                                                                0.000000000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 81 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      SOL-PERP                                                                                                                                             0.000000000000000
                                                                                      SRM                                                                                                                                                  0.000011440000000
                                                                                      SRM_LOCKED                                                                                                                                           0.000228670000000
                                                                                      SRM-PERP                                                                                                                                             0.000000000000000
                                                                                      SRN-PERP                                                                                                                                             0.000000000000000
                                                                                      STEP-PERP                                                                                                                                            0.000000000000000
                                                                                      STORJ-PERP                                                                                                                                           0.000000000000000
                                                                                      SUSHIBULL                                                                                                                                            0.250004569940000
                                                                                      SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                      SXP-PERP                                                                                                                                             0.000000000000000
                                                                                      TLM-PERP                                                                                                                                             0.000000000000000
                                                                                      TRU-PERP                                                                                                                                             0.000000000000000
                                                                                      TRX-PERP                                                                                                                                             0.000000000000000
                                                                                      TRYB-PERP                                                                                                                                            0.000000000000000
                                                                                      USD                                                           5,430.000000000000000                                                              5,048.530366131008000
                                                                                      USDT                                                                                                                                              -594.680028261015200
                                                                                      USTC-PERP                                                                                                                                            0.000000000000000
                                                                                      XLM-PERP                                                                                                                                             0.000000000000000
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000
                                                                                      ZEC-PERP                                                                                                                                             0.000000000000000
                                                                                      ZIL-PERP                                                                                                                                             0.000000000000000
                                                                                      ZRX-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1230        Name on file                        FTX Trading Ltd.                       ALCX                                                                                   FTX Trading Ltd.                                            29.629130000000000
                                                                                       AVAX                                                                                                                                               59.785240000000000
                                                                                       ENJ                                                                                                                                             2,936.730200000000000
                                                                                       FTT                                                                                                                                                 0.022557036624914
                                                                                       GBP                                                                                                                                                 0.000000009101445
                                                                                       LINK                                                                                                                                                1.000000000000000
                                                                                       LOOKS                                                                                                                                           5,247.533800000000000
                                                                                       ROOK                                                                                                                                                0.000347800000000
                                                                                       USD                                                           4,042.970000000000000                                                               872.973375665705700
                                                                                       USDT                                                                                                                                               35.000260686198580

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52958       Name on file                        FTX Trading Ltd.                       BAT                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BRZ                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       BTC                                                               0.000000980000000                                                                 0.000000980000000
                                                                                       DOGE                                                              3.000000000000000                                                                 3.000000000000000
                                                                                       ETH                                                               0.000041870000000                                                                 0.000041870000000
                                                                                       ETHW                                                                                                                                                3.561105170000000
                                                                                       NFT                                                                                                                                                 1.000000000000000
                                                                                       (376432699090214148/BARCELONA
                                                                                       TICKET STUB #1858)
                                                                                       NFT (508722543819432461/BAHRAIN                                                                                                                     1.000000000000000
                                                                                       TICKET STUB #854)
                                                                                       SHIB                                                              5.000000000000000                                                                 5.000000000000000
                                                                                       TRX                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       UNI                                                               1.022299640000000                                                                 1.022299640000000
                                                                                       USD                                                           8,112.740921761983228                                                             8,112.740921761983000
                                                                                       USDT                                                              4.069595650000000                                                                 4.069595650000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
94301       Name on file                        West Realm Shires Services Inc.         POC Other NFT Assertions: 19 OTHER                                                      West Realm Shires Services Inc.                                0.000000000000000
                                                                                        NFT                                                               19.000000000000000
                                                                                        POC Other NFT Assertions:                                                                                                                              0.000000000000000
                                                                                        534291480557360912                                                 1.000000000000000
                                                                                        POC Other NFT Assertions:                                                                                                                              0.000000000000000
                                                                                        542080551309762078                                                 1.000000000000000
                                                                                        POC Other NFT Assertions:                                                                                                                              0.000000000000000
                                                                                        544885708524538274                                                 1.000000000000000
                                                                                        BCH                                                                8.551726810000000                                                                   8.551726810000000
                                                                                        BRZ                                                                1.000000000000000                                                                   1.000000000000000
                                                                                        ETH                                                                3.652370900000000                                                                   3.655237090000000
                                                                                        ETHW                                                               3.653668540000000                                                                   3.653668540000000
                                                                                        MATIC                                                          1,308.283555240000000                                                               1,308.283555240000000
                                                                                        NFT (304747259987040935/TIM                                                                                                                            1.000000000000000
                                                                                        BROWN'S PLAYBOOK: MICHIGAN STATE
                                                                                        VS. NOTRE DAME - SEPTEMBER 19,
                                                                                        1987 #30)
                                                                                                                                                                                                                                               1.000000000000000
                                                                                        NFT (308396469565019350/EARL
                                                                                        CAMPBELL'S PLAYBOOK: TEXAS VS.
                                                                                        HOUSTON - NOVEMBER 5TH, 1977 #65)
                                                                                        NFT (308443932405307296/TIM                                                                                                                            1.000000000000000
                                                                                        BROWN'S PLAYBOOK: KANSAS CITY
                                                                                        CHIEFS VS. OAKLAND RAIDERS -
                                                                                        DECEMBER 9, 2001 #18)
                                                                                                                                                                                                                                               1.000000000000000
                                                                                        NFT (346844638651915976/EARL
                                                                                        CAMPBELL'S PLAYBOOK: TEXAS VS.
                                                                                        HOUSTON - NOVEMBER 5TH, 1977 #63)
                                                                                                                                                                                                                                               1.000000000000000
                                                                                        NFT (349955416826625854/SHANNON
                                                                                        SHARPE'S PLAYBOOK: DENVER
                                                                                        BRONCOS VS. LOS ANGELES RAIDERS -
                                                                                        JANUARY 9, 1994 #20)
                                                                                        NFT (358142067276495384/HALL OF                                                                                                                        1.000000000000000
                                                                                        FANTASY LEAGUE #5)
                                                                                        NFT (359833004588883546/EARL                                                                                                                           1.000000000000000
                                                                                        CAMPBELL'S PLAYBOOK: HOUSTON
                                                                                        OILERS VS. CHICAGO BEARS -
                                                                                        NOVEMBER 16, 1980 #62)
                                                                                        NFT (373855049057496676/EARL                                                                                                                           1.000000000000000
                                                                                        CAMPBELL'S PLAYBOOK: HOUSTON
                                                                                        OILERS VS. CHICAGO BEARS -
                                                                                        NOVEMBER 16, 1980 #61)
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 82 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                Tickers                                 Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     NFT (399402350401864821/TIM                                                                                                                         1.000000000000000
                                                                                     BROWN'S PLAYBOOK: SAN DIEGO
                                                                                     CHARGERS VS. LOS ANGELES RAIDERS -
                                                                                     SEPTEMBER 4, 1988 #29)
                                                                                     NFT (405578433540784246/TIM                                                                                                                         1.000000000000000
                                                                                     BROWN'S PLAYBOOK: KANSAS CITY
                                                                                     CHIEFS VS. OAKLAND RAIDERS -
                                                                                     DECEMBER 9, 2001 #29)
                                                                                     NFT (425550815869631652/DOAK                                                                                                                        1.000000000000000
                                                                                     WALKER'S PLAYBOOK: CLEVELAND
                                                                                     BROWN VS. DETROIT LIONS -
                                                                                     DECEMBER 27, 1953 #49)
                                                                                                                                                                                                                                         1.000000000000000
                                                                                     NFT (437095305950175859/JOE
                                                                                     THEISMANN'S PLAYBOOK: NOTRE DAME
                                                                                     VS. USC - NOVEMBER 30, 1968 #32)
                                                                                     NFT (492783664808747230/EARL                                                                                                                        1.000000000000000
                                                                                     CAMPBELL'S PLAYBOOK: RICE VS. TEXAS
                                                                                     - OCTOBER 1ST, 1977 #53)
                                                                                     NFT (500946484125588574/TIM                                                                                                                         1.000000000000000
                                                                                     BROWN'S PLAYBOOK: MICHIGAN STATE
                                                                                     VS. NOTRE DAME - SEPTEMBER 19,
                                                                                     1987 #39)
                                                                                     NFT (509767345449399435/EARL                                                                                                                        1.000000000000000
                                                                                     CAMPBELL'S PLAYBOOK: HOUSTON
                                                                                     OILERS VS. CHICAGO BEARS -
                                                                                     NOVEMBER 16, 1980 #63)
                                                                                     NFT (534291480557360912/EARL                                                                                                                        1.000000000000000
                                                                                     CAMPBELL'S PLAYBOOK: HOUSTON
                                                                                     OILERS VS. CHICAGO BEARS -
                                                                                     NOVEMBER 16, 1980 #66)
                                                                                     NFT (542080551309762078/EARL                                                                                                                        1.000000000000000
                                                                                     CAMPBELL'S PLAYBOOK: LA RAMS VS
                                                                                     HOUSTON OILERS - SEPTEMBER 4TH,
                                                                                     1978 #49)
                                                                                                                                                                                                                                         1.000000000000000
                                                                                     NFT (544885708524538274/SHANNON
                                                                                     SHARPE'S PLAYBOOK: BALTIMORE
                                                                                     RAVENS VS. OAKLAND RAIDERS -
                                                                                     JANUARY 14, 2001 #36)
                                                                                     NFT (551151803260350117/EARL                                                                                                                        1.000000000000000
                                                                                     CAMPBELL'S PLAYBOOK: LA RAMS VS
                                                                                     HOUSTON OILERS - SEPTEMBER 4TH,
                                                                                     1978 #52)
                                                                                     NFT (551748517043859735/MARCUS                                                                                                                      1.000000000000000
                                                                                     ALLEN'S PLAYBOOK: SEATTLE
                                                                                     SEAHAWKS VS. LOS ANGELES RAIDERS -
                                                                                     OCTOBER 7, 1984 #50)
                                                                                     NFT (568324128959944917/MARCUS                                                                                                                      1.000000000000000
                                                                                     ALLEN'S PLAYBOOK: LOS ANGELES
                                                                                     RAIDERS VS. WASHINGTON - JANUARY
                                                                                     22, 1984 #45)
                                                                                     NFT (571881276233531518/MARCUS                                                                                                                      1.000000000000000
                                                                                     ALLEN'S PLAYBOOK: LOS ANGELES
                                                                                     RAIDERS VS. WASHINGTON - JANUARY
                                                                                     22, 1984 #15)
                                                                                     SHIB                                                             3.000000000000000                                                                  3.000000000000000
                                                                                     SOL                                                             12.712289130000000                                                                 12.712289130000000
                                                                                     SUSHI                                                          522.486798360000000                                                                522.486798360000000
                                                                                     TRX                                                              1.000000008740000                                                                  1.000000008740000
                                                                                     USD                                                             16.333505934132441                                                                 16.333505934132440
                                                                                     USDT                                                             2.482068452491016                                                                  2.482068452491016

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
89420       Name on file                        Quoine Pte Ltd                         BAT                                                                                    Quoine Pte Ltd                                              60.000000000000000
                                                                                       BTC                                                               0.490840000000000                                                                 0.092020400000000
                                                                                       DOGE                                                         10,000.000000000000000                                                           10,000.000000000000000
                                                                                       DOT                                                             240.000000000000000                                                               240.000000000000000
                                                                                       ETH                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       ETHW                                                              4.000000000000000                                                                 4.000000000000000
                                                                                       SOL                                                                                                                                               200.000000000000000
                                                                                       TRX                                                               0.000090000000000                                                                 0.000090000000000
                                                                                       USDC                                                              0.005120000000000                                                                 0.005121170000000
                                                                                       USDT                                                             20.400970000000000                                                             6,800.282153000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
56681       Name on file                        FTX Trading Ltd.                       BNB                                                                                    FTX Trading Ltd.                                             0.000000004061417
                                                                                       BTC                                                               0.162325970000000                                                                 0.162337813191321
                                                                                       ETH                                                               2.069600000000000                                                                 2.079746630000000
                                                                                       LUNA2                                                             0.000012300000000                                                                 0.000006753883998
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000015759062660
                                                                                       LUNC                                                              1.740700000000000                                                                 1.470672460000000
                                                                                       NFT (382054353708936203/FTX CRYPTO                                                                                                                  1.000000000000000
                                                                                       CUP 2022 KEY #21852)
                                                                                       NFT (409065626064052459/FTX EU -                                                                                                                    1.000000000000000
                                                                                       WE ARE HERE! #200990)
                                                                                       NFT (495148830643055619/FTX EU -                                                                                                                    1.000000000000000
                                                                                       WE ARE HERE! #200903)
                                                                                       NFT (563325089894804839/FTX EU -                                                                                                                    1.000000000000000
                                                                                       WE ARE HERE! #200949)
                                                                                       USD                                                                                                                                                 0.000094446352340
                                                                                       USDT                                                                                                                                                0.000000010627742

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
25609       Name on file                        FTX Trading Ltd.                       APT                                                                                    FTX Trading Ltd.                                             0.000000009820000
                                                                                       CHZ                                                                                                                                                 8.934100000000000
                                                                                       CHZ-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE                                                                                                                                                0.964880000000000
                                                                                       ETH                                                                                                                                                 0.001345450000000
                                                                                       ETHW                                                                                                                                                2.197352480000000
                                                                                       KSHIB                                                                                                                                               3.532400000000000
                                                                                       LINK                                                                                                                                                0.080297000000000
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 83 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                Tickers                                  Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      NFT (343450829462568053/FTX AU -                                                                                                                     1.000000000000000
                                                                                      WE ARE HERE! #48093)
                                                                                      NFT (354580976986696143/FTX AU -                                                                                                                      1.000000000000000
                                                                                      WE ARE HERE! #48013)
                                                                                      NFT (403315893300602754/THE HILL BY                                                                                                                   1.000000000000000
                                                                                      FTX #23537)
                                                                                      TRX                                                                                                                                                  0.454730000000000
                                                                                      USD                                                           4,298.334432950755000                                                              4,298.334432950755000
                                                                                      USDT                                                             17.673756740362176                                                                 17.673756740362176

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32814       Name on file                        FTX Trading Ltd.                       GBP                                                                                    FTX Trading Ltd.                                             0.000000001571259
                                                                                       HXRO                                                                                                                                                1.000000000000000
                                                                                       TRX                                                                                                                                                 0.000819000000000
                                                                                       USD                                                                                                                                                 0.000000015255176
                                                                                       USDT                                                          9,544.630000000000000                                                             9,544.632239888310000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52090       Name on file                        FTX Trading Ltd.                       ALGO-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALPHA-PERP                                                                                                                                          0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                          0.000000000000113
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                         0.000000000000000
                                                                                       COMP-PERP                                                                                                                                           0.000000000000000
                                                                                       EGLD-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               0.000557530000000                                                                 0.000557534899343
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.000557534899343
                                                                                       FIL-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                              26.133997280000000                                                                26.133997280785540
                                                                                       HT-PERP                                                                                                                                             0.000000000000000
                                                                                       IOTA-PERP                                                                                                                                           0.000000000000000
                                                                                       LINK                                                                                                                                                0.096219806400000
                                                                                       LINK-PERP                                                                                                                                           0.000000000000000
                                                                                       LUNA2                                                                                                                                               0.006429329340000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.015001768460000
                                                                                       LUNC                                                                                                                                            1,400.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                           0.000000000000000
                                                                                       RAY-PERP                                                                                                                                            0.000000000000000
                                                                                       RUNE                                                                                                                                                0.030000000000000
                                                                                       SHIB                                                    20,000,000.000000000000000                                                        20,000,000.000000000000000
                                                                                       SOL                                                                                                                                                 0.009837210000000
                                                                                       SRM                                                                                                                                                 0.000000004000000
                                                                                       THETA-PERP                                                                                                                                          0.000000000000000
                                                                                       TRU-PERP                                                                                                                                            0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000005000000000
                                                                                       USD                                                           6,631.470000000000000                                                             6,631.468782860577000
                                                                                       USDT                                                          2,012.940000000000000                                                             2,012.942581815263800
                                                                                       VET-PERP                                                                                                                                            0.000000000000000
                                                                                       YFI                                                                                                                                                 0.000957000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
69655       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       KNC-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2                                                                                                                                               0.002583066354000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.006027154826000
                                                                                       LUNC                                                                                                                                                2.107891000000000
                                                                                       RUNE                                                                                                                                                0.062000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                           1,956.420140000000000                                                             1,956.420147523475000
                                                                                       USDT                                                            802.257961335935471                                                               802.257961335935400
                                                                                       WAVES-PERP                                                                                                                                          0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
768         Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.024557170000000
                                                                                       CUSDT                                                                                                                                               1.000000000000000
                                                                                       DOGE                                                                                                                                                1.000000000000000
                                                                                       ETH                                                                                                                                                 0.235654640000000
                                                                                       ETHW                                                                                                                                                0.235452540000000
                                                                                       SOL                                                                                                                                                 6.102590370000000
                                                                                       TRX                                                                                                                                                 1.000000000000000
                                                                                       USD                                                           8,732.180000000000000                                                             3,282.940222558553000
                                                                                       USDT                                                                                                                                            4,649.401300870000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
45358       Name on file                        FTX Trading Ltd.                        AAVE-PERP                                                                               FTX Trading Ltd.                                               0.000000000000000
                                                                                        BNT-PERP                                                                                                                                               0.000000000000000
                                                                                        BTC                                                                4.508296856808607                                                                   4.508296856808607
                                                                                        CRV                                                                                                                                                    0.075410200000000
                                                                                        ETH                                                                                                                                                    0.000000007742600
                                                                                        ETH-PERP                                                                                                                                               0.000000000000000
                                                                                        ETHW                                                                                                                                                   0.000000007742600
                                                                                        FTT                                                               25.995250000000000                                                                  25.995250000000000
                                                                                        SHIB                                                         100,000.000000000000000                                                            100,000.000000000000000
                                                                                        SPELL                                                                                                                                                  0.000000020000000
                                                                                        SUSHI-PERP                                                                                                                                             0.000000000000000
                                                                                        USD                                                               62.137889182588278                                                                  62.137889182588280
                                                                                        USDT                                                          39,896.091748575258260                                                              39,896.091748575260000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
78586       Name on file                        West Realm Shires Services Inc.        BAT                                                                                    West Realm Shires Services Inc.                              1.008361050000000
                                                                                       SHIB                                                                                                                                                3.000000000000000
                                                                                       USD                                                           9,796.310000000000000                                                             9,796.314625621191000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                                                                                                                 0.000000000978497

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
37620       Name on file                        FTX Trading Ltd.                       BCH-PERP                                                                               FTX Trading Ltd.                                             -0.000000000000010
                                                                                       BOBA                                                                                                                                                 0.024190660000000
                                                                                       BSV-20210326                                                                                                                                         0.000000000000000
                                                                                       BTC                                                                                                                                                  0.000203770000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               8.100000000000000                                                                  8.101045855000000
                                                                                       ETHW                                                              0.000130855000000                                                                  0.000130855000000
                                                                                       FTT                                                             488.035000000000000                                                               488.035241395028000
                                                                                       FTT-PERP                                                                                                                                             0.000000000000000
                                                                                       HT-PERP                                                                                                                                              0.000000000000000
                                                                                       KSHIB                                                                                                                                                0.351750000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       NEO-PERP                                                                                                                                             0.000000000000000
                                                                                       OKB-20201225                                                                                                                                         0.000000000000000
                                                                                       OKB-PERP                                                                                                                                             0.000000000000000
                                                                                       OMG                                                                                                                                                  0.311190668271680
                                                                                       OMG-PERP                                                                                                                                             0.000000000000000
                                                                                       ONT-PERP                                                                                                                                             0.000000000000000
                                                                                       SRM                                                               0.003855000000000                                                                  0.003855000000000
                                                                                       SUSHI-20210326                                                                                                                                       0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       TRX                                                        126,799.570000000000000                                                          126,799.571983333000000
                                                                                       TRX-20201225                                                                                                                                         0.000000000000000
                                                                                       TRX-PERP                                                                                                                                             0.000000000000000
                                                                                       USD                                                           6,121.678000000000000                                                           26,121.678742315000000
                                                                                       USDC                                                         20,000.000000000000000                                                                  0.000000000000000
                                                                                       USDT                                                          7,731.034000000000000                                                             7,731.034775959220000
                                                                                       XLM-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28341       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000000003316631
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CRV                                                                                                                                                 0.000000000576304
                                                                                       ETH                                                                                                                                                 0.000430938281697
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       GMT                                                                                                                                                 0.444400000000000
                                                                                       TULIP                                                                                                                                               0.000000006672690
                                                                                       USD                                                           4,323.090000000000000                                                             4,323.087844271328000
                                                                                       USDT                                                                                                                                                0.006512622332031

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
20774       Name on file                        FTX Trading Ltd.                       BAT                                                                                    West Realm Shires Services Inc.                              1.000000000000000
                                                                                       BTC                                                               0.120888030000000                                                                 0.120888030000000
                                                                                       DOGE                                                         32,902.857000000000000                                                           32,902.856861130000000
                                                                                       SHIB                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       TRX                                                                                                                                                 2.000000000000000
                                                                                       UNI                                                                                                                                                 1.041257450000000
                                                                                       USD                                                                                                                                                 0.000258469376772
                                                                                       USDT                                                                                                                                                0.000000009017571

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
65487       Name on file                        FTX Trading Ltd.                        BTC                                                                 0.090392970383030 FTX Trading Ltd.                                                 0.090392970383030
                                                                                        BTC-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        DOGE-PERP                                                           0.000000000000000                                                             20,000.000000000000000
                                                                                        ETH                                                                 1.729000000000000                                                                  1.729000000000000
                                                                                        ETH-PERP                                                            0.000000000000000                                                                  0.000000000000002
                                                                                        ETHW                                                                0.640000000000000                                                                  0.640000000000000
                                                                                        EUR                                                               291.307475942809700                                                                291.307475942809700
                                                                                        FTT                                                                29.400000000000000                                                                 29.400000000000000
                                                                                        GMT-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        LUNC-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        SOL                                                                45.937440611976860                                                                 45.937440611976860
                                                                                        SOL-PERP                                                            0.000000000000000                                                                  0.000000000000015
                                                                                        USD                                                             -383.251608510496534                                                              -1,869.851608510486600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
35709       Name on file                        FTX Trading Ltd.                       AVAX                                                                                   FTX Trading Ltd.                                             0.000000006422692
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000000004935000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               1.000899300000000                                                                 1.000899300450000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       EUR                                                                                                                                                 0.000000008200000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                 0.000000008668131
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2                                                                                                                                               0.459237810000000
                                                                                       LUNA2_LOCKED                                                                                                                                        1.071554890000000
                                                                                       LUNC                                                       100,000.000000000000000                                                          100,000.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       USD                                                               1.420000000000000                                                                 1.419205334370710
                                                                                       USDT                                                                                                                                                0.000000011134935
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33977       Name on file                        FTX Trading Ltd.                       ETH                                                               0.950000000000000 FTX Trading Ltd.                                                0.952254375000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                1.041254375000000
                                                                                       EUR                                                                                                                                                 0.000000003390712
                                                                                       USD                                                               1.200000000000000                                                                 1.195464477003020
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 85 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
31582       Name on file                        FTX Trading Ltd.                       BTC                                                               0.123028930000000 FTX Trading Ltd.                                                0.123028930000000
                                                                                       DENT                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       EUR                                                               0.014658170000000                                                                 0.014658178339336
                                                                                       KIN                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       SUN                                                                                                                                               150.343926760000000
                                                                                       TRX                                                               2.000000000000000                                                                 2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
44906       Name on file                        FTX EU Ltd.                            USD                                                           2,831.770000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       USDC                                                                                                                                            3,436.145022390000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
52741       Name on file                        FTX Trading Ltd.                        ALGO-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                  0.000000000000000
                                                                                        AXS-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        BTC-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        COMP-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        DOGE-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        ENS-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        ETH-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        FTM-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        FTT-PERP                                                           0.000000000000000                                                               2,837.500000000000000
                                                                                        GRT-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        GST-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        HNT-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        LTC                                                                0.000000000000000                                                                   0.000510170000000
                                                                                        LUNA2                                                              0.000000000000000                                                                   0.004592378100000
                                                                                        LUNA2_LOCKED                                                       0.000000000000000                                                                   0.010715548900000
                                                                                        LUNC                                                               0.000000000000000                                                               1,000.000000000000000
                                                                                        LUNC-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        OP-PERP                                                            0.000000000000000                                                                   0.000000000000000
                                                                                        RVN-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        SNX-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        USD                                                            2,774.690000000000000                                                              -2,835.041969561002600
                                                                                        USTC-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        YFI-PERP                                                           0.000000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
60699       Name on file                        FTX Trading Ltd.                       AAVE                                                              5.087761120000000 FTX Trading Ltd.                                                 5.087761127500000
                                                                                       AAVE-PERP                                                                                                                                            0.000000000000000
                                                                                       ABNB                                                              2.498709900000000                                                                  2.498709900000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       AMZN                                                              1.219188700000000                                                                  1.219188700000000
                                                                                       AMZNPRE                                                                                                                                             -0.000000005000000
                                                                                       APE-PERP                                                                                                                                             0.000000000000000
                                                                                       BNB                                                               2.926627480000000                                                                  2.926627480717690
                                                                                       BNB-20210326                                                                                                                                         0.000000000000000
                                                                                       BNB-20210625                                                                                                                                         0.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.064204010000000                                                                  0.064204010060000
                                                                                       BTC-20210625                                                                                                                                         0.000000000000000
                                                                                       BTC-20211231                                                                                                                                         0.000000000000000
                                                                                       BTC-MOVE-0228                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0313                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0314                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0319                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-WK-0218                                                                                                                                     0.000000000000000
                                                                                       BTC-MOVE-WK-1104                                                                                                                                     0.000000000000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CRV                                                             723.005115000000000                                                               723.005115000000000
                                                                                       CRV-PERP                                                                                                                                             0.000000000000000
                                                                                       DOGE                                                          5,262.943484910000000                                                             5,262.943484912212000
                                                                                       DOGE-20210625                                                                                                                                        0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                               0.344554240000000                                                                  0.344554247825680
                                                                                       ETH-20210625                                                                                                                                         0.000000000000000
                                                                                       ETH-20211231                                                                                                                                         0.000000000000000
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       ETHW                                                              0.344554240000000                                                                  0.344554247825680
                                                                                       FB                                                                                                                                                   0.008005000000000
                                                                                       FTT                                                             231.103558770000000                                                               231.103558775000000
                                                                                       FTT-PERP                                                                                                                                            -0.000000000000056
                                                                                       LTC                                                               1.000005000000000                                                                  1.000005009000000
                                                                                       LTC-20210625                                                                                                                                         0.000000000000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       MATIC                                                           889.675142640000000                                                               889.675142641702300
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       MSTR                                                                                                                                                 0.319197582880200
                                                                                       PRIVBEAR                                                                                                                                             0.000000000850000
                                                                                       PYPL                                                                                                                                                 0.000000009750000
                                                                                       RAY                                                              74.000985000000000                                                                74.000985000000000
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       SNX                                                                                                                                                31.554820015941830
                                                                                       SOL                                                              61.364912020000000                                                                61.364912025000000
                                                                                       SOL-20210625                                                                                                                                         0.000000000000000
                                                                                       SOL-PERP                                                                                                                                           53.370000000000000
                                                                                       SQ                                                                                                                                                   0.000000000750000
                                                                                       SRM                                                              10.377611110000000                                                                10.377611110000000
                                                                                       SRM_LOCKED                                                                                                                                         39.542388890000000
                                                                                       SUSHI                                                            97.933923530000000                                                                97.933923534687600
                                                                                       SUSHI-20210625                                                                                                                                       0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                       TRUMP2024                                                                                                                                            0.000000000000000
                                                                                       TRX                                                               0.000277000000000                                                                  0.000277000000000
                                                                                       TSLA                                                             10.564859530000000                                                                10.564859530000000
                                                                                       TSLAPRE                                                                                                                                             -0.000000008000000
                                                                                       USD                                                           8,924.505981470000000                                                             8,924.505981479800000
                                                                                       USDT                                                             64.031583510000000                                                                64.031583518346340
                                          Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                             Page 86 of 92
                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      XRP-PERP                                                                                                                                             0.000000000000000
                                                                                      ZEC-PERP                                                                                                                                             0.000000000000000
                                                                                      ZIL-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
229         Name on file                        FTX Trading Ltd.                       USD                                                          21,586.470000000000000 West Realm Shires Services Inc.                           21,586.567863170000000
                                                                                       USDT                                                                                                                                                0.000000189501221

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
184         Name on file                        FTX Trading Ltd.                        ADABULL                                                                                 FTX Trading Ltd.                                           2,000.000000000000000
                                                                                        ALGOBULL                                                                                                                                   100,000,000.000000000000000
                                                                                        BTC                                                                                                                                                    0.000000320000000
                                                                                        BULL                                                                                                                                                   5.000000000000000
                                                                                        ETH                                                                                                                                                    1.137430140000000
                                                                                        ETHBULL                                                                                                                                              100.000000000000000
                                                                                        LINKBULL                                                                                                                                       3,000,000.000000000000000
                                                                                        MATICBULL                                                                                                                                      1,500,000.000000000000000
                                                                                        UNISWAPBULL                                                                                                                                        5,000.000000000000000
                                                                                        USD                                                            3,418.000000000000000                                                                 270.650363750000000
                                                                                        XRPBULL                                                                                                                                      15,000,000.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34554       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       BTC                                                               0.000008810000000                                                                 0.000008814500000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000002
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       DYDX-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000010000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK-PERP                                                                                                                                           0.000000000000000
                                                                                       LOOKS                                                                                                                                               0.937200000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       OMG-PERP                                                                                                                                            0.000000000000000
                                                                                       ONE-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                               0.049982000000000                                                                 0.049982000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       TRX                                                                                                                                                 0.000001000000000
                                                                                       USD                                                          44,543.280000000000000                                                           44,543.278678336790000
                                                                                       USDT                                                                                                                                                0.000044003989553

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
87882       Name on file                        FTX Trading Ltd.                       LINK                                                          2,001.000000000000000 FTX Trading Ltd.                                            2,001.340320000000000
                                                                                       USD                                                                                                                                                 0.009749774000000
                                                                                       USDT                                                                                                                                               10.240171150000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30128       Name on file                        FTX Trading Ltd.                       FTT                                                              53.790000000000000 FTX Trading Ltd.                                               53.794444210000000
                                                                                       HNT                                                              50.900000000000000                                                                50.900000000000000
                                                                                       KIN                                                        849,838.500000000000000                                                          849,838.500000000000000
                                                                                       KNC                                                              41.692359150000000                                                                41.692359150000000
                                                                                       LINK                                                             66.400000000000000                                                                66.400000000000000
                                                                                       LTC                                                              50.009965800000000                                                                50.009965800000000
                                                                                       SOL                                                              18.860000000000000                                                                18.860000000000000
                                                                                       SRM                                                            537.687976350000000                                                                537.687976350000000
                                                                                       SRM_LOCKED                                                                                                                                          0.585224570000000
                                                                                       UNI                                                              20.496221850000000                                                                20.496221850000000
                                                                                       USD                                                                                                                                                 0.882992760815000
                                                                                       USDC                                                              0.882992760815000                                                                 0.000000000000000
                                                                                       USDT                                                              0.510368486500000                                                                 0.510368486500000
                                                                                       WRX                                                              54.989550000000000                                                                54.989550000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34786       Name on file                        FTX Trading Ltd.                                                                                                              FTX Trading Ltd.                                             2.000015437194375
                                                                                       AVAX                                                              2.000015430000000
                                                                                       BTC                                                               0.105955740000000                                                                 0.105955746332655
                                                                                       FIDA                                                                                                                                                0.118360350000000
                                                                                       GBP                                                                                                                                                 0.000130173056790
                                                                                       RUNE                                                             64.984673050000000                                                                64.984673050000000
                                                                                       SNX                                                                                                                                                 0.016886100000000
                                                                                       SRM                                                            152.222129830000000                                                                152.222129830000000
                                                                                       USD                                                                                                                                                 0.000000050144642
                                                                                       USDT                                                                                                                                                0.000000001302665

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26538       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       BNB                                                                                                                                                  0.000000009000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BTC                                                               0.225214400000000                                                                  0.225214409640000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BULL                                                              0.044604260000000                                                                  0.044604266931300
                                                                                       DOGE                                                          2,162.798571500000000                                                             2,162.798571500000000
                                                                                       DOT-PERP                                                                                                                                            -0.000000000000026
                                                                                       ETC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                               1.524338670000000                                                                  1.524338677100000
                                                                                       ETHBULL                                                           0.254008240000000                                                                  0.254008240323500
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       ETHW                                                              1.542338670000000                                                                  1.524338677100000
                                                                                       FTT                                                               2.198537000000000                                                                  2.198537000000000
                                                                                       FTT-PERP                                                                                                                                             0.000000000000000
                                                                                       GALA                                                          3,312.054703360000000                                                             3,312.054703360000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000004
                                                                                       LTCBULL                                                                                                                                              0.000000002000000
                                                                                       LTC-PERP                                                                                                                                             0.000000000000000
                                                                                       SHIB                                                            700.000000000000000                                                         700,000.000000000000000
                                         Case 22-11068-JTD                                        Doc 27179-2                            Filed 10/23/24                            Page 87 of 92
                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     SOL                                                              3.462060000000000                                                                  3.462060000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     UNI-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                          1,429.040000000000000                                                              1,429.035538868726000
                                                                                     USDT                                                           203.930000000000000                                                                203.930346902808050

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
356         Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.094686470000000
                                                                                       USD                                                           1,591.490000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32150       Name on file                        FTX Trading Ltd.                       1INCH                                                                                  FTX Trading Ltd.                                             0.240496244776354
                                                                                       1INCH-PERP                                                                                                                                          0.000000000000000
                                                                                       AAVE                                                                                                                                                0.007675022973101
                                                                                       AAVE-PERP                                                                                                                                           0.000000000000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       AKRO                                                                                                                                                0.998100000000000
                                                                                       ALICE                                                                                                                                               0.099050000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       AR-PERP                                                                                                                                             0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AUD                                                                                                                                                 0.000000000275000
                                                                                       AVAX                                                                                                                                                0.096448625642644
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       AXS-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000005993947389
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       BTT-PERP                                                                                                                                            0.000000000000000
                                                                                       BTTPRE-PERP                                                                                                                                         0.000000000000000
                                                                                       CLV                                                                                                                                                 0.068118000000000
                                                                                       CLV-PERP                                                                                                                                            0.000000000000001
                                                                                       DAI                                                                                                                                                 0.084369596799240
                                                                                       DOGE                                                                                                                                                0.609804750230512
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000937567058627
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.059937567058627
                                                                                       FTM-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                 0.083305430000000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       LTC                                                                                                                                                 0.009912600000000
                                                                                       LTC-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC                                                                                                                                               0.752845365408990
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       OMG-PERP                                                                                                                                            0.000000000000000
                                                                                       SAND                                                                                                                                                0.985750000000000
                                                                                       SAND-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL                                                                                                                                                 0.003812800529729
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                       TRX                                                                                                                                                 1.559140640000000
                                                                                       TRX-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                           1,508.140000000000000                                                             1,508.146844987560000
                                                                                       USDT                                                                                                                                                0.883055197432101
                                                                                       VET-PERP                                                                                                                                            0.000000000000000
                                                                                       XRP                                                                                                                                                 1.359723875161400
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7330        Name on file                        FTX Trading Ltd.                       1INCH                                                            33.000000100000000 FTX Trading Ltd.                                               33.000000102091260
                                                                                       1INCH-PERP                                                                                                                                          0.000000000000000
                                                                                       ADABULL                                                                                                                                             0.000000003000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       AUD                                                          -2,614.032077328091000                                                            -2,614.032077328091000
                                                                                       BCH-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.349758150000000                                                                 0.349758153069577
                                                                                       BTC-0325                                                                                                                                            0.000000000000000
                                                                                       BTC-MOVE-0106                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0109                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0123                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0206                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0217                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0218                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0313                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-1102                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-20210519                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210527                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210528                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210601                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210602                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210603                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210604                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210606                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210610                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210613                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210617                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210620                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210624                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210628                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210701                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210703                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210705                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210706                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210709                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210712                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210713                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20210714                                                                                                                                   0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                              Tickers                                   Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     BTC-MOVE-20210715                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210716                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210717                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210718                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210722                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210723                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210724                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210725                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210801                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210829                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210831                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210901                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210905                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210906                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210907                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210908                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210909                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210910                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210911                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210912                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210913                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210916                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210917                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210918                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210919                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210921                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210922                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210923                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210925                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210926                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210927                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20210928                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211001                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211002                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211003                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211004                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211007                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211008                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211010                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211014                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211017                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211018                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211019                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211023                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211024                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211026                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211107                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211111                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211112                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211113                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211114                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211115                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211118                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211119                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211120                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211121                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211205                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211223                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-20211226                                                                                                                                   0.000000000000000
                                                                                     BTC-MOVE-WK-20210521                                                                                                                                0.000000000000000
                                                                                     BTC-MOVE-WK-20210604                                                                                                                                0.000000000000000
                                                                                     BTC-MOVE-WK-20210611                                                                                                                                0.000000000000000
                                                                                     BTC-PERP                                                                                                                                            0.000000000000000
                                                                                     BULL                                                                                                                                                0.000000012600000
                                                                                     DENT                                                                                                                                            9,454.960000000000000
                                                                                     DENT-PERP                                                                                                                                           0.000000000000000
                                                                                     EOSHALF                                                                                                                                             0.000000002000000
                                                                                     EOS-PERP                                                                                                                                            0.000000000000184
                                                                                     ETH                                                                                                                                                 0.000000007732259
                                                                                     ETHBULL                                                                                                                                             0.000000002000000
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     FLM-PERP                                                                                                                                            0.000000000000113
                                                                                     FTT                                                             50.735117590000000                                                                 50.735117595700510
                                                                                     HALF                                                                                                                                                0.000000002000000
                                                                                     ICP-PERP                                                                                                                                            0.000000000000002
                                                                                     LTC-PERP                                                                                                                                            0.000000000000000
                                                                                     OLY2021                                                                                                                                             0.000000000000000
                                                                                     OMG-0325                                                                                                                                            0.000000000000000
                                                                                     OMG-20211231                                                                                                                                       -0.000000000000010
                                                                                     OMG-PERP                                                                                                                                            0.000000000000000
                                                                                     PROM-PERP                                                                                                                                           0.000000000000000
                                                                                     QTUM-PERP                                                                                                                                           0.000000000000000
                                                                                     SRM                                                                                                                                               101.034075190000000
                                                                                     SRM_LOCKED                                                                                                                                          0.959005870000000
                                                                                     SXP-PERP                                                                                                                                           -0.000000000000042
                                                                                     TRX-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                          2,354.242837157893500                                                              2,354.242837157893500
                                                                                     USDT                                                                                                                                                0.000000020277289
                                                                                     XLM-PERP                                                                                                                                            0.000000000000000
                                                                                     XRP                                                              0.398995000000000                                                                  0.398995000000000
                                                                                     XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
85509       Name on file                        FTX Trading Ltd.                       AKRO                                                                                   FTX Trading Ltd.                                             1.000000000000000
                                                                                       ATLAS                                                          979.823600000000000                                                                979.823600000000000
                                                                                       BAO                                                                                                                                                 4.000000000000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       ETH                                                               0.452348930000000                                                                 0.452348930000000
                                                                                       ETHW                                                                                                                                                0.253000000000000
                                                                                       EUR                                                               0.003890146866189                                                                 0.003890146866189
                                                                                       KIN                                                                                                                                                 2.000000000000000
                                                                                       LUNA2                                                                                                                                               0.018161774670000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.042377474230000
                                                                                       LUNC                                                              3.954764671800000                                                             3,954.764671800000000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      POLIS                                                           25.483310950000000                                                                  25.483310950000000
                                                                                      RSR                                                                                                                                                  1.000000000000000
                                                                                      SOL                                                                                                                                                  0.057137000000000
                                                                                      TRX                                                                                                                                                  1.000000000000000
                                                                                      UBXT                                                                                                                                                 1.000000000000000
                                                                                      USD                                                           1,992.878719258548700                                                              1,992.878719258548700

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83491       Name on file                        West Realm Shires Services Inc.        BAT                                                               1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       BRZ                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       BTC                                                               0.100570000000000                                                                 0.100570000000000
                                                                                       CUSDT                                                             1.000000000000000                                                                 1.000000000000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               1.670400000000000                                                                 1.670400000000000
                                                                                       ETHW                                                              1.670400000000000                                                                 1.670400000000000
                                                                                       LINK                                                                                                                                                1.000000000000000
                                                                                       SOL                                                             114.585000000000000                                                               114.585000000000000
                                                                                       TRX                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       USD                                                          30,706.741881449760000                                                           30,706.741881449760000
                                                                                       USDT                                                                                                                                                2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1866        Name on file                        FTX EU Ltd.                            BTC                                                               0.000070572800000 FTX Trading Ltd.                                                0.000070572800000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               1.018111650000000                                                                 1.018111650000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                              1.019000005068900                                                                 1.019000005068900
                                                                                       LTC-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2                                                             4.395469786000000                                                                 4.395469786000000
                                                                                       LUNA2_LOCKED                                                     10.256096170000000                                                                10.256096170000000
                                                                                       LUNC-PERP                                                                                                                                  2,476,000.000000000000000
                                                                                       MANA                                                              0.000000004326308                                                                 0.000000004326308
                                                                                       SHIB                                                    92,600,000.000000000000000                                                        92,600,000.000000010000000
                                                                                       SHIB-PERP                                                                                                                                           0.000000000000000
                                                                                       SOL-20211231                                                                                                                                        0.000000000000000
                                                                                       SPELL-PERP                                                                                                                                          0.000000000000000
                                                                                       STEP-PERP                                                                                                                                           0.000000000000000
                                                                                       STORJ-PERP                                                                                                                                          0.000000000000000
                                                                                       TLM-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                            581.348324900202000                                                                160.056924900201640
                                                                                       VET-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
8582        Name on file                        FTX Trading Ltd.                        BAO                                                           56,995.809600000000000 FTX Trading Ltd.                                             56,995.809600000000000
                                                                                        ETH                                                                                                                                                    0.000604720000000
                                                                                        EUR                                                            3,468.347114019911000                                                               3,468.347114019911000
                                                                                        FTT                                                                                                                                                    0.094715300000000
                                                                                        LUNA2_LOCKED                                                      230.012162600000000                                                                230.012162600000000
                                                                                        MSOL                                                                                                                                                   0.009537440000000
                                                                                        OXY                                                                                                                                                    1.999658000000000
                                                                                        SRM                                                                 0.990012640000000                                                                  0.990012640000000
                                                                                        SRM_LOCKED                                                          2.433926820000000                                                                  2.433926820000000
                                                                                        USD                                                                 8.753300138449912                                                                  8.753300138449912
                                                                                        USDT                                                                                                                                                   0.000000011410972

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
1280        Name on file                        FTX Trading Ltd.                       AURY                                                                                   FTX Trading Ltd.                                            10.000000000000000
                                                                                       BAO                                                                                                                                         531,904.240000000000000
                                                                                       ETH                                                                                                                                                 0.022000000000000
                                                                                       ETHW                                                                                                                                                0.022000000000000
                                                                                       EUR                                                                                                                                           16,597.832709571000000
                                                                                       MATIC                                                                                                                                             100.000000000000000
                                                                                       SOL                                                                                                                                                 0.900000000000000
                                                                                       SRM                                                                                                                                                26.000000000000000
                                                                                       UNI                                                                                                                                                 6.000000000000000
                                                                                       USD                                                          16,168.990000000000000                                                                 0.000000028255311

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
35939       Name on file                        FTX Trading Ltd.                       BTC                                                               0.108091800000000 West Realm Shires Services Inc.                                 0.108091800000000
                                                                                       ETH                                                               1.317681000000000                                                                 1.317681000000000
                                                                                       ETHW                                                                                                                                                1.317681000000000
                                                                                       MATIC                                                         3,656.340000000000000                                                             3,656.340000000000000
                                                                                       USD                                                           1,291.350000000000000                                                             1,291.350000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
82548       Name on file                        FTX Trading Ltd.                                                                                                                West Realm Shires Services Inc.                               1.000000000000000
                                                                                        CUSDT                                                               1.000000000000000
                                                                                        DOGE                                                                1.000000000000000                                                                 1.000000000000000
                                                                                        ETH                                                                 1.102929110000000                                                                 1.102929110000000
                                                                                        ETHW                                                                                                                                                  1.102465890000000
                                                                                        GRT                                                                 1.004478860000000                                                                 1.004478860000000
                                                                                        LINK                                                               16.543937500000000                                                                16.543937500000000
                                                                                        MATIC                                                             992.436816760000000                                                               992.436816760000000
                                                                                        SOL                                                                40.555817870000000                                                                40.555817870000000
                                                                                        TRX                                                                 1.000000000000000                                                                 1.000000000000000
                                                                                        USD                                                                                                                                                   0.000001503999980

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
77670       Name on file                        FTX Trading Ltd.                        BTC                                                                0.248682010000000 West Realm Shires Services Inc.                                   0.250212150000000
                                                                                        USD                                                            5,270.790000000000000                                                               5,303.225404400000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
89323       Name on file                        FTX Trading Ltd.                        1INCH                                                             104.980050000000000 FTX Trading Ltd.                                              104.980050000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim
  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     AAVE                                                              0.999810000000000                                                                 0.999810000000000
                                                                                     ADA-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     ALPHA                                                           178.965990000000000                                                               178.965990000000000
                                                                                     BOBA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     BTC                                                               1.075200000000000                                                                 1.075200000000000
                                                                                     CEL                                                             144.902197709072570                                                               144.902197709072570
                                                                                     CEL-PERP                                                          0.000000000003637                                                                 0.000000000003637
                                                                                     ETH                                                              41.021222660000000                                                                41.021222661046670
                                                                                     ETH-20211231                                                      0.000000000000000                                                                 0.000000000000000
                                                                                     ETHW                                                             21.984770682967260                                                                21.984770682967260
                                                                                     EUR                                                         29,265.737756867560000                                                             29,265.737756867560000
                                                                                     FTM                                                             791.849520000000000                                                               791.849520000000000
                                                                                     FTT                                                           3,807.184626460000000                                                             3,807.184626460000000
                                                                                     FTT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     LTC-20211231                                                      0.000000000000000                                                                 0.000000000000000
                                                                                     LTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     OMG                                                               0.000000006538950                                                                 0.000000006538950
                                                                                     OMG-20211231                                                     -0.000000000000113                                                                -0.000000000000113
                                                                                     OMG-PERP                                                         -0.000000000000909                                                                -0.000000000000909
                                                                                     SHIB-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SOL                                                              13.036995240000000                                                                13.036995240000000
                                                                                     SRM                                                              28.994490000000000                                                                28.994490000000000
                                                                                     USD                                                         11,958.526941763335000                                                             11,958.526941763335000
                                                                                     USDT                                                                                                                                              103.367356794678930
                                                                                     XRP                                                          2,604.099868920000000                                                              2,604.099868921922300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
40170       Name on file                        FTX Trading Ltd.                       BTC                                                               0.213349320000000 FTX Trading Ltd.                                                0.213349327000000
                                                                                       ETH                                                               3.200359870000000                                                                 3.200359870000000
                                                                                       ETHW                                                                                                                                                3.200359870000000
                                                                                       USD                                                           2,579.000000000000000                                                             2,579.281979324312500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27408       Name on file                        FTX Trading Ltd.                       AUD                                                           2,157.903730260000000 FTX Trading Ltd.                                            2,157.903730260690000
                                                                                       BTC                                                               0.149586790000000                                                                 0.149586790000000
                                                                                       COIN                                                                                                                                                0.350179590000000
                                                                                       DOGE                                                         10,067.142534520000000                                                           10,067.142534520000000
                                                                                       ETH                                                               1.826186170000000                                                                 1.826186170000000
                                                                                       ETHW                                                                                                                                                1.826186170000000
                                                                                       GME                                                                                                                                                 2.941839280000000
                                                                                       LTC                                                               3.037626170000000                                                                 3.037626170000000
                                                                                       SOL                                                              31.920084120000000                                                                31.920084120000000
                                                                                       SRM                                                              67.466322950000000                                                                67.466322950000000
                                                                                       XRP                                                           1,008.930446360000000                                                             1,008.930446360000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27544       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             0.000000000000000
                                                                                       BOBA                                                                                                                                                0.081380000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                                                                                                                 0.000000010000000
                                                                                       ETHBULL                                                                                                                                             0.000000003450000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       FTT                                                                                                                                                 0.285790451501598
                                                                                       IMX                                                                                                                                                 0.000218000000000
                                                                                       LINK-PERP                                                                                                                                           0.000000000000000
                                                                                       MATIC                                                                                                                                               0.561700000000000
                                                                                       MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                       OMG-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000000
                                                                                       USD                                                           5,768.260000000000000                                                             5,768.255996504725000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27726       Name on file                        FTX Trading Ltd.                       BTC                                                               0.653900000000000 FTX Trading Ltd.                                                0.676202230000000
                                                                                       SHIB                                                    18,607,538.600000000000000                                                                  0.000000000000000
                                                                                       SOL                                                               9.998000000000000                                                                 0.000000000000000
                                                                                       USDT                                                             13.993800000000000                                                                 0.000107143710390

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34416       Name on file                        FTX Trading Ltd.                       AKRO                                                                                   FTX Trading Ltd.                                             1.000000000000000
                                                                                       FTT                                                             237.751747390000000                                                               237.751747390000000
                                                                                       SRM                                                                                                                                                 2.937273810000000
                                                                                       SRM_LOCKED                                                                                                                                         12.542726190000000
                                                                                       TRX                                                                                                                                                 0.000004000000000
                                                                                       USD                                                               3.100000000000000                                                                 3.101417000000000
                                                                                       USDT                                                         12,000.000000000000000                                                           12,000.000000016473000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30169       Name on file                        FTX Trading Ltd.                       ARKK                                                                                   FTX Trading Ltd.                                             1.000236050000000
                                                                                       BAO                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       BTT                                                    178,746,295.000000000000000                                                       178,746,295.000000000000000
                                                                                       ETHW                                                                                                                                                0.220776880000000
                                                                                       SHIB                                                         75,415.000000000000000                                                           75,415.000000000000000
                                                                                       TRX                                                               0.806675000000000                                                                 0.806675000000000
                                                                                       USD                                                           6,863.630000000000000                                                             6,863.630442797292000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
44841       Name on file                        FTX Trading Ltd.                       BTC                                                               3.509500000000000 FTX Trading Ltd.                                                 2.678900004458300
                                                                                       BTC-PERP                                                         -0.000000000000047                                                                 -0.000000000000047
                                                                                       DOGE                                                              5.000000000000000                                                                  5.000000000000000
                                                                                       ETH-PERP                                                         -0.000000000000007                                                                 -0.000000000000007
                                                                                       FTT                                                              25.095500000000000                                                                25.095500000000000
                                                                                       LTC-PERP                                                         -0.000000000000028                                                                 -0.000000000000028
                                                                                       OKB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SUSHI-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       TRUMP                                                             0.000000000000000                                                                  0.000000000000000
                                                                                       TRUMPFEBWIN                                                   3,367.854800000000000                                                             3,367.854800000000000
                                                                                       UNI-PERP                                                          0.000000000012278                                                                  0.000000000012278
                                                                                       USD                                                             108.687500000000000                                                           14,233.514492828741000
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                                                                                                     Asserted Claims                                                                                           Modified Claim
   Claim
  Number                      Name                                     Debtor                         Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                             0.000000004887519                                                                   0.000000004887519

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
15629       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.000000008119500
                                                                                       DAWN                                                                                                                                                1.000000000000000
                                                                                       LINK                                                          1,205.491360000000000                                                             1,205.491360000000000
                                                                                       TRX                                                                                                                                                 1.000002000000000
                                                                                       USD                                                                                                                                                 0.647802346800000
                                                                                       USDT                                                                                                                                                0.000000005000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83709       Name on file                        FTX Trading Ltd.                       ACB                                                                                    FTX Trading Ltd.                                             1.000000000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       APHA                                                                                                                                                1.000000000000000
                                                                                       BNB                                                               0.270000000000000                                                                 0.270000000000000
                                                                                       BTC                                                               0.140728010000000                                                                 0.140728010000000
                                                                                       BTC-PERP                                                                                                                                            0.178500000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       ETH                                                               0.527202030000000                                                                 0.527202030000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                              0.527202030000000                                                                 0.527202030000000
                                                                                       EUR                                                                                                                                                 0.000000008322073
                                                                                       FB                                                                                                                                                  0.100000000000000
                                                                                       LUNA2                                                                                                                                               0.000005878243968
                                                                                       LUNA2_LOCKED                                                                                                                                        0.000013715902590
                                                                                       LUNC                                                                                                                                                1.280000000000000
                                                                                       PYPL                                                                                                                                                1.000000000000000
                                                                                       SOL-PERP                                                                                                                                            0.000000000000007
                                                                                       TLRY                                                                                                                                                1.000000000000000
                                                                                       TRX                                                                                                                                               100.000000000000000
                                                                                       TRX-PERP                                                                                                                                            0.000000000000000
                                                                                       UBER                                                                                                                                                1.000000000000000
                                                                                       USD                                                            856.149617300732984                                                             -2,197.628382699267000
                                                                                       USDT                                                                                                                                                0.093618650000000
                                                                                       WAVES-PERP                                                                                                                                          0.000000000000000
                                                                                       XRP-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29718       Name on file                        FTX Trading Ltd.                       AAVE                                                              0.002826670000000 FTX Trading Ltd.                                                0.002826670000000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                                                                                                                 0.000000011278143
                                                                                       BTC-MOVE-20191013                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20191017                                                                                                                                   0.000000000000000
                                                                                       BTC-MOVE-20191028                                                                                                                                   0.000000000000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       BULLSHIT                                                                                                                                            0.000000005250000
                                                                                       COPE                                                              0.005695000000000                                                                 0.005695000000000
                                                                                       CVX                                                           1,052.541247160000000                                                             1,052.541247160000000
                                                                                       ETH                                                               2.030248020000000                                                                 2.030248059396280
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                              2.030107740000000                                                                 2.030107742129050
                                                                                       FIDA                                                              0.505000000000000                                                                 0.505000000000000
                                                                                       FTM                                                                                                                                                 0.000000003019119
                                                                                       FTT                                                             268.721461189999960                                                               268.721461202823000
                                                                                       FXS                                                             360.201252140000000                                                               360.201252140000000
                                                                                       LINK                                                              0.000500000000000                                                                 0.000500000000000
                                                                                       LUNA2                                                             1.068216170000000                                                                 1.068216177000000
                                                                                       LUNA2_LOCKED                                                                                                                                        2.492504414000000
                                                                                       LUNC                                                                                                                                                0.000000008545020
                                                                                       LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                       RAY                                                               0.096886690000000                                                                 0.096886696573360
                                                                                       SOL                                                                                                                                                 0.000000006106020
                                                                                       SRM                                                               1.595405810000000                                                                 1.595922900000000
                                                                                       SRM_LOCKED                                                        0.764289190000000                                                                 0.763924780000000
                                                                                       SUSHI-20200925                                                                                                                                      0.000000000000000
                                                                                       SUSHIBEAR                                                                                                                                           0.000027669800000
                                                                                       USD                                                          13,476.299602109999000                                                           13,476.836692051600000
                                                                                       USDT                                                              0.713638190000000                                                                 1.278765988400000
                                                                                       USTC                                                              0.367714000000000                                                                 0.367714000000000
                                                                                       YFI                                                                                                                                                 0.000000008000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
69641       Name on file                        FTX Trading Ltd.                       SOL                                                                   Undetermined* FTX Trading Ltd.                                                0.000000010000000
                                                                                       TRX                                                                                                                                                 0.000006000000000
                                                                                       USD                                                                                                                                                18.262028460490768
                                                                                       USDT                                                                                                                                                0.000000008931492

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
709         Name on file                        FTX Trading Ltd.                       CEL                                                                                    FTX Trading Ltd.                                             0.085700000000000
                                                                                       USD                                                          25,000.000000000000000                                                           25,110.965454050000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
5678        Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.000032800000000
                                                                                       ETH                                                                                                                                                 0.000157000000000
                                                                                       ETHW                                                                                                                                                0.000157000000000
                                                                                       SOL                                                                                                                                                 0.009960000000000
                                                                                       USD                                                           1,433.790000000000000                                                             1,433.788541150268900

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
55942       Name on file                        FTX Trading Ltd.                        BNB                                                                1.598300000000000 FTX Trading Ltd.                                                  1.598546870000000
                                                                                        BTC                                                                0.038874560000000                                                                   0.038879960000000
                                                                                        ETH                                                                0.117553810000000                                                                   0.117569860000000
                                                                                        ETHW                                                                                                                                                   0.116432060000000
                                                                                        FTT                                                               18.524200000000000                                                                  18.526732100000000
                                                                                        USD                                                            1,895.769000000000000                                                               1,895.786278420000000



Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
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                                                                                                     Asserted Claims                                                                                          Modified Claim
   Claim
 Number                    Name                                Debtor                                 Tickers                                 Ticker Quantity                                Debtor                              Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
